              Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 1 of 143 PageID: 330

                  MCELROY, DEUTSCH, MDLVANEY & CARPENTER, LLP
                                                    ATTORNEYS AT LAW
                                                                                                                         \   \

                                              1617 JOHN F. KENNEDY BOULEVARD
                                                          SUITE 1500
                                                 PHILADELPHIA, PA 19103-1815
                                                        (215) 557-2900
                                                 FACSIMILE (215) 557-2990/2991



         MATTHEW A LIPMAN, ESQUIRE
         ADMITTED IN PA AND NJ
         Email: mllpman@mdmc-law.com



                                                           May 7, 2021

         VIAFEDEX
         Clerk of the Court
         Martin Luther King Federal Building &
         U.S. Courthouse
         50 Walnut Street, Room 4105
         Newark, NJ 07101-0419

                            RE:        U.S. v. William Green
                                       Case No.:      19-CR-00525
                                       Asset ID:      19-IRS-000633
                                       Our File No.: A0014-1670

         Dear Sir/Madam,

                 Enclosed please find two copies of the Claim Form being submitted by National
         Union Fire Insurance Company of Pittsburgh, Pa. ("National Union"), as well as its
         supporting Exhibits. Please file one copy of the Claim Form and the Exhibits with the
         Court, in relation to the forfeited asset in the above captioned matter. Additionally, we
         kindly request that you stamp the second copy of the Claim Form, and return it in the
         self-addressed envelope we have provided.

                  Enclosed you will find the following:

                        a) 2 copies of National Union's Claim Form;
                        b) 1 copy of the supporting exhibits (Exhibits "A" through "D");
                        c) 1 self addressed stamped envelope.

                  Please do not hesitate to contact me if you have any questions.




         MAL/rjl
         cc:   Sarah Devlin, Esquire (encl. only)

NEW JERSEY   NEW YORK     PENNSYLVANIA     CONNECTICUT   MASSACHUSETTS    COLORADO   DELAWARE   FLORIDA   RHODE ISLAND
                                      Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 2 of 143 PageID: 331



                                                                                                                                .   · ... :                   . . . . . · ..             :•

                                                                                                                          ··CLAIMFORM



· ··vou. Musr. coiutPLere &: P.ARrs 0FfH1s FORM ~oR
                 .               '   ''.         . . · rH1:
                                                        .   AsseTs vou AR·e cLA1MiNG:
                                                                   . .       .   '   .
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. ·. .Note: There is· n6 legal form or form~f req4irecl for filing a 1:!laim;: this document is provided .foryour corive~ience. · .
 . · .Please. visit httpS://ww),v.forfeiture.gov/FilingClaim: htrn for more specific guidance :on filing. your' claim with the
   · :appropriate seizing a{iency. · · ·       ·         ··       ·        ·       ·              ·        ··              ·
    .    '                             .       .·        .       _,.                 . . '.·
   . .       .       .   .   .             .        .·       .    . ..       .                       .                                            -               '                           .           .                                   '                                                                  .
    ·Frivolous Claim Statement:. -If a. court finds that a claimant's assertio,:i ·of._an interest i!1 property was frivolous,. the ··
  .·:court may impose .a civil fine. rifle 18 United .States Code; Subsection. 9e3(h) .. A false statemenfor claim. may subject. ·
 .. a person to criminaiprosecution underTitle t8'.Urijted States Code; Sections 1001 and 1621:                .        ..
                                       .            .                    '               .   '           ..   .       .         .             .               .             .        '    '           .            .       .. .                                                 .                          ...


 ... Privacy Act 'Noti~e; .The Departrne~t:of Justice is' coliecting tl)is_inforrnatlon :forthe.purpose::ofproces~ingyour .
   ·.. claim . .Providing this iAformation is voluntary; however, the inforinE;1tjon is .necessary to process your application.·· · ·
     :Information ·coUected is covered by PriVacy Act :System of-Records Notice Oepartmen.t: ofJt.istice (DOJ); DOJ-002~ ·
     ·pOJ Computer Systems Activity & Access Records, Federal Regi$ter (71 FR 29170).: This information: may· ~e ·. ·
   · disclosed to.contractors when necessary to accomplish an agency furici:ioo, to law eriforc~mentwheri there. is a ·
      violation. or potential vicilatioh of law; or iri accordance with other published routine use~: For a complete list of ·
       routine:uses; see the $Ystem ohE!COrds ilotiqe listed above: · · ·                  ··              ··             ··




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                                                                                                                                                                                                            .. A.,_ . . . . .
                                                                                                                                                                                                          · .·:,7f{J,:i• .. · .. ·.·
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    . Standard Claim F.orm                                                                                                                . May 6, 2021 .                                                                                                                                                  Page 1.
                Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 3 of 143 PageID: 332


                                                         ·SECTION I - CONTACT:INFORMATION.·:
                                                                            PETITIONERINFORMA1'.ION
 : PetitiQher/Contact
              . . ..  .
                       Name:
                          .. . .
                                (Last,
                                   .
                                       First):       ,




  ·eusiness/ln_stitution Name: (if applicable) : ··    · · ..· ·. PrisQner ID: (ifapplicable) .: ·
   National L!riion Fire h1Su(ance Company of ·
   Plttsbur h, Pa      .. .      . . .. .
   Address: (Include Street, City, State, and Zip-Gode). · . . . ..        . . . . .. .       .
   c/6 Matthew A Lipman, Esquire, Md:lroy, Deutsch, Mulvaney-&Carpenter, LLP · : ·.
   1617 ~Fk Blvd:; Suite 15000 Philade,lphia; PA19103 . .. . . . . .·. . ..           . .·

·: •Social Security Number/Tax Identification :Number, (Enter N/Aif.you 'do ncit.~ave one) ·
  25.:()687550 :. ..           ..     .. .           .            .        . .                 .         .            ..         .       ..        .. .           .   ..   ..
  Please provicte· an explal')atic>n why you _do 11ot haye a f>ocial Sec.u rity Number; if abo_ve: is. NIA: •:



.· : Phone: (optio11al):. ·                                                                                           EmaU: (optional).··

                                                         .. ATTORNEY INFORl\!IATIQN if.a                                                      licable
   Attorney Name: {Last; 'First)
 . Lipman, Matthew :. ·. · ·· ·
   Attorney Title:.
· . Partner ·
    Firm Name: (if app)ic;able) : .· ... ·· . ·. · ·.· :   ·
    TllicElro. , beutsch; ·Mulvane ·: & Car enter. llP · ·
· ·Att9rney· Address: .(lncl!,lde Street; Gity; _State, and Zip Code).·
 . 161T JFK Blvct, Suite.1500 . . . ·                    .      .   .
    Philadel~hia; PA 19103 .

                                          etitioil on:behalfof our client?. Iii YES:: NO                                                                      •
                                                                 . · Attorney l:mail: (option-al)
                                                               .·:. mli .man mdiric~law,coni ..
 . If a~y of t~is inforrn~tion. changes,· you. are responsib_le for notifying t~e agency of the new information:· · ..

                                                                       .              ..   .   .               . ..                  -         '     .

                                                                       : _:.SECTION· II - ASSET LIST
   . ..     .    . ..           .     .      . . .       .    .    .             .   · .. '.        ..   . .    .          ·..   .

 .. List ea6h a$Set ID and asset description that yQµ are 'c!~iming. .
                                                                                                                                  ..
                         '''#             .Asset ID·                                               ·Asset Description      ' ' ..
                                                                                                                                                                                "
                                    ,;'

                          :1               19-IRS~D00633                                            $51 144 in United States Currency
                                                         ..                                                                                               .   .
                                                              ..                                         ..
                                                .   .                                              . .                                                                              ..
                                                                           . .                                                                                                           ..




  Standard Claim F.orm                                                                         May 6, 2021                                                                                    Page2
                Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 4 of 143 PageID: 333

                                           '    ..   '        .   . .           '        ..   '   .... ·        . .       . ..... '           ...


                                          . SECTION Ill ~ INTEREST IN PROPERTY •·
     ldehtifyyoudnterest in each ofthe: assets You ate claiming: /(You are filing fordlultiple assets and the responses'
  • •are not. the sc1me .for eac:h asset; pl~ase print qut multiple copie.s :ofthis. page tp submit with the. claim. /f y911 have •
 · · documentation that supports your Interest iri the claimed assets (e:g., bill ofsale, retai/ins_tal/merit agreein.ents,·
  · ·contrc1cts,
       ..   .
                 titles
                    ...
                        or ..mortgages),
                                 . . . .
                                         please.
                                             .
                                                 include
                                                  .. · .
                                                         copies
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                                                                of. the
                                                                     .·
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                                                                                    With
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                                                                                          the
                                                                                            .
                                                                                              submission
                                                                                                 .   . .
                                                                                                         of.··the. claim.
                                                                                                                     ..
                                                                                                                              ··


   ·As$et ID •·           A$set Description . · ·
 · .19-IRS..-000633 • · · $51,144 in U.nited ·states Currencv . • ·



 .•. In the space below, plea~e explain wily you have a valid; g~od faith; a~d .legally recognizable intetesi in· this • '
     asset:·.         '    ..    .             .·         .     .         '         ..    ..    ' .··     ..     .    '


      •• Nationai. Union .Fire .1niurarice Company of· Pittsbur~h, •Pa: ("Nati6nal. Uniorn; is ·the assi~nee ~nd subrogee.                                                   o1 -·
   - Simmons -First National Corporation. ("Simmons Bank"). National· U11ion insured the .foss of Simmon_s Bank, which .
 ·: arose from afrauc,I scheme that benefited WG Holc,lings, LLC ('.'\IVG") and WilUam G(eeii. ·- . . .. -     .   . . ..

                             a;
    .. ' :•OnO~~mber 2017;: KP. JGH Bourbon.                        u:.
                                                      LLC (''Bourbon"). entered into a c~n-strncti~n lending agr_eement with .
    :Simmons Bank. Simmons Bank :utilized a title: company; Hansen: Franklin. County Ll:lnd Title & Abstract Go. ('!Hansen_· •
   •Title"), to adm.inister draW req1Jests made by B6urb.oh-a11d to pay the contractor on .behalf of:Bourbon.• On Fe~_raary .
  · 14,-20H3, Simmons Bank receivecl instructio.ns via einai_l frorn ·Hansen Title to Wir1;3: $154;88~:23 to: Hansen Title's.
 . account, Whiqh wa~ to _be sent on February· go, 20.18. rlanser, Title's email account ·wa~ sub~equently liacked: On.
     February 15, 2018; Simmons Bank received an email purportedly from Hasen Title, J>rovl~ing new .instructions for the ··
     wire iransfer; The new instructions requested that Simmons. Bank sen.d $154;888.23 to an account ·hel_d by WG with :
 : Wells Fargo, On. February 15, 2018, Slmrrions BaAk executed the wire transfer· to WG's. aqcount Hansen Title
   •·subsequently informed •Simmons. Bank· that its• email. accourit ·was hacked,· .and it did not· send the·. instructions to·_
     transfer the funds to WG;s account On February 21, 2018·, Simmons Bank notified Wells Fcirgo that the transfer to -
    -WG was the resultoffrauduleAtwiring instructions and requested a recall of its funds: Wells Fargo advised Simmons .
   • Bai:lkthat the funds were no longer available, and they were transferred to an account with Silvergate. Bank, held .- .
     under the name of Gemini Trust Company LLC ("Gemini Trust").. Nonetheless, Simmons s·ank rein_ained. obligated to
                                                                                                           to
    .Bourbon and; on February 21, 20.18. transferred $154,888.43 Hansen Title. Therefore; Siinmons. Bank suffered a
 · loss in:the.arnount of $1.54,888A3.       · ··               ·             · ··              · ·              · ··

         .:_ On February 2 t. 2018, Wens Fa;go froze the accqimt of                                   WG
                                                                            (No: XXXXXX5335) and the personai account of Mr. ·: ·•
  ·• Green .(No. XXXXXX3$70). Under both of these aceoµnts, Wells Fargo coll~tively restraineq a. t_otal balance af .
       $114,468, 10, On April 13; 2018, Wells Fargo filed a ·Complaint for lhtei'pleader.in the U.S. District Court for the District.
       of N_ew Jersey (Gas~ No,_ 18-cv..,06685·:DEA):. See Exhibit .A· 1.n. the Complaint, Wells Fargo alleged. the fraudulent ·. ·
    .. transfer· inyolving: Siromons .·sank; as Well· as another fraµdulent: tran.sfer to WG: involving, Granfqrd. Bµckle,y Schµltz ·
   . Tomichin Allen& Buie, P.A. ("Cranford"f Wells Fargq claimed that th~rewai, a di~ptit~ as to which paitiesare entttled ...
       tb the restrained funds, and :the restrained funds we~e insufficient to cover the claims of the parties. _Simmons Bank_·
 ·: filed a Complaint iri lnterventionfor the action: See Exhibit 13. -· -         . . . - - . .. .-. . - . - . .. - . -
                     .     . ..   .   '    ..            ..             .   .       ..            .        '     .    .       .. .    .   .   .     .   . .   ..   . .   .

          bn Au.gust 24: 4018, Simmons Bank sub~itted a Proof of Loss to Nation~! Union against its policy fot insurance, .
   . -relating to the ioss it·1ncurred from the-fraudulent transferto·WG,· See Exhibit C,· .Simmons Bank ciair:ned a loss in the
       amount of $154;888.23 .. Foll<,Wing National Union's investigation,:Natiohal Union Verified the lo'ss>iri the amo:Urit af
· ·-. $154,888:2~:. Simmons aijreed to s·ettie. its .claim for $154.,888:23 and, after application of the $100,000 •deductible, ·: .
      .National Union paid Simmons Bank the total amoi.mt of :$54;888.23. Oh February 26,· 2019, Simmons Ba_nk executed · ·
    •. an Assignment -an~f Rel.ease agre.ement; agreeing to assign• to National Union. all. -rights, claims, title ·arid interest· .
       which Sirrimo.ns Bcmk had ag~inst whomever c;aused the loss: See· Exhibit D.. · ·      ·     ·· ·     ·     · · ·

     - . In May 2019, V\/G, Mr: Gre~n. Cranford, and National Union entered into.a Settlement Agreement and :Release: lr:i
 · resolution of the Wells Fargo's interpl:eader action, the ·parties agre~d to a distribution of the restrained furids. Under
 .. the terms of the ag~ernenf,: _the funds :were to be distri_buted in th.e following manner: 1). $6,000 to Mr: Green; 2)
  >$68;070.0p to Cranford; 3)$32,718.55 to National Union; and 4) $7,679.50fo Wells Fargo as consideration-for ·
    attorney's tees and costs,· Accordingly, to date, National Union has recovered $32,718.55 against the total loss of .
    $154,888,23; Therefore; the.follecflve balance thafremains due is$122,169,68.                      .-     .     . ..


   Standard   Claim Form                                                    MayG,2021                                                                                    Page3
               Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 5 of 143 PageID: 334

                   .           .   .                     .           .   .              .                               .        .                      '     . .

    Inthe space l>elow, please:ii1,:;fariy documents y~u are including in support cityQur interest in the asset(s). ·If
  · none are include~; plea!i>e explain why~ .. . .. . . .. . . .. . .. ... . . . ... . .
           •ExhibitA:Wells Fargo l_nterpiead~r Complaint;: Cas!:}, No; 18-cv-oaae$~DEA (ECF Nq: 1): •.·. · . . .
      ' ' ' '.·· Exhibit B: Simmons Bank Complaint in lnte~ention, Case :No.
               .       .   .           .     .   .           .   .
                                                                                                                                             18-cv:06685-DE,A (E¢F' No. 47).                         '
           · ExhibitC: Proof of. Loss ..··
            Exhibit D: Assigrunent arid ReleaseAgreeryiEil"lt.'' •·




                                                                             . ..   .   . .    .           .-   .   .   .   ..       .   .      -   .   '



                                                                         · ·•secr10N 1v ~ .RECOVERY oF Loss· ·
   ·complete this•section,for aS$~ts you trave re;ov~red a/tor apiJ~ion ofyo·urlosses eithetvia an insurance claim and/or
   Via some other §OUrce of reCOVf:!,Y. If you have. more recovery ofloss iriforrnatii;,n than, may fit on this page,' pn~t out '
 ' rrwltiple copies Qf this' page to attach with th,e claim and -indicaff] whk;h a~sets apply to each page. lfyoir have not .· .
' • ieceivecfany recovery of your losses, then leave this•section blank          '    '     ' '  '     ' ' ' '    '      ' ' ' '

                               · · .•.... · :.·...               .: ·< • RECOVERYOFLO.SS. INFORMATION                                                                            j,   •   •   ~ ~-       V   •




   Asset10: ..                                           Asset DescriDtion
 . 19~1RS-000633                                         $51; 144 in Uriited States C:tirrencv ·


                                   · .INSURANCE CL.AIM INF.ORMA.T:ION
 · N.ame of hJ$ured; (La~t. :FiJ$t) ·· ·

 · P<>licy :Number:.                                                                                                Claim Number:

  Name oflosurance C,ompany: •.                                                                            · r-.tame of lns(Jraflce Agent: (La1,t,                        Fir~t) ·

   . - . . . . Cc;>mpany
  Insurance     .
                            Address:
                   . .. . . .   ..
                                     (Include
                                      .. - -
                                              Street;.
                                              . ..   '
                                                       Qity, State,  and. Zip
                                                               . . .. .    .
                                                                              Code)..
                                                                               .. . - --
                                                                                         ·         '   '




 .Phone: (Optional).                                                                                            :Email: (optional)•

  Have you received ~oinperisation froin .the insurance •: ·Amount of Compensation:
  com an ? • YES. ·•         NO:                 •
                                                 ·


  l_f otner source~ of r,covery •ex.isl (e;g:, restitu~ion, returns.on :invCM;tinent or oth~r settl~ments), pleas~ list. and .. · ·. ·· ·.
  describe ttie d~tails below'. .     ..      .     .          .     . ..       . . . . ..         . .. .      .. . . . .

                        ·.,. ·. . . · 'OTHER_.SOURCE S OF RE'COVERY ifa .                                                                                     le.:.,
 . S<>Lirce of Recovery .1:Settlement                                                                                                                       . Arnou.nt of Recovery: ·
                                                                                                                                                             $32;718.55      ''. . .
  Source of R,ecovery 2: ·                                                                                                                                   •Amo1Jnt of Recovery:




    Standard Claim Form                                                                       May6,2021                                                                                                          Page 4·
                      Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 6 of 143 PageID: 335

         .                             .                                     '                     .     '                                  .                .        .               .

 '"" the space beiow, please list any documents you are indud,ing•·jn supp~rt pf your cl~iril·:of recovery~f loss. :•
.If none are included, pleas& explain whi;. .    . .. ..   .. . ..        .. . . ..          . . . ... ·· · · .  .
        ..        .    .           . ·..       ·..   ',   .. ·.·. . . . .   ·.   :        ''       '   ....   '.       .   . .   . ..   .       . :   .   . ·.... .       .   .....
         . .·1:;xhib.itA Wells Fargo lnterple~cler.Complaint,.CaseNo. 18-cf06685;.DEA(ECF.No.1). ·
             : ~xh1bit:
             '  .
                        B: Simmons
                           .   .
                               .
                                   Bank :complaint in lnterv.ention, Case No.18-cv-06685-DEA (ECF No: 47): ·....
                                                     .     .


         ·.· Exhibit C: Proof of. Loss; ·
             ..            . .....         ·    ..         .   .   .                 ..        .         .·        .

             : E_xhibit. D:
                         .
                            Assignment
                             .. .  .   and Release
                                            .    .
                                                   Agreement.:.·: ..                           .




  Standard Claim Form                                                                              MayG,2021                                                                              Page 5
                                  Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 7 of 143 PageID: 336




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Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 8 of 143 PageID: 337




         Exhibit A
                                                                                                                                                                                                                                                                                .                  .                                          .
                   Case. 2:19-cr-00525-KM
                            . .-. .     . . . . Document 52 Filed 05/10/21
                                                        .                -   Page 9 of 143 PageID: 338                                                                                                                                                                      .
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                                                                                                                                                                                                                                                                                                                                                          .


                Case 3:18-cv-06685-PGS-DEA Documemt ·t .· Filed ·04/13/18 · Page· 1 121. Pagel[): 1 • .•.                                                                                                                                                                                                                                                                                             of

                                                                                                                                            _· UNITE,D S'I'A'tES I>IST.RIC'l? COURl' _· ..
                                                                                                                                                . ·•DISTRICT OF1'lEW JERSEY.·:··
      .. -·                 ,·                   .          .       - .    .                         .       .·..                               .                     ..                      ·.- ..                                          .               .    ..                              .                      .                   .
          .· .. WELLS•FARGO·HANK~:N,A., ·: .                                                                                                                                                                                                          ·· ..Civi1Actioi1No.:
                                                                                                                                                                                                .                  '            .                             .·            .
                                                                                                                                                                                                        '.     '                . .                                . · ..
                                                                                                                                                                                                            Plaintiff,                                            ..
                                                                                                                                                                                                                                                          .. · .. ·                             . . ..                   . . ',.                          .-              .              . ... ·.. .                    .   .         .   .·            .. ·_·
              . : v,                                                                                                                                                                                                                                              . ·. COMP:t.AiNT FOR INTERPLEADEJi ·
      · ·•.··WO
           .
                   HOLDINGS·
                   -.          .     ' LLC
                                         .
                                                -· .·. ·. · .. ·:
                                              _,_                                        "                                                                            "


       . WILLIAM
             -··      ..
                            M; GREEN
                            .·   .··
                                                  JR. ....
                                           .. , .. ·                       .

             KP. .JOH
                    ..  .
                         BOURBONLff
                          .          . .    .      , LLC' :. : .· . . -.. ·. · . . .         .                         '                                                      '           .                                               .

             CRANFORD BUCKLEY $CHULTZE ... -
                        t6MICHIN ALLEN: & BUIE, P.A., ·and
          . . OOYLE: &i wALLACE, PLLC~                                                                                                                                                        : :. . .
                                                                                                                                                                  .                   .                                         .                     .   '


                                                                                                                                                                          . •:: Defendants. .. .

                                                 ''     :             .: ...
                                                                     . .        ..  . :
                                                                                   ..    : . - . :'
                                                                                                 ':          ..            :
                                                                                                     : . . . : :· . . . . . .    :   . . . . . . . . ..                               · ...             '                                     .           ..                                                        ..                                           .                                                      ,".                    '                                             ·


                                             . :... •Pl~intiff, WELLS FARGO :BANK, N.A ("w'.ells .F~go"), by rutd thi-9ugh itif undersigned _· .. .
.     '   .                                                     .    .     -                     .                             '   .            .                                 .                          . .            .                     .                                     .   .      .                      .               .                    . .        .   .              .                                  .         ..            .
    . •: ·: attorneys, :Fox Rothschild, LLP; andJJursuant fo 2s U.S.C. §§ i.33,2, 1335 and 2361, b; way of
      ..        .                   .        .         .                       -     .               .   .         .       .                    .       .                             .   .                                 . -       ,               . .           .                                  .                      .   .           .       .                   . .       .            .        .       . .                          .            .        -           .



              . Complaint for Interpl¢adera,gainst I)efend~ts, WO ~OL.DINGS, LLC ("WG"),                                                                                                                                                                                                                                                                                                                                        \VIL~IAM M:_.· _
.   .. ..      ..   .                   '.            . '       . . .                .           . .              . . .            .                '       . .'.'                .       .         .   ,      '       .'       . ':.             . .                :              '       ' ''           ..       ..            .   '           '       '      '   ..... ·..               .       ..       '   :                 . . . . .·.         .       ..       .   :. .    .   ...


           .. GREEN, JR. (''Oreeri''), KP JOH BOURBON LB LLC ("Bourbon''), CRANFORD BUCI(LEY :::
          :· .... ·: ·: .·· . . . . ·_-:;: :·_. ·_·::: ·_. ··::: ._.·_. _· _· .. -.· ·:: . ·.- -_-::: . :· .... _·::: . . .            _-                    ..       '.                                ·.             .            •·.                                                                        __                                                             ''        ''                        ,_.'



            · SCI{QLTZE TQMI¢HIN ALLEN & BUIE, P!A. (''Cranford,,} and DOYLE & :WALLAGE,:
      '         ..          ,                                                                                          '                        .                         .                             .                   .                 .                         .                          .                .                                                               ..                            .

    ... · .•• PI.,LC ('_'Doyle") (coll~~tively~ th~ ~'Giaimimt I>eferidants''), hereby alleges as follQWS: .
                                              . . _·.·.. . . : :... :: . . . : . ·_. ::.·'
                                                                                                                                                                      . · .-.... NATURE OF ACTION• -·_
                                                                                   . .                                 '                    '                . .                          .             ,"                      ",    ... ·                          ,"                                .            .                             .                   .           -_,        .        .           '                                ..   -        .           .           .

                                                           <l . : . .. This                                   interpleader ~tiori. arises out of~ dispu~ betw~en the Cl~imant Defond~nts                                                                                                                                                                                                                                                                                                     .
               . concerning tWd separate wire transfers to Wells Fargo ~hec~ing accolllltb~kmglllgto                                                                                                                            a                                                                                                                                                                                                                  wo: ..... .
                                                      · .2.                    . . The -Claim~t · D.efe~d~ts,: frr                                                                                                                                        conrtectiori. with those two .wire .transfers, .· are . .
               -alleging entitlement to .all oi a portio1:-ofthe c:ollectiv~ $114,468,IO• pres~ntly .beiris,.heldand

                    restrained in: {a) the Wells Fargo. checking acccmnf belorigirtg _to WG \¥here the two :wires: were •




                ACTIVE\5453Q6l5.v24/12/18 .
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            .   .   Case
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       .·. . . •....·.·.· •. ···•··.·. . .··•. · • .                                                                                                                                                   < : : •.. : .•. ·.. ·. .· .
       .
           . . received _($IOt0'76.93)and (b)
                    . .            ..    . - .   .   .                   '   -     .. .                           .
                                                                                                                                  aseparate
                                                                                                                                        .
                                                                                                                                            Weiis Fargo ~hecking account belonging to Green
                                                                                                                                          . .                  '     . .   '       .   .           .                   .        .               .                       .   . . . .. .            .

           . where porti~ns.ofthe wired funds w~r~ subsequentlytr~sferred; ($ll,~9Ll 7), .....
                                                                             . .        ..       '                                      . .             .          .                       .               '           -            .       .       .       .       .                      ,.     .                   .        . ...

                                        3.                     WeUs Fargo,, as .a disinterested stakeholder,: ~~eks                                                                                                                         to •interplead th¢ •disputed,                                                              ·

   .··.. · restr,ained : (unds into the                                                                  C~urt Registry. to. allow .the .Cl~itnant ·D~ferid~ts to                                                                                                                               Ii.tigate their •...
                               .                                                                                      .           . .                                  .                                                   '.


  . . ·•. respecfive claims to the testrained funds amqngst themselv~s:. ·..
                                                                                                                                                  . .          .                       -       -       .
                                                                                                                                                  •:PARTIES.·.·

                                        4.                   ·Wells targo.is a ~ational ~anldn~ assrici~tion :With.its: niain offic~, as setforth in
                its .Article~
                     ,      . of
                               . Associatio~;
                                         .
                                              in $ioµx Falis, South
                                                         '     -
                                                                    Dako~;
                                                                      .  ' -
                                                                             Accordingly,
                                                                                     :· .
                                                                                          w  ,   . - f~go
                                                                                          . . ¢:Us      .''                   '                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                lS a. citiz~ri or:. . •.
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           :··:South Dakota{ .
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                                                                                                                               company
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 .... : has its •~rincip_al .{)lace of bus.ines$: in wan .'fowriship, New. J~~ey; .· Upori informati~n m,id beHe~ .

                the            members·of W.G .are citizens of New Jersey: Accordingiy, .WGis a citizen•of New"jersey.....
                Flii1:herinore;
                  . ··        .. ·
                                   the curten~
                                         '  .
                                               addi·ess
                                               - .   .
                                                                                                                                    Hste.4 for: WG. on jis restrained
                                                                                                                                                   '       .· ,".··
                                                                                                                                                                      aqcount at· Wens Fargo is in• .
                                                                                                                                                                                   ,.              .                                    .       .       .           --                -·          '   '




           •. Wall Township, Nev,dersey. •
                                                               . . . . ·.          . ..              .   '    -               . .             '             . . · .. ·             '           . . .               '   '...                 .                   .           . .            ...    '   .. ·    .·          ·.

                                        ·9! .. · · Upon iµfonµation · arid :beiiet:.. (}roon is a resident and· citizen of New Je~y. . .
           .. Furtherinore, the ~urrent address listed: fQr Green on his restrained account ·at Wells Fargo fa. the

           ·. same Wall Township; New Jersey address li~ted for VvG.. ·

                                                 :~ridb,elief, Bourbon is. aMissQuri Hmite~ liabilitycomp~y and .
                                        7: .:•. XJpoii infonnation
. ·.            has its .principal ~lac~ of business in Cla)lton, Miss_ouri. Upon info~on and belief, the .

            . memberl?. ofl3our~on· ~e citizens ·oflvfissouri: .Accordingly;Bourbon is a citizen of Missouii

                                        8, · . Upo_n ·irifonn~tiori . and belief1 Gr~ford .. is . a · North . Carolina .• piofessi9nal
                                                                 '                                                        .                                                    '                                                                                .



           . association with its· priridpal place of business in Charlotte, North Carolina;. A9cordingly; ·• • .·.·

           .· ¢ranf<?r# is a citizen ofNortl} Caroiina.
                                                                                                                                                                   2
                          . .
                ACTIVE\54530615; v24ll2/l 8
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                          ... · · 9, .. :.Upon .foformation and belief,
                                                                 .
                                                                        Doyle.
                                                                           ..                                                                   .
                                                                                                                                                                                             is :aN~rth ¢arolina professimuil •· limited • . ..
                                                                                                                                                                                                          '                . .             '                         .           .               .   .         .              .   .   .



      : : ·liability .~rripany with .its . principal place of •b1:1sin~ss. in: Charl~tte; .-North.: Carolina. Upo~ .·. •-. ..

 . . . :-.. information and belief~the meniber~ of D~yle are citizens of NorthCar~lina: Accordingly, Doyle·: ..
     ...is acitizen of NorthCarolina..·•.•.·
                                                                                                              . ..              JUltISDICTION AND VENUE
                  .   ..       .           .   •'           .       '


                          ..•. : lO; _· ·                                   Weils .Jiargo: bdngs. tfiis                                                         int~rpleader action pursuant Jo 28 V,S;c.                                                                                                                 §§ .1335 and                 .--••...

.. : ::-:. ~36h beca~s~ the~e is diversity of citizellShip between :at least two Of i~e C~aimarit De,fendants,

..... :.: .. •. and . the
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                          ainountin con~oVer/iy. inJhis ~ction
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                                                                                           of interesta,nd
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                                                                                                           costs,
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                                                                                                              '                                                                                                        .                                                                 .



                  .....·: H; .. ·..• This Court also has jurisdiction over this matter pursuant to 28                                                                                                                                                                                                              U:s~C; .§·1132 •.· .- _· ..
      • : because.
            . .
            . .   ..
                     there
                        ..:.
                            . is . diversity
                                       .. .
                                             ·:of ...citizenship.
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                                                                   betvve~n
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                                                                            ·. .W¢lls
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                                                                                      . Fargo
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                                                                                              . and;
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                                                                                                     ea~h.        ,       '.            '   '                          ,          '                               ..                           ..       .                '           .       '
                                                                                                                                                                                                                                                                                                           of the
                                                                                                                                                                                                                                                                                                           '   .   "
                                                                                                                                                                                                                                                                                                                    Clai,ina#t . ..
                                                                                                                                                                                                                                                                                                                  . .. .. . .
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   . .... Defendaµts                                        to thi~. actioni. and the amount in. controversy in.. this interpleader: action C;ixceeds .· ..
   . · · $75,00~;00, exclusive of inter~st and costs;                                                                                                                      :                                  .
                                                                                                                                                                                                              .
                                                                                                                                                                                                                           .               .
                                                                                                                                                                                                                                                    .            .
                                                                                                                                                                                                 :,               .            '   '   .                    .   :.

                                           12. . Venue is appropriate Jn                                                                                             the       District Of New Jersey :pursuant :to                                                                                                               28. us.c.•...
    .·.. : .. §139:1
                .
                     (b)(2} because
                      .      .  . .,   ,
                                                                                                    the
                                                                                                    .   State ii New
                                                                                                                  .     -· is. where a substantial
                                                                                                                  . Jersey,     .   .       ..
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                                                                                                                                                   pot:tfo11 of the facts. giving
                                                                                                                                                    .       .    .         .. ·           ....        ,               ... '                    ".                    .       ·.·                     .·.           .. .                   .       ..


 .· .. •.· .. .rise to. .the causes of action
        ,                               .   .
                                              :set
                                                . .
                                               ''                       '                       .         .
                                                                                                                               forth 1n this Complaint occurred> :·.
                                                                                                                                                .       ,   .                         .     ..


                      . . ·. 13. •.·· .. Tl1is Court has jµrisd1ctioil over the parties,pursuant to28 lJ:S.C; § 1335 and

        .. 2361, which grant,s_·di~trict courts· authority to iss~e natfonwide· seniice of process .in ·statutory •

     . ..•. interpleader actions, ~d because at least .prie of: the Claimaµt Defendan~                                                                                                                                                                                                               is    a.citizen of and .

            ·resides in                        th~ state ofNew Jei:;ey. ·
                                                                                                                      ~ACTS COMI\10N TO.ALL COUNTS .. ·. ·· ...

                           . .. 14. . .. On or about January 26, 2018, WG opened a Simple)3usµiesirCheckirig;
                                                                                           .         .
                                                                                                              Account
                                                                                                               .
                                                                                                                      .. .                                                                                                             .                                     .




             (Account: No. XXXXXX5335) aJ the Wells Fargo store located i~ Allaire Plazajn                                                                                                                                                                                                                                            Wall
            Township; New Jersey' (the "WO Accouni");.

                                                                                                                                                                                3:.
                           .                            .       '               .       .               . .           .
             Acnvr:\54sJo6 is:v2-4112iis. . ..
               '
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                                   · · .. · 15.                                            •Gre:en .wiis designated:. asJhe auth~rizeisigner
                                                                                                                                  .          0~. t1'e
                                                                                                                                                  .   WHA~ourit;
                                                                                                                                                      "       .                                                                       .                                                                       .                                                                          '




                                           . . 16; : . Green also has                                                                                                                an Every Day Checking Account at ·Wells Fargo (Account 1,To;.                                                                                                                                                                                                                                                ·. · .

      . . :•..· XXXXXX3970,:the
                 . . .        .
                                .l'Gre~n Persoria.1
                                          . .       Account;');
                                                            . .
                                                                whicfrhe operi~d:on orabout:June
                                                                                      .
                                                                                                 16;2017: •·
                                                                                                           .               ',                                                                  '                                                                 ,                                                                        '           '.                                                              '.                                        .            ..



.: ·: .• ·.:. .. Greeti
                  .
                        is. the sole. owner
                        .  '             .
                                            ~d                                                                                                                      signet on the Green Pet'Sonal Account,
                                                                                                                                                                                     .              .
                                                                                                                                                                                                           and the ad&ess list~d for thb .· . ·                      .          .                                             ..                                   .


               . Gteeij
                  . ..
                   '
                        Personal
                           .     Account
                                  .
                                         is . .the sa,me WallTciwnship;
                                                 .    .    . . ..  . . .
                                                                         New.. Jersey
                                                                                  . . address.listed
                                                                                        . .        . .
                                                                                                       for the
                                                                                                            .                        "".                                         '       .                          '                                                                                                   '             .                                     ".                                    '                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             WO .
                       . Accou11t · · ·
                                                                                      .. . . ·.·. : .                            .   : ..             . ..      ,,       .                   . :.     .   _·            .
                                                                                                                                                                                                                                                                                                              .             ·.·.·.            ·.•.····• ..........· ..... •.···.·. •·· ··.·.. ·.·.··•· ·.· ·.: ...... .
                                                                              .· .. ·•                 .....·.·.·.... :·.· ·•• ... ·. ·· ....                  ..                                                                     .                                        .

                                                · 17,                                          On                          or a~ou( Febro.aiy • 15, ·. 2018~ th¢ WG Account ft:ceived awire transfer .•

... :.· .. (Referei1ce Nwnber:· 0•015237~) front Bourbrin in the runount:of$154,888~23 (the ~'February                                                                                                                                                                                                                                                                                                                                                                        1sdl .• •..
      ..·.. ·..· Wjre'l: The 6riginatii1g bank fqr the.February .15th Wire                                                                                                                                                                                                                                                   Was Simmons Bartle ·C'8illUllohs'1 and                                                                                                                              ..
      . :.WG · waS
                 . ..
                      list~d.· under
                               -.. ·. . both
                                       ....
                                             the ~'.:Beneficiary
                                                        .. . .
                                                                 Irifor~atim1's
                                                                   . . . . .  '
                                                                                and
                                                                                ·   .
                                                                                      ''Ci-edit
                                                                                         . ..   Infoiniationh
                                                                                                  .· . ··.·...
                                                                                                               sections
                                                                                                                  .
                                                                                                                        of                   .                           .               ',".                                                              ,·                                                     ..                                       ,                    .                                                    ..    .    .                             . .           ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ·. .·· · ...


  .   .                . .             .
                                               A. (slightiy.
                       •· the Wire. Detail Page;
                                                .....·-
                                                             redacted) copy of Wells Fargo'~ Wire Detail I>age for the ..· · ··
                                                                                  '.       · . . . . . . ··..                                .    .                                                            ·.                 .       '                    . . . . ..

              .. ·. Feb~ary i 5tii Wire. is attached h~reto ·as Exhibit A: •.· .· .

                                                               \\fG1nade an onliiunransferinthe ainourit of .•.
                                                ·rs; .• ·. Laterthatday (Februarf 1s; 2018),

              . . $151,00(t06fromthe wnAccount to• .the Gr~~· Personal Account. Then~ laterlhat same :day,·· .. .

                  Gr~n made a $150 000.00 wire transfer from the Green Personal Ac~ouiit to ''Gemini Trust·• ......·
                               .            .             , .
              ··..                 . .                            .       ·· .. .. . . ·                                        ?.
                                                                                                                                 ,·•
                                                                                                                                            . .                          .                          , .                     . .                           . .                 . .                   . .                     , .                                . ..              .                  . .                    . .            . .                       ,               ..



              .· Company, LLc:•• •• •· ·. • .
                                   ..       .             .               . ...                                '   .             ,•·                                                                                          .                   '   ....                ·             ,                         ''.             .           .                .   :..                           .. . .                          .                      '               .·          .   :
                                   < ····•·. 19;. ·. •. 01i
                                                . .      . . February• 1(5,. .20t8,
                                                                                 . . WG
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                                                                                      '    . . ari•onlin~
                                                                                                  . . . trarisfer.in
                                                                                                          .     .    the.amoµntof$19;00(l.O0
                                                                                                                          .      .    . .  .              ,                                                                                           .                                                                                                                                      . .                                                ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .

              .. from-the
                  .
                           'WGAccowit.. to
                          . .            . the Green
                                               .     Personal Account.. Then,. later thatsaine.day,
                                                                                      .... ·
                                                                                                    Green made a
                                                                                                    . ..                                     .                                                                      . .                                                                         .                                                                                                         .                                                 '




                               $19,000.00 wire transfer fro.m tlle Green Personal A.<;com1t to. ('Gem.ini trust bompany LLC.'; :.•. ·..·•.

                                           . • 20. :· On :February 21, 20[8,the.. WO Account>received a                                                                                                                                                                                                                                                                                      wire•t(ansfer (Reference• .•..
          .            .   .                     .                . .                 . .                      '   .                 .            .                  .                   .                     .                                  .        .         .   ..     '   .   '                 .         '       ..                . . .                    ..                    . ..    .        .              .                                          '


              .· Niimber:·
                 -
                           00148632) froin Cranford
                                             .
                                                    ill the amount of$75,044;78 (the "February
                                                                      .               . .. .
                                                                                               2i Wire'').
                                                                                                  .'
                                                                                                           The                                        .                      .                                                                             . ,                                                                '                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                                          st


              .. · Qriginating bank
                               .   '
                                    for the F~bruary
                                                  .
                                                     2P1 Wire w~. Bran9h·
                                                                       . Banking arid Trust
                                                                              .        .
                                                                                            Company .(''BB&.T''); .
                                                                                                               .                                                                                                                              .                                             '                 . .                             ,                                              ,




                   . WO was listed under the "Creditlnfo.rmation'' ·secti~n of the Wite Detail. Page, .but. Doyle was                                                                                                                                                                                                                                                                                                                                                                            .. .


                                                              .                                                                              .
                                                              .                                '                       '    .
                       . ACTIVE\5453061.5.vi-4/12/18
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         .: · listed ·und6r Jhe '~Beneficiary• Inf~tmation';. section
                                    .                                    "..                                               . .                                                 ''.         .           .                     .
                                                                                                                                                                                                                                         With. thci :;GAccount number: :. (slightly
                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                    .. ·.·.···.. ·.
                                                                                                                                                                                                                                                                                    .       .                                         .
                                                                                                                                                                                                                                                                                                                                                      A
         .:.. redac~ecl}copy
                .   .      . ·.
                                of Wells ·Fargo•~· WireDetaip~~ge
                                            .        .   ..  .
                                                                  for tlle·
                                                                  ..    ..
                                                                            February
                                                                                  ..
                                                                                     21st Wir~. is atrached hcireto .· ..
                                                                                                              .                                                    .                                            .                                                                               ,,                                        "                           .



                        as Exhibit B.·.
                           . . ...· 2L :.· : 011 February 2l,>20l8; Sirillllons notified Wells Fargo that the .February 15th Wire                                                                                                                                                                                                                                                         :.

               ..·was fraiiduient
                          ..    .
                                  and r~hested
                                        ...    that fµnds
                                                       . . froiri the
                                                                   .
                                                                      February
                                                                         .     :l 5th Wi~
                                                                             . .      .   be sentback
                                                                                                   ..
                                                                                                      to Simmons
                                                                                                          .  . ...
                                                                                                              .. . ·: •·.         .    .       .           .   .       .   .         .                      '       .    .                .    ..           . .             .                                 .   .                       .   . . .                       .




                                                         ·. -22: :···••Folldwingtbe                                                                            fr~tid .notification•fromS:immo_hs described                                                                                                           above; WeUSFargo .. · ·: ·.
                                                                                                                                                                                                                                                                                                                                                                                                    . ...   I
.....•.. froze:andrestr~ined the WG Ac~ount and•Qreen Personal i\ccount.011 Fepruary21~ 201r ·. ·: .

                                                             . 23; · On-February 22~ 20i8; BB&T notified Well~                                                                                                                                                          Fargo :thatthe February 21i.(wire                                                                                  : .· .

           . \vas fraudulent
                    . . .
                             .aiid request~d
                                      '  . .
                                             tllat any temaining
                                                         .
                                                                 funds                                                                                             '                       .           .                                      '.
                                                                                                                                                                                                                                                    b~ .retum~d by
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                                                                                                                                                                                                                                                                          to_ the. originating·:
                                                                                                                                                                                                                                                                                          ...
                                                                                                                                                                                                                                                                                                 : . .. .                                             '.         '




         . • account-()rliycheck to-~B&T ::                                                                                                                                      .

                                                                 .24. _:: .. Wells                                               :Far~o has Specificaliy restrai.1~ed ili~ baianc~ of $103,076.93 in the WG:.
         :. ·. A~count
                 .   ..
                        and:
                          .-
                             $H,391J 7 in
                                        .
                                          the. G~een
                                            '      .
                                                     Personal
                                                      ..      .
                                                                Ac6ount
                                                                    . ..
                                                                         for ~total
                                                                              .  . .
                                                                                     of $114,468;
                                                                                               .
                                                                                                  1Or~$trained:
                                                                                                        .. .  ..
                                                                                                                •.               ' '.                  .                                 . .               ''                        .                            , '   ,                       "                     ,   .                                                   .   .




                        fuil~s ( collectively the "Restrained Proceeds"). ...

                                                             · : 25 .. :••.• WG andGree11 are disputing theabove~teferenced aUegationsQffraµd.:. ·

                                                                 •26; ... There.
                                                                            .  . js
                                                                                  ..          . . ~ towhi6h
                                                                                     now a. dispuje    .   .
                                                                                                             of the ·ciaimant
                                                                                                                           .
                                                                                                                              Defendants
                                                                                                                                    .
                                                                                                                                         are entitled tci the
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                        Restrained Proceeds·. ·: : ...

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                    .R,estrained Proceeds.                                                                                        .·



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                         . 29'.                           At all_times material, the relationship between Well; Fargo. and \VG relative to the
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        which isittached hereto as Exhibit t. '.

                              ~o... : .-._ At ali times material,_ the tel~tionship between Wells Fargo. and Green relativ,e ·tti •.. : .
   '' the Green Personal Account was/is governed
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                                                                                                                                         by' the Consumer Account Agreement, a true and .
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   . correcHopy:ofwhich:is attached hereto as Exhi~itn                                                                                                           >.- . ·.
                              31. · ·•· Well~. Fargo ·has retained the unders_igned atromeys to t~pre~eilt: it -111. this action
. :. ·. ~d has• agreed to pay them a reasonable fee. • .. '

                         · 32..                           Wells Fargo is e11titleci to recover its reasonable att~~neys~ fees a11d costs in this

   ,. action
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    •occurred;

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                     - . 34; .·                           Paragraphs 1 t~righ 33 of this pleading are i11c·orporated hereiri by re,fer~nce~ the ..

    :saineas if fully set forth verbatim. •· .· .

                          35; · · At this tin;ie there exist rival, adverse and conflicting,claims between the Claimant

  ·•· Defendru1ts
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                  .as to the Restrained Proceeds. .
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                . ', . 36: .• Wells Fargodairris                                                          rio inter~st                  hi the Ilestrained Proceeds and has done nothing to _· .•.· .
    create the dispute over entitlell)~nHo the R~strafoed Proceeds.. •' .· : ·:

                          3 7.                        B,y reasori of the conflicting. claims to the Res.trained :Proceeds;. W,ells Fargo Js in• :·
   .·doubt as to who is entitled to
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                                   38.                Wells F:argo is:ready, vv.illi~g.:and able to deposifthe Restrained PrqceedsjntOthe-

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                                   WHEJmF()Jm~ Plaintfff. Wells Fargo. Ba11k; :N:.A respectfully requests the followin~ .•: . .
               relief:. · ·
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                             . . •A. . . . That..this Court. ful(e jurisdiction· over the parties; ~d permit WeUs :Fargo. to :

         •. ·. deposit the Restrain~ :Pro~eds with the Ilegistry of the ¢ourt; :• · .

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               styled Cause to h1tei,,Iead as. to their tights and settle or litigate aniongst. ih~~selves their claims .· .
. . ·.        and rights                       lo ~e ~estrruned ~toceeds; : . ...
                             . · c: · .... That We.lls Fargo be discharged from all liability fo ·ariyof the parties to. this
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         . acti~n concerning WeHsJargo;_s obligations reiatedto theJ{estrained Proceeds~ the February 15th

         ' ' Wire,               ·the. February 21sf wire,. the WG. Account,. the GreeitPersonal :Acc~urtt aIId.the. wire.•'.·
.. . . . • transfei:smade by WGto Oetnini Trust C~nipanyLLC; .
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                                                  . ;That. the Claimant Defendants b~ 'enjoined. and. pr<>hibited. from instituting any ·.

         .. · actions_ against WeHs Fargo and/or its agents, a.ffiliates~ ·e1nployees,. ~d se~ants, regard11lg the .•. · •: ..

              · Restrained Proceeds, thci.February l~ih·Wjre; the Feb.ruary 21st Wire,the WG Accoru:it, the·(Jreen .....

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                                 . E:' ••. That W~lls .Fai·go be a\\'ar~ed its costs and re~onableattirneys' fees, tobe paid
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          • fr<mi the Res.trained Proceeds; for bringing this                                                                                                   action;.
                                  ' F.            : :That Wells •Ff,irgo he dismis~d as a                                                                                            party io this acti~n; and



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              ACTIVE\54530615. v2~4/I 2/18.
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        · o:. •·• For.such other and further reliefas.this Court d~msjust, equitable, Md prppe~.     _: ·
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·• Dated:_ Aprif 1212018                                    .   ,             ..
                                                 FOX ROTHSCHILD LLP . . . .                  .
                                                .Atto~neysfor Pillintiff, WellsF'argo.Ba~k, N.A; .

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                                                 By: ·s/ Matthew. S. Adams
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                 Aiervice is ;:iny servic~ the ~ankprovidestoyou Including w.lthout limitationanyTreasury
                 Management' Service. : · · · · ·             ·· ·              ·· ·             ·· ·

         . . . .'Wha(inforrnatlon :does the Agreen1e.,t contain?                                          .
                  .   '         '       .'       "'

                 The Agreement ..
               .'-~-· '' Explains th:e -terms ofyour banking relatio~shlp wJth W~lls Fargo, '' ·. ' '.· ':. .. . ·. ·.· .• : •.· '·. ' .• :.' .· '
                  •. ···ls.the entire Agreement betweerrW~lls Fargo and you f<>r your account and any services; ..
                . • .· •Replac~s all prior agreernents induding a.ny oral or writte.n representations; and
                  • . · Includes ieg~I infor·mation •about your banking relatio~ship with Welis ·Fargo; ·
         .....·Yot,J are responsible fol'. en~uring that all authorized sig~Jrs on your acc;ount(S} are fami,lfar ••.
              :with thls Agreement.· '         ..     . '' .. '. . .' . . ' '. . .                ' '' ..
                                                      1,
                  We suggest you retain copy <>fthe Agreement_:_ and any further Information we provide you ....
                · regarding
                    . .
                            changes
                             ..
                                    to th~P,.greemerit
                                    '  ..'
                                                             as long as. you. . oiaintc;1in
                                                     . ~.for ".,.   "'              .
                                                                                            yout.W~lls
                                                                                             . . . .
                                                                                                       Fargo accounts,
                                                                                                      . .        . .
                                                                                                                       ..
                                                                                                                       .
                                                                                                                          ·         ''




                 Are      we aUo\l\fedto change the Agreement?:.
         . . .· Yes, we ca,n change the Agreement by adding n~wterrris or c6nditl0hs; or by m()difying                                     or •.
             . ' deleting :existfng ones. We refer to each addition, i"nodificatioh; or deletion to the Agreement •
                 as a"modific~tion:'           .. . .      . .. . .          .     . ..        . . . .. .        .
              ' . Noticeohi modification: if we are required to notify you pfa modifiCatioofo the.· . • •... '•.· • •.
                 . Agreement~ we.WHI descr_il,~ lh!:! m~tlifit:~lion aiid its effective date b}'a n,:essage within your: ''
                   a'ccount statement o,rany other appl'.opri.at~ means: •.·. .            ..      .        ..      .
                 Wahler of a terni of the Agreement: We _may agree in_ writing to waive aterm of the Agreement, ·
                 including a fe.e: Th(s: is called a;,'ft(clive~ Vve may revoke any waiven.ipon notice t~ you: . . .

              .··Hnw ~i you cons$nt to amodification to th_e·Agreement1 ·.
                You ¢6nseiitto a modifk~tion to the Agre~ment.if you continue to use your ac~ourit after a .
                modification becomes effective or a waiver-is revoked.     .     .        ..     .     .

                .Wh~fhappens ifaterm of the Agr~~hlent is determined to f)e imiaiid? .· ..
                · Aiiy term. of t_he: Agreement that i5. inconsiste_nt with.th~. iaws gov~rning youraccount will : . .
                  be con~i~er~d to be modified by us. and applied in a manner corisisteritwith such laws. P.ny
                  term. of the Agreement that a court of,om petent jl,lriscti~tlon determiries b_e invalid will :         to
                                                           In
                  be modified acc9r:dingly. either case, the modificatiorrw!II. not affectthe enforceability or
               .· validity <>fthe remaining terms .qfthe Agreement. .                  .              .           .

                 Who  will we tQni.irn,1okateWith aboutyo~raccount?.·
               . \Ne may provide you or an aµthoriz,e"d s,gne~ w,ith informaUo~ about your account.When we             ..
              •.. receive i!iformatiori from an authQrizedsigherjiie treat it as acom mu ilic~tioh from you.Yq\,J agree
              ··_. to notify us promptly in writiri_g if an aii(horized signer no longer has authority on your'account ·




     -                                       .             '                     '



         2 Business Account Agreement- Effective April 24, 2017
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      .• -. 'Arbitration Agre~ment    be~ween yoti <Ind Wells Fargo ' .
        ··1r you have a dispute, we hope tci resolve it as ·quickly arid easily as possible. First, dis~u:ss ·                           St
                                                                                                                                         r+''
                                                                                                                                      . '-"I      '
            ·. yolfrdispcite wlt_h a banker. If your bankerls unab1e to rt;solve ym.irdispµte, you agree.that                       ,, o . . '
                                                                                                                                     '' Q..
               either •wells Fargo or ·you can initiate arQitr~tioh as described}n. this section .. :·· ...... .                        c:·'
                                                                                                                                        ·n
           ·. Definition: A~pit~ationniearis an irnPartl~l th,ird p<!rty wii1 h~adhe dispute be.tween                                   ct'"
                                                                                                                                        O·
                                                                                                                                         ::::,,
      ·.. Wells Fargo and you :and provide a decision. Sindin~f arhitrati91i means "thi decision. of the •·
        '. arbitrator is final •and enforceabl_e. A.;,dispu"te" is any unresolved disagreementbeh,v¢en •'
        .· · weili; fargo:aridyou. A"dispu:te" may also :inch.idea disc19reement about t~js Arbitration :
      .·· Agreement's rnea~ing; app!ica~)on, or enforcem,erit. ·: .            . .. . .              .     .
              .Except as stated in !'Np waiver ofs~lf-he1p or provisional remedies" beloW,Well:s Fargo
        '.· and You 'agrE:?ei at WeU~ Farg()'f or your request, to submif to _bfnding arbitration-an claims>.:
          . disputes, and t:ontroVersi_es·betyveen ·or a_inong\,vells Fargo arid you {and th~ir respecti_\ie .·. ·
            .· employees, officers, dire~tors, attorneys, and other agents), Whether in tort,: tontra:d or ·:. ·: .
      ':. otherwi,se ari~lng ovt of ortel~ting !n any Way to your accourit(s) and/or Sef\llce(s),                 andtheir
              .negotiation, execution, ad.ministration, modifkat1on~ substitution>fc:>rrnation, Jnduc¢mei:it,
      : •.·enforcement; default; or tennlnatipli (each,:a"dispute"); : ·: : .. ·. . •:· · ·. ··:. ·: · .. •·...· · .. ··:. ·: ·
      . . DISPUTES SUBIVllTTED:ro A~BIT~ATIO"' A~ENOl~ESOLVED iN COURT BYA JUD(iE ()R
      .·.· JURY.TO THE EXTENT ALLOWED BY APPLICABLE LAW; WELLS F"~GO:ANDYQU E,ACtJ .
      ·.· . IRREVOCABLY AND VOLUNTARILY WAIVE THE RIGtifEActi MAY HAVE TO ATRIAL BY .
                                                                                                                                  •·itt••··•·.···
                                                                                                                                       o·(I) .....
       '.''JURY FOR ANY DISPUTE ARBITRATED UNDER THIS AGREEMENT~ .            '   .                                                  ' ::u.c
                                                                                                                                       ' . et' '
         ' Aside frdm s~lf~heip rem~die_s;this Arbit~ation Agref:?ment has ~nly phe ~xceptioh: l;ither . ' ' '
           Wells Farg<'.> or.you may still"take any dispute ib small claims court.         . .. .. .                     't'I) . .

                                                                                                                                     ·a~
      ' .· Arbitr~tiori is b~nefidart;,ecaus~ it provides a legally binding q~~iSIC)~ .hi :a.rtiore streamlined, ' ' ' ::::,-:,. ,..... .
                                                                                                                                 fl)' ' .             '
       · . cost-effective manner thon atypic:..,1.court ¢as.e. s·ut, the benefit ofi,irbifr~ti_ori .is din:,iriish~ if . o3. ·
      ' ' either:Wellsfargo or you refus·e to submit to arbihation following a lawful demand.Thus; the . : §\~             ID Iii'
                                                                               a
       .·.·party that-doe·s· rio:t agj-eeto submift() arbitration after lawfur demand by.the other party.·· · c:t.01
                                                                                                                           o.::::,
        ·. must payall of the ~thefpart)ls co5.ts and expenses for compelling arbitration; ·. ·. ·.. .: · .· · ·..         ::, C.·
                                                                                                                                       Ion' .


      '. ,· ('.qil ~.ith~,: WeU~ 1=argo or. you pi.,rtidpate in dass or repre~entativ~ adioi1s? :' . '
  '    ' No; Wells Fargoand ypli agree tliat the tesolution_cifany disp~te arl~Ing pJrsuarittC> :the ' ' '
  ·. · term~ of this AgreemE!nt wiH be resolyed-by ifs~parate arb.itrat(on proceeding and will not .· ...
                                                                     as
    :.• ·. be consoliqatecl With' other disputes or treated aclci-s·s; Neither Wells Fargo rio'r you. wm be : '
           ent)tled tc;,.join or COf!SOlidate disputes by .or ~galnstothers as a(epreserit~tive or member .
                                                                                                                  a
           ofa dass;to act.in :i;IOY ,frbitration in ,the interests of the general public~ brfo act as private .· :
           atj;omey.general. !t any provision· related.to a class action,dassarb!tration, prjvate ~tforney
          ·~eneral. actii:;,n, oi:herrepres~ntative adi.on,j~inder, or conso_lidation is found to be illegaLor •··
           unenforceable, th~ entireArbitratiohAg·reemerit will be i:menforceable,. ·. . .                . ..
      .'. What rules apply to arbitration?
      .. Wells Fargo and•you ea.ch agree that the a·rbittatlon will: .
        ' •. · Pr.oceed in a location mutually agreeable to Wells Fargo .ahd You,:o.r lf the parties cannot' '
             .. agree, in a location select~d by the AmEiri_cah Arbitration AssoCiation (AAA) in the state
           · whose laws govern your account                       . ..                . .                    ..         er .
                                                                                                                     . Cl.I ' '
          • ~e Q()Vern~d by "the Feder~I Art,itr~ti()n Act (Title 9 ofthe United States Code),                    ·:. ~m
             • notwithstanding any conflictirig choi!=e oflaw provision in any o,f the documents·               .... s·~
              ·betw~eil \Nells Fargo arid you . .· · ·. < .· . ·         .··.• · .. · .: ·: :. ·.· •·. •. · . ·     .IO·r+
                                                                                                                        ~a.
                                                                                                                        .... ::::,
          • Be coriciucteQ by the A.AA; or such otner adm.inistrntor asW~lls Fargo ~ricl you w1u ·                      <
                                                                                                                        _.n
                                                                                                                        n
                                                                                                                             -·
                                                                                                                             .··
                mutually agree _uppn1 in. accordai:i~e wit.h the.AAA's comme~ial d.i~puteresolut1ori.                 . I'!)
                                                                                                                                      Ion
                procedures, unlf:?SS the claim or counterdaim is atJeast $1,000,000 exch.isive of claimed '
                                                 .
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         ·..•. ·: interest; arbitratio~.fees and costs in which case the arbh:ration wm be conducted ii-i .:.•.. _· _· •...
            : : actordanceWltiitheAAA's optionalprocedur~sfoiJarge, complexcommerdal disputes ..
             . .·. (th~•~omri1ercfal ~ispute resohitlon procedures or the opdonal proceduresfor large, •.· ·. •·
               ... complex :comm.ercial dispu~es \<:> be teforred to, as ilpplica·ble,.as tile "rules"): : : . . . . . .
    . .•. Jfthereis ariyin~on~istency between the terms herec;,f an~ ariy such rules; the terms •. . .· ...
     . . . and procedures set forth h_ei:ein wUI control.Any party"whofails: or ·refuses to subhiiito •:
            a·rbitration fqll,owing a lawful demand by any other party will bear all: costs and expens·es. _• .
       . . incoried by such otherpl:lrty in compel!ing·arbitration ofariy dispute. Nothing cont~ined · .
            herein will 6e deemed .to be awaiyer by'W~ils Fargo of the protections afforded to itundet. ·. -
                                       or
            :12 U.S~C Section 9i• any ~imilat app!icab!e:state lavi            .. ..         . ..        ..      . .
     .··. f,ro waiverofs~tf:.t,elp ()r pro,visional remedies·. ••
           This arbrfratioh requfrementdo~s not tifrlit•the right of WelisFargo or Y~\J to:'
        . •1. Exettise se1t.:1ieip remedies: including setoffor .• ·· . : . • . .. : . •.          .
         . 2. •Obtaf n ~rovisidnci or andna ry remedies such as injunctive relief orattaihment; b~fore;
               quring, or afted~e pendency. of ahy_arbitratioh prbceedirig,:: .. '        .'            .
          'This ~xclusiondoes not const~tut~ .~ waht~r of the •rfghtor obligati~n of either Party to ~ubrnit ·.
           any dispute to clrbitration or reference hereunder; including those arising from the exercise · .
           ~f the actions detailed in (l) and (2) abov~. . . . . . .         ..              . .
          What ar~ the Arbitrator(fualifications and powers?. -· · .
             Any disputejn whkh th_e ~mount in.controversy is_$5,000,000 or. l~ss:Will Qe decided by a
             sirjgl~ arbitrator selecte.d accordln_gto itie rules; and who will ·not render an award of greater:.:
     · . . tha.n $5,0dO,()OO. Any dis put~- in \Vhk:h t~P. amoun~ hi controversy eitee~s Ss;ooo,oqo wiil . _·
         .-· be decideq by majprity vote ofa panel of thre.e arbitrators; p,rovide~ tio~eve,r, that all :three ..
             arbitrators niustactively partjtipijte in all.hearing~ anddelfberatio.ns; E~~h arpitratorwi.11.be ·
          . •a ne~tral attorney licensecHn the state Whose laws gov~tn ypur ~ccount, or a· neutral, ·retired
          · judge in such state; in eltnetcase with a minimum of ten years experience in the sobs_tantiye ..
          . ·law applicable to t,h,e subJed matter ofthe dispute to be arbitrated. The arbitrator(s) will. -·_ . . ..
           .·determine whether or not an issue is. arbitratable and will give effect to· the statutes of .• : ·. . ···...
            -limitat1on-indetetmining ~ny claim. hi any arbitration ·proceeding the arbitrator(s) will decide ..· ·
            .(by d9.cum~nts only orwith_a hearing :"t the.dis.cretiori of the arbitrator(s)l ,my pte~hearing .· ••
            .motic)l_'\S whkh ~re Sil'Ylilar to motions ~o dismiss for fanur~ to sta~e c1 ·c1a1m or motions for .
            •summary adjudication: The. arbitrator(s) wiH rese>l_ve .all disputes iii accordarice with the ·
       ··. •substantive 1a·w ofthe. state whose laws go'(ern your account an~ may grant any· remedy
          . or _relief that a co.urt ofsuch state c:oa!d •order or grant_ within the scope hereof and sUc;h ..
      · · .ancillary(eli~f as Is necessary to :make effective any award. The arbitr~tor(s) .will also have the :
            .pov,/er tp award recovery of aH c'o:Sts, a11cf fees, to ii,npose sanctions; and to take s·uch other · ·
           . action as de~med necessary t<i the same ext,e_nt aJudge could pi.Jr$uantto ttie federal n..iles.
             o(civilprocedure,the Sti,ite rules ofc:iviJ procedure for the state)Nhose Jaws go\ierriyou.r .· ' '
            .'3Ci::ount; or 9ther applicable .law. Judgmentupon.the a1A1ard rend~red by the arbi~r~tor(s)
             may be entered irtany court haying jurisdlction:The institi.Jtlon and maintenance. ~fan.·.
           ·action for Judicial relief or pursuit oh provisional or ancillary rein_edy will not constitute a .
           •waiver of the_ right ofany party; indudihg the.plaintiff, to submit the controversy or clafm to .
             arbitration if any other party. contests
                          '.       .        .   .     .
                                                        such
                                                          .. action
                                                              .  .    .
                                                                       for. judi~ial. relief,.
                                                                              .       .
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    4 Business Ace:ount Agreement:.:. Effective April 24; 2017 . '
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     Is djscov.f~ry per mitt~~ In :arbitration        r
        Yes; in any arbitration pro~eeding, :discovery will. be permitted in ac~ord~nce with the rules ...· ·               5 .
        Alf d•scovery will be expressly.limited to matters dtrectly relevant to the dispute. being.. ·                   .· [ .
 . ·: arbitrated and must be c:;on1pleted no later than 20 days befote-thifhearing date.Any•                               · c.
     ·.. requests for an extensidn 9f the discovery periods, or any discovery disputes, wHI be subject· ·                 . ·~ ._
   . to-fina:l deterin.inati.on by th~ arbitraton.ipon:a showing that the. retjuestfor dise:;overy is... . . .                  ::::i .
    .. esse.ntialfor the party's presen,t1:1tion.and that no alternative means for obtairilng Information•.·:            ·
      . is available.:      . . . · .. . · .             .. . .. ·.. .. ·          ·..     . ·      ·.      ··

 .. •· Wh9   paysthfl arbitratiotlfeesartd expen~esi: ... ·
    . The
      .
      ',
          arbitratorwiH
              .     . .
                        ~wardaU
                        ".  .   cos.ts
                                 .
                                       and expenses Qf thiarbitiatlon
                                     . .        . .   .   . ..,    . .
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                                                                       prqc~edlng
                                                                       '       .
                                                                             . .
                                                                                  ... ·:
                                                                                    '




  ..·Ar~ tha1·e additional rul~s for 'art arbitration proce¢ding? · .
  .. Yes,: to th~ maxi~~rn exte~t practicable, the. AAA, the arbitrator(s), Wells Fargo 'and :y9u ·. · .
     .will take all ac_tiOh n~tjuifed to: <oncl~de:any. arbitration proce·ecllng within 180 days of th_e ·
     .filing of the tjispute with the A.AA.The arbitrator(s),:Wells F.argo or you·may notdisc;lose ,he
  · · existen~e, content, cfr re~ults :thereof, except for disclosures ·ofiriformatlc)l:i by Wells Fargo.
  :. •pr Yo~ required in the ·ordinary:course ofbusiness, by applkable law or regulatlori; pdo :· ·.
   . the extent .necessary to e>€ercise anyju~ic)al review rights:setforth herein: If more than Orie .
      agreement _for cJrbihation by or betw~eh Wells FargQ: and you potentially applies to~ dispute;:. ··.
  . . the arbitration agreernent mostdfrec~ly re.l~ted to your account or the su~jed matter oftbe .· ...
    · dispute will control. This _arbitration ijgreeJT)ent will survive the cl_oSirJ9 of your account or .·
  · termhiation ofariy $ervice or _the relationship between Wells Fargo_and yoµ. .• •·. · · · · · ·
  .. D~ WoUs falt:9(t.·end y9Uretahi
     ~~t                   ....            .to.pur~ue
                                        right
                                     the.       . .in.  .·      . .court
                                                      smaUdijil~S   . . .certain
                                                                               . :.

    ·.··Yes, hotWithstandi:ng anything to the contrary:Wells Farg6and'youeach r'etains theiight •
  ·... to p~rsue in small_ daiinS: court any dispute witliinthat c;ourt'sJi.irisdidiQn. Further, this .. · .
      . arbitration. ag·r~(:nient wllfapply ortly to disputes iii which.ei_ther party seeks to recover :an ..
    . ~mO:unt of.money (e?(Cluding attorneys' fees and costs) that exceeds 'th¢ Jurisdldiona Ilimit of .
                                                                                                                    .'       ~       ..
                                                                                                                         . (lj .
   . thesmali daims court, . : . . .                   . .. ·. . . . . .· .. ·. . . . . .·. ...                          ::0··
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   •·• ·. ·• •· ~~at iaws govern your •accoU~t1 .
            The la•ws go~erning your accountJm:lude .
    · · ··. • . Law~; r~l~s; and :regulations of the United States, aii_d
            •.·. Laws of the state wh.ere you open~ your account(wl~hout regard to conflict ofl~ws '
                 principles), : · ·       ·                 · · · ·       · ·· .       · ··
           If a different ~tate law applies,we wi_ll notify you; however, for c~rtarn accoiint types (non:- :• .
       •·. analyze.d and sav_ings•accoun~)>youraccountstatementwill identify the state Whose laws .
      ' ·. govern yo~raccount          .. ·. ' . '' .           .. . ..    ' '' ' ' ' . ' .. . '.
      .. Any fu nets transfer (inducl ing a wire trarsfer) that is a ''.reinittanc~transfer" ~s defined in. ·. .
                                                                        of
      ' ' :Regulation E, subpart B, ,wiht:,e :gqvernec;f by ,the l~ws the United States an~, to the ex~ent .·
          applici!ble,the iaws of the state of New York; indudirig New York's versicm of A(tkle 4A of the ·.' · ·
          •uniform Commercial Cod~; without regard to its confl ictof laws _prindples.:. ·.: : : . . •·. · .. :
    .· '·. What i's the     w~UolHng laii.guage of our re_lationship? .·
      •·. :English is the tontrofling language ~f9ur relatio_nship with.you. Items ypl.J write s~ch •• .
       . ·as ch~cks orwithdravval slips must be writt.~ti hi Engltsh; Foryour t:ohvehience,w_e may•·
           translate some forms, disclosures; and.advertisements, ihto:another language. If there is a ' •'.
      :.· discrepancy·1;etWeen our English:.Janguage.and tran~1ated materials; the English version .
           prevan~·over thetrnnslatioh:          . .          . . . ·. . . . . .                   . ..

      . · W.hat ~.gfeem~nt applies wheai there is a separate ~gre~rnentfora                   ser.~ice? .
       . lfa Service 'Ne _offer has.a separate ag~eeni~nt, ~nd there. is a ~onflict between the terms.of.·.
          the Agreement:andthe sepa rat¢ agreement, th¢ separate agreemen.t will apply.. ·            . ..
    ' ·. ' . What courtS maybe µsed to ~esolve -~- dispute?
      ' . Weils Fargo and you each agree that any la~suif~, claims; ot dth~r' prticeedings arislngJrorn ' •
           or relating tqyour accaunfor the Agreemerit,:indudirig'the enforcement of the Arpitratfon '.
           Agr:eernerital")d the entry. of Judgment on any a'rbltrati9n .award,. wjll be.venued exdusiyely · ..
        · :!n the. state or. federal cour~ in the state whos.e laws govern your !"·~count, without regard to .
        .· confl:lct oflaws prindples'.       ·     ·    · · · ·· · · ·                  · ··

          l•toW ~~m we (onta<.;t you abput. your accoimu : .
       ..in   or~er for Us to· service youniccount or cqlle:ct ariy amour1t you owe, you agree that we rilay ·
      •'' :contact you by phon'e, text; email, or rnaiLWe al"€! permitted to use any address, telephone ...
         . hum per ·or email address you provide;You :agree to provld:e accurate and current tont~ct ..
           Information .and only give us phone nun1bef.s.and email addresses that beloi,g tq yo1.i .
          •When. you give Us a phone numper, yo~ are providihg ypu~ E;!Xpress consent permitting us''
         · (and any party ading on behalf ofWells Fargo)°to contact youat the phone number you
          :pro~lde.We may call you ,;1iid send y(ju te~t messages; When we. call you, you agree that
         .we may leave prerecorded or artificial'voice messages>You als~ agree that We jT1ay· use •. .
           autorr1atic telephone dia.ling systems in connediori with ·calls or text messages sent to any •·
          .telephone number yo~ give us, even ifthe telephone number is- a mobile phone number oi ·
           Qtherr;:omrnunication service fo·r which tne cailed party is charged~ · .. . . . . .       .




   6 Business Account Agreernenf ~ Etie'!,'.tive A1:i1:il 24,, 2017 '
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       How.do w.e sh~ue. accoun~ st~tan:'erits and other ~otkes with you?
    •. ··.We wiH mail, send erect;orilcaliy; or otherwls~ make avaiJable to .yoo ~n actount ~tatement' •
     •' reflecting your account activity for each Stc!tement period. We'll do the same with notices.We ''
       ·.· wiU send. all account statem:erits:and notices to the postal or electronic address associa.ted
           With your acc9.unt • · · · ·· ··· ·· · · ··· ··                   · ·       ·· · · · · ··
    '' Coml>hie~ ac:courit statements: To reduce the number ofseparate accou'nt ~tatemeMts .·'
       )',OU receive each rrio~th, W(; may c6n,birie statements if you 'ha~e m<>re tliijn on~ depo$1t , . . .
       account            : .                 .         : · •· ·•· ... ·.·. • •• • • · :• •.. :· .· • ·.· . · •.• ...·>••
       • . If we provide a combined ·accou.-.t statement for your accounts, we consider yourfirst
            .~ccountas your:prima_ty account;You will receive your account statement attJ,e address
           .· HstedJot y9ur primaiyaccount Statements for accountsJn .c! combined statement will be.
      . :delivered accOr(IJng tcfthe:Qeliyery prefererice of the primary accoun~. . .. . . .. . . . . .
       • . If y~u do no,t want I.is to automatically combi~e your a~tou~ts; you can opt-'ou't-by. .
            . visiting a banking)oc:aiipn orcallir1g th,e riumberon your account stat~men:t,. . . • ..
   •·.· When is yourai::counf stilteme~'t ,wailabie?·
    ' .· Malled accouni statements; When ~e niail yo~r act:ount~t~tement, we tonsider it received
   .. ·by· YOIJ o~ the secotjd pusiness day after inaili119.it. •. ·    ..                         .
    ' •· ~lectronicd~livery ofacto~nt statemenis:Account statements will b~ made ava,ilable .·.·.
     . throtJg hWells Fargo Business OnUne® :Z4 .~ 48 hours after the end of the statement periodi. .
        'You wjll. be notiped vla erna_tl that the, acco~nt st~tern~nt is available}orviewing; We consider '
         the account statement to Pe' receive~ by yqu on the riotin~~tion date; even if the email •. ' . · ' ' ' '
    · .notificat:i.on is QndE!tivered. •                         .. .       . . .. .        . . .
     . w~~t obHga~i(HlS do you ha.veto review
   . tlotify ~is c>f errors?
                                              a~cou:nt st~ten1~nts a~c:I notices and· .
                                         · · · · ··         · · · · · · · · · · ·· · ·
  ' ''' •. You ~re oblig~ted t(>: ••                                                                                    '    '    '




     · •..•ix~mJne y9µra~countstatement promptly·and:iarefully. :.• · •                                                     .• -~ :xi
      • Notifyus ~r~mptiy ofany. errors: . .                   .      •                  . ..       .             -gu5·
      • . • Notify us Within 30 days· after we have madeyoµr account statement available to you of . ... · ~; ~
        . any µ:riauthorized tr~hsactlori on .your atcolirit. Note: lfthi sanie person h~s mc!detwo · . ~~ .
          . or more unauthorizet:I trarisactioris and you fall to no.tify us. of the first one: wit~in thfs· 30 . [ a.
          · day period, 1Ate wili not .be respon.siblefor ..:m·autliorlieq :fransac:tions mad¢ by the sam~.
            wrongdoer.: · · ·      . . . ·.          · · · . · . . · ·. · · . . · ·. · ·. . · . . · .
       · ~. N~tify us within 6 months after we have made your account statement av~ili;ibletoyou if· .
            . you identify any unauthorized, missing or .altered endorsements ori y,01;1r items:: .. .
       .• Elei;tronic fund transfer~ are s~bject t6 different ts1r1e periods, as de.scribed in .the "Eiedrqnie ·
' ' - ' furid transfer services'; part ofthis .booklef.tornmon· examples 'cifeledroriidund transfers :
     .
          a(e. .ATM, debit
             ,       .
                           card/and
                              '  .
                                     Online Bill Pay transactions.
                                    . .·.. ...     .  .. ·
                                                                     '' ' ' ''        ' ' ' '' ' '           '
    ' When is a ttansadion u~authorized?
      Atransadion is an ;,unauthorizec:f transaction"wheh itis
      • • Missing a req•uired sighatur~ or oth~r e~idente ~ho~ing you have auihorized iti or' '
      • Altered
           .    .
                  (for exa~!)le,
                         .   .  .
                                  the amount
                                      .  .
                                             of acheck
                                                  ..
                                                         or the
                                                      .. .
                                                       .    '. .
                                                                 payee;sname
                                                                   .'.  ..
                                                                         .
                                                                             is changed).....·' '
                                                                           . .· .           .. ·'




                                                                                                                            7
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         . Yo~ ca~ notify Us of err~rs on your aC:t~unt statements byp~Clinptly .
           • . C~llirig the telephone number. listed on-your account statement or in a nqtic:e,:or .
           • . Submitting a wri.tt~n repa'rt (if ins:tru.cted by us) afsoon as possible; but in an)'evertt ..
               Wi~hih the specified time frames.. . ..            . .. .         . ..      . ..       .

         . What happens .if y9u fail t6 116tify us of iln ·m,atithor~z.ed transaction withh1 the •. ·.
           Hme frames Stledfied abov¢?                             .. ..     .             .      ...      .     .     . . . ..
         ..If you faUto notify us of any unauthorizedtr~ris~ction~ error, or .claim for a credit or r~fund .•.. . ..
           within the time frarnes-specined abQVe, your accountstatementwill be considered correct...
           Wewil( nol be.responsible for ariy unauthorized transaction, error, or daimfor·~rarisactions
           iriduded in this statement.      .. .     .        ..       . .. .             . ..

          .\Al hat happens when yoiJJ'.Eiport an ltn~uthol'ized t~ansadkuH •
            .We investigate any. repprts of uhauthorized activity ohyour account. Afte~ ye>u submit a.
    . . . claim,we mcty require yqu to: . .. •.. .. . •. . . .. . . . .         .. . .         . . ....
           ·. ~- .·• Complete the claim forrri w~·provide; .. •: ..
              • · Notify l~w enforcement, ·.         .
              ~- ••. Complet~ c!nd return any docuroents we requ~st, and .
            .• .. Cboperate f~lly with usin ou~i~v~stlgatioh. • .. . .
     . .·.· We can reverse ariy cr~dit :roade to your ~c~ount resuiting from a clai~ of unauthorized .....
    . •transaction If you do. hot cooperate fuJIYwith us fri Ollr investigat[oh o.r recc>Very efforts;.or ..
      ... :wedetemnine the frahsactlol1 wa·s authorized.                . ..                 .. .

           Protection against. unauthotizeditems . • . .             .. · .. · . .         .. . .      .
       ... You acknowl~dQe thatthere is-~ growing risk o.flosses resulting from unauthorized items. We .
         · offer. services that' provide effective means for-cphtrolling· the risk from unauthorized items. ·...
            These services ihdude: · ·.· · •• ·. · · · .· ··· · · · •• ·. ·. • · ·• · •· ·. · . ·. ·· .. · ·. . . · .... ·• • . ·
         · ~- ... •Positive pay, positive pay with payee validation, or reverse positive pay ·· ·..
            • ACH Jra.ud tHter and .                                  . ..
            • . .Paym¢ntAuthoriiatio~ service.. .
    . In addition,       we ~ay     recofDinend you use certainfraud preveritio_n prac;tites to reduce your. : • .
     .. · :e><posure to fraud'. Each ofthese pra<;:tices. iS: ari iridustr'V:i'best practice:' An e)(ample ofa best                 .
         . priJdice is dµ~I custody1 whic::h requires a payment or user modification .in ltlatedby one userto ·
          •_be .aj)p.roved .by a secoi,d user ona .difft:r~ht computer 9r mo:bile device befor~ it takes effect.:·
           If \Ye have expressly recomrnended tliat you. use one or. more qf the~e servit~s oJ best ·•
            prac;tice (or ;my other service related toJraud prevention that we· offer after the date of thi.s
          . Agreemen.t) and yo1..da) either decide flOt to •u_se thEf recommended service or ~est practice or
          . (bl fail fo use th1: service or bestprattice in__accorqc1nce With the•applicable service description .
         · or ourother documentation applicable to the service.or best practice, you will l:ie treated as .
         · having assµriie~ tlie risk ofany: iosses that coulg hav~ beenprevente_d if you ha~ usedtbe ·.
            recommended servi,~ ·or best pradi~i: in atcordahte with the applicabfe s~rvice descriptiort ·.
            or applicab(edticumen,taticin•.. . ..                     . ..                     . .. .. . . .. .                   .




  •8   Business Account Agreeinel')t~ Eff~dive A~ril 24, 2017 •.
 .         . . .
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       Are )[QU respotisibI~ for taking rea~onabie steps to help Preve~t ·fraud a~cf .•..
     . en1h:~zzletnent Oil younaccount?      . ·· · .•· . · . . ·. · · ·. .· · .•.. : _..
     .. :Yes; ybui3gree to take reasonable steps to ensure the integrity ofycii.Jr hiternal ·procedures·.·
         with-respect to your accqunt arid items drawn on yc,ur accp1Jnt or deposited to it To help ·: ·
         prevent embezzlement ar:id protect your business assets, .We recommend that you:             ..
      · •: . Assign)~sp~nsibilities:for yo~r account to •multiple? iridlvidu~Js.Those \NhO r~_concile. . .          g::::o
          · .,statemt;!nts for your a~count should be different fr~m th~se who issue items ~ rawnon .· .            ...,.. .(1)
           . your account..· .. . . .         .    .. . . . .         . . . . ..           .     .     .        . 011'1
                                                                                                                    C:        2.
                                                                                                                . 10·<'
       •. •Reconcil~ statements for your account as you receive them· arid .notify us immediateiy of .• . Q11Q....
                                                                                                                 ·::::r.-·
                                                                                                                      ·::::i.           .
        · any problem .. .            . . ..                      .      .         .     .        . . . .. ..,..
                                                                                                           o-c. .
                                                                                                                  .


     .. • · Contadus promptly if you do not receive the statementforyour atcQlirit\ vheny6u:: .·. · · · · · i:§'.
                                                                                             1

            would normally expecHo . . . . . .              .     . .             . ..                 ...·. •g:_~ ·_ ·· ·

                                           .
                                                                       to
     .. • . Watch for ch.eeks cashed out of sequence or miide out cash. These a(e·d~ssic red flags ••.. ·.. :, 11'1 .
            forembezzlement. . .                . . . .. . . . . .. . . . .. .. . . .                         ..:.;3 :
        • .· Secure Your supply oh:hecks at all times~ Stolen ch.eeks itE?m~ ate acommon method of.
       . . . embezzlement. . . .                  .     .. ..         . .. ..         . ..
                                                                                                             .
                                                                                                            . •§
                                                                                                                    a,'l8 ...•.
      . • . Periodicatl; reassign accotint1ng dutl~s such :as: tecoricHlng you:r account or making a .·•. · ·· ~ ,-+ · · ·
             deposit     ·· · ·      · ·· · ·        · ·· · · ··                    · ·                    < g·~ : ·
       • . Review your:transadi~n activity fotunexpettecHluctuations (e;g! compare the . . ..
        - :perc~htage of cash deposits.tqtotal deposit.size). Mqst:buslnesses will rnaintairra ..
         ·. constant average·. A larg~ flucttiationmighti'nqicate embezzlement.          .
       • .:besfroy a~y ~h~ckthat you do notiniend to use . . . .
       • Use tamperresisfantcheck 1tems;;it all tfr~es .. . .· . . . .       .      .. . • . .· . . . ·
       ~ N~tify us !thmediately when an authorizedsigMr'.s authority• ends so that his/her ~an,e .
          .:tan· be remov~d from all signature. cards and on Ihie banking access,' c1nd any, cards we ·
         ·. have issued to him/her can be ctincelled . . .               ..       .      . ..
       • <·DonQt sign blank checks . :·.. ·. ·. .·: · · ·
       • . Obtain insu:rarjc;:e cove~age forthese risks :...
 .. . ·. Wh~t h~pPens
     . undeli~;erable? '" .
                              Wvour account    staten,m~ts or notic~s a;e r~forried or are ..
                                     .· . . . . . . .· .. · . . . . .· .. · . . . . . . . . ..

     . . Youraccouht statementi or notice~ wiil~e considered unclaimed or undeliverable if .
         • . Two or more account statements or riqticesare ret~tned ta us through ·1:h~ mail ~ecai.Jse •. ·l:C. :
           · of an iricorrectaddress; Or · · · · · . · . · · .· · . . . · · · ·              · · ·· ·         <t"'I·
                                                                                                          .. -·::r·      ..
       . • We notify you electroriicaUy that your account Statem~nt lsavailabie lt>r viewing at ....          :::, (1) ..
                                                                                                             \On·
           . Wells Fargo Business Oniine, and we req~ive email notific:ations that our message is •     .... ·~.-~ ..
             undeiiverable. .. . .. .. . .      . .. .. . .               ..             ..                   n\O ..
          _..     .   .   '    ..                                                                               . 8 QI
                                                                                                                    C: :::,
      . 1.n either event, we may                                                                                . :, 0...
                                                                                                                    fit
         ~ . rnsc6ntlnue se.ndlrig account stat~ments and notices, and ·: .
         •. .oestroYaccount statements arid notkes r~turried· to us as undeliverable:.. .          ..       .
      •. :We;UI  not atte~·pt to deUv~r. acco~nt sta.tenients and riot ices i() you tm~ii you prOvicle us. .
        with a valid p9s.talo(electronic.addre.ss; · · . . . . .             . . . . .. . . .




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        . l~ow can yo,1 or Wells Fa1'90 charigeyour address for ;QlU' accounf?                                                             •
     .· Address change requests you make:You can change your postcll or. email address by .
         riotifying us in writing orcaUing us at th~_number on yoµr a,count statement any time..If ..                                 at
         you have a combined account statement, any owner of the first acc9unt (pi:imary cl~Countl ·. · ··
         can change the address of all.accounts included in the comhinEid account statement. We · ·
         wlll act on your requ~;t.within a reasc,nable time after we receive·itUrilessyou instn.ict ·..
         otherwise, we may chahge the postal or electron.it ad(;itess only for the accolint(s) you
         sp~cify br fora II or. some of your other account(sJ with us. •. .          . .
         Address.changes we: make:Wh.e.n necessary,we may update your liste,q address wlthe>lJta
       . request from you .ihve receive· •·· . .      .          .     .         .   .           .    .
        -~--.·•Ari address d1ang~ notice from the U.S. Po~tal Service or
        •· . Information from· another party in the busin¢ss of provi~ing correc:f address details that
              does not match your account's listed address... . . . .           . ..            . .
        . .             .·      .   .   '         . .     .       .     .                .   .               .. . .




         \Nhen arnnQtkes you seridto. us effective?
         Ah"y notice from you
         emit                                     .. ·            ls effective
                                                                         .. .once
                                                                               . we receive
                                                                                      .     lt arjd have a reasonable opportunity to act
                                                                                            . .        •·     .        .·.     .         .
         ..         .                             .   .               . .            -                   .            .   .   -   .


         Are original paid checks 1·eturned with ac:cour'lt statemerits7 . .                         .
         No.We do nJt ret!,Jfn originaf paid. chec:ks with your account statem~nts. Coples of your
         paid checks :are available through\l\fells Fargo Business Onlin~;.banking locaiiohs;by calling
         Wells Fa·rg9 Natio.nal Business Banking Center, or by e:nrolling iri _01,Jr ch¢ck imc1ges with .
       . statements servicc:.Fccs may.apply.for this S(i!tVke. .                     .    .         .
         .    . .       .   .                                 -                  .               .
                .                           . -                             ..               .       .       . .
         When does hty atc:ountb.ecome dormant?
        Generally,yolir accounf becomes dormant ify~l,J do n(,)t lriltlate ~o :accdurit-related activity
        fofl i .months fcir a checking account, 34 months for a savings actou:n~; or ~4 months ~fter
          the first reriewa I for a Tlme .Account (CD). An accounHelated activity ls determi~ed by ·•
     ...· the laws governing your account.Examples of atc:ciur;t-rel.ated activity are depositing or
        .withdrawing Jurids at abanking location or. AtM~ or writir19. acheck whkh is paidfrom the•.
          ai;cou~t Autpmatl~ transact!ons(induding recurring and one-time); sti~h:as pn~~authorized •.
          transfers/payments an~ .electronic depo~lts, set up on the a~count niay not prevent the
          accountfmm becomjng.dormant.                       .        .     .           .     . ..

        What hi:1ppens to a dormant a~count1
        we p~t safeguards lnplace. to protect
        following:                     .
                                              a dormant accountwhich may 1ndude r~sfricting the
                                                  .   .    .. . .. ..    ..       ..      .
         • Ti°an~fers between yourWells Fargo accounts qsing y0.urATM/debit card .
        ~    Transfers.by phone using our autornatec! banking service • . . . .
                                            or
       · • Transfers payrnentsthrough on line, mobile, and text banking (including ~ill Pay)
         •. Wire transfers (incoming and outgoing)                                        .
         Normal monthly service arid other fees coritirn,re tq apply (except where prohibited by law).
                                                                  a~
         If y9u do not initiate account-related activity on the acco~nt withln.the time period as
         :Specified by state law, your account funds may be transferred t6 tlie appropriate state: This
         transfer is known a·s "e:Scheat:1 Your account will be dosed~ To recover. your account funds,
         you nwstfiie a daim with the state,             .      .               .. ..     .     .. ..

   10 Business Accou'iit Agreeme1it- Effective April 24, 2017
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    .:. -~hat are checking subai:counts? · ..                                                                                         s:
         For each checking clccountyou maintain with lis,we may estabUsh cm Your beh~lfa master •..· .. c:
     •. account and two:subaccounts. . .· : . ·_ ._·. . . . .... . .. ·_ ·...•..... _· .. ·_· .·.. ... ·....·:. . . .·_· .· : .. C:.
                                                                                                                                      a
                                                                                                                                 n
                                                                                                at
    ..- All inforriia~iti~ th~t- rs rn~de a~aiiable to Y()U about your accoµnt witi be the rnaster ._· _· .. ·: : .: ..· 0
                                                                                                                                 er.
     ·· _a_tcount leyefihe subaccounts are composed ofa savings account and a.cheddng accot.1rit. ·· .. ·::;, ..
        ·o~ the first d-~y of ecich m~nth>"we• will allocate:funds betw~en the two subacce>µntsas •:...
         appropr.fate._ ltem.sieceived by u~ that are drawn againstyour masteraq:ountwill be .. ·_ .
      . pres_ented for •payniEint ag<Jinst the chec;king subacCOU!'1t Funds.will be tran_sfe·rred from
       . the savings subaCC()Unt a:s may be. tieedec! to cover-checks presented. on the checking .
    . subactount. Qnthe sixth transfer from the savfngs StJbaccounf during a stat~ment period; .
      .. alt :of the funds on depo~it ih the savirtgs .subaccount Will be tran~ferrec;I to the.checking -
       . ~ubac:count. If your account earns interest; the use qfsubaccounts vvill riCJt affectthe intere~t -.
    .·. youe~rn.          .                    .    . . .                  . ..                   ..        .             .




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                  ·. Whatresporisibiliti~s and liabilities do Wells.Fargo ~nd·you h;1ve to each othert ··
           . :·• We are resp6-~sible.for exerd;ing "ordinary cat'e'.' and complying with the Agreement. When ... : .
                   _' .We take anJtem for processing by automated meims,i'qrdinary care~.doestiotrequire usto: :.
                       examine the item: in au other cases/ordinary care" requires only that we foUow st~ndards that ...
                       d_cmot .vary unreasonably
                       .             .    .      ..
                                                      from
                                                         .
                                                             the general .standard~
                                                                               ,,.   followed
                                                                                        . . .
                                                                                          ..
                                                                                                   bysirnilarly
                                                                                                       .    .. . . situated banks..·       .                        ,



 · .. ::.. ·.. Except.to tne e~tent we fail to exercise i,t>rdiriary care" or to tomply with the Agreement, ·. •:·. . . ··:
<· .·.· .· : ·•.: you agreeto}ndemnify and hold us harmles~from all :clalm·si dem~nc;ls; losse:s; i~abilities; · .· : : .: •
..·• · ••· .· · Judgments,ari.d e~penses {including attorney's fees and expenses) arisfr,g out of or in ahy. •....
       · :. ·.. ·way connected with our performance ui,der)he Agreement You-~gree this indemnification.·. ·.· :
         . · . will survivetermination of the Agreement · : •· . •:                               : : •· . : .·. · . ·: · · :. .      . . ·. • · .
            .' .·.· ln:n~-evenfwill ~ith~rwells Fargo:~ryouQ~ liabletothe othe:r for a~yspecial,~onseqU~ntial, .•.
                    . indirect or· punitive damag~s. The lirr,itatidn does not apply where th~ laws governing your ·
                      ~~count jJroflibi{it. ·                 ·· ·        ·        · ·         ··       · ··            · · · ··           ·
           .. ·. ·. We will not hav.e any l1abmty to you if your acc:QUl"!t has n'on-suffiderit aJailablefunds to:pay ·
                      :your item5clue actions we have take~ in :ac.~ordance 1Nith the Agreement. . : . :.· ... < • • : ·
                                       to
             . · ·.. tircumstances beyond yourconfrol or ours may arise and make it impossible for us to .·
           .. . . · provide seniir;es. fo ypu or for you to perform your dutl~s utiderthe Agre~ment; If this
             . ··. happens; neither.    .
                                            We Ifs fa rgo
                                                       .
                                                           •noryou will be.· In breach.. c,f the.· Agreement
                                                               '           .                         ..    .
                                                                                                                   ·.·.· . .       .                   ·•


                       if we waive aright with respect to your ae;coi.rnt on one or more oii:c:asioris; it does riot me~n ··..
                       we ,ate oo.Hgated t9 watve the same rig~t on:any other occasion~ ... · · ·                          · . . •· · · ·
      .......Wl)at     ~rn w,e ~nowed tri do if there is• ai., c1dvers•e Claim agaim,t your ·ac~ounU .:.
                           .   .           .   .   .   .   .               .        ,   . .        .       .   .           .   .·.   '".        .   . . . ·.   ..       .   .
           : An "adverse clalm"occurswhen               . . · : .· ·. · .·: ..· . .·: :.
              ' • .Any per.son or entity m~kes,a claini ag~inst ybur ~cco·untfunds,:
                • .W~ beiiev~ a conflict ~xists betwe~n 6r amon·g your account's own~rs, or .. ..                  .
               .·~··:.We believe.~ di~pute exists over who has ~ccount 6wne~:Shlp:or authority to Withdraw ·.·
         ·: : . · funds from your account: .. · . ·... · · ·... ·. . .... · · . •· .· .. •....· · •. ·. . •. .
           •'. In these.sit~atioils,we rnay take an.y·of the following·actlonswithoufany res~dnsibility to you·: •
                • Continue to· rely on· the Signature card(s) fur your ac;~ount. .· . ·• •. . .·. •: ·•. . : :   .
           ... • Hon~r the da_im ~g~instY~ur accountfi.indsJfwe•af'E:! satisfied the daimis valid, . . . . . .
                •. ·. Freeze alfor·a part of the fo~ds in: yo•ur account i.mtil w¢ believe•th~ dispute is res~lved to
                  · ~ursatisfact_ion. : . • ·.• ·.... ·:. · .          · • • . •. • :
                • CJose your account and send a check for the availa.bfe bafanc~in your accouht.payable•to .
                                                                                                                                                     > . . : :· •· .
                   . . you ()r to yoµ and each perspri or entity wlio claimed t.he funds. .               .    .
                • .Pay the fund~ into an:.appr<:>priate:cour.f. :          .
                We also may charge a~y acco~nt you mc1inta,in with us for our fees arid expenses: in taking::·
                these actions. (including attorney's fees and e~pen~es). · .            . . . . . . . . .. . ...

           ..·. if you carry special insi.n:ahce                                    for
                                                      ~mployee fraut:t/embez:dem<imt, can we 'require ·
             .you to
             ·.   ·~
                      file
                    ...    )
                            your claim
                                   .    .
                                          with youdnsurance
                                                       . .       .
                                                                   <;ompany
                                                                    .  .
                                                                               bef9re
                                                                                  . ..
                                                                                        making
                                                                                             .
                                                                                                 any claim .
                                                                                                  ... ·
              agamstus. .                     ..              .. .          . . .        .         ·      · ·
            .•~es, as many businesses _cifrryspecjal insurance for employee fraud/ehibezzlem~nt. 1t'you
              do,·we reserve thte right to requir~you'to file you(cl;.:1im with your ·insurance company. before .
           ...making any cla.im c1gainst us. !n such e11~nt, we will ccinsider yourdaim onfy after we have ....
             ·reviewed your insurance company's de.cision, and our Uabilityto y~u;if a.ny, will be rediJced .·
             ·by the amountyo.ur fr1sµrance company pays you. ·                         ·    · · · · ·· ·
             .                         .                           .   .                       .

      ·12 BiisinessAccoviit Agreemei1t- Effective AprH 24, 20l7
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   ••. Are \~e allowedt~ restrkt access to your ~CCQUnt? ••.

     -tc-, youraccountand
            ..      .  ..  other
                            . .   accounts
                                     . ,
                                            witti us that
                                           ''         .   you.maintain<>rtqnfrol;
                                                             '...     . ..      . .·
                                                                                     w~
      Ye~, if we suspe~t a~y suspicious,: unauthorized; or uniawfulacUViti~s, cah restrict: acces.~ •· _· . .

 .... ifow do We handl~ legfe{I pro~ess?
   •. ·_. Legal protess indudes an~rievy, garnishment or attachment, tax levy or withholding ord~r,:.
          ihjunc:tio~,. restraining order, subpoehc1, search \Narr-ant, government a·g¢nc;y request for .. .
          information, forfeiture-er.seizure, a11d other legal process relating_tc,your ~ccoi.int. .·. . .. .
       ·..Wewill accepta~d a~t ori any lt:?gal process w~ :believe to be valid, whethet the proc:ess is •.
         -served in per~on; by mail; by"electror1ic notification, qr at a.ny banking :1oca,tion ..• • . _. :. .
        . If we incur ~ny fees e>r.expenses_(indudlng atJOrney's fee·s and·expense~)dueto-re_spondlhg
  .• to legal process related fo yoi.fraccount; we may charg~ these costs to any accountyou .. ·
          maintain with us; . . ...         .    . .. ..          . .. .. . . . .                ..       .
  •. ·_ Al'~ tra~sacti.Ort$ stibj~ct to verification by th~ Bank?_: •..
    .-· Yes. Alltransattioni are ~ubjec:t to the Bank's verification.:This inclu~es c;,tsh, itedts,•9r ·....
      _other funds off~red for deposit for whicli we nave provi~ed a: recefpt We do not verJfy aH.
   •. transactions.We reserve the tight to reverse or otherwise adjust, arariy Jlnie W.ithoui prior .
        rJotic~ to you·, any debit or credit we belrev.e we have erroneously rnade to your ~ccount ...
   . . \~h0 is r~spq~1sib.le to tltaite. sum the declared anwutlt offu~ds ~ffered.for ..
     - deposit is a:ccurrite?         - . .·_ : . .: . .. . . .. . . •-. . · _. . . . .
      . ltls ;ourrespo~sibmty, and the Ba.nk has no obllgatioil,tomake sure the ded,uedart,ount .
         offt.indS: offered for de.Posit is accurate. If we deterni in_~ a discrepancy exists between the.. .
                                           of
     ·. dedared an~ the actual. amount the furids;.we ai·e perniitted to adjust (debit or tteditl -
      · your account. We ·are also permittedto use the declared arno•untas the Corrett amount to be •·
      . deposited and to. n_otadjust a dlscrepa.ricy (fit Is less than our standard adj~stmentamdunt: .. ' .
         We are Permitted tQ vary ~Ur. _standard adjustrrienfamountfrcimtime to-tirn_e without notice ..
      . foyou and to use differ~nt amounts dependi119 On ~cco1mt type.                  .. .        .       .
   .. If yoU notify us of a_n  ~rror   in the amount of a d~posft ~hown 6~ •your ·account statement . _
   · . within 30 days .of the date we mail or otherwise r:riakethe_ a_cco0nt statement available to ..
     .·yo_u;w_~ Will reviewthe deposit and make.aily_adjustmentwe ~eterniine is·apprqpriafo,: •.
    . subjecttb any applicable fees; .. . _ . . . . .. . . . . .                      . . . ..       . ..
         If you foil tO nQtify ~~ during this. time fra_meltt,e·deposlt_amotmt On 5'QUr statement·wur ·
     .he considered .correct This means that if the aduaLamount is ·,ess than the arnounton t~e •
     . statement; the differenc;:¢ Will become yc;,ur property. If the actual c1rnoi.mt is more than the ..
        •arnountshown ~n the statement, .thedifferencewm become the Bank's property.                     ..
    ·. Can:_yotA arrt:mge to have.usadjµst alldisCl'eparn:ies identified during ~riy .
     . v~rlficatton \ivitho1.H: rega1·d to our $tan.d,atd adjustment amount? -· •.
     . Yes: lfyoor account isan an~lyzed l)usiness deposit: account, you ~ay an-~nge for the Bahk ..
     · to adjust all discrepandes.i~entified during any verifjcati<>n Without regard to     our
                                                                                           standard _·
     . acijustn\ent amount.by contactirig:YOUdocal bahkero_r calling the numb~r on your statement. .
    . Are V\fe .allo¥r$(f to   converfyo·ur account 1111ithQut.your requ4!stl
   . Yes, w~ ic1n co~vert yow; ;,1cc6unt to anothedype of depo~it account_ (by giving you any
  · req_uired i,otr~e} if          ·· ·          ·     ·    · ··        ·           ·· ·     ·
   .. • .You: use it inappropriately or fail to meet or rnaihtain the accou rit'~ r¢qulrerrients, or
      . .We determine an accounHs im:,ppropriate for you based on your use, ~r. . .
   . • .. We stop offering the type:of account you ha;e.              . . .        .
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              When can: you do~e yo~lr accounti.
              If }'OQ ~qu~st to dQSe your account,wefflqy aH~w you t~ kHp funds inyouraccount i.o.
      ·. ·.· .cover   out~tanding Items to b~: paid. .· :.   . .             . .. .                     . .
                 .  .             .     .. . . ..        .       -                                          .

                             we
                                       '                     .                                          .


              • . If do alloV\I you to keep funds in your accouht: .. · : · . ·... •:·. ··. . : . .. . > : ·. . · ·
                .·.~.·For irit~rest:.~atn ing ac~~unts, itstops ·earnirig interestfrom fhe date you request to close
              · .·. yourac~ount.. : . ·. :            ·. ·.: : . · • .· · ·: ·.· ·. · •· ··.·... :.·:.: : •· ··. •· ·· · : . : .· ··
                  . ~ Overdraft P~otection ~nd/or Debit Card Overdraft will be remo~ed ~i, the date you ...
                     · request to dose your c1cc:;quiit. · · · . .        ..                    . ..                     . ..
              . ·- The Agreement contimJes to apply. ·.                    • . . . . . . . . . . . · . . · · .· · ... · .
                ··~.Ali outst~ndiJlg items rieedto, postandthe accoi:mt's balanc~ rieeds to be:br6~ghtt<>zel'O •·
                . :. within 30 days. from the date of your reqUE:!st to close. Aft:er 30:d:ays, unless                       account . .               your
                    . has.anega~ivebalarice,yourcicct:>untwiUbeclosEid, . . . . • ..... :                                    : ...... · ..
             • . We w·m Mt heliabfefotany IOS!i~i'.damage that may result from nothonorirrgHerns .that ...
                  .are pr.esen~ed or received after YQlU' account is dqsed. ...                                                       . .
       :.. :You can dose' yo~r account at any time if the account is in· good standing (e.g.; dpes n<>t .
      ·. ·..·account>'.
             have a negative   . . b~lanc~. .or any
                                                 . . restrictidn$
                                                        . ·. . such   . . as. legal. orderholds
                                                                                              .         or. court blocks. . . on
                                                                                                                               . . the:.
                                                                                                                                      . ··
      · ·· :VI/hen can w~ close your ikCcount? •·.:
            We reserv~ the right to dose your account at anytime,     close your accC>Unt; we may send .                         1fwe
           theremalning balan.ce on deposit in youraicoL!htby tradit!onal:rriail or cri:dit it to another .
      · ·. account you maintain with us: .               . . . . ..         . . . :.               . .. .
           .   ,·            .. ·          .    "'   '   .. ·            .   ,·.        "   '



      .:. Ptra
            .           "
                            w.~ an.owe~
                              to t~r.minate or suspendase1vice . .                      related to your account? · .
                                                                                                '               ,   .                       ,··   ·-    ,,


          Yes; w.e cari terminate or suspend. speci~c iervk:e.s. (e.9:; wire ~n1n'sfers) r~lateg to yQur account ..· .
          witho.ut dosing your:account :and without prior notice to you. You can· discontinu~ using a ..·
          service at any time: · ··.·• • ·.· · . . : ... ·.· .. : ·.... · •·· . · ·.· •· ·.· · · ··· · ·.· :·.• : : · · : ·.·. · ·.: · .
          Are we· ~UQwedto obtain (teditteports OJ.other repc,rti; ab~mtyou? ...
       . . Yes; we can Obtain a credit Or ~therrepcirt aboutyou and your :,q-ov\lner~ to help.us de.tefmine :
           whetherto-openor maintain an.account,Otherreports w.e .can obtain .iridude information . .. ...
          from thefoUovving: 1) motor\le.hide departments, 2) other state l.'IQendes, or.3) public records~.
            WheRdo we sh~re i~fornia~tOflaboutyour accountwit~ others1 •·· . . .
    .. ::.• Generally, if we do nothave yb~r tonsent,yve Wili not sharehiformatrqn about your aicount. .
         H:0wever, W.e may shar:e' in.formation ct.bout your:account in accordance with our PriVacy' · ..
       · Policy separ~(ely.91veri to ye>u. · ·      · · · · ·· · · · · · · · · · · · ·
         .~1·e 1/l~C                  aHowecUo monitor alld record coml1u1nicatio1,s? .·.
          :Yes, ~e can monitor, recordland,retain:your comnnmi~ations with us a:ta~y tirriewitliout ...
         .·further notice t.o anypne, unless. the laws gpver~ing your accou ntreq uire further notice: .
       . .Monitored ..and .re~ordedcommunicatlons
                             .·
                            ,'·
                                                        include:.    "
                                                                           .     . ""
                                                                                            .
          •• . Telephone conversatidns,
           • · Eiectn;micmessages, ::
               Electronic records, or . . .
        . • .. Other data ttansmisSiqtlS.



   ·14 Bi.1slnessAccoui1t Agteemei'it- Effective April 7,4; 2017
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       . tan Wells Fargo b~nefit f.-om havin~ the use offµ:ncts ht customers' non~inter~st •··. ·
         earnj~g gicounts?                ..       . .        .        .      .   . .. ..                  .   .   ..
                                                                                                                     ::s-               ,-+.·

        .. Yes; We may.benefitfrom having the use offurids iii custoniers1-noh~interest ea'rning
       •• accounts; We may use th~se funds to reduce our borrowing from other. sources sue~ as. :
                                                                                                            ..
                                                                                                                     ""'
                                                                                                                             ..  ·.·.~•
                                                                                                                     ~
          .the.Fed Funds market or investthem in short-term investment~ sucli as its Federal Reserve                 5·.·····
                                                         as
       .· ·Account.This benefit may beJeferred to "sp·readi It is r,ot possibl;e .to quantify the benefit            ::::,      .           ..    ,




       ·. to Us that may be a~frib1,.1table to a•Particular customer's funds because funds frotn all ..            .       . ·.
                                                                                                                             "

                                                                                                                         ::ti .•.
                                                                                                                                   .
                                                                                                                             ... ,-i,·
      . .. customers' non~interest ea ming accounts are ~ggr~gated bOth for purposes of.red:ucir\g . . .·.. ::r    0 Ill .
                                                                                                                          (I) ..

      ·• .our borrowing costs and for investment and be·cause our u~e offunds rnay:vaty' depending . · . C··9..
           on a rium~er:'offacfors induding interest rates, ~ederal FundS:rates,: ctedit risks and o~r . . .. .· 10·<
                                                                                                                   7 5· .
        .· ~nticipated fundin9·iteeds'. Our i.!se o.ffunds as described i0 this par,foraph has no effector·        1».10 ...
           lmpactonyouruseofandaccesstofundsinyouraccqLint .·. .                        . . . ..        . ... a-a.·.
                                                                                                                   g'Oiii;
                                                                                                                 . Qi
       . Can you barisfer ownership of your account? .                                                         .   c-:S
                                                                                                                   0 l'lf.
                                                                                                                                 ...
                                                                                                                                 .    :::,. Ill ..
      . No assignmei-ttwiil be valid orb1ndirig 0~ ~s, and we wili not b~ con~ideredtQ h~\/~ :•.: ..··..
          "knowledge'16flt, uritffwe c:onsentand the assignment IS rioted in our records;However,hy .·
      ··. noting theassignrnent,we:do nothave.ariyrespoosibilityto assu_rethatthe assignment is .
      . valid.. Any permitted
                  .,      ..    .
                                  ass,ignmentofyout
                                    .,.        ' .  .
                                                    '
                                                      acc;e>unt is subji:ct
                                                                  '   .
                                                                            tc{our
                                                                               . . .
                                                                                     setoff rfghts~ · · · . . . .
                                                                                                       .

         .The.Agreement is binding on your pers_onal representatives~ exec:Jtors, a:dniin!sfraiors; and:
          succ~.ssors; as ~ell ai pursucce:ssor's and assigns. . . ..             ..     . . . .. . . .           . ..
        · 1s ypur wfr.eless ope1iatq~ a~tllot·ized to provide irif~rmatfo_n to                ~ssiSt in yerifying .. • 11) ... ·
      · your iden:tity?         · ··            · · ·               ·· ·                           ·       ·            ··           ·-c .(/)·
                                                                                                                                     ·86t
         ... Yes, and as·a part of your·a~count relationship, We may rely on ttiis infotmation:to assistin               ;rt
                  verifying.your.identity.· · · ·                       . ..           . ..             . ..             o3
                                                                                                                         ""'·I'll
        .. :• Yoµ authorize your wirel~ss operator (AT&T, Sprint, T~Mob,He, t.,s Cellular; \ier.iz<>n, or any o,ther. . ~~.. •. .
                . branded wire.l~ss operator) to use yoiir mobile number, ·name; address, email; network status; ·.. ·.g:§ · · • ·
                  cust9mettype, cu_stomer.role, billing typ~/mi:)bile devic~ identlfiers.(IMSland IMEI) a'nd . •.. · ~ o.. .
· ·. ·.·. •. other subs,criber status details, lfavallable~ solely•to allow verification of your identity and fo. ·..· ..
    · · : .. compare information you have provided tqWells Fargo, with your wirel~ss:9perafor ai:cou~t : .
                  profile infqrmat.i<>ri for the duration ofthe business relatiorishhi . . . . . . . . . . .
         . ·.· . ·Yoµ m~y opt out of this ihformationshar.lng by contacting_ yo.~r wir~less 6perator directiy. •· .· · .



                                                                                                                                     Ki               .. ·
                                                                                                                                     < ri .. ·
                                                                                                                                     -•:::r·.
                                                                                                                                     ::::J. /'I).      .
                                                                                                                                   10n
                                                                                                                                 .. Ill, .'1f-'

                                                                                                                                     •~=r
                                                                                                                                 :- n.10.
                                                                                                                                    O.. ai
                                                                                                                                    C ::I
                                                                                                                               ·::::J. a.
                                                                                                                             . ;:;r •




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        .. Ar~ thE?re at1.)f restdctiQi1s on ()Ur accepting:depo~ihrto yo.tu actou11n ..•·.· .
   .. ..: •we may act:ept a: de_pbsit to your account ~t ~ny ti~e and fi'.dm any person.JAlhen .we ca~not ::
           verify an•endorsemeot,·we .can refuse to pay, cash, ·accept for deposlt, or:collecfthe.ite,m. .. .. .               .
        Also, we niay retju'fre all endorse'rs be present.We niay'require you.to deposit an/tern instead ..
    . . .~f p~rrnitting Y,OIJ to ca~h it. Checks dravm on cfed!t account or maqe out tb payeesnot 011 ·. . . .. ..
     ·...th:e acc;oun~ may not be accepted:qr may be sent for collectio.n. We:reserv¢the rightto refuse .· ···
         for d~posit or to require to be senlfor collection·an item drawn on •a credit account orto a. :.
         payee nof:on•the account. For a cJepos.lt ma~e to your account, we may requite an acceptable:. :.·.
     . . form of primary ideritifkation in order to m,ake such deposf~; .        . . .. .        .. --
     .••. Wh~flrn11pens ifwesend an item forcoilection? ..· ..
     . . We rilay'.upqri ~otice to:you, send ~n item .for coiiectlon instead <>f treating ifas a dep~slt. • .
                                                                                              for
          This means that we send the item to the issuer's bank payment You'r actountwill not be .
          creditedfortheitern until we ret:eive payme_ntforit. . . . .            . . . . ·. . . . . . .
 ·.:. · Wfo;i: 2ir<,;th~ l't'(fU:h·Bmr~h(s·for a,i1'>rn~tt endors~n-ient? .·. .· .· · · .· · .... · .·
  .• :.•.••... •An ;,eliclorsement'.'isa ;ignatu.re;.~t~mp;.or ~ther m~rkon the back of a check'..lfye>i.! have •· ·..
            · riot end<irsed a.check that· you deposited to your ~ccountl we. may en.dorse it for y9u, .Your: .
              :endorsement (cjnd anyotherendorsemt:intbefore.the check ls deposited) must be ih ~he                    .
      . · ·..·1".112:.:inch area that starts OF) the top .ofthe back oft he chetk{see Sijhlple bele>W). Do not . ·
                sign or write: anywhere eise onthe back he check;        oh     . ..         .. .               .




        ':-"        . . ·.'   '"         .   .       .   .        .:::   .   '       .        .·   ..



        .,Ai·~:- :we bnu.nd b:y rest(it~1,Joh5'or notatit;)nS:on checks?
        .N.o; we are not bo.und by restrictions or notations, such as "Vold after six ~onths:'Noid over
          sso;'a,nd ''Payment in full."                      . .. . .                    ..                 ..   ..   ..   .
         •\,yhen you cash or d~ppsit a check w·itn a notation or restrJ¢tion, yciu are responsible for any .
        . loss or ~xpense we incur relathig to the notation pr restrktiori. · · .               .        . ..
         : Whiit js a "substitute ched<.?"
      ·.· A substitute check is cr~ated froni an original check; under feder~I la.w, ltis legall}' eq~lval~nt .
         : to that. original check. Asul:,·~tltute check contains an:accurat:e <:•py ofthe front ~nd l:,ack of
         •tbe original chec:~ and bears the leg en~: "This is a legal copy ofyourcheck. You t:ari use it the . ...
           sarnewayYQl,i.wou.ld USli:! the orlginalcheck:; As noted intheleg~nd;asubstitu.te check:is the ..
         . sam~ as the original check for all purp9ses, Including proving that you made a payment. Any •
         . check you i~sue:or deposit that is returned to you maybe returned ln the form of a.substitute.· ·
           check: You agree that you will not transfer :a substi,tute che.ck to ,:.is,. by deposit or othenlViS~; .
               we
           if Would be the first financial institution to take the substitute check, unless we have .
           expressly agreed i~ itritlng to t~ke It. . .        .         .. . . . ..          . . .. .

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        What ha1>pens if y~u bread1 a warl'.anty assodatec.l with an itein1: •
                                                                                                                ... 5" :
  . . If you ~rea~h ariyWarranty you make to us i.mder the. laws governing yo~r accou.ntwith:                   ... q .
   . . respectto an}'lteml you vi.till: not 1:>e released or discharged from any liability for .the preach so· . 0.· 0
                                                                                                                          .
                                                                                                                            .
    • long as we notify you oftlie breach wit~iii J;!..0 days.after.we·l~arn ofthe br~~ch. If wefail to ·.·. ·~
   . •. r1otiry yo1rwithiri th.is 120 day period, you Vllill be releas~d from liability ahd discharged only · · ...·.g
                                                                                                                     !:t.
   .:. to the extent ciudai!ure to notify you within this time period ~aµsed a loss to youi .· •.         ..
        How dowehandierion~U.S ..itemsl..                    .. ..      . . .. . . . . .. .
   ... A"non-u;s. iteni11 i~ an item 1) payable in~ currency ptherthan U.S. cfollars dr.2)drawn on : .
    . a financial institution that is not org:anized. under U.S. law, We are not required to accept a ·
       non-:u:s. itemf~r deposit fr~ your ·account or for.·d,liettion.:w~ may accept hon~U.S'. items:on
   .· a colle~tioi:i bas)s without your specifi.c instruction t() do so: We can rever~e: any amount we .·
       hav~ credited to your: ~ICCQUrit and send the item :on a collectiori basis even ifwe h·ave: ta.ken :
       physkai possession ofthe item~ .            .     . .. .        . .   .           . .       . ....
       it we accept·~ 110.11~0:S; item, the U5. dollar amount you receive for it wili be qetermlned by
     . ou:r excli~nge ·rate that is :in effect at the' time of d¢posit or OU r:' rec¢1pt of final payment (less      : ..:.:3 : .
                                                                                                                       ::,'C    .
      ·any assoc.iated fees). of the collection item; If the nori""u.s: ·deposited item· ls re,u rned unpaid .. o'O    -,.::i.·
 ..•. fo'( any reason, We w.ill charge the amount against your account (Or.any other account You ... .• : 3 bl
     . maintain witb us) at the applic~ble exchange: rate. in effeit at the ti111e oftbe returri ·. ·. · ·:: ·:     :~a.·
     . Ourfunqs availability    poUcy does    not   apply  t6
                                                                                                                .·.·.  g·~ .
                    '   ,   .
                            ' .          .     .         .  . . ~· non-~.s.
                                                            .       .
                                                                            item.•- .
                                                                                 '    .



   ..· WhaHs c:iur ;·esptmsihmty for collecting a deposited /t~/t)? .
   ··:_We are responsible f<Jr exen:isin~ ordina~y care wtie~ collecting~ deposited item. We wiH • ..·.··..... a
                                                                                                               ~.~.·
                                                                                                                    a.
       nqt be. responsible for the• lack of care •Of. any bank involved in the c.oHectioii or t¢turn of a. . ..... ""
                                                                                                               ::,. (D
   · · depos:ited Item; or.for i:ln ilefl! lost .iii collection or.return.. ·  . ..                            o3
                                                                                                                                          3'~·
  .:·• What ha1jpen~ when (l deposite~ or cashed.item is. returned uripai.df .                                                       .•. @·lit

 . . We: ~ah deduct the•aJTJount of the deposited or cashed item fromyouraccounf (or any other •. . :::, C. .
                                                                                                                                      . 8'·~.
  ·.. accotinty6iJ maiiltajri with us).We can do this when We are notifjed thartheitem will be ..
                                                                                                                                       • II)




     . returned. We do not need to receive the attuai item (and :usuaily do not re~eive it).We          go.. ·· ..,          can
     ·. this even if you have wlthdrawri the fonds and the batanc:e in your ciCCount'is 11ot s~ffi(:ieht to · 2=!                         i
      ·cover the amount we hold or deduct and your accpuiit becomes ov~rdrc;1w11.·111 addition,,We .•. ·• · g'§;
        will charge you allapplkable fees arid reverse ail i.nterest a.ccri,led on the item . . :· . . .      . :·. &lit
  .... w~    may plate·~ hoid on or charge yc,uraccount for~ny check or other item deposit,ed                   . ~ g_
                                                                we
   .. into y6ur account ifa claim is tmide or otherwise have.reason to believe the ch~c;k.or                     : rn' .
    . · otherftem was altered, forge9;.umiuthorlzed; has~• missing signature; mlssing or forged :•   a
      . ~ndorsement; or sliould·not have been paid, or may not be paid; otfor any other r¢ason; ·
     . When the: claim: is finally r1:soived, we willeither release the hold (!r de.dud the amo·unt of . . .
        the item from. your account. We are not legc31ly' responsible if we take or.fail to take any action ·.
        to recov:er payment of a'returned deposited ttem. .. . .. ... .. . . . . .                    .. . .

      What h~ppeJis whei1 ~n ef~cfronic paymentis rev~rsed? ••· ..
     •we rn~y ci~duct th~ •~mount ofan electronic payment cr~:ditedto your ac~ount (e.g., dir.ect .·
      deposit) that is reversed.We cc1n d~ductthe a·mount from ariy a·cc6unt youhavewltt,1 us·                                at .
    . any time wi,thout notifying you. You agree tb .immediately r.epay.a'riy overdraftsresulting from
    . the reversed payrnent: • .             . .             . ..         .        .. '    .

    . Are you ~e$ponsible for assisting us in reconstru~ting a lost or destroyed ..
     del)osit~d ifem? •                       · .   ··: • · · · · ·   ·: • • ·       · ·.. · ·:: ·   . ··· .·. · · · ·   .     .
     ·!fa ciepe>sited Item is lost or de.stmyed during processin~ or cbllecti6n, you• agree to provide
      all rec1s6ri~ble
            .  ..    ..
                        assista11ce. to help
                                  '   ,  ..
                                          .
                                             us reconsfo.1d
                                                     · .  .·'
                                                             the item. .. ·.. .
                                                            .· . .
                                                                 ..
                                                                                . . .·
                                                                                 .
                                                                                                ..                                   17
                                                                            .
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          Your ability to with~raw funds                                    ..
              Ou_r po Hey is to ~ake funds frorn:your check depo:s:its to Y61:1~ che~king ~r savings ac~OLITlt ..
         ·. >(in this policy1 ea·ch                  an
                                      '!account") availableto. yc>u on th~ first business day after the day we. : .·
            ·receive your deposits. Incoming wire transfers, electro.nic direct deposits, ti;ish.dep()sited at .
              a teller vvindow andata Wells Fi;ltgpATM; and the first $40() of a day's :check deposits :ata. . .
              teller-Window and at aWells Fargo ATM will be available :on the day we receive the deposits; ..
       . ' 'Certain electronic credit transfers, such as those.through ,card networks-<>r:funds transfer':.' '
      ' . systems, will be:j;lvailable on the tlrstbvsinessdayafter· the.day we-receive the transfer. ·once'
        . ' .they ate avaifable; you can with~raw ·the fuiids in cash _ahd ,wew·m use the funds to pay·: '
            . ch~cks and otherlte,ris presented for paym_ent and applicaplefees•that you have incurred. :.
           '_the fi (St $400 ofa businfss d~y's check d~posits to an analyzed a~col,int a~e         availabl~ to                       not
          .· you on the day we.receive the deppsits ..Check deposits to an anaiyzed acco~nt are •available ..
         . oh the first business day afterwe receive yoµr deposit~; . .             . . .      .     . .. . .. . . .
      .. b~~enniniQgthe
          . .
          .        ...   .
                            day
                              ..
                                 of ~ec~ipt . . . . ..
                                             '   ,        -   ....    ,·


         Jorcletermining the ~vailability of yourcleposits; every day is a business day, except                  _· •.
   . •. . .Saturdays, ~und~ys, and federal fo:>lidays. lfyou.make adepositbefore our estab11shed · ·. ...
      · : . cutoff time ~n a business.day that we are op~n, we will consider that day fo be the· day of .·: ·.
        ' :.' your deposit. However, if you ma,ke a deposit<1fter our ~utoff time or on a day <If~ riot                                  we
              open,      we will
                              consider the daythe deposit \l\laS madetohe the next business day we are open.'
              Our e~tablished ~~tofftinie is vvhen a br~nchclo~es for bu.sirtess and rn~y i/ary:by location. The •.• '
             ·cutoff time
                        .
                          for. -checks deposited
                             .       .     .
                                                 at aWells
                                                     ..  .
                                                           Fargo
                                                             .
                                                                 ATM is. 9:0()
                                                                         - .
                                                                               p:ni
                                                                                .
                                                                                .
                                                                                    10011 time
                                                                                            . . {8:00
                                                                                                 . - .
                                                                                                       p.m:
                                                                                                         . .. inAlaska);.
                                                                                                               .  .       ..
                                                                                                                            ..                        '




         :Lcing<~rdelays•may iipply
          h1 30file c~ses, we wiHnot make the fkst$400 of a busi~css day's ch~ckdeposits avail'abl~ to. > .
          you oh the day .we rl:!Ceive the deposits. f!urther,Jn some ~·ases; we will not make. all the fun_ds ..· .
     . · .that.you deposit by ch eek available. to you on the first business day afterthe day of your .· .. ·.· ·•
       · · .· ciepbsit 0:epencfing on the type of check thatyo1;1 depositrfunds may not be_ available uhtil ·.
    . . . the .second business i.(ayafte.r the dc1y of your deposit.The first $266 of youi"deposit, howe\ier,
      . : may be availabl~ on the first business day: . •·.... ·. ·. · : · · ·.· ·.... : . · · .. ·• . : . · ·. ·. . . ·.· · ·.
         ·...ERcept as oth~rwise expJai~~d In this P~ragraph, if we are notgolr)g to make all furid.s fiorn
               your: depositava ilable on the business <iay of deposit orthe first business <lay after the day of :
             •deposit; we wHI notify you at the time Y()U m_ak~ your• deposit: We 'will also tell you. \Vhen• the .
        . .·. funds wm be available, Ifyour depo* is notmade. directIfto ~ We Us Fargo: employee, or if we .·
     . : dedde-io take this actionafter you have·te~ the Premises; WI;! win maH you the notice hytlie                           '
          . firstbuslness_dciy after we _receive your deposit . . . .· :· .... · .. ·.....· . ·. . : . . : ·...· .. : : •.
            ' If yb1;1 need the funds from(.. depo.~it rightaway, you may ask us when the f:und~ ~ill available; .· '                        be
            •1n addition, furids you deposit by checkniay he deiayedfora longer ~eriod underthe                        ..
               following ·<::irci.m:istances: .      ·.. ·. . •· . .. . ·. . . . . . . .         . . ..           .
              :~ We ·l:>elieve a check}'m~ deposit will not-be paid ·. ·
           . •. You
                 .
                 '
                      dJposit checks totaUhg
                             "           . .· . . .
                                         .
                                                    more thart. $5,0ClO
                                                              ,   .  . . on .a~y one day.
                                                                                    '   ..           .   ,   .,


               •You. redeposit a .check that has bee.n returned :unpaid.
                                                                           re
           · •• You have overcfrawr, your account p~atedly the i_~st 6 months                In
               •There.
                 .
                        is an
                            .
                               E:!mergehcy,
                                 .     .
                                               such
                                                ..
                                                    as. fa_ih:iri
                                                     .    .    .
                                                                  of computer
                                                                     . .   .
                                                                               or. comn,uriicatioris
                                                                                    . .   . ..
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                                                                                                     equipnieht:
                                                                                                       . .            ,•       .              .




     18 BLtsiness A~coui1tAQ[eem~1'lt-Effoc:tiv~ April 24,2017.
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                                                                                    .
                                                                                       '                       of                 .                .




    ' We     wm notify you if we deiay your ability to withdraw fun~s forany of these reasons! and ~e' : .'
         ~ill teli you whe~ the funds will be available. The furtds v.till generally be c1vail~ble ho later . ·•.: a .· ·
         than the seventh.business day after.the day of yoor.deposit..            . ..        .        ,. . . . . .       .    0
   ' Spedat rules for,n_·e:w a,ccounts_ '                                                                               ' ,.....          ''
                                                                                                                                                R:
  · · If you are a :new c:ustomer,the followi~g sp~cial rules will apply during the first 30 d~ys your ..... g°
  . · accour:1t is open.'lnc.on,ingwfre transfers1 eiectroriicdirect deposits, an_d cash •de.posited at a··
    .· tell et. windo\1\1 and at.a Wells. Fargo ATM will be available ·oo the day w~ receive the deposit~· ..· ..·. ·g,~. ·
  : '·. f~nds from your check geposits wjll be available oh the busin~s,s day after the _day we. (eceive : ' . Cl'.· .                         a
   . the dep9sit~; .no funds from a business day's c_heck deposits are av.ail able 9n the daywe :                         ·.. ~•-~.:
        receive the deposits: :. · ·.. ·. ·: : .·.· .· .....··..· .. : : · . > . . . . : :.··. · •. . . ·.. :·                ~~'. ·
        if we delay th~ ~vaila:bility of your d~poslt the following sp~ci~'iroiesmay a·pply: ·.· ... . .                 . . [~:
   .' •.' :The first $5;000 ofa day's total d~posit~ of cashier's, c~rtified; telfer's, tr~veler~s, and.' .: '·. ·.. · : .••                   ~i · ' '
             .• federal, state, and local government checks·and:U.S. Postal Servic~ money orders niade.: · .. g(R·. ·
            ·. payable to you Will be available oh the first busine~s day after tlie day of your (:leposit.
        ~ ·. The exc~ss over $5;000 ~nd funds frcirn all other check deposits: willbecivailable on the ·.· •:~. 3 .
             . seventh 'b~$ii1eS$ day after the day pf your tjeposit. The first $20(fof a dats total deposit : ' ·. '' ~-g· '
            .: pffu_nds from aU_ other chec;k deposits, however may: be available on theJirst busJnes$ day. · ·3 m' ·
                after the day:of:your.deposit . . . .                  ..    ..     . . . ..           ..      ..      . ~a
                                                                                                                                               . On, .
    ·. We will notify :y~u- ifwe delay your ability~~ withdraw funds and we will tell y6~ when the •.                                     .·   :,<al .
         funds will be available, > . .               .    . .    .           .          ..       .       ..        . .

  •·.. Molds. on. oth~rftu1ds (che~Jn:ashing) · :.•
    ·_. If we cash a cliec~ for you thafis dtavvn on another .bank; we rnay withh61d the ·availability ..
   :.· ot a corresponding aniount offundsthatare alreadyirryoui- aci:9_u1'lt Those fundswili be ..
    .· available
       depositedatthetime
                 it.            .. from
                        . .. funds    .. the..checkwe
                                                . ... .cash     ,. have. been
                                                        . . . would       . . . available
                                                                                  ... . . if. yoi.i
                                                                                              . . had
                                                                                                    ..

         i-ldlds on nther funds (other account}
    .. _If we ac~ept a checkfordepQ~ii that is drawn ()r1 another ban ~,\Ne: 111ay make funds from. :.         -. ··
    . the deposfr available for withdrawafimmediately but delay' yc:>uFability to withdraw. a:        .· ··. -~ 2:?.
  •··• c;o'rresponding amount of funds that you have pn deposit hi an·oth~r ac~ount with us:             • : gig.
  .· The fu~ds in the othe·~ acc'6unt ~ouldtl1eh not be availa•bie until th~ time:peri~ds ~hat are.• . .•·§:~ .
    · described in this:Policy.. · .       .                        . ..                                     . 28.·
         Delatiott ot.herfunds :            ...·' : ' . ' ' ' ' .· •' ' ' '.· . :                     . •' '·,' .· ' .. ' .: '. ' rn
  ... ·· Funds frqrn any deposit (cash or di~cks)made at eligible non.:.Wells Fargo ATMs using a card · .
                                                      in
     . issued by aWe.lls Fargo brand, loc·ated lowa 1 wilf not b~ availaf;>le untff the third bu:;iriess' . '
         'day aft~r .the day ofyour   deposit. ttiis rule do~s not appiy at ATMs 'that we o.wn or operate. All '
     ·• ATMs' that we own p·r•operate are identi~ed on our machines as "Wells Fargo:i:. ·                           .         .       .




  . ··
         1
             Also applies fo a card issue.d by the Natiqnal Business Banking Center or Wells Fargo Business·
             Online that is 'linke~-to a r,rimary·accou·nfope!ied in lbw~.     .        .    . ..        .


                                                                                                                                      ·19.
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                                                                             l.
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             . How do we determh1~ y6ur acco~nt'~ available ba/Qnr:e? .·•
             '. Your acco~nt's a~a~lable balance is oUr ~O$t clirrent reco~d of the amount ofmoney available '
            ·.. for your use orvvithdrawat W~ use the. availab/e.:baiante to auth.orize yolir transaction$ . .
                ·during the day (e.g;, _debit .card purch~ses and ATM:wlthdrawals):We also use thei11iailable .. ...
             •·. balariceto pay y.ciur.tr~nsadions in our nightiy processing;We•cakulateyour availabl~ · ..
               . balance as follows: . ·       . . ...    .     . .. ..            .    ...
       · .·. • •· •wes.tad: with the ending daily accoUritbalance from our. priot.bus-iness daY, nJghtly             ·
           .·. · .• ·. ·pi'oc~ssing tliat indudes all transactions: deposit~d fr;i or paid from your account_· •.. •....
               .• .· We subtract.from thi~ ~·mount any ·h~lds pl~ced. t>n a depo~lt tb :YO~r 'accouiltand any ' ' '
                        holds placed due to legal prates~;. . .                .                   .
            . ' • ',, We add~'.pending" ~epo~its th~t are linrriediately availableJor y_our u·se (including cash :.. ·. ' '
                       :d~p6sits, electronic direa deposit~, and the portion ofa paper d:1eck deposit we make : ·. · · .
                   . .
                        available; ~ee "Funds
                         . '            .     ..
                                                availability policy"
                                                   .           ...
                                                                     section for details}.
                                                                            '.       ..
                                                                                      .
                                                                                           .. .      .    .. ... ..
                 • We sub~ract'ipending" WiJhdrawals thaf we hav~ e1therauthorlzed (such as depit · · .
                     '' card purchases. arid ATM Withdrawals) or are krwwn'to us (such ~s y<,>ur di~cks and •.. ' ..
                     . .preauthorized.autornatic ACl:i wlthdraw~ls that we rece_ive for payrne.nt :from yoµr •·.·
                        account) but have.not yet processed. •·· .             .           .. . . . . .. ..
            .'' lrtiportaiit n~te:The avail~[?fe balan~does nofrefl~ct:every transactio~ you have iriitiated
              ··or previously authorized: .Forexample;your avai(cible balan~e m~y not include the following: ....
                • '.· O~ts'tanding c:he,~s and authorized ~ti~oniatic withcJrawals (suc:h ~s. recurrhi~ debit ca.td . ' .
                       .tran·sactions; transfers, ~nd ACHtransactionHhaf we have not received fcir payl')'lentor :
                     '. received .toq dose to our .ri,gbtly processing to inc:!ude in your.availablebafcince). ' ' .·' '
                • '' Thennai ~mount of:a debit card purch~se;for ex~m_pie,we may authorize a Purchase ' '
                     : amount prior to atip that you ac:ld. · . .· ·. . • . . . • . ·.·. • · .·.· · .• . ·. ·. ·•. .   .· .·
                • . D~blt card•trans·action~ that•IJa~ebeen previously auth~rliedh~t not serit:fo us•for final. .
                  '·.·. Payment We r,ust ~lease the transaction authoriza.tion hold aft~r'~a'.bµsinesi days.(or :.· •'
                 ' .·: '-AP to, 30 busine~s day_s for.certain :types ofdebft oi' ATM c~rd transactions~ includin9tar •' '
                   · . .rental, cash, and ihterriati9nal transactions) even though the transaction.rnay be sentfor: •
               .·· ....payment from.yolJr.account; which w.e niust hci11o·r,.ai a l~ter•date.          . . . . . ...

              .How
                . . d()'   w~ pru~ess
                                .
                                        (postHra~sactions
                                           .              .
                                                                   to you~. atcour,tl
                                                                        .      .       · ·.
               . We pi9ce~s transactions e~ch business day (Moti~ay thr6u~h Frid<1y exc~ptfederal t:ioiidays)
            . during a late night process; Once we process your ti'.ansact\9n; the results are "posted'1byour: ·
            .. · accourit.There are three k!:!Y stE:?ps to this process.The most (:om:rnon types oftra_nsactions · .
                 are processed ~s d~scribed below.           .      .     . ..               ..      . . . .
              •Firs{,;.;,~ deter~lne the av~ilable bCJl~nc~ in:yQ1,1r account (as describ~d above) that can •
                be usedtopayyourtransactic:,ns. . .. ·.. •. ·. · ·.·. ••           ·: ·.·. ·.·... .            .       .
              ..NOTE:Certain "pendilig'.'ttansactions can irnpact your ay~ilable balance: .· ' '. '' '.· ' ' .·.' ' .·'
             .• ~ Cash deposits· or transt¢rs' frdni ancitherWelis Fargo acc9unt thatare made AFTER the·.·· .
                   . displaye~ c:µtqff time (where the deposit was rnaoi} will be addetj fo• your available · .
                     balqnce-ifthey are made ·before we st~rtour nightly process. ' :..... ·.' ' • ' •. : ....•• ''
               .~ '.Yplir: avaiia~/e balance will be r~duc;~d by;'pending';Withdrawals, such as debit card ..
                 . · trahsa(:tions we have authorized and must pay when t_hey.are-sent to us for paytrient. · ..
                                                                                          for
                  · These pending v.,ithdrawals may be ·sentto us. payment at a later date. In sorrie . .
                    drcum:stances, these transactions may be p.aid into overdraft if other posted transactions .
                   •or fees have reduced
                  ~~-                  ..
                                           yc:iur balance before the pending
                                                           ,       .,  .
                                                                              transactions
                                                                              .  ,,
                                                                                              are presented.for
                                                                                                    ,·•          .
                                                                                                                    .. •• ..

 .      .                      .   .   "               .


     . 20 Busiqess Accowit Agreemei'it - Effective April 24. ;w1        t.
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     Then, we s~rt you·.. transadiQnS i~to categ~ries bef~re we prociess them~' ' ·...·'. .• .'
     • .•First, we ~re~it your atcounf for depQ:sits; including cash and ch~¢k d~pos,ts and        .     . ·:r· •·
      . · ·incoming tra_nsfers, re~eived before the cutoff time at the· location·the depositor tran~fer.
           was made. . · · .        . · ·. ·. . .      · ·.. . . ·      · · · . . . · · . . • · · o.
                                                                                                           .                                                                               a··
        ·•. •Then, we ~rcx:ess ~ithdrawals/paymenfa.we _have previbus_ly.authori;ed and cann_qt •· ·. · · ··. ·                                                                            9:
 . . . •return unpaid, such as debh card.purdiases, .ATM..withdraw~ls; account transJers; Bi:isi_ness :· . · g•.
  .·•. . · Bill PayJransactions, ahcf teller-cashed ch~:cks. Ifwe receive more than on~ ofthes~ .. ··.. · :•·
    . · ··. :transactions fotpc1yment from your account, w~ wil(gerierally sortand ·pay them. based .. · · ·.: ~fir .· .·. ·
              . on the date and t!me you conducted the tran$.adions: For a debit card transad:ion;·if a                           · . o cS .
             . rnerch.ant does-not seekauthoriiation from the Bank at th:e time of thetfansactio·n, we. .. ig_S; .....
    . :will           use the datethe ·transaction is rec·eived for payment from· your account. ·Forsorne                           ·· ci,-~ ·
         ·. · · tfansadions; such as Business aiit Payfrarisactions or't_ellir~cashed :chec~, the time·... . . .~;-~
             . rn~y:be assigriec;iby ~ui'systems and rnay yarY from the time it was conducted. Multiple· .· •. · · ;:-c
          .. •transactions that have the sa:m~'time will iJe •so:rted and pakf from low.est to' highest .'.                         '' ~ g.
              ' dQilar amount. • ' '        '             . .             .                           .        '                       ::, VI
         • Fi~aH¼ we:use yqur r~mainingfu~ds to pay your ~heckS and preau~hodzed automatic .                                           ::;;3 ·
         ...· ACH payments (such as bills.you pay by al!thori~iJig.athird party to withdraw funqs • .·. . .· ..                                                                           a-i ..
             ·. 'dtrectly frohl your. accou_ht). If t,here is more than ohe of .these typ~S qf transactions, they • ·3 ifr::
              .-will be sorted by'tlle date arid time that they are rec~ived_byus, Multipletrai)sa!;:tiohs . . . .· .. ~ g._
                 that have the same time Will be sorted and 'paid from.lowest te> highestdollar. amount. •' ·. g·~ ' .
     '.• Fin~liy,ithe avall~·ble balance in youi account Is riot ,nough to ~ay all ~fy~ur .· .                                             QJ

         transacticims, Vtte vidll take tbt! following stf;!ps: •• ··. ·. . · . · > .•· ··. ·. .:.. :. ·.. •·. •· ·. .· · ·. : .
         ,: .· First use Ov.erclraft Protectior- Ofapplicable): We wilhransfe_r/advance available funds ••· · · !II "' ..
              . from:a savings an~/or- credit account you have linked t<>your:chetkirig account fo~ : . ' .: ~
                 Ov.er~raft Protection (dP,srrih:P.d gn p.22). ..·.. ... •. . . . .. · ·. ..       . > .·. · · ... · o.3
                                                                                                                                                                                               l
         . '. Then, decide Whether to pay yotirtr~risactii,n hito overd~aftc,r return it unp-lci: ·..·'
              :-Atourdiscretiqn,we may pay a check or automatic paymehfintooVerdiaft, rather than
                                                                                                                                     :                                                    !I
              . retor.ning• itunpaid:this is our .standard overdraft e::over.age: lfwe pay the transaction into .· · .. 5. .· ··
                                                                                                                                       ct.OJ
                                                                                                                                                                                          a
            '' overd;aft; itmayhelp you ~void additional fees that may be asses'seg by_the merchant.·. '.·
              • Debi~ card trari~~ctions presented to: ~s for payment (whether previously approved by us. . ...
             · •or n<>t) will be p~id into oVerdraftarid w!llriotb~returned unpaiq, ~ven ifyoudonothave ... ·~-:9..
                 st.iffidentfundr if'I your account · ·                   ··            ·             ·· ·               ·       · o ig.
     ,--.,. . . . ---,.,. . . . ........,. . . . ____.......,...,......_...,...'-'-_______,:. ___. . . .,.______. . . ._____. . . ,. . .,. . . . ; . .;._ _.;..-,--.;,.;,-.. . . ...:.-,.. ' . itvt"
   ' . ·. IMPORTAJ)IT INFORMATION ABQUT FEES: .                                                                                                                                               'gg' ' '
                               . .                                                               .                                                                                             a~
         Fees may be assessed witli'each item paid into oveh:frafi o,r returned u·npaid subject to .                                                                                      ro ·
         ~hefollowing: ' ' '        ' '. ' '' . ' ' ' ' .' ' '     '      ' '' ' . ''         '' '                                                                                   '.   VI



              .. ~,Aslngie Overdraft Prote(:tion Tr~nsfer or Advance Fe.e will be ass~ssed :wh~n ~e •.• ..
                 · need to transferi~dvan¢e funds from ycilir linked •ap;:ount[s)into yow checldng . •.
            ·• . a~count, but ohlv. ff ttie transfer/ac;:Jvance helped you ayoid ~t.least one overdraft or ·
            . . returned item:.. .. ·. · . . · •. :· · · · .· • · .. · •-· ·· ·. · · · · . ·.. •·. •· . .· .·• · ·. .. ....
             ·. -if b()thtbe ending d~ily ~ccoun,tbalance and avallabi~ ~lance are •Qverdra·wn by .· . '
                                                            no
            · .. $5 or less and ~here.are Items returned for, ncm~s~fficientfunds -::-:- after \Ne have ...
                . processed all of your tran.sactions.:.....:. we will n<>t assess an overdraft-fee on the ite,m(s).
            •.- We limit the n~rriber ofoverdr~ft and/or.returned ;tem (norf-suffident:fO~ds/N·s~)
              ·.. feesto.nq
                  .·        ..
                                more than 8..forbusinessaccountsperbusinessdi:iy.·
                                                 "   .               .      . ..      . ..
                                                                                        .   .        .
                                                                                                         . .
             . ~ Any overdraft or returned item fees assessed are deducted from youraccount during ·
                • the. · .morning
                   .       ....
                                  of. the. next.. business
                                       '          .    ·- d'ay following
                                                                  ..
                                                                              pur .nightly p'rckess. . .
                                                                                   '            '.       -,            .
                                                                                                                            ..   '.




                                                                                                                                                                                   21
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                                       '.



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       . .-~hat is Overdraft Protection? .
           . .When you e.nr:oti.in.Overdra~ P;otection,We transfer/ac!~ance aVail~blefl,lnds!nyour liryk1ad. •·
     . . . account(s) to your.checking accQuntwh¢n needed to cover your trahsaction(s). Yo.u can link .
                                                                          will
        · l.ip fotwc, accounts (one s~vings; ane•credft).butwe charge you only onefee;even i{we .
         . . !)eed. to move money from ·more than one account. Also, we Will not cha·rge a fee unless the
               fransfer/advim_ce helpecfyou av.oid at least one overdtaffor reti..lrned item. If yo~ link two.
         . . ac:couiits; yol:I may tell us which acccn,int tciuse first tc;> traii~feriadvan:ce funds, If you do not
      .. ··. specify im order, we will fjrst trc;iosfer funds from the.linked savings ac:fount. ·             .
            · ·.:. •_Transfers frc,m linked ~avin~s acc~unt..We      wm    tr~nsfer the arnourit needed: (rnduding ·
                     ·fund.s:to ,over the transactions ·and tlie tr~nsfer feel frotnthe :available m·oney Iti your ·
                                                a
           . . linked savi~gs accountor minimum of $25: The.Ove·rdraft Protectio.n Transfer Fee (1fany)
                     will be c:harged to yourcb~dcing accoun( · . . . .·              . .. . . . .           . .          .
               • ·. ·Advances from link8d credit carc1·or· une ofcredit.We .Will advance the         exact  amo~r:it •.· .
               ...· needed from the available credihn a linked credit card ora rriir:1imum of $25;Tlie. . . .
                   . Overdr~ft Protection Advance Fee (ifahy)     will be ~harged to youi credit card account
               .·. · Advances fro in ari eligible linked Wens Fargtj line ofcredit are made in in·crer:nents of ·.. · ··
                . · $1 oo or}300 (specific details: will be provided when you link accounts) :and the Overdraft ·
                 · . •Protectipn Advanc.~ Fee will be charged to the checking l:!cc·ourit . .. .. ..            . ..

           ,,    . D~~itCanf
     .·.••. What is ..  .,   OverdraftSe.rvice?
                             .         .    .. . ·•..     "




            .Your ,eligible checking <1t.count is auton,~ticaUy eryrolle~ iri this 6ptiona~ service. The ser'(ice :.
              allows Wells Fargo to approve (at our discr~t!on) yo\.ir ATM anq everyda.y. (one-:timetdebit . •
            · card transaction ify.ou do _not haveenqug~ moneyto_coveryourtransac:tionin your ..· ..
              chec~ihg account or .in accounts linked for Overdraft Protection.With this service; we .....
          ·.. 1l1ay approve _these trarisactioris into overdraft. and ·a now you to continue with your ATM.·
     •. · .withdrawal or everyday debit card fratisai:tion'.However,if yo·u do.riot make a covering. · ·•· .
     ...·••. dep_osit or transfer before the posted cutofftime (where· the depos.it or transfer is made), · ·
             ·,>:verdraft fees wiii p¢ assessed; .. . . .                  ..      .       .       .         .
          Ifyou rerno~~ this service and. you do hot have enough nioney in your chec:klrig iic:Co\,int (or.
       . fn:account:s Hnked for Overdraft Pr,ot¢ction);yourATM or everyday debit card transaction wifl • • .
        . not. be approved, In adcii_tion, no overdraft fe~s wHlbe assess~d ori A™ C>r everyday deb_it •.•.... ·
          card transactions that are paiq from yo!-,Jr acco:unt, eve11 ifyou no longer have. suffiden(funds :
          to cover prevfously
                 .       .
                              a·pproved transactions.
                                       .          . .
                                                          ·         .     . . .. .          . .           . .
           ~\fh(tt isWens Fai'.9~'~ st~ndar~oyerd~;aft cov~rager•.
          ourstaridard OV~l'.draft coverage is Wheh, atour dJs.c:retion,'we pay· checks or automatic ....
         p~ym~lits (such a.s ACl:fpayment) int~ overdraft ratberthan returning them unpaid. You· .· •.
         can recjue~tto remove ..our s.ta·nctard overdr<1ft'coverage
        ·-~~•·                                          ·•·      ..
                                                                     fron:i your account 1:ifspeaking:to a. •
                                                                             . . . . .
                                                                                 •·




          :Important: If you ask us torernove our stand~rd ()Verpraft c~verage from your acc;ount, the.•·
           following will apply ifyou do not have enough rnoriey in your a~count ()i" acc.:oui')ts linked for
        .· Overdraft Protection to cover a transaction: . . .         .    . ...     .                    .
           • We ~ill return.your ch~ciks·and alifomaiic pqyments (such a~ A<;:H payments) and.'i1ssess a• .
        . . .•·• noii.;sµfficientfunds(NSF) ret~rned item fee and you couldbeassessedaqqifionalfees by .
         .· · · ·merchants · • . .·.           .· · ... · .•. · · . • . . ... · · ·· .· . .•. · · ·.. · · . . ·
        .:. ·. We wiil not authorize transactions such as AT:MWithdrawais or ·everyday deb!tcard .
               · purchases into overdraft.          . . . .. .          .. . .          .. .


                                            .   .             .

     22 Bosirwss Account Agreeme11t F.ffecthie Apdl .24. 2017 ·
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      • ·.·_.· We-wi:U not au~ho:rlze certcdn t~ansactions :<such ~s ·,ashed checks; recurring debit c~rd .·
          fransad:ioris; ,orBill'Pay fransactibr\s) into overdrafLHQWevet, iftliese transc1ctio11s are ·.                        :: 5"'
         •a~thorized When :yoor ~ccount has. enough money bu fare later pres~nted fpi' payment                   :. .                0
                                                                                                                                      ''
                                                                                                                                      '      .......       "




         . when. yo_uraccoun.t does not'have .enough money, w.e. .will· pay the tr~flsac~iori into : .                            '' 0..
         :fJv:erdroft and charge a11 o.verdraft fee: . .    .      . . .. ..                  . ..                                     -~
                                                                                                                                       '.....
    ' JtVhat    is y~ur    te:!Sponsibility  if yoin accou~fhas      an oVerdratt?  ''                                           ·.. ·ff·
            .        . .   .     ,·..    . . .   . ..  . ..    .        . .
                                                                       •'   . . . .·
                                                                                .   ..

    .. ·If yo,u.haye ~h dve,rdraft.an your accot1rit{inch..iding transactions we have paid on your.behalf ·.· · : ~-;x, · •· ·.
   . . intq overdraft, :plus· any fees), you niu$t niake adepiisit or.transfer promptly :to.retuJnyour . . .o ~- .· .· ·
        acca,unt:to a p9Sitiv~ bai~nce.>: .           . ,''        . . . ''       . . . . .. .                . IS.<:
                                                        a
     ' If you faii tt>: bring yoµr chec;king accounHo pcisitive balance, We wiHclbse yen.Ir ~ccount ' ' .·.'                               ;iE:' '.• ',
   • Alsowe~ay reportyo.u to.consu.nier reporting agencies andJnitic1te c;:oltection efforts,Yc,u <. ~~ ..
     · agree to reimburse 1:1s forthe costs and exp~nses (including attorney's fee~ and ~pe.nses)we: ·• :iil~.
      in~ur. ·                          ·                          ·                     · ·     ·    ··         ·                >g•f


                                                                                                             .   ..                              .     '       .       '

                                                                                                                     '       '                                 '




                                                                                                                                           §~ :
                                                                                                                             ' ;.fit
                                                                                                                                 ·. o.3·
                                                                                                                                    r-t- ro
                                                                                                                         '       ' $:.i
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                                                                                                                             ' ' ct. I»
                                                                                                                                  ' .0 ::,
                                                                                                                                 '' :::,·c.'
                                                                                                                             , .. VI


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                                                                                                                                           fl)
                                                                                                                                      .-¼, ::0                     '
                                                                                                                                           o"5· .

                                                                                                                 ···>·•.!f·.··•··      ·-.0.
                                                                                                                                        11)' '
                                                                                                                                           VI .




                                                                                                                 . · 23.
                                                               .         .       .


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      ·. Ar~ we allowed to ~se the funds in youra~counts
           ·.   '   .   . . .   . .           - .  . ·.  to COV«!r debts iou· owe us? .:.
                                                                   . .       .       ..    .              .
               Yes, we.h~J\/ethe right to.apply funds I~ you.r·acco!Jnt~ to any debt you owe us; This is koqwn .
  · ··. ·. ·. a·s,;setoft:' When we sefoffa .debt you owe us, we reduce the funds in your a~coi.Jnts bytbe _· · _·
             · setoff.
               amo(Jtitof the. . debt..We are notrequired-tp:give
                                               ..        ..       you.any
                                                                       ' . prior
                                                                            .    notice to
                                                                                        . exercise
                                                                                           ..            . . of
                                                                                                  . out right .
       .A~debt~ includes any_ Q~Ouht you owe individually or ~ogether with so_nieQne else both :now.
        :or in the f!Jt~re.:lt includes any overdrafts and Ollt fee~.We may setoff torany debt you owe ...
    . . :us that is due 9r :past due as ailowed by the laws governing your ai':counf. !f your account is a :
      ..)oint accpUAt; we JY!a~: setofffunds. in it to pay the:c;lebt of any )o,n} oWn~r. : ..   . ..
       lfyolir account is an linmaturedtimeaccourit(or'CD),ttien.we may.deductanYearly. ·.
     · withdrawal fee or penalty.This· rriay· be due a~ atesultofourhaving·~xerdsed o_ut right-of ·
       setoff: ·        ·       · ··     ·· ·              ··     ·     ·· · ·  ·· ·· ·           ·

        Do 1,ou g:rant irs a secm·ity int~rest 1n -Y<>~facco·~n~s \A/1th u_s7             - .. -   -. .       . .. .
       :ves,to ¢nsure you pay µs all amount~ you 6~e us und~rthe Agreement(e.~'.; o~erdrafts and ·. ·
      . fees), you grantus·aJien on and security:iriterest i~ :eachacco·untyo1,1 maintain with us;By• •. •·
      ..·_Qp_eningaiJd ma_intaining each"accoun~·with l,is, YO!J con~ent to our assertingqursecurity ..
         interest should th.elaws goyeming th~Agreement require yot;Jr consent Our rights un~~r
    ... this security interest are in add it.ion tq and apart from any other' :dght~ u_nder any other •·
         s·ecurity interest .you may have granted t,:,"us.             . . .       .       . .     .
        Can you grant anyone else a securityJoterest in your ac~ount~ with usr •· ..
  ... .-.•No, you m~y no.t grant ·a security interest in, transfe"r, Qr assign your a~counts to anyone other · · .
       .· th.an us withoutour written agreement... . .                    . . .. .               . .
                                                                 .   .   ..   ..      .   .   ..
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  • Are YPI.IObligat~dto P~V ~Or fees? ..
     •   •   •   •   •   ,''   ' . . .        •   •     ••   <




      Yes; you agree to pay us Wl-accordante with our Business Account Fee am:i Jnformatjon ....
   .· Schedule: You also agree to pciy an aniountequal t6 any appHcable taxes; however •·...
                                         of
      design~ted, .exclusive taxes based on our net:lnco'me.     . . ..           .. .
  •.·.··Hci; cfoyou pay'ourfees. ~ndexpenses? ..
      W~ are permitted to either di~ectly debit your account'or invoice yoµ fur our fees and :
   .· expenses and taxes· incurred in connection with your account and any service. If there are. . •..
      non_--sµfficient:funds in yot.fr accouhttQ coverthe debit, we may create•an overdraft your .. ··
   . account'....          .             .   . . .. .       . . ..                 .. . .    . ..
                                                                                                      on
     .· You ag.ree'to promptly pay ariy' invoked amount. We may assessflnanc~ charges Ori any,.. . .
     .:invoiced amounts· that are not paid Within 45 days of the date of imioic~.-Fin,ance clii:frges ·. · ·.
      .are assessed.at.a rat~ ofl ~5% per m.onth (l 8% per a_iinum)Qr the highest amount.permitted
        by the laws gpvernirig ye>ur account, Whiche.ver ls less. Chatge_s for accrued an# unpaid·
    . i_riterestalid previcn;isiy assessed finarice charg¢sWill notbeiri,cluded when calculating, .....
  . . ftnarice charges. Payments and other reductions of amou.rits owed will be appl!ed ~·rstto. . ·
  .... that portion of. outst~nding fees attrtbutable to chargesfor accrued arid uripafd'ihterest and •
  . •· previous:ly assessed ~narilc:e <:h~rges1 then·to 'Cit~erfee~ ahd charges. :.. ··     . . .. .
    Jr  an ea~nings, allQwance
  . . ¢,q:mmies?. . . ' . ' . . .. . . ' . ' . . .
                                                      accrues
                                        on your account,
                                                         . . . . . . ·. .'   . ..
                                                                                   do
                                                             we a~ply iftQ oudees :a~d ••..

        Yes; if an e~rriings a!lowanc:e ~ccrues on your a_ccoun~we                 will
                                                                                periodically apply your •· · .
        accrued earnings a11owance t9 eligible fees and expenses ·(uril_ess we otherwise indicate in· .
      . wr.iting).lf both an earnings al.Iowa nee and interest accrue on your .account; the interest wUI
   .. be shown as ari offset tq the ¢arnings all9wance on .the client analysis stafetnentfor your ·
        account. If your earnirigs.alloWarice exceeds your ~qtal .rnaintenarice and activity :fees for
        tJ,e statement cycle for yoi,ir. acc6unt, the ~xcess c;redit is .riot· pa id to yo~~ nor is it carried
   • . forward to thef~llowing statement cycle. I/lie maydebityoura~courit (or any other a:~cqlJnt.
       ·you mai~tajn wi~hus) or iliVoi~e YOU for a11y .amount ~y which the fees and expenses exceed
  · · .th~ accrlJed earnings allowance OH your _accciu11t.Th~ eamings allowance applied as _a . . ..
        credifagainstfees anQ e~periseiwjll be•reported as in:cometothe IRS; stat~; aridfocaltax .·
   .. authorities if req ui_red by·a pplitabie Jaw arid ·yplJ are responsible for a'ny federal; stat~· qr. kical ·. '
      . taxes due cin the.credited earnings allowance;· . . .                                   .            .




                                                                                                                  · 25
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              What identification do we r~quest to:~ash:~heckspresent~d over.:the~comiter by'.·.•'                                                             ''
              a non.:custome,·?               ' '        '           '' '           ' ' '' '' ' '
            ' For these transadions, we tl:!qulre acce~tahle identification; whkh can iociude afingerprint ·....
              from the person 'presenting youfche~k.\/\le may not honor the check ifthe person refuses to .
             provid(! us Wit!) .requested
             .                . '    ..
                                          klentification.
                                           .          ..
                                                     ,''
                                                          ' ''                     '        ''                        ''                          ' '
          . . Are there sp~dal rides if you want ton-take a large                      cash Withdr~Wal or.deposit? ·
         ·-• ·we may place reasonable restridl9ns on a large. cashv.iithdrawaLThese restrkti6ns include .· ·
            · · .requiring you· to provide reasqriable advancE!notic:.e to ensure We have suffidentcash 0~
                 hand.We do no(have any obligation to proviqe _se~urity if yo1.1 make alarge cash withdrawaL. · .
         · ... lfyou wantto.depositcash foni very large amount, we.·haveJhe rjght to requ·fre you to:· : .
               ' provtde adequate security or exert;ise other options to mitigate posslble riiik$.. ' : ' '
          ...• Are y,i~   respoilsible f6r revi~wing ~hecks for' muf~ipi~ si~o~turesi •.
          . Nd, we are t1c,t responsiblei,t reviewing th¢:nurnber qfsignatUres: required on your account .
          ..· lfyou: have indicated that more than one :Signature is required, w,e wiH not be liable if a·chec::k ·
     .     . does no·t meet this requfrement . . .                 . .             . . ..            -        . ..         . ..           .           . .

     ' -' :lfrewe required to honur djltes ,ind spedaHnstruction~ Written on :checks? '.
           · No; We may, without inquiry or liability, pay a check even if it .. ·. : ·. ·..        . . .. . ·.. · :·.
           . ·~-· ·. Has: sp~~i~I written instructions in~icating we shciuld refuse :paymer:i't (e;g,;"Void after 30 ··:.
                 ·: -days" orllVoid over $:100"); . . . . .              .. . . ... ..             . .         ..
            -~-. Is stale~dated (i.e;,thfche~k's date isrnore than 6 mor:iths ih the past), even ifWe are
                 ..a\Nare of the check's date; . .             .         ..   - .. . . .                 ..          . - . ..                 .       ..
           · • .·: ls post~dat~d (i.e.~th~ check's dat~ is in the future); or. ·
           . -~- ·. Is not d·afed! . . .       .    . . .. . .         .. ..
         ' '' We may also pay the i:lmount encodedpn Your che:ck in U;S. ddllars, even if you           the ': '' '                       wrote
                          a
             che~k in foreign currency or: rnade ~ notation on the ~heck's fac~ to p~y it in a foreign ·. . .
            .currency. The encocl~d amo.urit ls 1ri the line along the bottom edge. ~f t.hefro.ntcif the :check •· ·
           · where·t,he account numb~rls printed;. .              ·· .    - .       .           .. .. . .
         ' ''' ca,, you USE) {). focshnile or 111ed1anicaf signature? ' •'.·'' ':                        .·' '. ' •• '.·' ''' ':' '' ' ''' ' '. ' ''
           . Yes, if you ~sea facsimile or mechanic~! sigriature (iric.iuding a st~1np), any chec:kappearing .. ·
            ..te> use. your
                        .·
                            .facsimil~
                                 . ..
                                    '.
                                       ormechankal
                                         .   .
                                             .
                                                   signatllre
                                                      .    ..
                                                              will be treated
                                                                         ·.
                                                                              as:lf you. had
                                                                               '
                                                                                             adualiy signed it.
                                                                                          ....   .          ..   .                '   .



           . Are   you U;:ibie if you p~y a consurner ACH debit ent~y on rt1y ~CCQµntf                                                            .    . ...
            •N~, under the ACH operating rqles, certain types of ACH debit entries rnayonly b~ presented '
           · on-a con.sumer account {each, a."ccinsurnerACH debit en~iy"). we·will have nO obligation to ...
            'pay,anq no liability f~r paying, any consumer _ACI-J debit entry Ori .your_account ' ' '
           . What iithe a6ceptable,form for your che<:ks? ·
     .. · •Your diecks must. meet our standard;, inclticfing paper stotK djrnensioris1 an•d 9ther industry.
            standards.Y,:wr checks must indude our name and address; as provided by us. Certain check ·
          · ~atures; such as security features; may impair the quality of~ ch~ckimage.that we or a third
            party c(eate.             .          .    . .. .             . ..       .     . . . ..
           .· Wereser~e the right to refuse checks that do not me~tth~se standards or tan not be
          ' ' proce,ssed or imaged l!SJhg ourequipment.We are riot respon~ibl~ 'forlos.ses that result from '
              your
                ..
                   fi!flUr~ to fe>llow. our
                    '     '             .
                                            checkstandards~
                                            .··  "    .
                                                            ' .'
                                                                 ''  .
                                                                       '         ''                    '    '
     26 Blisiness Accoui,tAgniement.-Effe<itive April 211,201_7
   Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 54 of 143 PageID: 383
Case 3:Hi-cv-06685~PGS~DEA Doc1.ui1ent 1 ..Filed 04/13/18 .. Page 47.ot 121 Pagel0:47 •..




    . · .You·tnay request a stop payment on yourcheckin atime and manner alloWJrig u~ a.· . .                · ::i. •
       · r~asonable opportunity.to acton itbeforeWe pay, q)sh( Qr otherwise becorne obliga:ted to · .. ·.. ·• · [ .
        ·pay your.check. ·· · ·            · · ··       ·· ·· · · ·     · ··       ·     · · ·     ·          · · c:
    .·.. Each stop payment order is su.bjectto o~rveri~catie>n. tlia.twe have not· already paid or •: . . . ·:.: .·            §' .
      .. otherwise become o~ligated to pay.the41eck from your ~ccotint. this verification rrli;ly occur.: .
         i;ifter we ac:cept your sfop payment order. ·.      . ..           . .. .. .              .. .
    · ··.1n .6tder tb issue a stop payment order on adi~ck; we request the fol!~wing infmniatiqrii ·..
         • .Yoor bank ac~tiunt
              ,       _.,    ,. . numb~·r,
                                         "    ,



              ·Tlie ch~k number or.range of ~uinbei\ .•..
         •.. The check ainountor c1~01Jrits,. ··:
        ·• · .Jhe pay~~cs> na111e(s>, a~d
         •. · The d~t~ on the check: .                                                                 .                             .


         We are not respohsible for stopping ~ayrn~ht on:a check ihou provid~ in<;or·rect or:.··.
        .iricornp!ete•inforrnation
         ..       .
                  .     ..  .     .
                                  '
                                    aboutthe•che·ck;
                                         .   . .  .
                                                  ,
                                                              . .... .. . . .·... . . . .                         .· .~i· .
       .     .                         . .                 . .                                                       •.· . ~·._ij•
   ' :.•wi)atk,: the ~ffective period for .a Stop· payment cilrder? '.                                                . .. ~ ~.
    ·... Astop p~yinenforder on .a ch:eck is valid 'tor 6 rnoritt\s; We may pay a check•once a stop . .    ·• g·~ ··.
     . :: payment order expires. You must place a .n·ewstop payment order ifyo.u ~o rwt wan.tit tq ·· · . . . 01- •. . .
      .· expii-e'; We treat each r~riewal as a new stop payment-order: We will charge you for:each stop . .. . · .· ·
    · ·. payrnerit order you place (as weli .as ~ach.renewal). . . .                  .. .. . .         ·. ·. ·. ~ VI ..
         .·. . . .     . .· .. ·• . -· ..... ·· .. ·                                                                  ... a.·s.
    .. How. do you cancel-~· sfop payment ordert. .                                                                   .•: ~J .
  . •:. ·: To cancel a, stop      p~ylllehforder, ~e   rnu~t receive. your request In a.time .and. .manner allowing.      •· ~l .
       u~ areason ab.le opportunity to'act or:dt. ·                                                          ..     . · ·.   ct. 01       · .

                                                                                                                       ..ac.
                                                                                                                         0::,

       Af~}   you stiUresponsJble jf w~ ~ccepta .stop ~~yment a                   ~n Check?.
                            we
    . . Yes, ~yen If ret~rrl a chedc unpaid du~ :to a ~top pay~ent order, you may stlff be liable to
      •. the holder{e.g., 'i;i .check cashing business) ofthethec;:k. : . . . . . .   . . . . . . ..
 . · .·· How dm you p1·eventi po~t-dated ihecl<frorr• bet~g paid before it$ date? .
   .'. . A;,pb~t~dated'; check ls a thetkyou·issue with a date· in the future; We are not resp¢hsU)lefor •. :
           wa.1ting to honor the chec;k until thatdai:e, unless you·his.trucfus to dp so through the use of·.··
. : .. ·. .a stP:p paymer,t.crderfor the check. You are r.espons\ble for notifying us fo:c:aricei the stop•: ·
      ·. paymentorderWhehyo.uareready.toh~vethatch·eckpaid.                    .       >         .•         : .·


                                                                                                                             CT .
                                                                                                                             QI .
                                                                                                                         .   ::::, .. '
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                                                                                                                     ·. IS Q.
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: Case 3:1-8-cv-0668·s~~GS;.DEA •.. Document 1 .                       Fned
                                                 04/13/18. Page 48 of.121 PagelP:48.:




             ·.. Hqv11 do y~u stop p~yn11Mtt for preauthoi•ized electronic fundfran~fer~? : ..
         . ·• ·. If you• have told Us in advarice to ·m~ke·~ regular paylrie~t frQm your acco.u~t,. yo~ Citn •.
              stop the payment byf. . ·.. · .                . . . . .. . . . . . .· . . . . .. .. . . . . . . . . . .
                .·. Calling Wells Fargo National Business Banking Center at-J '"800-CALL-WELLS (1-80(Fi25-5935); ..
               :· or writing· to usat   Wells Fargo; Customer Correspondence; P.O. Box 6995; Portlanci, OR, ..
                                 in        us
                   97228~6Q95~ time for to receive your request 3 business days or more before the •• . .
             .. payment is sc:J,eduied to·be made. If you ~all, we        may also require you to.pt,1t your (equest in : .
                    writing ij(1d g¢titto us within) 4 days after you call. We wi!I charge you af~e for every stop· ....
             · ~ayment order ypu request . •.              . .. ... . .            .. .           ..          . ..
  .. .      : Liability f9r faliure to stop P.BY"lent:; If yoµ ~mier us to stop onepfthese payrrient.s 3        ·. ·..
         . · . business days or mor~before your scheduled transfer, ;3nd we do. not' do so, \l\le will be liable ·
              for your IClSSeS or damages; . . . . . .      . . . . . .. .            .    . ....        . . ..
          · •· . :P~rchase transactions:
               ,,   '        '.    ,
                                           A stop:payment
                                  . . . . ·.    '    . . .
                                                           mc)y n9t be·. i-equeste•d .~n a .purchase
                                                                              '.   '.        . ·.'
                                                                                                     fr~nsadton.
                                                                                                      .
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                            Agrec~enf
                             . . .    - Effective April
                                       .             . 24, 2017
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ca~e 3:i8~cv-Q6t585-PGS-b8A DoclJment 1 Filed 04/13/18 Page 49 of 121 PagelD:49:



  •,,,What. inter~~t rate appUe$ fo an interes:t earning
    .    '   .    .   .   . .   . .          .   .           '   ...  account?
                                                                       .             .

       When you open an interest-earning a~c~urit; we wiU .provide-a rate sh~et listing the current.·.· :
  .. ·. Interest rate c! rid Arm ua I Percentage Yield {APY) for your accou ht. ·1.nte rest earning accounts .
   ,,, earn interest at-a vada ble rate, except Tinie Accounts (CDs). We-may change the 'interest rate .•: ',
       for variable~rate:~cceuntsat any time. The: interest rate' rr1ay vary dttpendlng on yol..ir c;taily ..
       balances (tiered,-rate:accoUnt)~ We maypaythesame interest rate on· more than orie tier.The •.·
       tiers and, ~orrespon~ii,~ Jntere.st rates ar~ disdQsed in th~ rate :sheet: ' ' '' , ','  ,, , , , ', , ''
                                                                                                                           ...... ::x:, , :
                                                                                                                           ~-fl>'',
    ·How do we cakr.iiate ear,ried          int~rest7 .• •..                                                           ' 0     1/1
                                                                                                                          ·c-2..·
                                                                                                                                      '


     We calculate interest using the daily_coUected balanc~ method. T:hi~ rnethpd applie~ a daily,_.·: ···• ID<      :::r::r '''•··
     periodic rate to .the collected: balar\ce in your acc.otJnt each day. Interest is calculated l.ising. a • '''' .c-c..'
                                                                                                                     ~!0
    .365-dayyear; ·            ·          ·      ·          ·      · · · ·· ·· · · · ·                 · ·

   ··_. Wh1~i1 dties ~ de~)Ositbe9il1 aq:r~ing in(erest?' ,                     ,                           .·._ gm.·
                                                                                                                           ~i.•··
  , , •Cash deposits begi~ accruing interest tli~ sarn~ business ~ay adeposit i~:credited to y~ui
    ·.· ac,ount: If ye>U dep:osit arfltem sue;h as a: check, interest begins accruing on:the business day.·
        we receive:credftfckthe item. · .              . . . . . . . . . ·. . . . . .. . . . . . .. .
  . •· . ·Is jnt~rest c.Qtrtpounded and When is it ~redited?:: ..
   , , interestwm c;dmpound .~ha daily basis. For ~heckln~ :imd:savtngs-actounts, inte;est wiif be
     ' credited o.n a monthlybasis. ,           ,,            , ,            , ,'
        \Nhrit i~th~ diffor~nce be.tween Amtua! Percentage Yielci {APV) and Annu~I ,•.. ··::
        Perc:eilfage Yi(:}fd Earned (APYE)? ,: , . ,                  ',   '.   ''       ,, '                '
  . The Annual Perc¢ntageYiei:d <APY) is a percentage rate i'efl~dhjg the total amou:nt of interesf '
   _· . pa.id on:an account based Qn the Interest :rate and the frequency:ofc9mpc;,1,1nding for a•. . . •·
     ·. 36$~day periqd. The Ann_ual Percentage Yield Earned (APYE) is an a·nnUalized rate that ,reflects .
      , the relationship between ,the amount o(interesb.1ctually ea         med
                                                                           .on your: i,3CCQUrit durJni;Hhe ·• ·
  · -· statement period artd.the. average daily balance in the account for the statement period.·. . .
        We calcuiate l;i_oth yp~r APY a~d A~YE acco~ding t6: form'uias established-bi federal··: .. · ·
        reg~lations:The APYE appears Oh yqur a~c:ounf stat~merit. .               . . ... ..


   · Yes; we have the right to: require 7 Qays written notice.before you withdravi'money from your·· ·
     savings acc::ount.   ,' , ,            ,'           , ,        '    ' ,,       , ',     ,    ,

  ''.•Are    ymr req~it'~d tC> obtain a t~x identifitati~n nmnber (ertifkation? :,
       Yes, in most.instances, Treasury regulati~ns require Usto obtain a Taxpay~r ld~ntification ·.
       Number (HTIN"): for ~·act, account. To.avoid backup withholding tax ori accounts that.earn , , , '
 .... interest or divid~nds, you are required to subrt1it Internal Rev~riue Servic:e ("H~S") F¢riri w~9 or·. :·
                                                                                           u.s.
       Form \JV:-B.BEN and supporting information imd/ordo~•urnerltatlo~ to us; citizens <;>r other ·
       .1;.1.s: persons, including resident alien individuais, must provide a Form' W-9; If yo:u are 'a n'on" · . ,
       residenfalien a_~ ,defined by the 'IRS, you must provide a Forin W~8BEN~ o'th~r types of Form•                 er .
      .w~a plus additional documentation m,ay-be required if you ate~ foreign p~rtner~liip, foreign ·:, ittr..        cu '
    · ·government, or are <;lalr11ing an :exerppti_ori ba_sed on Effectively Con11ected Income..                    ,::,n>.
       Until: we ha\le receiv1;?Q ~he Forrn(s) W-9 or W-BBEN completed and signed per IRS.• ...
                                                                                                                     ID .Q.
                                                                                                                      Ill-.
                                                                                                                      (I) ,0
      .Reg.ulatle>ns, or any othefrequ:ired forms, we will pay inf~rest ~nd comply with the batku·p                , :2=•
     ' withhol~jhg requir~ments of the I~$. , '                ', ,             , '              '', ,                -·"'
                                                                                                                      n·
                                                                                                                          'fjl ,

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                                                                                   .
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        ·. ·. ityou own ~our ~ccount as: asole proprietor, upon y:ciur death,w~ mustbe:provided with ..
      ·.. • the estate'.s or successor'sTIN orw'e f'.Y)ay either refuse to pay intereste13rned on ye>ur a~count
         .. · si~ce the date ofyou.t d~ath or withhold. aportion of the interest. that has be.en earned. on .· .
             .your acc;qunt sJnce .the date of ymir death.< .. . . . .                  . ..         . . .
      ... · R~guiation p sayings account transaction limit ai,d oth¢r ·umited a~tivity · •. · ..
        .·R~gi,Jlation Da~d Wells Fargo liniit certain types of wlthdrc1wa1S and transfers from a savings .
       .· account
        . . .. .
                    to-at~mbinetjtotai
                      ..  .
                                       of 6..•-per .monthly
                                                    .
                                                    .     .
                                                            fee.. p~r.iod.
                                                                       .
                                                                           . ..  .. ..             . .
            ·Lililited by Regul.tion D:.
             • TranSfers by Ph.one using bur autpmc1tedbankin9service or speaking with a banker on • ·
                th~ pho:ne        . .. .. .        . . ..    .        . . .      . . . . ..
             • ' Transfers or payn,~hts through onilne,mobile~ arid text banking (lnch.iding Bih Pay a~d
             .. ' perso'n:.tc;,~person payments): ..· . '.· . • . '' ''.            . ' ..    .   ' ''.
             • . •Overdraft Prot~~tion transfers to ach~cking account ·. . .             . ..     .
             ~·- . ·. Pre~aµth~riz~ct transfers and withdrawal~ (indudirig recu'rrlng,and onetime} ' ' .'
                                      to
           · • •Payments third parties such as ~hecks,:drafts, or similar tran~actions {c9~nied when •·· .
                                            to
                      they are posted youraccouht ~ndnot when theyare written) . . .              .       '.
    ' . . . • ·. o~i;;it or.ATM card purc~ases that post to the savings at.coulif . .
    • .· ••. :1.imited by Wells F~rgo: · •
                                                            to
              ~.•·'Transfers.and p~ym~nts Well,s Fa~go Credifc~rds~ lin~s of cr~dit, ~nd IOaris ' .
              • .· Outgoing
             ...     .'.   .
                              wire~ wh~ti1er made in person/ 6n the ·telephone; or .onUn~ .. . .
                                      '_,



      · · · Not ll~ited: .· •
     ' ••. Except as H~itedabove, there js no Umiton the following in~person transactions at                                                                       a
           Wells.
                   Fargo ATM
                  . ..
                                or banking location
                         .. . . . ._            ..
                                                     .> . .        .    ...    ..    .   ..

           .. · Transfe~s be~een yoi.uWells FargQ accounts · .
           • ,. W1thdrawak .                       .    . . .
     . . . •. .Any types of d~po~its •
            .What haps,ens 1.f ,_,u exceed tht1 ~imit?. · .. ·
            •,f you exceed the lirnlt stated above, y~u will be charged an exc~ss activity fee (see the •. ' '
         .· Business AccountFee arid Information Schedule).lf the .limit is exceeded on more.than an· .
        . 'occasionai •ba~is; Wells Fa'rgo rnay be. requited to convert the savings ac~ount a checking .•                                             to
          .account, which wo~ld discontinue any Overdraft Protection it might be providing to ano~her ·
            c1ccount; or close the account ..         .              . .      . .. ..
       . •ff the withdr~wal and transfer limit is reached; we rriay decline withdrawals and transfers for the'
          'remaind~r of the monthly fee per.iodto help.you avoid a fee arid account COf)VEfrsiori or closure.. . .
            •     •   •       •   •         '   •       '   •   •   •   "   •   •   •   •   ,   ,   ..   '   '.   •   •   p   '   •   •   •   •   •   •       ••   •       •




          What is a fee period? (Only business non;.iinalyzed and savings a~unts) '
        ·.•the fee perfo.d is used to count the ~umber of postedtran;actions ·before ch~rglngfees for· ·
             some transactions (including the exc:;ess activity fee) during thatperiod. The dates of yourfee
            . period are located iri the section on your state,rfent called 1'.Month!y service fee summary"for •
             each ~ccount .                     .    .     . .. ..              .         .      .      ..



    3(;} B~.lsil1ess Acwui1t Agreemerit-- Effective April 24, 2017
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.... : C~e 3:l_8-cv-06fi85-PGS-DEA .. Document 1 . Ftled 04/13/18 : Page 51 Pagel 0:                   ofl21                    Sf:.·

         •.Whatare TimE? Atcounts?: .·.•.
                                                                                                           i
           Time Acto~nts (CD;) ~re Payable:at•the explratiqn of a specified term/ no 1~$S than calen~ar: .••. ~ _·
          .days after the dat_e of deposit_.. We_ may ·also refer to a Time Accpunt as a "CD" or a "Certificate: _· _ · &_
        . of Depo:Sitt even though·a c~rtificate does notrepres·enta Ti"lne.Accot;1nt,The CD's·rnatur_ity. · . ..... ~- •.
        ...datf is the last'day ohhe term for the co: The maturity date is .printed on younetejpt. .                    er
              Vl/htH1 can you withdraw funds from .yoort01 :.                                                       .~
              Yo~ inay withdraw: fun(:ts from your. Cl)onthe:niat~rity d~t_e ~ithout a f~e or penaity.You :. .. . ·ast::o.
                                                                                                                       . (t)
                                                                                                                         Ill . . .. .
        .:·•. may .also g~ner~l_ly wit_hdra·w fun~s without a: fee.or penalty within the 7calendar days .· •. ·.· c:2..
          _· ·~ft~r the maturity date (gi~~e period)'. Youmay be charged afee or penalty if you make~.·. .
            · withdrawal at any qther time: See the"Time Accqunts (CDs)" section ·of the _BusiriessAccount . .. a-a. ..
                                                                                                                            :t]·> . .
            . Fee arid lnforinatlon-Sthedule for details. . . .             .. . . . . . . . . . . . . ..         . j:j: iii" ..
                                                                                                                               . ci)-"O> ..
                                                                                                                               . ,+.C:        .
        ..··. C~n: )/OU deposifadditir;,n~Uunds into yovr CO? .                                                               ·. .o·nr
                                                                                                                                  ::,_ .Ill

         :•·• Vol! can only deposit ad~itional funds during ~he grat~ period.·:

    .   .·. rnat1frtty?
            Willyour Annual Perc~ntageYi~ld
                            . .. .            .      .. if. vo.uwithd_raw•ioterest
                                            .(APYJchange       .        . . .before. .
          -Jhe APYwe discli)seto you assumes th~interestyou               eam
                                                                    wiitrem~iti .on deposit tintilYour ..
        . :CD matµres: Ifyou withdraw your earnedin~rest before matur.ity;yci!Jr account wiil Elarn less::· •.
                                                           be
          · interest ~ver time and the actual APY will less than thedisdosed APY; . . .       .
                                                                                                                   ... ·•.· ..•. ·,jj·S¢·· ..
                                                                                                                            · ·a
                                                                                                                            .. ~-fir_·
                                                                                                                                      Cll

     .. ·• Your CD wiUautorn~:tically renew ~t !Tlaturity_ ·_·                                                ·_ o.3·
                                                                                                                 .. c:ro
          · • .Typically for. alike term unless we inform you pr_ior tQ maturity ofa different term; ~rid . ·.... ::21::,
                                                                                                           . .
                                                                                                                    @GI'.
                                                                                                                          .

            • At ~urinter~st rate in effecion the rhaturity daJe fu.r a nei to of the:same term: and: ...
               amouht,
                  ..
                         u_nless we have
                          .           '.·
                                          notifiedyou. otherwise:
                                            ,''    .,  .     .
                                                                  : ..
                                                                     ''
                                                                                .        ..      .                           . f'.g_:.:·




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      · · ··. This part describes ways to use services lihk~d to an accountusing:a business ·debit,ATMi 9r .
. . · :.:- . deposit card: 5ome services may not be available :at afl locations. We rriay require you t() sign.·:
           . · additional documentaticin:to obtain a cai'd. You will receive terms and cohditions appli~able .· •·
               to:your card ~hen:·yoli receive the cari in the event of a cohflkt between the terms and . :.·. ' '
               conditi~,ns anc_j the Agr~eme:nt, the terms .an~ conditions will control. Additional disclosures : .
               ~pplicable to these ,servicesare pr9vided :iri the Bu~iness AccounHee ari9 lnfdrmatio_n .·: ..
           . ·.sche~l.lle; •· .       .           .     . . . . ·.         · ·· ·        · · · ··

      ''' tsslianC(-! ofa i,:ardand PersonaUdentlfi<:atfon Number (PIN) ' '
      .. W~ m~y i~s~e acard to eaih acco~nt owner to access your accounts'. If you do ncit select a ..
        . PIN when 'y9u request your card, we will send yoLJ·a randomly selected PtN.' . . . ..
     ·. ·.. Protec:tioo of card4i~dPIN.
        You sho1.ild securely protectyour caid and PIN fror:n loss or. th~ft. Each cardholder ·rrnJst have
        his or.herowri uniq'uel'INforttie cardandisrespo11s1ble rnaintairiingconfi:denti:alityof•. ·:   for
                                                                                         on
        the PIN •. M¢morize. t_he p'1N, Never write the PIN the, card or sliare it w,ith anyone, incluc;f ing .
      · ·our employees. ·Never allow anyone ~lse to use the card or PIN. If the car(/ o.rPIN is given ·
       ·fo another person, tt1e a_q::ount .owner ·wuf be responsible for. aU transactions made by.that•·
         personoranyone else to. whom: that person gives the tard. cir PIN; NClt:ify us Immediately if ·
      · th:e:tard
         -   '  .     .. or. stolen; or
                   is lost       .   . .
                                         isno longer
                                         '     . . . s·e<:i.ire.
                                                       .  .
                                                                 :.· . . .
                                                                   '
                                                                           .        .        . . ..
     ·: ·•. Business instant issue debifcard ·•· •· .
           . Tht1 businessinstant issue:d~bit card is ater.riporary debit card.W~,wlll.deactivate)he'
   ' ' business in~tanfissµe d~bitc1ud.e1therwhen you activate your permarientbusi:riess debit
    '' card'()r~o days after.we issue yo_unemp«:lrary bti~ines_sdebit card, :               '    . , '
         Ljnldngactounts for ('.at'd access qfld de~ignating primary accotmt : ' .                                                       .
         'Linking letsyoli:addaccqunts you ~wn (e.g.; chec~i.ng; savJngs, credit:c~rd)to'1busineis . .
  . ·. : debit or business ATM care{ giving you acciss to inake tran_sac;tions or\ multiple accounts ·.. ·• · · .
    ';.' With·o.rie ~~rd atWellsFargci ATMs, AtrnostATMs, you only liav.e:accessto accounts.linked to
            your catd. Afrertairi A.TMs insideWeUs Fargo brarithes, however, you may atiieto access . ·                    ~e
       . :and perform fransaction·s on ac~oont:s that are npt linked to ybu(card, .·..·' ., '.·. '.·.' ·. ·.. ·' . :
            ity6ulink only one acc;~unt.of a single type (e.g;, checking or savirtgs a~_countsHo the card, . i
        .. that linked accqunt Is automatically designated as the "prirnarY,ac,count for purposes of •.
           :electronic.fund transfer services.The primary account for a business debit card must i:>e a.. ·.· .
       ' ..·qualified business checking .account. lfthe primary business checking account Hnkedto, the'
            iard should be dosed or.delinked for any reason; we may designate any additional 'qualified
            pusiness checking acc:qunfthat is linke,d to'the rord a:S the primary accounfon the iard. If ·.
           .no addition.al qualified business ch¢cking:account is linked to tliecard; the.business dehit ..
  :' ' :c~i'd linked ,to th~ dosed checking acc:ount will be cancelled, If the: c:aid is Jinked to other ' .
    . •'. 'business checking or savings acc;ourits~ the card will be:c.ancetl.ed, and a busihessATM card '
            will be.m~Ued to the ~rdl)older.The money for putchi;ises imd p11yments. m.adeWith-your ..
    . . card is deducted fronithe pr.i_mar:y chetking·account. Cash withdrawals using a cQid at a noo:-
         ,
           .Wells
               .."
                   i=~rgb ATM arededucted
                     ,       ...     ,
                                             from the .prim~ry checkln·g
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                                                                         or savings account
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                  Account Agreemei'it
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                                      - Effective April 24, io, 7 .·
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   Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 60 of 143 PageID: 389
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                                                                to
    ._·_ lfyoLi lin_k. mor.e than orie ad:o_unt of a singfe type the card, you may designate a. primary •..
        . ai::countand other acco1;1nts. If you do not designate orn,~.~cccamt as the primary ai:countofa •. . . 3".
    •. r>articular. type of account, thditst account of that type iinked to yo·ur card is cqnsid~redJhe -· . •ct 0
  · >· j:>rimary accountfodhat type ofaccount. If aprimaty accountlinked lo the card.is closed or . :• ' .c:·    c..
   . • delinked f9rany reason, we :wmc:Jesignate a~other linked acc_ount (if~pplkable) as the 11ew ·.. .. . nf"'1',
    ' .·_ primary accoun_t. If tbi$ link~d a~COUflt_is a savings ac~oQht, your debit ~ard will be dosed •·.' .   cf·
                                                                                                                 ::,
    ' .. 'and you can request an ATM card;We .wm deterr_nine the number cjnd type of account~ you'.
      ·. 'dm·link to.yOur ~ar<,J; _.       .    .                 . . ..         . . . ·.           . ... .

          uSing acardto'acc~ss Unkedcredit card .a,a,d line of creijit ~cco~nts af ATMs'' -.-... '
•• '.. ' If you link your Weil~ Fargo deg it card acc:ouht br eli_gible line of qedit·accoµn:t to the c;drd .. .. .
 ... ••. (finked credit account), you ·m~y use the card t_o acc~ss the linked credit act<>unt at arw .. · •·. ·
      · Wells Fargo ATM.Y9:t,i tan use the caidta 9btain cash or t_ransferflinds from the linked credit - .
     . account, as )Qng as the finked credit account is 111 good standing and has: available credit,. : . .
     '.' Cash withdrawals ,ahci transfers oHwids from: your lirike~. credit account a,re treated .as cash ' •. · ' .
    . ·· advaiices. :Each of these.traMac~ions is subject fo the provisions of the applicable credit .
      _· _qard a~:court agreernentor:line of creditaicoun_fagreerri~-nt,induding da:llyUmits and cash
         .advance fees:·            . . .     .     . . ..                . .. . .         . .. . .
                            in
  . ' .You must notify us• (:_ase of error.: or: questions .about yourweils Fat.go_cr~dtrcard bill. !f ..
        you think Yo.lir bill.is wrong oi'if ydu need more Information c!bout a trarisactloh on your -·
       :bill, Write to.us at: Wells Fargo C;:ird Services; P.O, Box s22; D.es Moines, ·1,1\, 50.302-9907; You .
      .also may call us at the telephone number listed on your acq:>1.int ~tatement However; you .
        must write:to us to preseriie yqor billing rights~ Please tonsu_lt your applicable credit account: .. ' ;I(D lt\.
      ::agreement for complete iriformatlo_n ori :the terms and.c<>nditjons applic~ble to your linked .. oS-               ..,, r1'

        credit account, including the rul~s relating to cash advances from, and p~yrnents to, your·• · . ·-.:::,fD. o3-·
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      ·1i1ikeq credi't accounts:       . .. . .. .                       ..             . ..          .         .
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     ..•. ·Using           ~our ,:ard.: ..
            The tablesbelow show.how you Can use your card to :rn~ke purcliases:~!'dpayrrients, mak¢
            transfers; and use AtMs: .     .      .     . . . . . . . . . . . . . . . . . ....
        'Note: sorhe
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                     services
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                                                may not be avc1Uable
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            ·Actions.·• ·                                               . .Business . Business ·.· Business :· . . ·
                                                                        ' , debitcatd ATM card1' : 'deDo.sltcanf .· '
           'Lise your ca;d at rr1er~hants accepting payme·nts          . . • . · .·
                                                 we
            through ;:i:networkiti whk:h partidpate (e.g..· •.             .·t/:.                                     '"'



         : Visalli at:1d MasterCardoo:l        . . .. . . .
         ' l'ay bills <;firectiy to merchant orother .prpvider .·' ' ' '' .•: V '
                                        a
            u~i.ng your'card ·..                  . ..
        ··• Requestcash. b~ck when making a purCbase using · .
                             at
        : your PIN merchants Whq offer this servi~e : ...
                                             a
            Vse yollr ccu:dthrp_u'gh mobile-device at merchants ·: : . V.. ·
        . Who accept mobile payment$. : . . . . . . .. . .. . . .


                                                                              Business · : Business      ·· ·Business ··
             Actions                                                         ·debit card . ATM caret :denoslt card
            :Wells Fargo ATMs ahdWe[is Fargo Barik 1.o~ations
        _:.,._Non~W¢lls Fargo J.\TMf(fees may a·pply) . · ·• ..
        . N·on~Wens rargo banks that. accept Visa:branded .
        . carqs with a teller.assisted transaction.(fe·esmay ·•.
            -·applyl: ·. . .            . · . ..             ..




        ·1   ···.Purchases made using a business ATM card a·re .a~ailable atnierchants accepting payments •·
                  ..through
                         .
                            networks
                              ..  . .
                                      in wh~chwe partjcipate
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                                                             and require
                                                                   . .
                                                                         ~-PIN
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                                                                               to authoriz.ethe.purchase,
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  ' 34 Busine~s Accoul'itAgreeme1'1t,.: Eff~d:ive April 2Ji, 2017
                   . .      .
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          . Actions· ·                                                                                                             debltcard .ATM card . de ositcard                                                       .   ·a5"...
   __ ,_Vi~~>.'.ouraccouhtbalances: · ·
                                                                    ou r'-a"""'c....co.....,u....n.;. t_s2_---,-----,.,..---"-:----"-:---t-·-·_.-"'-"~--,...·.-+-.,...·-'-v_·.._.--;i-,-,--'-
    .~M.. . ,a;;.,.ke=..;.d""e.L;.. .;os..c.its.;.;;..;;to__,_. . .,....                                                                                                                   .. ----·v..,.·....
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         Withdraw cash.··_.                                                                                                                      . t/ ·. ·              ·. ·v ·                                                ·. : : , ·
        •Trahsfer.fliridsbetween ouratcounts .                                                                                                    t/                      •ti' -· ··
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         ·Make               a      ments                fo    a-Wells                 Far             o
     i--.--....c..1."-L-"+-~--~~-'-'------'"-~-,-.-.-'-,-,~.,,....,.+-----+--~..c.;.,..---1--~~-----1 .·
                                                                                                           credit  card   :                     .  v      ·           .    v                                                    0 fIll .
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        . Geta:statementofthelast 10t~nsacticms(fees:may. .                                                                                 . .. __ ,,_                    _.,, .                                        · ··. c: Q..
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        .Get a statement.ofthe balances ofyou(accqurits                                                                                     . >. ii' .                     fl'>                                                 a-c...
    . (fees ma .a . I )                                                        .                    . . .            .                                                                                                          ri-' iii'             .-
    . =Pl!rchase U;S... osta ·e stam s (fees a !P-~I~>.....,·-...,·- - , - - - - - ·__·                                                      -~t/~--~•-.. . .,. . ,-·    ·-t/._. _._. ---,----~---1 .. i:g:
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   •..Cho9Jie-howyouwanttorecejveyourATMreceipt : · · .                                                                                                                                                                      . §ffg
    . ·: printed, emailed to the _address on file or to your Wells· •.
         Fargo OnUne'll'· secu·re inbox, or tektedta'yo1,1r mobil_e .                                                                             v                --. .,-                      t/3                     ·. . ..:..-3
    . phone nl.iniber on file (mobile carrier message a,nd data . .                                                                                                                                                            a'
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          rates=ma a I ) . . . .                                                                                     ..            ..                                                                           · · . : ·· 3 6r
         i_;.;=~:.::::.,..,:::.;=~-----,..,.;-----.....,;.,.;._-..;.__--,--~~--'.L-_;___,;..,.._,-L-_._;-;..;....--1...-,..,..-----------;...;J_ ..                                                                            QI .::I
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                                                                                                                                   · BUSh1ess                    Business · : -Business . · · ....,.
          . A~ons                                                                                                                    .debitcard: -ATM:card =de ositcard
       v.·.iew our. account balance ·(fees a_. a                                                           . ...
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        Withdraw cash (fees ma .ci · I )                                                                   .·fl'.·.             . ti                                  .                                                        ;         ~        •
          . Make.deposits at _certain non-Wel_ls FargoJ\TMs (using                                                                                                                                                             &re.·.
          : : c:a~d i_ssued by a branch located in lowa 5) (fees may .                                                                       t/                     - •ti.                 .· . t/                   -.        g.~ _ _
         _i-.=:.i::,c,:.,u.~-.;.......,--_;_------,;....,....-'-.;__;_--,--'....:._--'--,--,.--'----,....:-_;_'-'-=-:...;...-~...i..;,.;,.-._.;;__..;.._-L..'-,----'--..;.;.....:..J. ·_. : •                                  gg_ ..
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      · Rec;eive transfers~ such as those through card.··             · __ii_·_· ·                             . -0
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     . :networks oduridstransfer s stems ... ..                       ..                               .          Ill ti"
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   ·: . Statements atATMs ·shoui<'.J not be use~ in pl~ce of the ·account statemenl for balanc:ing or=· .. · · . =::,·
        :verlfying tiie aGtu~I account bal~nc:e.. · ·. :. : .· .· = :· . • · .: • • ••·- · -·. · · •·•   ..      ctO..
                                                                                                                 (I)' .
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         ·2 .    The busihess:depo.sit card and associated PIN can· be use~ mily to make ATM Cfep_osits. The card. -~_-_ri·
               • c~n.beissued toan authorized signer on t~e business accounts. It also can be issuecf to a non- · • > ~ ' . ; ·:
                  qtJthorizedsfgner atthe request of an qµthorJzed signer. \l\lhen the Ci:!rd ls used to make an AfM · · .. 11'1 ~ .
               · dePQsit; account bala_nces ate neither display¢d on _the ATM screen nor printed on the ATM ·:. ·: . A·.g·
             . ·:receipt.The.card PIN cannot be.used for authentication for phC>he oronline access. •.·. ·..           · ·· o c:i
           3      Business d~posltcar~sa~e .,ible t~ only receive pri-~ted r~ceipts; -· .•. . . .. .. . . . . .             §[ .
               : Non~\i\leUs :Fargo ATMs iire part of ATM networks owned.or operated by other firianclal.                   ti" .
           4
         .
               ·. instffutions. You can _u·seyour Card to withdraw cash and. check bal.antes .for:the accouhts .. . .
                  linked to your Card a_s primary ch¢cking and primc1ry savings; Note:_ l)Sorne rion~We11$ Fargo
               . ATMs may not ~i_ve you the option of choosirig which Accoun~ to access or may only let ypu ..
                  access o_ne of these twe> accounts~ 2). Ma_rket rate or- r:noney market savings accounts generally .
                  c_annot be designated as primary savings on your Card. 3). Some triihsactions may hot be .·_· .•.
                  avai!able at all ATMs, niay·be different from _those.available at WeJls Fargo ATM$, or may be ·_.
                  limi~ed to any withdrawal lh:nlt(s) set by the noh-Wells Fargo. ATM. . •: ·.... · .. . .· •-•. ·
           s Also applies to a card issued by· the National Business B~nking Center or Wells Fargo Business
                 Onli_neth;;it is linked to ;:i primary ;:ic:count6p,ened Iii lov.ra. . . . .              .
                                                                                                                                                                                                                   · 35:
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            · AlM and rtierchanrtermihal malfunctions •.
   . ·.· .. We are riot responsible     for damages resulth:ig from an ATIV'(pr trierchantterminal: ... : . . .
    ·. ·.. ·.· malfunction·. Yo.ti will promptly notify us if a Wells F'argo· ATM fails to di,spen,se thE\? correct ··.
               amoµrit of cash or provide areceipt by calling or writing us at thetelephone.nt.im~er or .· •·
         . :address provid~d·on .your acceunt stateine"rit > . .. . .                      .. ..         . . ...
        .·Fees for use of.t:ard
     ..... We wi1rclia~ge afee ioteach rmn~Wells Fargo ATM transaction you perform (e~cept f6r •.
      ·. ·.. ·deposits or as waJved by the terms of your. ~ccou11t):lniidd1tion;Jhe non'-W,ells F~rgo.ATIV! :•.· ·. ·.
              qWnE,!r/oper.ator will also charge a fee (unless waived t:,ythe. terms of your acc:oi.mt}.Thls fee is •
       • Jnduded in the total transaction amountth~t is:withd_rawn fror:ri your ac:countTransactions · •
      ·. ·. will ~e iim!tedto ariy withdrawallimits. set py th~ non~Wells Fargo•ATM> : . .· .. ·· . · ·· :
     ..... We     wilLcharge ~ fe~ if you make an O~ei~the-counter (telie(~ssjsted) cash djs~~rsement. at ·a....••.•
     .. · noh-Wells Far.go bar:ik that ~ccept$Visa--btande~ carc;fs.Some rn_erch.ants may asses(a feewhen ..
       . . you use your card f()r a p,urch~se.This fe~ wiil pi; included in th.etotaJ purchase amo.unt. • .•
                                               to
              Additional fees ~ppJkable use ofthe c~rdare: provided in the: Bu:siness Account Fee and
              informatioriSchedule. · . . ..          .. . . . . ..   ·· . .       ·    · . . · .. . . . .

         . oany ·Hmjt~ and funds aVaHabie for us~ with tards ...
          You may use youfcarcfsubjed t~ l) y~ur daily ATM :withdrawal rf.:nit a~d daliypurchas~ limit;·...
          and 4) yout.avaflable bdlan:ce in your actouot.The foliowlrig rures apply:·..·· ·                               ..       .       ..
        · • . . ~lm•lt~ o~ doliar amo~nts ··                   . . . .                           .. .
            .••• Daily ATM withdrawal ·1,m_it is the maxi~um amount of cashyo~ can w,ithdraWtrom any•· .•.
                . · combination ()f accessible 1accounts using your card. At certain A.TMs ins1d~\l\lel!s.fargo .
                  . branches; your daily ATM With<;lrawal limit may not apply during branch hours: . . . . .
            · •• • Daily purchas!:! limltisthe maximum U.S. dollar' amount of.pur<:has~s (in~luding cash .·
               . batk; if anyhhat ·q1h be debited froni your account .. . . . . ..· . . . . . . . .              ...
                .· 1;In tei-tairicirc::µrtistarices, We may atiow debit ~ard transacticms thaj exceed your
                  · daily j:>vrcha~e limit; · · ... · .·• •·• · . ...        . . . · . · · :. ·.. . . . . ·.. · ·
                       your
                 .. 2.!f      daJlypurcliase limit _is more than •$99,999; you may ask {hat the merchant .
                      .pr:o~ess multipl~tra:n~actiQns· to complete a pur~hase above this amount:.:
          ; Limits.fory~ur ~ard:           ·        · · •·      .·. . . . . : •·· . . · .         · ·• . •·· . . ·. ·· · ... • . . .
        . ·: · We provide you your daily ATM withdrawal and.purchase.limits when y91,.1 receive your ..
           ·. ·· · card. You cartconfirm your c.ard's daily limits. by calling us attn~ n~mber listec;l in the"H<;>w
             . · to reach Wells Fargo" section; or by viewing them on the "Profile" page.in t_he "Account .
          ·..We~~t~i~t::;::;~;:ct~:;~:g. ·• _.· •. :                <. : •. • •. .•·-·. ·.· _• •>•. · .. ··.• •.
                   may,Without t~llinfJ)iOl,I, ¢hangt? yolir daily purchase or ATM withdrawai Umit based on
                                                                                                                   · . .• •.·. . · • . • •.

                account history, activity; and other factors; ·. . . · • ·      · ·· . • ·    .·: · · . · · · ·
          ~ o~finitio,1: . ••· • ••. •·. · :. · · . : •·.. ·· • · •. . · :_ •· ·· .· •.. . · •.·                                           .
          .. · For purposes ofthe daily limits only, a"day~ js defined as. the 24.:hoµr p_eriod from .. . . ...
                                                            .. ..
                                                                                  is
            ·. midnight to midnlght, Padfic Time. If a ttailsactio_n made in. another time zone, it will pe ..
               processed when We recehie it. · . .                           . . ..               .. .
         ... _<o~h~r ·1.i~its: -:.· . · . . . . . · . .. . .              . .. _            .      .         ._            _ .         .        .
                There is·g·enerally_nolimlt.on thenumberoftimest~~ iard may be used each day as.long .
                as the. applicable daily ATM withdrawal limit arid dqUy purchase limit are not exceeded ·
                and there is a Suffidemtavailatile balance.in cirjycombinat·iori o.f yourdeposit accounts.
                accessed for-withdrawal. .                     .    .. . . ··..        . . .. .      . .



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          . - ffth~ A'rrvltransacti~ri or Purth~se WQUld cre~te anoverdraft on the accou·nt,vire may;: :...
            · .in our sole discretion, take. any oft he actions described intbe sectitjri of the Ag·reer_nen~ . •. .. ::,
           ··titled '!Av13jlabl~ balance, postirig order, and overdrafts:'The availability of deposits for •· .. ......   ,.,.
                                                                                                                             '
                                                                                                                                  ·-
                                                                                                                          0
        .. · . wlthdrawal ls descdbedirJ the n.fnds c,ivallability policy. . .                 . .. ..                 '. a.
                                                                                                                       ··e-
           ·-: When we approv~ a transaction ~rpurchase~ we cail thafar'l ;;authorization:• We may limit- •. .. ct        n
           .• the number.of authorization~ Weallow durir,g a period of time (e.g.; Ifw~ notite:out-of,- . .. . ::I        O·

              .pattetn i.ise.ofyour card, suspected frauduien~ or unlawful a~tivity, odnterriet garnplingf · ·.
                                                                                                         we
        .. •' Fo_r Security reasons, we cannot explain the details of the authptiZc1tion :system. If do '·.' ...·.• ~ii? .
          . notatithori~e the payment;we may notify the person who attel'nptedthe payrneri.t that • . C)"Vl '
               has be~n refuse& We wjll not pe responsible forfailing to giv.e. an authorizatior:l. •_· .· . . . _ • :
    .· ·_· 1:liega_; 1-t~~n_sacti_ons_ ·_. •
                                                                                                                                 ?f •. _._
                                                                                                                                 ... ·
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                                                                                                                                 ig.   .
    . ..:Vou niusttiot use yc>ur c~rd or·actount for any illegal. purpose or lrite.tnetgambling.Yoll •..                         aJ':C
    .. -must riot use your card or ac~ouiit to fund ariy actoi,nit that:ls set up to facilitate Internet.· .                     c:t.S .. •·
                                                                                                                                 o·ro .. ·
                                                                                                                                           ~
         gambling. We may deny transactions or auth9rizatio11s from nJerthants who. are apparently                               ::I

    . e•ngaged in Oh¥ho are identifiecJ as e_rigaged in:the lriternet-garriblfrig business. . . .
      .•.. Usfog your icircfthrough
           .    "   ''     .    .    . ...
                                           a rnobO~-(h~~ke
                                               . . .
                                               .          '



      .. '. A_"mobiledevk,i' means a smartphone,tabiet, or any other hi3hd-tield o~wearabJe _· . . . ...
    . .:· ·. com.mlinft~tion-devi<:ettiat allows you to ele~troriically store orelectronitally present y9ur: • .
      .· •cardQr card number ("digital card number'') and use that digital card number to ·make card ·
             fransatth;ms: ·· ·     · · ··           · ·· · · ·         ·       ··     ·· ·· ·          · ·· .                         .   .       .

                                                                                                                     .·.         ~         VI .
    · · Whe~ you ~se your card with y<>ur mob He cfe~icefor hansadio11s: •..                                                     a~!!Ii
                                                                                                                             .
        • Mobile carriers niaycharge you me~sage and data rates, orother fee~ .                                           '' ;:; fD .
                                                                                                                           · .o3
        • Yoi.11: (:ard information ls° sent across ~rreless and co inputer networks · .•                           . .
                                                                                                                          . . !:!;!'I)
                                                                                                                                 :::tl.::::1 ..
                                                                                                                                               .


        ! . lof6rmation abolJtyouf ~obUe device:may be trarisrriltted           to
                                                                                us   ..
                                                                                                                          . Q r;r .
                                                                                                                           . ,.,. QI .
                                                                                                                           ' 5·::,
        • . Yo~ shc>1Jld secur~ the mobile device-the sarne:as y~u would Your ca$h>checks, t~edit .                          -a o...
             cards; and other valu~ble information.- We encouragf you to password protectoHock ·
           : your .mobile device t() help prevent arrt.inaLithoi"ized person· from using it... ... . . ·. -_· . ·
     ..••.· Ple~se_ notify us prOmP.tlY ifyo~r n,obile d~vice containingyour di_git$i card number.is.· .
             lost or stolen;       .. .        . . .      .     . .      . . .     . .           .. .
. . •- ·When you use your ca~dwith yol!r ~obile devicef<>rtransactio~s; third parties; such as • .:• _·
    -· •.. merchants, card assodation networks, mooile carriers, mobile wallet operators,m<;>blle . ·.... _· ·
          . device manuf~ctur~rs; arid software appiication providers: may 1) t;ise and receive yo1:1r digital.
          · card rium,ber1 and 2) receive. information about your mobile _device:.·· · ·_· · ·. · . · .. ·.. · · .. • .
          · 1f you have enroJledin Ov~rdraft Protection arid/orDebit Card Qvetdraft se·rvice, those ter~s ••
        . wn_, applyto card trarisacti<;>ris m:ade through ainobHe device: For additionai:information, .
   . please see the section on "Available qalance, posting order, anet overdrafts'~ . : ... :
                                                                      to
       ..·We may, at ~ny time, partfoJiy cir fully restrict your ability mak~card transattions through _a· .
       . · mopile device. If you wantto. remove your digital card number from. yourm0bile device,piease
         ·: contattWells Fargo National.Business Banking Center H~OO-CAL.L~WELLS o~soo~22s-5935).. ·.
      . One-·time access ·codes> .
        Upqn your re~oest Vie m~y .provide you with a secure; one:"time acc~ss co,de.Th1s access
     .. code (wben used together.with ttie PIN associated with Yo1,1r: eligible. ~aid) allows you to .
        ac;tess your ~ccou_nts for certain transactions •at certain Wei.ls i=~rgo' ATMs; An ac;cess code
      . is temporary arid can b.e used only once. Use ofan a_ccess code With the associated PiN is
        equivalent to 0$e ofthe card at c1Wells Fargo ATM;·                          .     .
                                                                                                                      37
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       · Visa Ac<~ou11tUpdatar se.rvk~ •
      . •• If yoy give your debitcard nurnber. to a merc:harit with a~thorizat(QIJ to    ~iu  ,tfor recurrin,g, .·,.
          · payments, ot to. keep _it on file forfuture purchases or payments, and.your de_bit card hurnber .
   ..· · cir expiration date-changes, you .should notify the merchant wi.thyqur new <:ai'd. information; •. ·
        . We.subscribe to the _Visa Account U_pdater Service (VAU Service) and. provide i.Jpdated '(:ai'd . ,..
        ,. irifortnatiQh to.ttieVAU Serv!ce..Ifa merchant participates in theVAU Service, th~t merchant ,
            .will rec:eive the update.cl.card information. Changes te> yccnir card.number di.ie to reported .. ·.
         · fraud.Will nofbe·provided t<>the VAU Service. Because not all nwrchants subscri_be tothe · ·
  ,.· . ,·. VAU Se.rvice, we· recommend you· notify each merchant of your new card number and/or • :, .
       · · .e:xpiration·clate to ensure your payments continue uninterrupted. ·. ·. . .. . . . . .
       . J.\uth~rrzation holds for card t;arisactlons ..
           F~r al tea id putchase _transaction~; we may ~lace atemp¢tary hold .on SQme ci~u:of the_fu.nds ,
        . in the account linked to you( ca.rd when we obtain i'ln ~athorization request.We: r~fer to this.
           temporary hold)is an "authorization ho.Id." The funds subject to the hold .will be subtracted . ·
   .· ·• frorn yourcivailable/)alaric(?. ·            _· . . . .     . . .      .          . . . ... . : . ..
   . ·· We ca~ place an authori:tatioh hqldonYo.ur ac~ountfot up fo 3 bu;inessdays(or fQr up to •
      . . ~o business•days fof certain types .of d~bit OJ ATM card)ransactibf'!Si iriduding car rental, cash; •
      ..· :and international transactions) from the time of the-aQthbri;;:ation or until the transactic>n .·_· ·
           is paid from your account. :Ho~ver, if the merchant does not submit the transaction .
           for payment within the time allowed, we will. release the authorization hold. This means
     . · yo.uravailab/e balgn(:e will.increas·e Ltritil thetransactlOri_is sµbrnitted for payment by the .•: •·
     ··.·merchant and posted to :your a.tcount.. ln some situations, the ·amount of the hold may differ.
        from      the.actual transacti()n· amount since.the rnerchailt.rnaY:n:ot know the tota"tamount ·...
     . .· You will.spend; If this happPl')c:;; Wf! ,riusth6n9rthe, ptfor auth~rizatiqri and will payt~e ••. · .
         . tra.nsc!c.tion from_y0.ur account. For example, a restaurant su~mits the atithorizc!tion request ·
          for your m~al before you add a tip. . .                     . . . . . .. . . . .            . .
     ·. N<>tei You mighiend up9Verdrawi~g the account even -thoug_h the available balance·· .
        -appears to show .there cl re s:uffident funds to cove·r y()ur transactfon. For example; if a. · ..
     .·. rnetch~nt does not submit a one~time d~b,t-card transac_tion for payment within 3 business .·
        .· days (0.rWithin 3.0 business :days for •certain types of debit or ATM card transactions, such· :..
           as car rental; cash~ arid international transactions) of authorization, w.tfmustrelease the · .. .
          authorization h9ld on the transaction even though .wErwill have to honorthe transac'tion .... .
        ·Tne transactior:i wjll b~· paid from the funds inthe:account;when we receive it for payrnenC ·
                                                                           to
           You should record arid trad< all of yourJrans~ctloris dosely con_f.irrri your availabie balance ,•.
       . :acc;urately reflects ·your sp~nding offunds:from the account linkeo to yoµr card;. . .              .
        i·ia0dlhig_preauthodt.ed· paymen~s .· ..
         The foliowing explainsyqur-rights for payments scheduleQth~ou'gh your tjebit card:
        .• Oni!-thn~ pu~chases: Stop payments canilotbe r~quested 9n one~ time• pur.21iase~ lnaQe · ..
               using a card li~ked tp a business deposit account. • . . <. ·..· : ... •.••.· .. .• ··. · . • • .
      ·. • · ••R~curri~g debits; If a cardholder .has told amerchant or ~thet biiliog entity in 13dvance
              to make recurring debiti;to his or her QUsiness d~bit card, the Cardholder tan stop any
            • of.the$e d~blts by contacting the merchant or other billing· f;htlty directly. to cancel .• .
           · •or dis.continue ari}i·s.cheduled or tecurringbill payment. Some·merthahts require an .
            · advance·noticeto discontintie scheduled or rec~tring payments, so we recomm~nd a
              cardholder aJlpyv sufficient advance time for :anydiangesJo hi_s orher paymentservic~. ·


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  38- Busines_s Accoui.'it Agreement~· Effedive April 24; 2017
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       . ·. Transactions out~ide the U,nitedsta~es •.·.· :.
                a
         . lf card:is :u~ed to make an ATM withdraw~( or a p~rch,ase .o~tside th~ United states, the              ·· .. • ~ .
                                                                                                      of
       ·. ·. ne.twork handling .the tra.nsaction wiU co.nv.ertt_he loc:a.1 c·urr~ncy amo,unt the transaction.              o.
                                                                                                                          .0.
       .·· fo l.J.S.dollars (or,. in.the case qfa pqrcha~e only, the merchant handling the. tra~saction : .· .           ·c
         .· maycor:iveitthe currency). Ifthe network converts the ·currency,. it wil't use. either: a:rate • :. .          A- •·
           ·. selected by the. networ~ from the ran~:ie of .rates available in whole~ale currency markets for.
                                                                                                                           er
                                                                                                                           :,
        .. the applicable central processing date, which rate may vary.from therate,henetwQrk itself
              re¢eiv~s or .the government~mandated rate in effect for the applicable. ~enfral·ptocessing .
        · . date; If the •merchant handling the purchase converts the currency,the·rnerchant w.ill . ·. :.
        . qetertniriethe currency:Conversion rate; FQ~ ead, purchase trahsac.:tion c.:ompleted outside .
  \.
              the United States, we may also charge ah intei:r1atitinal purchase tran$action fee; which We ..·
           . base on the amount provided to us by the network (e.g.,Visa; Ma~terCard) in :~:S. dollars: .
       .•..·Entiing       :your cord use
       . . Your catdis our_property. We may ·ca:ncelyour card at anytfrn¢.without l.,pticetti you; You . .
        ...·may c~ncE?I your. card atariy time by writirigto tJS at the address JlTQVided fri your account .. ....      . -··     -·-·
                                                                                                                           :. :i'3 ·.
                                                   or
           . state.rnent.. If th~ ac:cpurit is :closed the CQ:rd ls canceil¢d, yoti will irhrryediately destroy the ..... a-:S
          .. ccirci(s) ancl, upon request, t~lf ~s in•writing· that the c:ard(s) has-b,een ~estroyed. If req1.,iested,     .... ;:i.
                                                                                                                       ..     3.b.i> .
        ·. yoi,i rnust immet;iiately return the card(s) t9 us. lfthe cqrd is cancelledl"yoi.(mustpay' for any·. ·· .. ~~>·.·
       :.· cardtransactions made before the card is cariceil.ed. . . . . . . . . . . . . . .. .                      . .. . ::so·-ro  .:
                                                                                                                                  l,Q .


            : .· Zen;i: Uabif ity pn;,tectio~ (card t.i::ansadions ollly) .
                                                                                                                            . .
                                                                                                                                   -
                                                                                                                                  . DJ
                                                                                                                                         .


       .:· .. YourcardcOTTjes with Zero Liability protettion for unauthoriiedtraii$actions that you report :.· .. .. ::i   1'11 en .
                                                                                                                                .~.·
             :promptly.With Zero l.:iabjlity•protection>ifyour·c:ar(for cwdnumber is ever iostor stolen ·. · . ... ...     Ow
              an.d used witl'lout yoiir permission, you rnusttell us· irnmediate.ly; lfyou do, you will not be: : · .. .g,.3·
                                                                                                                                   ~.



         : resp~nsible t¢r i.Jnauthqtized transactio.ns made ·usJrig your card or (;'atd number; · . : •. ·.·. • .. : ·. :::n ti)
            . If yoµ notify us about the unauth6rized tratisaction \Ylthln' 60          Qf Wh¢ri the first 11:cco~nt •· ·~dl
                                                                                       d"ys                              . ct. DJ
                                                                                                                         . 0:,.
       ·. ·..st~tement sh.owirigthe unauthori~ed transactipn was delivered; you wili be p_rotecte.d for·:: .. . VI::s 0.         ... ..
       ·· yo.urlosses ori the account.            ·                   ·    ·         ·      ·
        ·... If you notify us ~bout th~ unauthorized transaction after c;o·ci~Y$, we may not reimburse you.
        · ·forunauthbrized transactions: You may b.e require~ to provide doc~mentatiorito support ·· .
        : •your tlaim; indudiniran •affidavit of unauthorized uSe and a police report. In addition; w~ .
         .. transaction
              will consi~er:whether   ariy !legliger\ce Ori. the part ofthe cardholders has. contribut_ed to ttte
                           In question. . . . . . . . . . . .                                 .                 ..
       . . .·Thefofldwing are not cpnsldeted to· be .unauthorized transacticnis under. Zero Liability .: •.• ·.
       · . protectiori1whicti means you.ar~ liable foranytransacti_on: ·... . .                                     .
                                                               a
            .• . by a cardhtilderor persbn.authorlzed 'by ~atdhblder, or oihei' persoii wltii ari interest in ..
                  :or authority to transact business on the account;                 . .. ..                      .    .
         · .• · _by a person you, h.a~e a~thqtized t9 use your ~ard, even ifthatperson has exceeded the
           •.. authprity yoµ gave;             .·... : •.  : ..· · . • :.• . . • · . . · .. ..· ·.. .··• . ·. . • • · .·
         · · •. •: a rnerctiant ha~ processed in error, or.you a·re unhappy with go6ds ~t servkes you .
                 . purchased. In these cases,nrstcontactthe merdiant-fo resolve the situa_tion;                      .
             • . • that
                    ..
                        ~esult¢cJ
                           .    ..   ,     ',           .
                                                                      in
                                  lr6hl-- inadequate. intemal control yourorg~r,i~atldn.. ••.
                                                                               .   '




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          ' if you s~~pe~t th~t your card. has bee·n. lost or stolen, or thahn una~thor~zed transactici~ h@S'
    .... : .peen made With the ce1rd cir the card number issued .to you, notify u~ as soon:as possible by ..
       . ·.. !:alllng Wells °Fargo National Business Banking Centeratl-800;.CALL',\IVELLS (1 ~ soo~22s:~s~35) •
   :... · or the :n~mber listed on your account ~tatemeht;The soon~ryo1.1 notify us, the sqpner we can ·
    . · • protect the H~ked accounts. Adelay in.reporting the l.inauthor,~ed transaction may affect ·· .· ·
                    yoifrzerp Uabilify prote~tlon; as d,efinei:fabove.;'                                ' ..   '




   .   '           .·   ·.       ''   .· '·.·   ·..   ·   '.:'   .·.     ·_''   '   ''    ......... .
           '   '             .        .· .....·. ':          '·   .. •              '    '.   _•   .


   40 Bu.sfn(~SS Accou11~Agreeme1)t-:- Effective April 24, 2017
                                                                 .   ..        .
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                                                                                                     .   .   . .   ..             .     '




   , • If you have an assigned PIN (fprbusiness}l~TM c~rd; debitcard.:.orPIN_ only a,,o~nt use);~~ •·,, ,                       s-.·.
                                                                                                                               ~
     . use your PIN_toeonfirmyour ide11tity.to allowyou·tousethe automatedphorie.bar'lk.system...                              0

  . · • )fa PiN h~s not be~l'.'I assigned or .ifyou dq not use the automated phone bank system; vYe ·. ·..              . ··•·i...... .
                                                                                                                        . .
    , • willask,for and 'use a variety ofinfe>rmatio.n to verifY.You'r: identity.. , .. . . .. .·•                             cs-
                                                                                                                           . ::::J ,.
  · ·· Are we    aUowed to.caotelyour PINf ..
   •. ·. Yes, we may cahce,Lyour PIN at a·ny time without noti~e. If you use a PiNthat is not assQciated ~f .
    .. with acard, you must use it atleastohce.every·6 m.oliths to ensure w~ do not cahceLyot.ir P.IN •·. ·.i5•.~.
    . due to inactivity;        .       ..     .        .             ..               . .                         . .. ~5·
                                                                                                                         .· QIIO ..
                                                                                                                          .;:;
                                                                                                                            ao..-
                                                                                                                          . .,...,,
                                                                                                                                iii'..

    .· ifyou do not know you,t PJN,. yo~ may chang~ ydur PIN at a bar,king loaitiOn or by ~131llng • ·                  ·.•_g.;i·.·.•··
  . . Wei ls Farg9 National Business Banklng Center at 1~BOO-CALL-WELLS (1 ~ ~<Jei~225:.593s)fo •                             ::::,"'
   . : request:the r.natlingufa n¢w ra.ndomly se!ectedpiN. •.      . . . . .. . . . . . . .
   ..··. If j~u know your PiNi you may use the aufomated.phci'ne system_or. ATM to ch~nge your P1N. ·..·.o'O·.
                                                                                                                         ::s;l :.
                                                                                                                        , 3 6f:
                                                                                                                        .. QI.::, ,
                                                                                                                        ··er...+-
                                                                                                                    . . . ::::JtQ,
                                                                                                                          o'ii>" ... ·
   ..· · You aythorize us to c9rnply' with anyrequ~st~f a caller using Wells Fargo's teleph~:ne.. . ..                          . ·QI,
                                                                                                    or
        ·~arikfng ·s~rv.ices, ind~ding Without llmltation:a: requ~st:td transfer fund~ between am<>n9 .· ·                       .-,,

                                                            in                               of
      · your accounts, provided• we authenticate ihe ca lier compliance With one the security ..
      proc~du_res described abo~e;. . . .          . .. . .. .            .   ..   .    ..        . · •· .   ..
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         ' All of your el~ctroiiic panking privileges wil.ibe t~rminated if youra~countis clo~ed; ' '
     .·. · Welis:Fargo;.you, or art authorizeds1gnermayterminai~ specific electronic banking s~rvices .
       ..· without dosing your account A service rnay b~terminated by tailing orwritirig Wells Fa.rgo
         . atthe numb~r or address pre>vldecl In th~ Business Accoi.int Fee arid in_form~tion Sthed.iile or .
           on 'the ~ti:itemeritfe>r }'OU(ac,c:olint ' '' , '      ' '            '           ' ''




   42 Blisiness Acco1fr1t:Agreern~11t- Effective April i4,2017'
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      . . ·the followHig terms arid conditions are i~ additio~ to, and not in pi ace ot; ifny other ..
       . agreements.you have with us regard1ng;iunds transfers. As used iri these term~ and . ... . .
                   a                                                                  a
 · •l · . conditioni funds transfer does ·not include· a tran.saction:made using Wells fargo. iSSuE!d : .
       . card.:Examples of tovered funds transfers are:a preauthotized autom·atic; t.i-a"nsaction (AtH) •
           like.your car 6r·mprtgage payment, and wfretrgnsfers'.      . . .. . . .              .. ..
       ~lulesof fund~ transfer syitems :...
    ·. Fl,lnds tian~fers to o·r from y~~r account :will be governed by the rules of ti~y funds transfe~ .· ..
   ..·· system throl,lghwhich the transfers aremadeJinc:ioding Fedwire,the:Nati6na1Automated •: ·.
    .. Cleaffng:House Association; th~ Electronic Check: Clearing House Organization; any i'egi9nal.. ·.
     ·.·association (each ari "ACli"); ancf Clearing House•lnt~rbank Payments System (CHIPS}. ·.
  ._::. Notice of1•ei;filijt of funds•.·
     .·. we•wm notify you of funds electro~ically debited or c:redited to.your ~ctounnh~ough the .
   ... account statement for: your account covering the period _in which the transgctiQn occurred: •
     . We ar~ under no obligation ·to provideyou with ;my additional noticE! or ret;eipt • . . .


      . lfah histructif:jn or oraef fo :transfer funds desc:ribe{the person to rE!ceiv~ payment . ·. . . .
   . . inconsistently by name and account number,: payment m13y be made oh the. basis ofthe ·.· .
    •· ••account nurnbereveri if theatcount number identifies a person different from the named.·
   . person. If an in~trudiori or.order to transfer funds des1:ribes ~ p~rt(cipating ffn~frkial ··...•• ·• • : . m....
   .:·• institution incort$istently by nar,ne and identificati~in number; the identification ti umber may. . ... o.61:
                                                                                                                 ~ I.I\
        be reiled upon as the proper identification. ()f the fina_ncla[institutio.n: • . .. . . . . . .. . .     -, .....
                                                                                                                     ::,. CD .
                                                                                                                     o3· •
                                                                                                                   . !;:!:n, ..
                                                                                                                     :::l'l::, .
                                                                                                                 . Q lit
      You will ixercise ordinary c:a;e to determine whether a funds.transferto or from your account·.             . . c:t 0.1
                                                                                                                      0::, .
  . . was. eithe_r hot authorized or erron·eous, and you will notify us bf the facts within a reasonable .            ::::J 0.. ..
                                                                                                                     Vf
   .•.. time riot exceed Irig 14.d~ys after you haye. received notic:eJmrn us that the histructton or ·
      . t>rder waS:a"ccepted or your account was .debited .or credited fo(the funds:transfer, whichever·.
      · is _earlier. Ybu must notify us within 14 dc1ys to:be entitled to a refundftom us: if you :ao not .
        notify us withlri i 4 days, we Will be entitledto retain payment for the funds transfer.. •· .
   . Enon06us paymer1t p1~d~r-s                   . .      ...    .      .   ..         . .   .      ...
   . ..•· We haven~ obligation to detect errors y~u make in p~yment otders (e;g,; an err9neous .•
        ·. Instruction tQ pc1y a. beneficiary-not inte.hded by you.or tc>"pay.·an _amount greater ~hail ...
     . · ~he amount intended by yo_u; or ari erroneous transmlssionofa duplkate.paymentrirder
                                                                 or
       . previousiy sent by you): lrwe deted an ·error on one tn(?re occasions, we will not be . •
           obligated to deteder.rors in ariyfutur~ paynientorder.We willrelyon the be.nefi~iary
     .. ·• account number and beneficiary bank identification number (e.g., IBAN, RTN; or SWIFT 81C} .
       .· you provide ·vvith arr instruction or qrde·r. You ci:>uldJose the furids if you prc>Vide incomplete·
          .or iri"ac<;urate information... . .             ..                .     . . .. . . ... ..




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          ·ACH transactions ...·
      . . In addition fo the.other term~ in .the Ag~eem~nt,:t~e foUowi_n·g terms a.rid c~n~itions a·pplito                                                •
   .. .     payments to or from your acco·unt that youtran~mitthrc;>ugh .an ACH: : : : . •• •...· ·... •. . . .
            ~ ..• YO\lrtights as.to p~ymerits to ·or from Y~ll; account wiil be b~sed on                               to~law~ governir)g
                  yeiui" account. . ..·.. . . : . . :: ... :•. . . . :.·· . ••. . . ... : . :•·: : ... . . . .. ·.·. . . . ...
               • .Wli~n we tredit.your _acc9unHoran ACH paym~nt; the payment is :provisional until we• •..
                 .receive final sett;lerneht through a F~deral Reserve Ba_nk c;,r•otherwise receive paymerit · ..
            • . _If wed(> ne>t tecehie finalsettlement or•payment;                        we
                                                                                     are entitled tq a. refund frohi you for .
                 ·the arnotmt credi~ed t<f your account. •. ·....··. ·.· .• : ·.· · . . .:·.... ·. ·.· · •: ·.· ·... · ·. ·....· ·.· ... : :.· · . . .:·.
        ..· •.. You: hereby~uth~rlte anyOr\gina~ing Diiposltory°Fh1~hcfai lnstit~tiQD {OC)FI) fo initiate,·.
          . ·•. pu:rsua.nt to ACH Qperatilig Rulesi ACH~ebit entries to:Your ·ac:co·unt for presentment qr.
    •... : : .. re:.pre~entinent of;tems. written or aUthorized by yoi,t : ·: · . ·.· > •.·.· ·. ·: .. · . . . ...
         : Under' the ACH RUies, the Bankcan return. any hon~consumer: ACH debit entry: as . ·.· : .
           · una1.1thorized until i-n id night of.the business day following the b~slness pay the Bank p_osts •·
    . . • . the entry to yoijr a~_coi.mt; In order. for tlie .Bank to meet this deadline, you .are required to.· . .•:
     .... notify us to return. any norFconsumer ACH debit ·entry as uriau·thOrized liythe cotoffttme •..
   .. . Yie separat~ly disdqse. The cutoff time is cu·rrent1y 3:00 PM Central time_. _if you do· riottlm~ly..
      . ··. :notify us of the unauthorized non'<onsurner ACH debit entry, wew.ilt:not be· ablet.o return·.· .
       . . · it Without the cooperation ~nd agreementof th~ originating bank and·ttie orJginator ofth¢.
       . .(i~bit entry. Any other effortto r~c:ov~r the funds mustoccur solely between: you an~ the..·:.
             or.i~tnatCJr:of the e.htry. ·             ·            · ·           · · · · ··              ·




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   . . · . : 1W~Us F•rgo iiccepts:Telecomm..ni(atio'1~ R~lay Services cc1ils.                                                                                                                    = ·   .·

            I··.·.:···.·-· c: .. ··--·_-·-.. ,...- .. - .. • - .. ·-·.---·· --~----. · .. -. :. ...                                                                                                                        .- ...
        :..·.: We_lls Fargo.Busines~ Online~ ··_ · · Vi:sitwellsfargo.com/biz
    ·    ·        ..    __ · :   --- .   :   :_ . . ·   ·   ·     ·                                 ·   ·   :       •• =   or ~II: t~soo~95_6-:4442 ··
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         · .: This Agreement governs business dep()Sit accounts inajnt<,1ined at Wellsfarg6 Bank, N.A; a~d ·
                       Wells Fargo Bank-Northwest; NA:                                                  .                     .. .       . ' ..                   ..         . '.          .. . .      . .. ..

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             ·=     ©~017WeUs~argoBank,-~,A; :                                                                                                                                                               .      .-         .



                  . Wells Fargo Ban~ Northwest, N.A. .                                                                                                                                                       .EQIIA~IIOUSIHQ ..

                    Aii'rights reserved. Members FDIC.                                                                                                                                                      ·LENDER···.
                       BBGS755 (4~17)                           • .. . . .                 ..                                                                          @ ·Printed <ln Recycled Paper : ·
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      lmportantlegal,:info'rma~ion.; ·•· '.;.; .. ~-~; '.H .. ;;. ::-: '. .. :... : • .. ;,; ,:; ,':'.. ·.-:•· ~ :H.;; .. '._;s . '
     · statements and other Information relating to yc,ur depos!tacc~unt .:. : .. ; : . ; . , ; ; , , ; ; .. 6
   ·· Rights a~d_rE!spoi:is.ibiliti~s ·.. .' .. ~•·: ... ; ;~ ... ;·.... _. ;; ... ;: :.. ; . ~ ;; ; ; ._.: ... : ._:.:..:; ; : ~.;..; '.•· ·..:10
   .. Ch~ckingand s~vi~g~accourats : . . . . . . .                                 . ... ·. · .· · . .                     ·_ - . •.....

  :.·--~1::::i:;i1~;:;:~~;}:: ~·: : '.: : :·: ::: :: : :·: : ;: ~ : :·: : : : ::·~-~ : :{:'. :.:'.: : :.: :::-.:1s~: .
  . .-AVaila pie bafa~ce, posting ord~r( a~d ov~td•rafts ; ... :. , ..:. : .. .- .·. : ;:.•... ~-: '. •.. : ._. : . ; . , ... •
   ..·:.: Set~offanc{secur.ity interest,';:. :. :... ; ... :: . : .•.... ; ; ..•...••.. : . , :• ; : •. ; ; . '. : ,: : . ; • ~; >.: .... 22 .
   ··. ·, Additio~alrules for checks andwi'thdrawars .... ::; ... :.. :.. ;..•.;. ;... :. ;, .,'.. ;; .... ;.. 23 ·
      .. ,~suing stop payTT1ent orderi 'anr;I :post'-tiated che,tks '• ·. :.-.. :. ;_ ... : .•· .. ;!: ;.·•: :;:;.,.... 24 .. .

  ··. • ~~:EiiS~if_;'.: ::. :.'.: ::.:•: :::•:;•:. ::.:'.:: : :•: :: ·'.:·:;:.;·:· :;:::'. :.:::·: '.:::~~ . .
       ElectrQrii~. banking servi~es          . ' ' '' ' .. ' '                   '. ' ' ' ' ... '. ' '' ' ' ' ' ' ' ' .
     .·. •·Ei~ttrOf'1i~fGnd transfer services: .... '. •..._;,:, .. ;,.·.. :·•·.: .•.. ,;,,'.,.;; ..·.. : q;, :. ~. ;, .;•. 32· :.·
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       .: Ge.neral rulesforelectr'onicfunitran!ifer·se_rvices; , .... ; .: •. ; .. ; .._... : ; ..... ; . ~ .. ,; ...• 32                            . .                 .


  ·· ·. Debit cards.and ATM cards>;.-.. :.;~~.:·.,:;._....                    _.::.;:>:~;; ..•...... :........ .. ,.. ;.-.. ;
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  ··•·:':i~t:~c::1:r~::r~:t:~~~~~~:\ : : : :·: '.: : : '.: :.: >:: : :.: ::: ::·::::::: :•: :::: ::::: :.::: •i1t·.••·
    .... -Funds transfer servi_ces ..• ; >: ... '.,., .. ,;, •... , ... :'.; '.., _,.: ... ; .. , ._._;.;. n,;;; :. : ; ; ; ; .. :.. 46 ' ·· .. ·Q.Gl'
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   •.·. ··. \lllelcom•e to Wells F~rgQ
     .• '. You h:ave ma:ny chokes.~he~.sele~ting:a fi~andal institution: .and we are glad you ,chose:
       ·. ' Wells Fargo.Bank; N.A. We vaJue, our relation~hip Withyoµ and hope we ansvvered all your •
           ·questions when you opened yoµraccoun~; Please revi.ew this booldetfor. f4rther details
            rega.rding your account and related services..        .         .   . ...      .

       'What ~ords 'do we use to refert~ the custrimer, this booldet, a!ld Well$ F~rgot '
       · ~ .. The cusfoiner is 'the ;'account owner;irnyou,"''.yotir;'' or '.'yours-:'an·d au:thori~edsigner/;. ·• ·
                                                                                                   11


              Wells :FaJgo Ba~i<.t~,A. is ,;Wells Farg~.~"we,;'"us,~ o("oJrt' ' '' '' .·'' '' .· .· '' • ·. ' ' .
         • ··.This booklet and the disdosure~ listed below tonstitute the "Agre.~me11t"::                       .       .
              - '· . The Consume~ Accountfee arid Infprma~iori Sthedule {"S~heduie'.'}, wh:ich expiairis ·.'
                     '·our. f~es an:d Pr,ovides additi~nal-informatfon abou:t our acco~.nts and Ser.vices, ·.'' ''
            . .         Our Privacy Po.Ur;y,      . . . .. . . . . . ..
            · - . ·. O.Lir rate she~ttc,f interest~ea;ning accounts, ~ncf _: •. .... . •· · ·. .•. . . ·.. ·: • •.·. .· . ·. · · .
          ' ' - ' '' .• An/additionai disdos'ur1:swfii provide tc>yo~.aboutyour aCCJ<JUhtaod· rel~tecf services; .
        .. .words.with
              .     .
                       spe~ific
                        .·
                                meanings ...··.·
                                            ,"      ''


     . . ·•C~dain J-Vords ha~e· speCJific mea11ings and are itaUcJied thro:ughout this bodklet: These• .
           WcOrds angtheir meaning~·are in tl:lis sec:tfo11.    . .. · . . . . . .    . ..     . . .
                    .                 .      .                 .    .   .



          · A,uth9riz~d: si~:ner ··
        ' ' Ap~rson you !)ave aUthorizedto Lise your. account even ifthey hc3VE! not signed your '
            ·signature Card orother doc:'uments. •·. . .           .     .           .    .
        .·. •Availabl~ bai~nc:e ·.
        ' Your account'~ avaiiabfe baiante is bur mostcurrent record of the arnountofmoney. '.' ' '
        . available:for your use or withdrawal. For more.inforniatio:n,please see the. section entitled ..
       '' ·.. ~HO\N,dO
                 .
                       we. . deterni!ne.your
                            . . .   .
                                             acctiunts
                                              . .   .
                                                       available
                                                               .
                                                              .··
                                                                 bafahce?"in
                                                                    _., ".. .
                                                                             the Agreement..·' '' ' ' ' ''
                                                                                 ,·           .         ,''       ., '


        '. Busihess:dc1y• ,'
        •.Everyday Is at;,µsiness                day exc~pi Saturday; Sundi3y/ ~-nd f~deralholiqay~.:. ·
        <Card                                       .
     '' ' •This t~rm i'ndudes evf:!ry type of con~umer debit card and ATM card WEf~~y iS$Ue.Thls _:. '
     . : term does 11(;,tinc!Lide :ariyprepa,id cards; : .. . .  ' .       .. , · .       . ..
             ·item·
       .• An item is~n order, lnstruct!On; or authorization toWithdraw or p~y ttinds or mon~yfrorn
       ·.. ari actount. tx~mplesJnclude ached<; dra~, and a11 el~ctrqnit fr~nsaction (including • ·
        .. Automated Clearing Hou~e (ACH), ai1 ATM withdrawal; arid.a pu~chas~ using a card.to •
        ·• access al') ac~o.:int). An item also includes a purported order;.instrudion~ or a1Jthorization to ··
           withdraw or pay fur\ds or money from.an ~ccount, unless otheryvise prohibited bylaw or.·
           regulation> .                       . . ..       ..              ..      .        ..
                   -             .    . .
         .   .,   ...   '        ,·   .
             Overdraft .
        •.· An ove;d,aft is ~ negative
                            '.   .   . bala'nce
                                       .   ,··
                                                in. your accou'nt :•'   .'   "




    i ConsLimer Accoi1rit Agreerrjent - f;ffc:ctlve April 24, W17
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   .. Th¢ Agreement •:
   ...• · .· Expiains the terms of your banking reiationship \h/lth Wells Farg6; .
    .. • •_Is the entire Agreement between Welis F~rgQ and yo~.f.~r your·accbunt an·d any Services, .· •..
   ·.· .•·..•Rep!i:ites allpri6t.agr:eements inciuding any oral ur written representations, and .
       .•.. · lr,dudes legal info~rnatiori apoutyour ba~kingfe1ationship with Wells fc!r.go ...
      .·Yo~ ~re respcinsiblefor ens.tuing that·any.~uth~iizedsign;,on your accourit(s) ts familiar With.
   · . the Agreern.eiit,          .    . . .. .                  ..               ..       ..           . .           .        .       .    . ..        ..       .. .      ..
    ..·We suggest you retairJ a copy of the Agr~emeiit ;_ and ~ny -f~rther inforrnaiion we provide :· .· .
     · you: regarding· change? to the Agree merit~ foras long as yo:u maintain your Wells Fargo .
         accounts.        ·       ·    ·           ··       ··                ·                     ·             ·       ·         · ·     · ·                  ··



  . •·.·Yes; we can ch.armethe Agr~errlEmt. by adtji[lg n~w tehns 9rcooditi_o~s, orby modifying              .;.;a .. •. ·
  · ··.deleting e~isting. ones: We refer to each adcJition, mo.dification, or deletion to the Agreement: . .•~11 :· ·...
                                                                                                                                                                          or: .·
         as a(lmodificatlor.i:'                         .                 .                     .
                                                                                                        . ...                                      ..        .            . . .            "" ::J.
                      .       .                .
  ••· . ·Notice ~fa m~difi~atior1: Ifwe are reqlJired to rrotify youof a·modification t6 the ..·.·. ... : . ·•
   .. Agreem_ent; we will .describe ~he ·modificatiorr1:1ndi~S effective date _by a message within your: ... ·. ::I tg .
                                                                                                                                                                                          l: ._· .• ·
                                                                                                                                                                                           3~

         ~ccount :statement pt any other approp.riate means. . •. ·. . . · . •.·. . . .             . . . •. · · · ·
    .. Wai~e·r· Of a term of the• Agree~ent: We itiay ~gre~Jn wri~lng to wai~e aterm of the.. . . . . . ·~ ·~•·· . . :
  ··· .Agi:eerneht;_ including a fee. This is called a "waiver:'We may revoke atry vvaiver·upon notice.       ·Q. 94 •
         to yoµ,        ..      .. ..              . ..            . ...     .     . . .      .                 :i ro
                                                                                                                                                                                          .2,3·.
    · Hdv1 <lo .yciti coosei,tto a modification:to the A9reeine11t?. •                                                                                                                     3'1
                                                                                                                                                                                         . bJVI .
         You~onsent to a~odlik~tioh to the Agreement if yducbntinuEi to :use y~·ur il~COUN after a . . . •
  .:... modification becomes effective ot a waiver is ri:ivoked; . .                                                          ..    .. .     .                        .    .. ..
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                                                                                                                                                                                           VI      . .            .
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   ..· What happens if~ :tero, of the Agreement is determined.to be iri~aiid? ·....                                                                                                        Ill   ::0· .
  . . .Ahyterm of the Ag"reement that ·is friconslstehtwith the ia~·s goverh.ing                                                           .your accoµhtwifl.                           .. "810·•      ..
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   . .· be .,onside red to be mod ifi~d-by Lis and applied hi a1:r1anner coris(ste.rJtwith .such laws. Any
  .·. · ten11 of the Agreement that acourt' of tompetentJuri!?dic:tion determines to be invalid wil i::                                                                                    if··
                                                                                                                                                                                         . C!'. a.
  .. .be modified ~,cc>i"~jngly: th eithercaselthe m9dific~tionWill not affect the. en:forceabiiity or                                                                                     (l) .
                                                                                                                                                                                         . VI.
       valici.ity of the reinairiing terrn:s of ~he Agreement     .             . .                . ..
   ..Who wiit we tomrnunica(¢ witJ,l about your acc~unti .
     .   -            .       .                     .   .             .                .   .                  '       '


  •.··..w_e may provide you or ari authodied signer with informattori about your account ·When we ..
  . . · receive information from an outh<>riied signer, we treat it as co·mrnutiication:from yQu;y~,u :.              a
    ...·:agree fo notify us promptly in writing if an atithorizeds(gnerno longer. tias authority ori your ..·
    ·. account~ . . . . .             .. . .                . . . . . . . .. . .                                                   . ..      .           . ..                   .
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                                 Agreen,ent
                                       .     '.
                                               between
                                               ..       . '
                                                             you and
                                                                   .  .
                                                                        WeH.s
                                                                       ''. .
                                                                                 F~rgo ..• •...
     ·_· •. lfyoli have a dis:put~, we hope to resolve it as quickly and easily as possible:First, discuss. · ·.
    .· ·.. ·.·your dispute with a banker.'lfyo'ur banker is uriableto resolve yo't:1r disj:>ute, you:agreethat.
               ·either Weirs ·Fargo or you can initiate arbitration as described in thksection~ · · ·... •: .. · ..
    : .. .· l)~(inition::Arblt~atio~ ni~ans a~ lrnp~rtial third par~y v-,iil hear the di~pute between.·: . . : ....• :
        . · · Wells Fargo c;IJl.d yo1,1  an~                       a
                                            proyide .decision. J3iodir,g arbitration means the decision of the·:.··. ·. :
                arbitrator ls final and •enforceable; A"dis.pute"Js any unresolved dlsagre~rnent between: •· .· : : .
              · Wells Fargo·c;1nd:you. A"dispt,Lte" rnay also include a disagreernettt aboutthls Arbitra.tion : .
              · Agreemei)t's.meanfng, applicati_ori, or enforcement; . .           . . .. . . . . .           . .
        . . Well~ Fargo and you :~a~h -~gre~s to ~al~e th~ right to a jury:trial or:a tri~I in'frorit' :..
         ·. ·. of a judge in·a publi<: couit.ThisArbitratio.r1-Ag:reemeht hcis onjy:one exception: Either·
                WeUs Fargo or ypu •m;ay stilt tak~ 13'riy ~isput:e:tc) small :claims cdur,: • . . .         ..
    :.. -... Arbitrationis.benenciarbecause it provide~ a lega.lly-bjndin_g de~ision _in a more streamlir:ted; .. · •: ·:
             . cost~effective mariner than a typical court.case. But; the benefitqf ar~itration ·1s ditriinished if .. ·.·
                :either Wells Fargo or you refuse to suhmit to'arbitratioh folloWing.a.l~wful demand.Thus,th.e·::
       . · · party that does not agree tcj.~1.,1bmit to arbitrat_loh after-a lawfu_l demqnd ·must pay.ail of the··
              · other party's c:osts and, expenses for <:ornpelling arbitratiori. ·          ..   .    .          .
         . t:,;111 either Wells Fargo or·you partkipat~ in c1ass or representative actiot1s?: .
        : . No, nejthe~ Well~ Far~o ri~r yo~ wHH,e e~titied to :Join 0~ co~solidatedi$pUte~ by or . . .
                                                                                qf       In
           again~t oth~rs as ii repa:esentati,t¢ ·or. l'flem~er a cia~s, to: act any arbi~ratiori in the. ..
         . il'lterf1!sts of the g,n~r~I public; or to ectas ·a .private ~~to.-ney_g~nerat.:: ·. · . . . . ..
                                                  a
       .•.. l(any provisitin relate~to d~_SS action, class arbitration; private attohiey gener,al a(:tioni .
           ·other repr~$er'lt~~ive ac;:tio~( joinder, orcon~olidati.ort is fo.t.i~d to be illegal or unen_f9rceable, ··
      . tbe  .
                entire.Arbitration
                .       .      ,
                                    Agreement
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                                                                            .. · · · . .          ..    .. . .. ...
        .. What~ules app!:y to arbitration? .· .
           Well~ Fargi:rand y~u each ?{greestha{ .-· :·-· > ·_: ... · : . ·. ·> .: .·. · : ·.. :_. : •. :_· ·..• •: . . : .
     .·. _·.; ·:. The American Arbitration AssQ~jatibh_(AAAfwiU administer ~ac·h arbitration ·and the ...
            .·_ .• selettion of arbitratots a_ccord_ing to the AAA;s Consu~er Arbitr~tlcin Ruies (AAA f{u ies). :..
            • .· If there are ~~y differences b~tw~en th!:? AAARul~s-~nd this A~b,t_ration Agreement, this .
                 ·. ArbiiratiQh Agreement applies. If this Arbitratio.n Agreement :is in dispuh,dhe ~r,bifrator ...
                   ·wi.lLdecide whether it is e11forc~abl~; ·.· :  . .. . .. . . . . . . . . . . . . . . .. . .. . . .
         . • · Welis Fargo .and you are par.tidpat1rig in commercial transa~tions involvihgthe .. · ·
               • rnov~inent of motiey e>r goods ar1long states. · • · . . ·:. · . · ·: . ·· ._ . ·· . . · • . .· · ... ·
             . Th~•Federal Arbitr~tion Act (Title Qof nii Urii.ted si~tes Code) go.vE!rnS thi·s Arbitration .
             . Agr~ernent and any arbitration b~~weenwe·u~ffargo and you. Ifthe Act.or any part of it._·
               . is iriappUcable, unenforceable or jhvalid, Hie state laws goverhihg your telationship ·with·..
              ·. Wefi:;: Fargo govern t,his :Arbitrc1tioh J.\gr.eemeht; ·.. :.·• . . .             ..                . .
      . .· EitherWells F~rgo or you trlay s~bmit a dispute to binding a~bitration at_ any time, regardless .
          .of whether alawsuit or other proceeding has previously begun, For information on initiating •. ·
           arbitra_tion; contact the AAA at 1~800~778-7879.. : . : .· . . · ·. : .... -. · . ..· .. · .. . · · ..




     3 · Conwrner Account Agr~e1~ent -' Effective Ap~il 24, 2(fl 7· ·
                               .· .·. ...
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     . Each arbitratot rilust l:,e a:fitehsed attorn~y with e~perti~e in the ,~~s applitable.t~ the ...
         dispute's•s~bje~t matter~ The arbitri:ltdr wm make a qedsiori regardln~fthe displ,ite based:· · .. :
      .·cm :apptka.ble law, indu9ing any statutes or Hmii:~tiqns~ The a·rQifratof may'award to:either · .
    ·· Wells fargo or ypu any: aw~rd or, relief provided for by _law. :. . .          . . .. .    . . ..
                                          an
      .· No persbn pardcipJ3ting ln arbitration tan·disdoseth~ arbitration's existence; ,content: .•.....
    :.. subJ~ct;
     .       .
                  or results;
                        .-
                              exc~pt
                               ..    .
                                      as .req1,1ired
                                            .     '
                                                     in aparty's
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                                                           .
                                                                 ordinary
                                                                     ..'
                                                                          course
                                                                            . .
                                                                            .    . business or by_law..·
                                                                                 of        '                .   .




         . Who pays :the arbitration fees anct:exp.e11ses? ...
    .. A"rbit~c3tion fees and expenses are expfaine~ here:. . :.: .: .. · .. •:. . .. · •. ·:.: .• :. : . :. ·.. .·:. : : •..· :
       •.. Setting the feE!S/~~penses: Th~ arbitr~ticm ad min istrafor d~termi.nes the rol~s ~nd •• :
           . procedures for.deciding Who pays the arbitration fees; uhl_ess lin,ited by applicable law:
          ·· PleasE!chec~ with the arbitration admlnistratorfo deterrnirie the fees.appUcahl¢ fo any
        · ~rbitration you fiie;.            .,     . .. . . . . . . .             ..           .             .. . >
       •· .Applying stat~ law:The 1:~ws gbvernjng youracfounfmay. limit the ~rnbuntof fee·s and
           . expens.es y<iu a"re _requfrett: tp pay in arbitration; Yciur arbitration fees and expen_ses Wlil ·. ·
             n:ot exceed ar,y applicable limits. . . .           .     .      . .           .               ..
      ·•· · Paying .forattQtney/exr,.ert/witness fee~: UnlE!s~ applic:apie laws st~te otherWi_se, eac!i · ·.
            par_ty wjll pay· its own attorney, :exp~it, an~twitness fees.This tuie.applies np rna~ter whidi ·.
             party win$ a~bifratiori>.          .          .       . .                . ..                               .       .
            ..   ".    '   . ..     .

         What other rights do Weft~ :Fargo or you hav~ vit,~n re$olvil1gdisputes?:: ..
   •·. Wells Far~io or you ~ach iah exerdse:any 1a·wful rights or use otherava1lable r~!lied(~is to· .. ··•:
                                                                                                                                             11) ..
                                                                                                                                             -..Vl·
                                                                                                                                     ..
                                                                                                                                             as
                                                                                                                                             "":t·f""t>·        .
        ·Pr~serve or obtain possessjon of property, :- •· ·. · . .                                                                    .      :,f'I)             ..
                                                                                                                                            .er.(])
                                                                                                                                             03 .
       • .· l:~etcise self•h~lp ~emed!es, lntludlng setoff riirlib,OI ·
                                                                                                                                             ::h.~-
    .. • . Obtain provlsionalotariclll~ry r~m·ec:i'i~·s such asfrijunctfve relief, atta~hmeilt, ...                              . .
                                                                                                                                     . . Q Iii>
                                                                                                                                             !:ttll         ...
           :garnishment,
             .. .   .·  . . . or appointment-
                                 .. . .  •,. .
                                               of a.reteive_r:by
                                                     .  - ·.
                                                                 a court
                                                                      .
                                                                         ofcomp.etent
                                                                         .       .    .jurisdiction;
                                                                                             .. ·  . ..
                                                                                                                                 . ·.o::::s.· ..
                                                                                .   .                 .
                                                                                                                                             ~o.
    .•.•Wheie         will·
                       an arbttration .b~ held( .
   ..·.Ao :arbitratfonw_illbe
            . .      .
                              held· in. the state ·whose laws govern"your
                             ....             .       '.           .   .
                                                                          account.:
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        .. ·What.i~~sgovern yori accounH •
    •·••.The l~v..;sg6~erning·yoUracc6untirictude· •
        ·• Laws; rules; and reg ulatioiis Qfthe United St~tes, ·and ..
          • .· Laws:
                   of the state where yqu:openeg your accoµnt (without regard .to ·conflict laws .
            principl_e~),       . .. . . . .         . . ..        . .. . .. .   . . .. . . . ...
                                                                                                                                                                                                     of
         . ·. ,fa differentstate law appiies, we_ Will notify you ..You(account statement ide_ntifies the st~te
              whosE:rlaws _gov~rn,your accoun~.                                                                    ·                 ··           ·       ·       ·           ·       ··       ··    ·    ··   ··
     ... Any funds tratisfer (including tt wire trar:i~ferj that is a'1r~mitta~i:e transfEir" as. defined 1n : ' .
   ·.·.: Regulation E;.subpar, B; Will.be ga.verned. by the laws of the U:nited Stat~s anc!, to the e~terit .:
        . :appli_c:able,the laws of the .state :of New York, including t\Jew York's version 9f Arti<;Je· 4Aofthe .
      . . Uniform. .c;omm~rdal. . Code;
                  '.            '    . .
                                          without regard
                                                    .  ..
                                                        ,
                                                          to its conflic;:.tof
                                                                          . .
                                                                               laws. p·r:inciples.
                                                                                               ..
                                                                                                   ...   .         ,                                  .                           '        ,




    .• :. Wh~t
           . .
               is .                 the cpntrolfing language pf QUI' rei~tibnship? :
                                        '                   .                                  "        . '                      .        .   '       .               . . '

        .:En·gitih is the controlling language ofour relationship with yo,.i itetn5 you write ;µch: ·_
   . :as ct:tecks or· l.ivithcfrawal siips in.ust be Vvritteri in English. F9:r your.·tonveniepce, may .. : .                                                                                       we
    . ·.. transfat_e some.forms, disclojures; ~nd advertisements into another ianguage. If there is a :•. ·
         :di~~repancy between e>ul'.English-language .and translateo rnateriais;the English version
    . prevails over the tr~rislation. . . . . . . . . .. . . . .                 . . ... . .. .    . .. .
                      ''    '               .                   . .           ..          "        '.




         ': W.hat ag·reernent applaes w_hen there is a separ.ate agreemeiit
                                    '                                  .
                                                                            f~r a service?_.·.'.                       ,             ,                        .       '



    . '' .· ifa ser_vic:e we ciffe( has~ separ.iite agreernent; ~rid there is aconflict betweenthe terms of .
        . the Agreement and th_e separate agreement; the.separate'agreementwill apply. .                 . '
         ·. \(\that courts niay be used t~ resolve adisp"'te?.:
            :Wells Farg() and you _each. agree that                                                                •~ny
                                                              lawsuits, clain,;; or other proCeeding:s arising from .. ·
           _· or relating to y9ur·acco\.int or th:e Agree.m~nt, in~luding: the enforcem_ent ofthe Arbitration_ .
        '' 'Agreerne'ritand the eritryof.judgmenton any arbitration award; will be venued exclusively.
            •in the state or• fed(;raf courts· in the state whose laws govem ·your account, without r~gard to •.
              conflict of laws principies. ·. .             .      .. . . .            . ..            . ..
          ''.'             ..               ,                         .   .        . .                                                                                                                              .   .,

          •How..will
              '   .
                     ·we .contact
                           ..     .             ,                             ,       ,
                                                                                              :you aboµt your account?
                                                                                                   .      '.        . '.   . .

         .· in .miler for ~s ~o serviceYou'r account <Sr <:ollectany amb~ntyou <>we; you agree that IN~ m~y .': .
  · ... :contact you by ph(?ne, tex¼ .email, or m.a.il. We are permitted)o use ·ariy addr~_ss, telephone: ...
  . . ... ·~wnber oreroail ,,1c;ldress }'01,l _pto\iide; You agree to provide i;!CCUrate an.d currenfcontact :
    ..· 'inforrn~tion and only_ give us phone nurnbers and emajl addresses that belong toyoi.i. '
          \Nhen you giveu_s a p:hone number, you are prpviding yqurexpress co'ns_entp~rmittihg us. ..
     · -· (iind•any pc1rty actin·g on b~halfof Wei ls Fargo) tq contact you.a·t the phone nam~er you·. ..
       . provide.We may call you a_nd send yoµ text messages, When we c:all you; yqu :agree .that ..
        .we may le~rve pr.erecorded or artificial voic;e me:ssages, You also agree that we may use·: . .
          au_tomatic telephone dialing systems ln• ccmnectiori With ~alls or text messages ·sehttq any
        ·telephone number you give us; even if the:telephcine number is mobile phon¢ nomber or·• .                                                                            a
          O!her,comrnunica.tidn service for which the called party is:chargecL ' ' ' . .              .




          .       .                     .                        .                .                            .

   5'    Consurtii:O\q:ount Atjreernent-                                                       EffecUv:e A1jril 24, 2017.'
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    · How    do we share a(co:ut1t stateroe:nts and other•notices with:yo~? :• ..                                                        ...s··
                                                                                                                                         ..+.
                                                                                                                                         0
 ...•. We Will mail, s~nd efectronically; or otherwise make available :to yoU an accol(rit state.merit.. . .·. ·. ·.· ~.
    ··:. refleding your accol,irit ~~thtity for each statement perio~; Weiil:do the same with notices.We •:·• Cl. •·
         WiU send aR acidunt ·statem:ents and notices to the postal or electron le acJdress as.sodated · ·
     ·•. with youracc6urit: . . . ·.                   . .    . . .. .                   ..
                                                                                                                      :g'
    . Conibined actount stai:eme.nts: To .reduce the riumber of separate accbunlstatements ...
     · yoifreceive each month, we may combine statements ifyou hav.e more than one deposit.·
       account..                                                                                                                 ···••··f[i•·····
                                                                                                                   . . :::r':::, ..
       · .•1fwe:p'rovide a combinec.l atc~untsiatement fo; ye>ur ac:cou11ts~ we con~itieiyouHirst · . .•·.g:g;.·.      Qi(Q .

       .. ·accourlt' as yciur: pri'mai-y a.cc:ount You will: reteive:y:ou•r account statement ~tthe .add.r~ss ... . ·..+                     V, .

     . . · listed for your ptimary·accourit; Statements for iiccounts in acombined stateme~hvill be· :. . ci)'.'O
       .. · :·deiivered accordfngto the ·d~livery preference ofthe primary a(:toimt .• •·. ·.. ·:. ··. ·..· .·• •. • crnr .···
                                                                                                                       - C: ..
                                                                                                                                       :::,. V,     .

       •. .· If you do not w~nt us to ~utorruitlcal ly c9mbi~e your account~( :yoU cah opt~out by .·.
            ·.visitin·g a banking location or calling the number ori your account statement,: .
. •. ·:. Actriunt ~tai~ments a11inotltes for:account~owned by rrio~e than CU'!E! p·~.rsom .... ·. ··.· .· ••.• ·.·. ·
   · :.:• When ari account has• more tlian·one •o~mer, we wiJ! sen~ or otherwise .make available .. •·· ··. · · •..
      . account •sfat~ments a.nd riqtitesto only one owner:TheOYmer recelvlng.thjs informatiori.is: .
        .respons]ble. for sharing copies of the informationwi~h other owners.We tnay:as ·a courtesy• ..
   . . provide:addition;:il copies :¢!ectrClnically; W,heri the account ~Wn~r recjues~s that we send .·.:
   ·. ·. notices to an autherized signer, the authoriz.ed sig,ner is teisp.<;>risible for providing copl,es to all : ·
   .·· accoi.lhtowners'. .        .          .     .          ..                      .     . . . .          . .

      .Wl,eh is youi: account statement available7 ·..
    ..·• Mailed :accouot stat.em~nts: Whe~ ¼fe.tnaU yourac.courit st:atement,:we con:sider itteceived. •
     . ".by: you
              . .
               .
                  o:n the
                      .
                          :second business
                                    ..   ·,
                                           day after·. mailing
                                                            .
                                                            "'
                                                               it.: .
                                                                  "
                                                                      .   ..   .           ..    . ..
   .... Electronic d~Hvery Qf account stat~ments:: Accour1tst,:1tements wi·II be maa.e a.v.ailable ·.       . .··
    .. · th rO:ugliWell~Fargo Onilnes Ba·nking 24 .:..,48 h6.ur~ c!fter. the e.nd: ofthe ~taternent period...
    .·. You will. be notified vfa email that the ac;tountstatemen.t is. available for viewing.We consider.
       · the account statement to be .received by you or.i' the notificatJon· date; ev.en if the. email       .
        ·notlfo:::atfon Is und¢1ivered. : · ·· · · · ·       ·       ·· ·· ·            ·· ·· ·          ·

     : What qhlig:atio1is do you. have ti> r~vieW accountstatemerits: a~d:l1~ti~es ijl1d ....
     . rmtify ~$ of E!rrors? .            .                    .                        ..
      You   ~re.   .                .


                  qbiig~ted t~:. • · · .        . .. .                     .. . .
       ~· : Examine your account statement promptly and carefully. . . • ......· . . . •. ..· ·. . . . . .
       • Notify (Is p;omptly o(aiiy errors. . .. ·.·· .. :•·.·.. ·.· .· . .          .·•. . . ·..·... .•. . . : .• . . .· .·. •. ·.
    .. • Notify us witMn 30 daytafter: we have made.your acco.unt statem~nf av,3Hal:>le to you of ...
          . any unauthorized transaction onytiur.accioi.tnt Note; If the same p¢rson has.made.two.·
            .or: more i.mauthorizeo. transactions an(.f .y~u.fail to. no.tify us of the first one· with in this 30 · · .
           .wrongdoer. . . .
                                        be
          · day period; wewill rjot responsibteJor unauthorized transactiqns mad~ by tb~·same .· ..
                                             . .. .                       .     .     . ...           .                     .
         • Notify us ~ithin6 month~•after we have mad~ your ai:coun~ statetnentavalfable you if:                   to
      . ·.. : you identify any unaµthoriied, n,,issing or altered en~orsements on your items..             ..
   .•.:. Electronic .fli~d transfer~ <!re subJect~o cfifferent time periods,: as described jn the ,;Electronk ..
      · fund.transfer services" part ofthis booklet. Comrno.n examples t>f electronic fun~ transfers
     ·. are ATM;debitc:ard, ancfOnline Bill Pay.transactions. .             .          .                 .
                                                                                                                                  6.
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            whenJs a trans~cti<>n LH1~uthorb:ed?- ••...
        .. Atran~atti<>rl is an uunaUthor.ized: tra·nsacticin'' when it is :    ... . . ... . .. . . . . . .. . . .
            •· · Miss,lng a required signatt,1re or other evidence ·shoWingyou have authoriie9it; or.··
                                                                                        ls
           .•... Alter:ed (for exampl~;'the ~mo~nt of a checkprthe payee's.name charig~d)~· .. :· .·
          .·Yoi.u::an n6Jify us bf errors on your:a.ccount sta.tements l:;,y pro~ptiy .                  .
          .• ~ .. C~lljrig the te.lephorie nµriiber Ust~d onyouractount statem~rttor in a· notice, or.·.. • ..
             ~ .•• :Submitting a_writte~ report (if;i_n~trl!cted by us) •~s s~on as possible, but in ahy event ...
                ·. within the specified tlm~ frames:.:·. .         . . . .. . . . . .                      . . ..
                               .   '..                 '   .



          . . What happens if you faifto ncti.fy U$ of a!1Unauthorizedtrarjsactitm w.ithhi                       ••. ·
       ··• thetime frar'IJes-~pecified above? . ·          · ··    ·        ·    ·
         ..·Ifyou fail to notify .us of any unauthorized tran~~dion; E?rror, or clalmfor a creditor refund::.·
            Viii.thin the tirrie:fr~·mes specified.apove;your account s~t~inent will be corisldere·d correct. ...
            W.e.wiJlnotbe responsiJ?le for.any 1,1nauthorizedtransaction, error, or clc!imfor trans~cdons . ·
        . . inc;luded i_n thJs sti:lte·rn.ent. <. . . .. . . . .. . . . . . . . .. . . .. . ... . . . . . .. . ..

          .·What happ~ras \Aihen: ycnireport an un:~utflorized tr~nsa.·ctiQn? :.·
            We investigate ~ny reports pfun~uth<>rized activity cin){our accoorit.: After yo~ submit a
          <daim, we may{equire you to:· . . .               . .        .     . .. ·•               .
           . • :. Complet~ the cl~irn form we prnvid~,
                    Notify' law:ehfor<:em·e~t; .
           . • . Complete and return anydo<:Unierits we req~est, ahd ...
            .• · .· Coqperat~ fully with us in. our investigation....
          . .We can reverse·any. credit mad~ to youracco1.1nt resulting from a claim of unauthorized.. . ..
             transaction if you do riot cooperate fully with us in our investigation :or: recovery.efforts; or ..
           :we      determine the transactlbn was authqriied. For specific information on.unau,hotized · · ·
         . · electroni( fund t(ansf~rs, s~e th~ "Liabjlity for transatti_ons ~overed by·m~guiation E"sectioh.
             in the"Electr.onidi.md transfer s~rvlces"paxt ofthEf Agreen)E!nt ·. . .. ... .. . .
         .·_.· Whatha ppensjf
             · undeliv~i'.~blei·
                                    your :account
                                             . ..
                                                  st~temenis or noti~es are :reiurned of~re. ·:
                                                        . ..   .. .           .. .        .
          . •Your
              .  .
                    account
                          .    statements
                                   . .    .
                                            or.notices
                                            .   . .
                                                         willb~corisidered unciaimed
                                                               .   . .        ..   .  or. U-rideliverable
                                                                                        .          . .      if .
             • .. TWo or more atc:ount statern:ents or notices are ·returned to ~s th r9ug h the m~il b~caus~
            · . 9f ari inccfrrect address; or • .             · : .· · · . . :.· .     · · •. ·       :.·. . .: ·
             •.. w~ ~otify yoµ electr~•nically th~t your aq:ount staternent i~ ava (lablefor yiewing at .•
                . Vil.ells Fargo On Ihie .Banking; a.nd we· rece1Veemail' notifkations· that our message is
                  undeliverable.            .       . ..      .    . ... · ·               .       . .. .
          .. In either event, we may .
         : .· :· •.. :Di_st0ntinuiseriding acc~urit staterrients and .notices, ancl .... . . .. .
              • •. pestroy account statements and notic~s returned to us as u.ndeliv.erable.
            : We wHi nof ~tteinpttodeliv~r accou·ritstaterhents arid notjc~s to you until you previde us ... :•
            . ~ith a v~licj postal or electro.nkaddress.         . . . .• .            . ..       , . . .. . .



       7 . O:insumer Account Agr~ement - Effe~tlve, ApriJ 24, 20J7:
            Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 86 of 143 PageID: 415
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            ·. Mow.can you or\Alells fargo.~hange_your address f<>ryouraccount?
                        .                           .   .    .   .     . ' ...
                                                                             .              .      .

           ·_· ·Add,ress change requests you make:You cah cha:nge your pOst~(oremall:a~dress by::_ ..·.: .. ·,.,
                notifying .u·s in wl'itin_g or <:ailing us at thenumb1:r on yquraccount.staternent at any tim~; If·.. : ·
             • you have acomhin_ed accoLintstaten,ent, any qwner of the first accOunt (pr[mary ~<:count)
            .. can chant;ie the address of all accounts ln:dud~d in th·e combi~ed account statement;:We·
              :will ad-on yQlir request within a_rei;lscim,ble time:after we receive it. Unle~s·yolJ instruct :· .
           . .· other.wise, may chang~ the postalor electronic address only forthe account(s) you · :.· .·.·•·. :f$1
                            we                                                                                               a-VI
           . · specify orfqr al! 0~ sor:ne of your other accountfsfwith us; . . · ·. . . ., . . ..     . ..               . c;O.
                                                                                                                            ID<.                 .·
            . Address changes we aj,ake: When liecessa~y,v~e may i.rpdatey'our listed addr~ss withouta .. •:-OJ.IQ,     ::rs· .
               retjuestfrom Youifwe receive                   ... .                                  . ..               a,.o.; . ,
                                                                                                                    ·. ,;::; v;· ,
               • An address change nbtice from the                   u.s:
                                                               Postal S~rvic~       cir : . . . . , .. . ,... , . .. @-0
                                                                                                                   ·, e.S
                                                                                                                        0.1'1)
                                                                                                                                   . ·
                                                                                                                                   ..
             . , , :inforrn~tion from:ai1other pclrty io the busin~ss o(prov.iding correct address detaiis mat •.       :::p.11 ..
                    does not ruakh ·your .account's· listed _address.. ·      . .. .        . .       .
            .• When are llOtic~s you send ·to us e~ed.iv.e? :.. ,
               Any n'otice
               on:it. , ,. frc,m
                            .    yov        .. . . . .6nce We receive
                                 . '1i. ,~ffective               . , ,it ~nd h,IVe a, (easoriable
                                                                                        . . . , ·opp()rtunity to. act .•: ..



           •.• ·Nci: We do nolr~turn orig Ina I pai~ checks with 'yovracc9unt statements. Copies your ·.. :•.  of
             ·• paid checks ·are available through Wells Fargo Online 8an king; banking locations, by cal ling.· . .
             . wens Fargo:Phohl.':! Bank~Mi. or.by er'tfolllrig In o't1rcheck images. with statements service: Fees· .. · .
               may apply tor this service; > . . . . . . . . . . . . . . . . . . . . . . . .
            . When tJo~s n~yiccountbecome·.dormant?: . •·
        . : . ·. Ch~c:king acco~hts, $8Vi~gs       acc:ounts~ and thn~ Ac,;ounts {Cl)sf .. •....·: •· .i ..· ·.·.   .:   .. ·.··   .· · .
             . Generally, your atcoµnl pecomes dormant If you do not :initiate ~ri accour:it~related activity.
           ·. .for 12 months for achecking accoi.mt,':34 months fora. savings account, or 34 months after :
            ...,the flrstrenewai fqt a:Ti~e A~countAn:a,~6U,nt-,reiated ~~tiVityls determined by th~ Jaws ..
            ..· governing your account Examples.of a~c:ount.:.related activity ar:e depositing qr Withdrawing ··
              . funds at ~r bariking lacatkm qr AJM, or writing a check which is pajd fro!J1 the: account..· . . ..
                 /'.\ufornatic transact ions (ind I.Id ing recu (ring and one~ti me), such as. pre-'aiJt hotized transfers/ : .
.l .
                 pa'yments and electronic ~eposits (lnduding. dfrect deposits of yout paycheck),. set .t.ip-ori' the .· .
           . account r:nay not preventlhe acco'unt from be~oniing:dorma:nh ..·•. · : ·.· . · . · .. :.·                 ..
            _.· l~divi:du~I Retlrem~ot A.~c6unts O~As)-~nd Educatiori s.a~ings Acc:ourits (ESAs) ... .
              · Genera'uy, your IRA: and ESI\ (Savi rig~ or Time Ac;coun,tJ will l:>ecome dormirit ifyou do nof:
                 initiate an atcount".r~latl.':!d activity as follows: · .          . .      .          . . . . . ..
                • .• TraditionaflRA.becoml.':!~ dormant ifyo~do not initJate an acciount"'.relatedadivity for 34 ·.:
                  . months or more after you reach the ageof70 ½ ·.. · • . ·.. ·... · · ·. ·.: . ·. _· ·.. ·•            .
               · • : 'ROTH IRA wi.11 not be~orne dornJantunless vve receive notification ofyour (feath •.
                 • , ESA becorn~s doJmant~f~er.yciur~ach age 30               , .        .               . ..
           . , An •account)elated ~ctivjtythat you Initiate is determined by the laws governir,g your, •. ·, .
              accoi:lnt · · · ·                ·            ··       ·                  ·       · ···      ·




                                                                                                                                            8.
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                                                      ·.    _:
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          .What b~ ppens to a dormant accou.nti::                                      ..
        ..·foHowing
           w~ pu_ts~fegu~rc!S in place:to prCJtectidormant accou_nt which: rnay include r~stricting th~ ·.
                     (which may vary pased on your accounttype): .                . . .            . ..
                        .   .. .   .        .   .       .   '       .          .       . .    .

              •:... Transfers betweeiiyoµr Wells ~argo :accounts• u_sing your ATM/debit card ' •
              • 'rran~(er.s by phone using                  our
                                                      autorti~ted :ban•kiog service         . : .· .·. . : . . . . . .
         '.. .; .·. Transfe~s·ot paymentsthrough oriiin~, mobil~; and te~t ban.king (ind~dlhg _Bill-P~y) '• ...
         · ·.-~ ·.· Wir~. transfers Cinc:omlng ancj qutgoing) .
              • · . c6nfriQutions
                    .             .
                                    or tr~nsfers to IRA or i:sk~av.ing_s thro.ugh
                                       ".           "           '          .
                                                                        . '.      .'
                                                                                    onlirie.and
                                                                                         . .   .
                                                                                                   rt16bii~ banking
                                                                                                       '   ,   ..  '.
                                                                                                                      · · ·.
        . . ·Normal hlt;>.hthly service and other fees continue to apply (except where prohibited by law). ·.'
                                            a                                                the
              tf you do not initiate naccouht~related act_lvity on a,count-wiiniri the time :p~ri;d ;JS .··. .
        · specified by"sta.te law; your account funds may be transferred to the appropriate st~te.This .· .··
           .·transferis known as "escheat."Youraccount wiHl:)e dosed:To.recover yQur accountfunds, yoy ·
              rnustfile a. dairrnivith the state.            ..             . .                               .           .
          . .·,t tt,e:do~marit account ii aprimaryWells Far~ioPortfolio CheckiR!l~CCOunt orVVells Fargo Prime
      .·.: :Checking acc<;>unt, about ~:months before'the acc;ouht ~sclieats, we will dose any as~dated . :.
          .· :program iridudirig_ Portfolio by Wells Fargo0 ; Portfolio by Well.s: Fargo PlusiM, or portfolio by . : .. . ..
          .' Wells" Fargo P(~miersM; When thEf Portfolio by Wells F~rgo; Portfolio by Wells Fargo Plus; or F>ortfulio ...
             :by W~lls Fargo Premier ptogran, is closecl;any benefits su<:h as fee wafver.s :anµ:qiscoiJnted ··. ·. · :.: : .
           . :services associated with i_t w_ill be discontiriued, Your primary WEil Is Fargo :pqrtfolio Ch~cking. : . . . .
            . account is _the firstaccpul'\t listed in yo~r monthly statementi:-o. teinstc1te your pr~gram benefits;
              the primary.checkingaccount must be :in an active status arid you must contact us to reestablish .
              the plogran'i. lfother linked accQUhts become dormarit,the accou_nts wUi bte rerri"oved from any ·..
            ' asso~iated·pro_gram•and fees may apply.. . ' . . I .              .    .                      .     .



       . . wi1at,ue d1~cking subaccounts? •:
          ' for eac.h i;:hecking accour)t you maintain with us; We may esfabU:sh on your behaih master'·:
         · account and two ·subaccounts; . .        .. . . · . . .         . . . . . . . ·.    ·    . .
         · All information .that is m~de ~vailable toyciiJ about your a~cou11twill be at the mastet         ..
           :a·ccoi.Jnt level .• Ttie subaccounts are composed ofa savings accouht~iid a <;:hecking account .
     ..·. On th~ Rrst tJay ofeach :m6nth; WE! will aHo~ate fundsb~tween th~ h~o ;ubacco~ht~ as ·•
          :approprjate; {tems reie_ived by us that a're dr~wo against your master accourifwill be ..
          :presented for. payment agairistthe checking subaccount. Fu rids will be transferred from: .
         ·. th~ s~vi.n9s subaccount as roay be needed tq cover cliec:kqiresented :~n the cljecking. ..· : .
          ·suba·ccount; On tne ~ixtli tran:sfer fromJhe· savings sub9CCOUl1t during :a .statement Periocl; .
          :all of the fundfon deposit in the savings subacco.urit will be transfer'red to the che<:king ·
        ·. stibactount if your account earns interest, the-use of subacco.i.in.ts wn•1not affectth:e :interest
          .you earn. '·.·.




   ·..·.>··•···········•··........... •·•·• \                   ••.. ·.·<···. ·
   : 9 .· Consunier Aq:ount Agr<?ement ·• Effoctive Apr024, 2017 .
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                                                                        l
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 ... : ·. What r~sponsibilities ~t,ci_liabilities do)N~lls Fargo.and.you have to each                                 · ...
       • 9ther?:·
     ..··. W~ are responsibi~for exeni:ishig 1'ordlnary ca[e". and corn plying .with:tlie·Agreement. When.
          we take:an.itein fpr processinff by autorriated means; "ordinary care" does n_ot requite usto
    . .examine the ititm, In· all ott,er cases/ordinary care" requires orily th:at we follow standards ...
     :.·. thai do not vary un:reasoriablY from.the.gene·ral standards.followed by slniiiatly sitLlated .. ·
          bariki :· .              .. .             . . .. ..        . .. ..           . .. ..
                                                                                                                                        . g.:,;; ...
                                                                                              to
     •.•. Except to the exi:eiitwe fail to e~ercise ''ordinary ~are" or rnmply w,ith the Agreem~rit, •..•... . . . Olil
                                                                                                            . . C: Q.
                                                                                                                      -,·m ..

     . ·. yoµagree to lndemnify and hold us harmless .from all~lairns, d~11tands, lo~ses!li~bilities~.       ..      \0 <.
          judgments; and expenses . (including att<;miey's fees and expenses)· arising out of or in 13ny ·      ·•    ::rs• ..
                                                                                                                    . CJIO .
        . 'Nay connected Vvith our performante.1;mder the Agreement. You agree..thls indemnification .·.~~·:·:.    . ·cf.o:.
         will survive terminaticmofthe Agreement,              .          . ..      .    . .          .          . ·~c: .
                                                                                     to
       ..in ~o·event wili either Wells i=a~go or you be li~ble the otherfot any ~p~cial, c6ns~queritial, · : .:::,.111·
                                                                                                                      ,rnr.. .·•
          in.direct or punitive damages.The limit~tioti(;foes not apply where the laws g9yerriing yol.ir. :•.
         •~d:ounf prohibit it. . . . .. . . .                  .. .               .           . .. ..            . _;3
                                                                                                                                       . : :::,"C.
         ·.··.We will no(h~ve ~tiy liabillty to you if your:account has 1100:..suffident available fun:ds to pay                  . .. ·~o
                                                                                                                                       0-,
                                                                                                                                       ' , ,-,· f"'T'
        .·.: . youriedls dli~ to actions. w~ have takenin aicordani:e with 'the Agreement .•.. . .                    .           . . 3 QI
                                                                                                                                      ··.•.·~;:?: •··
 .·. · ... tircumst;foces bey~nd your coritrol or ours rnay a~ise and•make it impossible ior us· to ·...                                    o:.m··
     .. :•. _·provide se.rvkes to• yo~ or for you to .p.erform your dufies under th~ Agre¢riient. If thrs •.•                               :)If) ..
                                                                                                                                               .·e!..
         .
          • . IJapp~ns;
                  . .
                        :fieither Wells
                          ''    . ' .
                                        Fargo nor you
                                              .    .. · will be. in breach
                                                      '            .,   .
                                                                           ofthe Agreement.··.·
                                                                         .....
                                                                             ,·    .        .. .
                                                                                                ..· • :• .... ••. •..
                                                                                                   '       '      '


        .. ·. Jf we ~aive a ri9ht with .respect to your accountoo one or more oc;tasions,:it doesnot.mea.ri
          .. ··Weare obligated to. waiVe
             .   ,        ,""    ,,     . .       .       .   ,.
                                                                   on
                                           the same right .any other occasion. ..· . .
                                                                        .,       .    ,   .   ''
                                                                                                 .. .. ,
                                                                                                                                  .
     .. \Ntl(}t ar~ w~ allowedto do ifUumi is ;jl) adverse daim againsfyour. ac:c:ount?: •.
     • Ari ;,advers~ daim;, o~cuts when                :. . .. •. .. .. . . .. . . ...
       ·~• ·.: )\~y p~rs6~ ~r ~ntity rri~kes a claim againstyo~r accour:lt f~nds, :·
       .• :We ~elieve a coriflict exists between 9r.anjong your account's ownei{ or .. . . . . . .
      · • ·•W~ beiieve ~ dispute e~ists over who h~s accountownership orauthorityto Withdraw : ..
    .:. . . funds from Your ac;count. .           :•.. . :. . . : . . . .• .. . .. .. : ...· : : .. .. . ·.. · . : : ...... .
     . . yo1J:
     ..  ,:n thes~:
                 . sttuaiidns,we
                       . . . may ·.. take  any·· of the
                                       .· ...         ·.. following
                                                            . . .·· actions
                                                                       .. .withoutciriy
                                                                            .· .. ··         . .· . .. to
                                                                                      .. respo:n:sibility ...                 :
                                to
          • .. C1:mtir]Ue Jely on th~ :signature card(s)for your_~cco~nt. .                             ..
         ·• ·. Hon.or the daim against your account funds if we are satisfi~d the dahrf is valid;·. ·
        · • . Fre.eze air or a pa~t qf the funds in youraccou~funtil we beli~vedhe dispute is resolved to·•
               our satisfaction. ·. . •. . . . :. ..· ·.. . .•. . . . : . . .• . .·.· ; . ·... .• . . .         . •.... .. .
          , .. Clos~ your.acc;ti~nt and send a· checkf6r the available.balanee irl yout account payable to
             • you or. tp· you and each person• o/entifrwhq claimed the flincis. . .                .      .. .. .. .
          • . Pay the funds fnto an· appropriate court .
     . : We aiso :may c:harge any acc_ount you maintain with. us fo,r our fees a,hd ~xpenses in taking .
    · .. these adicms
      . ·'           "' .
                            (including.
                                         attorney'sfees
                                  .. . . . .   .      ..
                                                      .   .
                                                            and'.
                                                                  ~xpenses).
                                                                    .
                                                                             .. . . .
                                                                             '
                                                                                                        ..
    ... Are we allowed tf> r~strkfacc~ss your acce>uott       to
        Yes; if.we suspect ~ny suspicious, unauthorized, orurila1Nful activities, we tari restrict acce~s .
      · to youf account ancl other c1c~ounts with us that ypu maihtajri or c;oritrol. . . . .                         .


                                                                                                                                      10
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       ' '' I-low do we handle legal process? ': : .
             'Legal prClces~:includes any i.evy: garni~hnient or attachm¢nt, t~x leyy bi Withh9idin9 6rcier;
              lhjun~tion, restr.aining order, sub:poena/ search ·IJl,/afrant, government ag~ncy recjuesffur.:
              ihformati0.n;
                .   .         .forfeiture ors~izure;
                             .. .              .    .
                                                          arid. other. legal
                                                            '.          . .
                                                                          '
                                                                              process. . relati"ng tp ypur
                                                                                   '                   . . .·ai;:co.unt. .:
              We will accept" and acton ariy legal process we believe to be\iali~; wh~ther the processjs ' ''
           · served
                  .   .
                        in person;.by
                        '     .. . ·.
                                        mail,
                                           . . l;ly .elettronit
                                                      ..   .
                                                                  notifkation;
                                                                      -     .  .
                                                                                 or_ atanybal'.lking
                                                                                                .   . .locatipn.
                                                                                                              .
                                                                                                                     .      .
              lfwe iiicur any fees 6,r expenses (lnduding_attor'riey's '.fees a~d :expenses) due to responQihg : .
   . . ·. ·.· fo legaf process:related to your ,1tcount, we may tharge these tqsts. to any account you :: .
             'mai•ntain With us. '            '              '     '. .                   ' .'                ' '.'

           :. l>.r~ fransadioi,ssubject to verift~ation byth~ Bank? . •·. ·..
              Yes: All transactions are 'subject to the Bank's verifttatjon.-This ln:cJudes.cash, ite,ris, or •.
           . other funds offered tor:deposit for.which we ~ave provided arecefpt We do riot verify .all
   '       .. transc3ctior1s. . '     ' ' ' ' '' '        . '' , '           ' .' . .        ' .. ' ' '

  .
           .·.' _dE~posh:
                Who i~ resp9t1iible
                          is a·c::~uratelto make
                                              ' sure '. ' .. ' . ' amotint
                                                 . ihe:d'edared                        '' ' , . 'for. '.:
                                                                            ' ' ' '' 'otfeted
                                                                    . ' '' offunfils
       .      ltis\1our re$pbnSibility, arid tfie   :eank has no obligation, to niake sure the declared amq~nts .·          .
           .·. on your depositrecetpt are correct. If we determine adisc~epan<;y:exists: beiwee11 the · . ::. ·. ·
               dedared arid the actual aniciunt of the funds, w¢ are permitted to adjust (debit oi credit) -· · ·
       . ye>U(account, arid_ we\viil notify y~u if~riy adjustments are m:ad~.w~ ire al$6 permittea: .
 · • ·.·. to use the d~dared_ amount as the correct amoi.fr1t to: be deposite~ and to not-adJusta. ·.. •· · · ·
    '' .·:' discrepancy.if it .i~ less than our standard.adjustmentamo.i.Jnt.We are 'perrnitt~d to vary our •'' '
           . $tandard adjustr:nenf amount froni time to time without noti<:f! to Yiiu and to'i.1se different '
            amounts depenc,ling on acii;:ount_type, . . . . .       . . . . . . . . . .. . . . . .. . .
   .. :·. :If you rto:tlfy us ofan error in the amount ofa :~eposit shown ·on your.account statement.
           within one year of th~ dat~·we m_ail or oth~rwise make the :acco1int stater:rientavailable to ·
                                                                               w~
               you, We IAlitl revj~w th:e deposit arid make ariy adJustment deterrni_ne ·1s ~ppropriat~; · ·
              :If youJalt to notify us di.Jting thii time frame, .the deposit amount on y6~r statem~nt will _
            .· be considete~· correct.This: means that if the actuatainount is less than the amount onthe •..
               statement, the diffe.r¢nce Will become your.property; Ifthe ac::tual amount is more than the .
             . a.mount shown on the stateinent,the difference will become t_he·Ba11k's,j:>roperfy. .         .
       ' . Are we ~flowed to conv~rt vOur accotirit Witht>utyour req~est? •. :
  .· '·. '''\'es; we ~ari convert you:r account to another type of deposit acc~unt (by giving You any '
               required notice) if · · : ·• < • . • • • : : . ... · • : • · : · · :: · ·.· ·· < · ·
             . • ··. You use it_ inappropriately or fail tp· meetor rnarrit_aiti the account's requireme~ts; or ·
               •. •We d~t~tmin~ an ?IC:Count is inappropriate for You bas~d on y6Ur tise; cir . . . .
             :•. ·We si~:p qff~ring th~ typeOt ~cco~nfyriu have: . .. .. . .                       .
           ... ·Whe1~tan you doseYour acccmnt? .·
              You ·can dose y6ur accbu,nt at any time if the c!CCO~nt is in :goqd :standing (e.g,, does riot .
            . account).
              have: a· negative' 'balance or any .restrictions SlJ~h as l_egal order holds or court blocks ori the
                                      '            '     ' ''        . '.        . .        . ' '         .




  . 11 . Q:,nsurner. Account Agreement..: Effoctive A1>ril i4. 20l7
                               .
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                                                 .                       .



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                request- to do~~ yoµr acc:ount,• we2 nuiy allow y(.)u to ke·ep fµnds in your •
       :•.·gt you
          ~cco1.mtto (QVeY outstandirig items to be paidO .                 .. . .        ..
          • lfw~ do allow you to keep fun~s in ypur:ac:~olint:                  . . . . . .. . . . . . .. . . . .
                   . :... For interest-:earning a1,;counts, it stops earning .interestfrom-tl:ie date.yoµ req1,Jest
                . .· dose your a~e:ount> ..                  . . . .. . . . ..·             ..     . . ... . . . .·.
                                                                                                                          to ·.
             · · · .:.overdraft Protection andior Debit Card Over&aft Service ·wiil be removed on:the date
       .•. ·• : .·.. ·yourequest to· tlose·youra~coont.. · . ...               ..        .. .. . .      .. .. . .
           . .. : .:.The Agre~me_rit tontiriueS to apply. •. . . . .               .. . . . . .       ..          ..   .         S:f.
                                                                                                                                 a Ill .
                                                  to
                          Al(outstahdin•g items need post and the aq:ourit's bal~nce needs to be brougt:it.fo ...
              7

                         . zero\ivithjn 3(.) day~ from the d~te qfyour requ~st tQ dose~ Aftei'3d clays, unless your ·. ·.. ··.
                           account has 1;1• negative balance; your account: Will ~¢: closed. :· ·· .       ·· .. .             : 9:l.lO . .
                                                                                                                                           .··~i,•.·•···
                                                                                                                                 Cr'C.:    .
             •·.. ·We ~ii'I ·not be liable for any}oss or•ctamag~ that may result from not hdnorjngitemsthat                     i:f-ovi':
                    are presentecl or r~ceive.d aft~r:your accoifr1i is dosed. . . . . .. . .. . . . . . .
                                                                                                                                 QI     .
                                                                                                                     .
                                                                                                                                      ··.·.•ti.·•
                                                                                                                                             .::;,. Ill .




       ·.. ·we res~rve the rightto do~e your accqlint ·atany thi1e; If                  we ~lose your acco.u,nt, :we may send
. . ... the remaining _ba.la11ce on depositinypur·accountby traditional. rriail or credit it to: anethEfr. •
 ..      :accc:iunt you maintain with us~ .            ..       .       ..     .        .   ..    . . . .            ..           .

          Ar~ we i'illovited to termh1ate or suspend aservice• related to your a(c6uni? ·
      .. Yes, we c~~ terrnin@te :or su~pend specifi:c ~ervices (e.g.~ Wjre transfers) related to you~ ...... . . -                     .                      .

       ·.· ..account without c_losfng your account and:Witho.utpt'iornotice to yo.u.; You. can distontinue ..·. . . =:l'D !:a·
                                                                                                                           ...

        · •u·siiig aservke at ijhy time...· :· · ·  · ··      ·       ·          ·     ·· · ·      ·        ·     ··00.1·
                                                                                                                                              ;rt3.·. ,· .
        .. Ate wr;·auo.weclto o'btalncredif rep()rtsofothe( 'reports abo~t:you? ..                                     ·g;·~ ...
                                                                                                                                           •· 0

                                                                                                                        .n·r+·
       :•.• Yes, we ~a:n obtain a ti-editor btherrepor.t about you and your ,o~owrie~sto h~lp us :... : .               QJ. VI:.
                                                                                                                        r+                          QJ       ..

       .. determine whether to opeR or rhaihtain an ac~'ciunt. Other reports we cari obtain include·: · . ·:,o:.·       C:5':, ..
            lr1formatlori from the following: i) m<;>tor vehicle departments, 2) other .state agencies; or3l . . . ·.·.Ill ...
          public rec<:)rds; ·       .     ..   . .          .       .    . .       ..            . ..            .   .

        .Whe1~ dnwe.sha,;einform~tion.about:y0ur acco:uotw,th•othe.ri? •··
      .. Gen,erally,:ifvve do not liaveyourconsent,:~~•will hot share information about youraccd~nt;                                  ·
      :• Hmvever, we:rnay sh~re inforniation apoUt youraccqunfin accordance                             with
                                                                                           our Privacy ..· •
         Poli(:y separat~ly gi_ven to yoi.t •.· .· · •. · . :° •.··.·. •· ::·. .· •• · . >  :• · . ·:: .... ·. ·
       .·. i\r~ ~~,~·au owed ~o motlitor and record communi~ations? ..
       · · Yes,we can mo'rJltor, record; and retain youtcommunicati.onswith u_s ~t any .tfme without .
         . further .notice to a·nyone, unless the Jaws governing .yo½'raccount reqt.iirefL1rther liotic;:e..·
       .. : Monitored and_ re'corded c:ommllnic;ations inciude:
         •.• :Telepho.ne conversatiof")s; .
         •·· . Elec~ronkm.essages, ..
         • >Electronic records,      or                                                                                                    . er
         • ()~her data transmissions;:                                                                                                     . Q)

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                                                                                                                                             l'D   .
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                                                                                                                                            · Ill
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       . lsyo_ur•wire.le~s operatqr authorized to provid~ infor.mati~nt9assistin ·. ·: .
         .verifying your: ide.n~ity?                       ·                             · ··   ·       ·       ··     ·     ··
    . ·.. Yes; and as a part of youractount relationship, we inay rely on this inforr:natio·n to assist !n : .
         veri.fyi.hg your :identity. · . ..           ..       .       ... .        ..          .   .       .        .. ..        .. .   .
   . . .·. You ~ufhorize ·your wireles.s. operator (AT&T, Sprint;T-Mobile, US Cellular, Verizon; .or any other ·.
    . . · ·. branded wfr~less qperator) to ·use you:r mobile number, ha,ine, add res$,· ~rnail, netwo~k sta~us;
      . .. custorn¢r     typ'=,
                              cus·tom.er role, billi~g type, mobile devic€;Jdeintifiers (IMSI ahct IMEI) arid .....
           · other ~ubscriber status d.etails, if ~V~ilable, solely to allol!V verification of your identity and to
            'c:or:npare infoiimitiori y()U have provided to Wells F,ugo with)illUr 1A1ireless oper.ator•account. ·...
             profile information fortheduratie>n of the. busin·ess relationship;.           ·          ·     ·· ·
    '·. ·. You m:~Y opt OU~ ofthi~ infe>rmation sharing by contacting yourvvireless oper~tor directly.•. ·. .
     .•:. iHe yciu respoi,isible fotpaying s~les taK7
        '·..Y~s, fe~s may be subject to state and local taxes, 'which v~ry PY lo~a~lon, ~hd Will be ~dded to •. · •..
     ·· · •. .the. ~mount assessed
              .                 ..'
                                   as appropriate.. : . . .
                                      ,       '   .    .
                                                             .          .      .                 . . . . ..




                     .                .   .                        .   ..

    13 · Co;.;sum¢ir Acco~nt Agreem~rit - Eff¢rtive April 24, 2017             ..
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         Ar~ ther~ ai1yre~t1·ktions0n our accepting •~~posits to· your account?.                                                        ·
      . • We may accept ad~pos1tt6 yqura~cp~ntat
                                                                                 to
                                                                                          a~y
                                                                  :time cmd from. ~ny .pers6n.Wher, w~ carin.ot ...
       ..·. verify.an endorsement, W€(can refuse pay, c:ash, i;lCCept for deposit, or col)ect the:ite;n ...·.• . .. . g_ .
                                                                                                                                                                 a: ::
       ..· Also, we may requi.re all endqrsers .be present. We rnay: requite you to 9ep9sit ~n item instead •·. . . a:•:
        .. of pe~mitting You to cash it Checks drawn 0~ a 'credit a~count:or:made QUt pi;tyee? not ... :.. 8'.                 to
           ·on the accounfrnay not be ac;:cepted or may be sent for c:bllectiori,:We ·reser:vethe right to .•
      .·: .refuse for depo~it ·or to. require to be sent for collection ali (tern drawn on acredit account ... .. ,+ ::c·. .                                         .

        . .or t_o a p~yee not orithe ~cc:0tint fora deposit made to your accoi;ilit, we may. reqi;iire·ari. · · .. [Ol .
       ••·· acceptable
              .  ..   .
                        form
                          .
                             of primaryidentlficatior1
                                '                 '.   .
                                                         in order
                                                             . ..'..
                                                                     to rnake. such
                                                                       ',.        . deposit
                                                                                      .
                                                                                      .
                                                                                             •· :. . ··.. ·•.. · · ·. · ..
                                                                                                 '.               .        ,
                                                                                                                            ·cO .·
                                                                                                                           . u:i<.  .   "    .

                                                                                                                                                     ... •:rs· ..
         What hap1>ens if we send an item for collection?                                                                                                 · :· ~~ ·.. ·.
   ·••· We may; up6n notic:~ to you; ~enda.n item for coliectiOn i.nstead of trecitirig it as: a. depqsit. i•· ·
       ·· This means that we. send the item tq the _issuer's bank for payment. Yo1Jractount .will n.ot be .· ·• :• •:
          credited ·tor the it~i» uri'tiJ ·We. receive. payment for' 1t;: . . . . .. .   . . .                        ·::J \fl
                                                                                                                                                               ~i. ··
                                                                                                                                                              .;:¥iii'·


                                                                                                                                                                          · .
         ''     .        .                ,       ..
                                                  .               ...        ,            '




         What ~i·e th~ requiren1ents: for a correct ¢nd~rs~rilent?                                                                                        :•:•s:%
                                                                                                                                                               "'"O .
        .An "ei:idors~rnent~ is asignatl,lr.e; stamp, or other mark 011.the:b.ack qfa ~h~ck: i.f you have·                                                   §·6!: •·
         no:tend,orse(J a•check that you ~eposited fo your a<;count; we m,wendorse it for:you. Your . . . QI ::,
       . endo,rsernent {and aby btlier endois~nleni: before the check is depositedrmu$t be. in the.·: • . . :. g:;, ·.
  . . . l-1/2,-:inchare~ that.starts'9n•tbe.top of the ba~k pf.the check (Se~ sample below); Do not .·. ·· ··.. :,cg.•
   . ··. sign or wrJte.·a,nywhere ~ls.e. on t11e .back of the check .· . .. . . . . . .. .. . . .      . ..
             .   : ..   ,   '       . .       .       :.,   ..                                                                                                 .(I)• . . .

        . ·. . ENDORSE JiERE: . •· . •. . . .
                                                                                                                                                               ~l:;'.I
                                                                                                                                                               0 0./ .
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                                                                                                                                                         . . . :::, (I)      •.

          •·x           J-011~&:tVvt,-p.14.~
                                          . ·.·•·. , . .,. .-                                                                                    .
                                                                                                                                                         ·:•o3 .
                                                                                                                                                         . ·~m
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           ·~flx cfe~osttJ)~-~-•·..-_____,,                                                                                                          ·· ... Qet
                                                                                                                                                          . . t"T 0./     ..

          . .-~z-G5432i:>~ . .                                                                                                                              .. ·::zio·::iQ.. ...
                                                                                                                                                                             .
                                                                                                                                                          . ·.·.VI ...


        ..           00 NbT·SIGNi WRl~E/.ST.I\MP B~LOW TffiS UN~ .
                 .      . .. l'OR.FINANCIAt'.INs·r1tµ1I9~·LISAGF. ONl\' .         .




.•.      Ate we•boun<I by resfri~tiq~s or nbtations on check5l
       . No; we are not boQnd
         $50/ a('ld ;,Payment In fLillfl         ··
                                                            by
                                      restrictlohs or notatio~s.
                                                       · · ··
                                                                                                ~uch as "Void after six :months:"'Void over •.
                                                                                                      ··   ·          ··       ·        ··
        Wh~ny6u .cash or d~posit ache,\with a not,ition.or restriction, you are responsible for any
       . loss or expense we in<;:tir relatiQg to the notation: or restriction .. ·. . . . . .. . . .. . . . .

          Whf;lt happe~~ i( yo~ brea~h a warrantYassociat~d w·itfr a~lteroi .
        . lfyoli breach ~ny warr~nty y~u make to us under the iaws governing your a.cfountwith
      ·. respect to any item, you will n()t be..released cir di~charged from :any liability for the breach so
        · long as w.e notify yqu of the breach within l2C> days after we learn of the breach.-lf w~fail to ·
          notify y~>lfwithin ~his 120 day pedoo; y~u Wlil .be releas~~ frorn:liability ~lid discharged only .
       . fothe extent oi.ir fi;iilure to notify.you within thls time period caused a lo.ss to you .. ·· .

                                                                                                                                                     14.
                                              .          .
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       ..How .&b -we· handle non~u.s.ite111s? .
      .· •: N'non-U.S. item''.is anitein 1) payabl~ in acurrency other tha·r:t U,S.. Dollars or 2) dr~wn on .· •
             .:a. financiaHnstitutic>n that ls not or~;i'anized und~r U.s: law. We are not_ ~equired to accepta :·
                rion-U.S. item fordep:osit to your account or for ~ollection . We may.accept non~U,S-: items on· ..
     · .· •.. a collection basis without your spe_c:ific instruction t-0 do We can reverse.any amount we .· ·• :.·                                  so~
       .. ·. have credited to your account.aAd senchh,EntEllTI ·on a coiledicm basis even ifwe have·.taken. ·....
                physkal pqssession of the item. . .... ·.. : . . : .:.. : :..... : ...·. ·. ·..·.. . :.. . . : ...·. ·:
                                                 a
       : ::· ifwe a~cept n~n~~:15; item;the ll_.s. Dollar arim~~tyo~ ,rec~i~e for itWilJ be det~nllined_ by.· .
          . ..·our e)'.fchan_ge rate .that is in effect at th~ time, of depositor o~r receiptoffina_l payn,eht (less.
           . any associate(:! fees) of the coue·ctjon item~ lftbe n6n.;u:s, deposited iteinls :returned unpaid
                                                     we
           ·.. for any reason! wm thargetheamQunt~gainst your ~ccount (Qrariyqthe~ accql!tityou: _: ·.
             · maintain
                     . .      withus)at
                                . . '. . the
                                          .  applrcableexcharige·ratein
                                              .      .     .  .. .      .  .
                                                                             effectatthe_tin,e<;>fthereforn;
                                                                                   .      .   . .        .. :                              .                                '


            :our ,. . .furids
                           ·.
                              avaUability. policy does
                                .                    .
                                                        hot ~pply _td .a non~t.i;S; item;
                                                                          '.         .                 '.   ".            .                           '




            :Wh~t is ou1: responsibiUty f,;,r c9Uecting adep_osit~d item? ..·...
           . We ~re responsible:·for ~xercislng "ordi~ary care1'when tpllec;ting adeposltect item.We will ..                                                                         :.
           ·. not Qe· r~sponsible for the lack of care of a_ny. bank invoJvec:1 in the toll.ectfon or rE;?tumof a .
            :deposited Item,: <>rJpr an Item lost in .eollection orretµm·..                . .                   .
         ·.. Wl,ai:happet~S ·when a·deposited or cashed iten1 is returned Unpaid?.::
     .. ··:we can .deductthe:arripuht of the dep9~ited ort~shedHemfromyour accqunt (Or'any other: ...
       ·.. accounholl maintain with us),W:e can do thls when we are hotifi~.d that the itemwill be . •.. · · ·
           :retur'ned.WeJfo npt lie.ed to receiye the actual item (an_d l.lSU~IIY: do notrece1~e it)'.·we ,~in do.•. · · .
           .~his even ifyo.U have withdri\Wr'l tliefumfc; ,rn·d th~ palance in your account is not sufficient:to.
                                                          we
             cover the amount hold or declud and your .account .i:?ecqrnes overdrawn. l_n· addition,: we
             will charge
           . .        .
                      '
                          you. aU.applicaplefees
                                 .  ,
                                                  ahd
                                                   .
                                                       reverse: all jnterest accrue_d_
                                                          ,                      . ,   .
                                                                                          on. the item;
                                                                                                   .
                                                                                                        . . . . ..    '           ,    ,


      .. We m_ay pi~~e-a hold ~ri or charge you.r account:for check or :otnerite?mdeposited .                                         an~
          . tnfo your atcount ifa daim is made OJ: we e>ther-wlse have reason to believe. the check or .
     . . · •other.item was ;3ltered,fo~9ed, unauthorized; hiiS ami.ssing sign~ture; .a rrils$ing 9r forged .
         .· endorseinentior. should not have been •patd;or may notb_e paid, or f<>r any othe.r reason; .
           ·W_hen the d~fm ls fi nalfy resolved, :we will either :release-the hoiq Or (!educt the ~.mount of ·
         · •t6e itemfronjyour account We are not legally respqrisible if we take or fail to ·take any actiQn
           .
             to .recover-
             ,      .
                          p:ayment
                              .  .
                                   of areh,irned
                                         .
                                         .
                                                 deposited
                                                     .     .
                                                             item.•. .· •...·.·. .• . . :• : : ... . .·•..-· . ·.· .. •• ·
                                                                  '   '        .       .           '                                                          .·   .·           '



     . :.. :Whatoa·ppf,i?nswheti an ~•ectroni~ paymentls reversed? ..• :.•
           .. We may dectuct.the ainoun:t Qfan ele_ctrcink payme_nt credited fo your actount (e.g:, dir~ct
         . depo.sit) th~t is reversed; We can dedµctttie arn<>untfroni- a_ny a~countyou haye with us at
       . · any timewithoufriotifying you:Yoii agree io immediately repay any overdrafts r~s~lting from
           the reverse<:f p~yrrient_ .                           ..               .. .               . ..

      · · .. A1·e yOu responsi~fof<>r assisting usia1·re(onstru~ting a• itist or:c:test1·oyed ·.
           .depos.it¢d ;tein? ••. · . . . . . .      . .           . ..               . .
           . •1fa deposited item is fost ordesfroyed durihg proce~~ing orcoliection,:you agree to provide                                                                           .•...
           ·. all
              .- .
                  reasonable
                         .. assistance
                          ,··    . .
                                       to.. help
                                            . .
                                             ,
                                                 us l'econstruct
                                                 '       ..   .
                                                                 the item •. ·.            -   '                 '.           .       .....
                                                                                                                                                          .             .




    .t.5    Co11S(lm~r ~i:count Agreement~ Effective AJ~(il 24, 20l?
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                                                               l.
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                                                                                                                               ·s-···.
       ' Our pplity Is to make funds frpm :your che~k deposits to y~u'r ch~cklng ·or savin~is account .
    . · .(in this policy; each an uatcount") availapUi to you on.the first business day afterthe day we •· ·. ·... · c...
                                                                                                                            .      a.
      '. receive your'deposifs: inc:ornilig wire transfers; electronic dire:tt deposits, cash depqsited at.. .                     K.
     .. a• teller.window and ataWefls Fargo ATM, and the fitst $400 ofa day's,c;heGk,depcisits at a. . ',. 5'.
  . ''. tell~r wiridow:and ataWells FargoATM·wifl be available.on the daY:we receive·tl)~.deposits. • ... ·::::J ... ' ..
    .: ·:cert?tin ~1.ectrQ_nic ·cr¢dit franSf~rs,· s·~·ch a_~-thoS~ thrOugh.-Card :n~iwOrk~ :ef ful'ld$ ~ran·sf~r." ·. · . . .. .
         .systems,:will be ava:i,lable .on the•first busi(less-day afier.ttie day.We receive the 'transfer. Once · .•:~ii?· ..
    •· they are available, yoiicari \ivi:thdrawthe funds in c~sh and we.Will l/sethe fun~s.to :pay · >. : · 0 ~ · · ·
      .. ::ctied<s aht:l oth¢r items p:resent~d for payment and i:lpplic~ble fees that you h·aye incurreq; .· ..•             :!J:. _: .· ..
  . Det~trnlriir,~J the clayofreceipt •· ·•.                  ..       · .. ·.    .· .. · .. . . . . . •· . . .                ~~:
 ' ·... For. d~terminin~th~
                      ..     . ayailabil.ity
                                      '' of y~ur depositsievery'. day fs.a businesfrJa{
                                                                                   ..                                   :iI.' '
                                                                                         exc:ept. .· .... · '. ' ..• .:•·gii·
  . :. ·. Saturdays, Sundays,:~md federalholidays. If yoa make a deposit befc>r'e.ourestablished cutoff• .
         time on a business day that we are .o·pen; we wm co.risid~r that:dayto be the day of y.bur :.· .. ·..•:              .......
                                                                                                                              "'


      ·.·deposit. 8owever, if you· ma.ke a deposit after our cutofhime or on: a day we are not open~we ·. .. 3;"0 ' '.
                                                                                                                     ..  ...:.,3
          will .consider the day the depositwas i:nadeto be the next business day we are open.·· . . . .· Q g,
                                                                                                                     .. '3 fll:
     ·. •o~r esta•bu.sh~clcutofftirri~ is when a b~an~h closes fbr bu~lness.and m~y v~r~by locati6ri.The ·..· · .·.·l!·~            ..•
                                                at
          cutoff time for c~ecks deposited a W~lls•Fargo:ATM is 9:00 p.nflocal tfme (8:00 p,r11; in filaska). ' ,:::,0·(1)   I.C .
                                                                                                                                       .


   . . lm19el'd~lays       may apply: ..                                                                                           ·.aL

          ltl ·S~tr\e cases; we W:m hot rnake.the first $400 ofa bu$inesscfay's check deposits avafla~le to• .· ·. ·. ~: ~
          you on the day We:receive the depo~its. fUrth~r, lri         some
                                                                        :cases, we Will rii>tmake alfthe funds .' ' .Q ~
          that you depo~1t by checkavailahle to yQ!,i on the.first b~siness .day afteqhe day of your . . ... ·•               .a i .·:
          deposlt; Depending ()11 the type of thec:k Hiat:yoiJ deposit, funds may rio~ be :available. until·            ·. 3\:::, : .
       ..·the second business day after the day of your deposit. The first $200: ofyour- dE\pos1t; hbw:ever; ·~rot.·
          may b~ available on ~he first businesSdr,,y.·          .   '     ' ' . ''    ' . ' ..                .              JR
     :' . Except as oth~rwi~e explained In this paragraph;.ifwe a~e ~ot •going to make alUunds from :.• :
     . your deposit availcjble ot, the. business day of dep·o$it or the first business day·after the day of· · · •. ~ ·· .
     .. depc,sit, we Will notify you at :the time you m~ke yoi.ir deposit.We will also·telJ.yeu when the               .      ~1: · ·
     : Jµnds will be av.ajlable. Ifyouh:leposlt i_s: flOt made directly to a Wells Fargo einp_loy.ee, or if we :'. . :::, :r
      ·.· dec;ide to take this .ictio·n afteryoti have left the •premises;we Will rriaiLyoq tyie· notice by th~ .·.· · .:
          first business dayaft¢r :we rec~lve yo.ur deposit> ·· ·              · · · ·· ·            ···     · · ; 5.
                                                                                                                              s:f .
                                                                                         th~
        . !f you:~~edthefunds·f~om adeposit right aw~y,Yo~· may ask~s when funtj~wtii be a~ailable; : ·: .if.· .
   : ' · I~ ad.di~ion~ f~nds you depO$lt by ~h~c;k may be delayed for a fong~rperiocfurider the •. ' ' .
     · following clrcµnistantes: ·        ...        .   ..        :   ..     .   ..     ..      .     .
      • Vile beiie~e acheck you depositwiil riotbe:paid . ''''                          .·•
      •.. You depo,sit chedci totaling' more .than $5,006 on any o~e: day                :_. •
      •. you r~depo_sit a:check that h~$ been: returned Lilipaitf .: .· • •.·. ' ' .
   ...• .· You have tiverdrawn y.dur account repe~tedly-in the ltist6 rnonths ..
   .. .• ..Ther~ is an ernerg~hcy, such .as failure of co~put~r orcb.'rrm1unkatlons. equipment .
        We win rlOtify you if We ~elay your c;lbUity to w1thd;a~ furi_d~ for any ofthe~~reasons; and We :
     .· will tell you when the funds wi.11 be ~vaiic;lble.The funds w,ilJ ·g~!'\etally be aliailable. no later .
    . thc;ln· the seventh businesfdayafterthe dayot your: deposit '                .. .               '.
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            . Special. rnles fo~new accounts
         . lf.you:are anew c·u:sto~er, the foll~wlng specjal rl)les vv.iU apply QU~in"g the fi~st 30 days your .
        . . .accoLi nt is open. IRCOtning Wire transfers, electronic direct deposits, and. cash deposit~d at a·...
                                                                                   be
           · te·ller: window-arid at :a Wells Farg·o ATM .will civailabte ort the day we receive t.he deposit· ..
            •Funds "from you( dJetkdeposits.\ivil I be avanabl~ on.the b11siness day.~fter the day w~ receive: :.·
             !he depo~its; no fonds frqrri" a bi.isin_ess"clay's chec;k depcisit~·ar~ available cm the day we .: •.··....
       . receive the deposits. .. . . . . . . . .                    ..     . . . :.   . . . .....·. . .....
           .. 1fwe ~~lay   :t ,~ a~~ilab.ility :of yo~r deposit                  the followJng s~~cial iuies n1ay apply:. ·
                                                                                                                  .
              ; The first" $5,000 of~ day'~ tot~I depb~its bfcashier'~, certified,teller's, tr~vele(s, and .....
             ..· .·. federal,.state; and local gov~rnnient ,hecks andU.s; Postal Setvic;E! money :orders made .
              ..· payable to yoq will be available on the first business day after the day ofy9ur deposit.• .
                                                                                  all
             ·• .. Th~ extess qver $5,000 and funds from other check d~posit~ wHi be avallabl~ the·: ..                         on
                 .. . ~Venth b~sihess day"after'the day ofyo\.Jr de"p"()Sit:The flrst.sioo ofa d~y's tot~I deposit
              :·. : of funds fro.m aU other ch.ec;k deposi_ts,:h()wever; may b¢.av<:1ilable qri "the first business day
                     _aft~/ the.dafof your ciep_osit .                  . .. . .          . .. . .           .
             w~ will   hptify you If we d~lay yo"urabUity
             -ftinds will-be available> .                           ..   .
                                                                                 to..withdraw   funds and we will t~II you wh~ti. the •.
                                                                                         .. . . .          ..      .        ..      .

      .....•HOids on;otherfu~ds (~heckcashing) :.
   . . . .. If we cash a ~he~k fory:ciu that is drawoqn anoth~~ bank~ we may withhold the a~ailabllity .
    ·. ·. .. . oh correspc;mdjng am.ouiit of funds· t_hat a_re already iOy,our a~co~nt. Th9se funds. w.iH ~ ..
             _available·atthe_timefundsfrom.the checkw,e.ca_sh would hav.ebe~nayailabJe lfyoµ had·.
             deposited it        · ·            · ·                       ·        ·     ·

       .·.·._.• ·.·_ i,olds on other funds (othefaccount}
                  ,                          .       .     '. ..'
                                                                   ...
 •.•:: .. · •... If we accept a check for d~pdsit thatis draw.rt onariother b~nk, we may make funds frbm .... : .
  .•· :: ..... · the deposit ~vi,iil~t;,le toF withd_rawal imrnediatel}'but dEi!lay your abiiity t·o withdraw a ·.. ·. · ·
    . :·... : •corresponding amounfof f~·r:·ids that you have oh deposit in another accourifwilh: i.J$:. ··. · · :.·• • .
          . . :The funds in the: oth~r acc~unt would then i,()tb~ available unUI the ti~e pericid~\hatare •. · :.
               described In this _Poli~y. .    .. . . . .        ..     .        ..     .. .. .              .

           · · ·Delays on •Qif~er fond~. ·
     . . .r=~1nds, from any. deposit (ta!>h or checks)ma~e ateiigi.bie n6Q-WeUs•Fargo ATMs using acard :.
       .·. · :i~~l)ed .by~·    w~11s
                                Fargo (?ranch lo~ate~:fin Iowa 1 will not .be availab,"le.uritH the third busfness .
        . .. . day afterthe day of your deposit.This r!,1Je do¢s not apply ·at ATMs .tha·t we own or qperate: .
         . •All Al'Ms that we pwri or operate _are Identified on .our machines "We.II~ Fargo!' . .        as      .




       •    I Also appli¢s to a tare! issuep by theWells Fargo Phone Bank orWelis Fargo Online thatjs llnked to •.
           . a primary atco~i1t opened irUowa.                     .           . .        .           .     .
             .             .       . .   .       '   . .                     -


    . 17 ..C.onsmher Ac;touni: Agreernerit - E'f:fec.tii/e Aptil 24, 201:7
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                                                                                  425                             .         '                  ''



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    .:.Mowdo ,we determine yoµt' ac~rmnt's available balance? ...
    ' . Your accciunt's available bal~nce:is our most c:urrerit r~cord rif the a'mountPf money availabie •' ' ' .
     ·.. for your use or·wi_thdr.awaLWe us~ the available balance to authorizeyour.transactions .. ·. • : :· . :g- ·.. ·
                                                                                                                                          g.·.
   . ·•. during the day (e.g;, debit card purchases ari~ATM Withdrawals).WE:? also use the ·af!ailable . · ... a,._ '.:. ·
       . balance fo pay yollr ha.nsactions .if) .our nightly processing. We ta lcu late you·r a.Vailable ·.• •·    0 ..
                                                                                                                   =i
         balance as follows: ·     .. .      .          ..     .        ..      .. .                . ..        · .        ·
     . •· '. We sta'rtwlth the ~nding daily accbuntbalance from our prior bµslhe$S day nightly         .'. . '' g:. XI '.· .
            •processtng' thatinclqd~s all transactions depbsitedto or Pc!id from your ac~Ount,' ·. ·. '        '. a (R ·...
       •' ·. We subtract from this an'\CJUrit an'y :holds piated on a deposlho your account ,arid any' :'        IB: ~-.
            · holds placed due to legal process.. · . . . .     .           .   .     . . . .. . .           ·:.: ~]': ...
       • ..· we add ;,pE!nding" deposits that: a;e immediately ~vailabl¢ for your use Onclud1ng cash ·. . . i~ .·
              dep6sits, electron it di red deposits, and the portion of a paper .check depcisitwe rnake ·. · · @'g ·
            : avaiiaole; see "Funds avaHapility policy/I section for.details);    '    . '' ' ' . ' .          >g-OC
           . We subtrac("pending'; withdraw~ls that w~ have either authorited (such .is debit ..
                                                                                        as
       :. : aird purchaSE:!S and ATM .withdrawals) or.are kriown to us·(s~di· your c~e6ks a:nd ...
          ' • preaqthoi"iized automatic ACH wlthdraw.als that\;~e receive for payment frorri your•·.· :'·.
              atcountJ but have not yet processed. . · ·
                •   •   •   •   •   •    >   •   •     •   '
                                                                      .. . . . ·. ·. . . . .
        linptii'taritn<>te: The avqilable balance does not reflect ivery transaction you have initiated ' .
        or previ~usly authorize~t For example, yo.i.rr ayaila~fe balance may· riot inc:l~dt! the:following: :·. ·
        • •'Outstanding ch.ec'ks and authoriz~d aytomatjc withdr~wals (such as recu,rring debit card.· '
     ' ' ..•tran'sactions, tr~nsfers/ ~nd AC!, transactions .that We have n~t received for payment or .
            . .received too close to. our nightly processing to rnduqe .in 'your.'ava1/able .ba/c,n'ce). . . : ·
                                    a:
        .. 'Jhefmai a'rriount of c;!ebfr card purchas~: For example, we niay authorize:a pu;chase '
              am:ouht prior to c! tip that yo.u add;    · .· ·. · · . : .· ·· .· ·. •. · . · .         . .·....
      · • Deb.it card transadioris that have beeri pr~vio~sty authorized b~t not sent to us ·for final ..
            ••payment.We must rel~~se the tran$adion adthorizatiori hold after3 :businf:_SS days (or .• · ·
             :up to 30bus.inessdays forc~rt~1ritypesof debjtorATM cardfransactiohs,:iriduding·c~r .. •..
     . •. riatal, cash; (!nd international tra11sae,tions)even though th~ transaction may be sent for· . ' l'D . '              . . ""!"'I .
                                                                                                                                                            '
          · :•payment from: Your account, whk:h we must hcmor, ata •later date:•·.· •              .            . ·Vl.::x,                              .
                                                                                                                        .          ·"O   -·
                                                                                                                                    . o!.C
   •:'.· How   d~ we pro(ess (p()St) transactions t~ your ac:count?.                                                        '' ''=1
                                                                                                                                ''. !!!. t;l'
                                                                                                                                       g:'ai
                                                                                                                                               :r

    · ·. We process trarisactio'ns eath business defy (Mond~ythrou9h Friday except fed,er~I holldays) •·.·                             =::::>.•
                                                                                                                                       d'.O.
                                                 we
       .· du ti rig a late hight process. Oote process yourt(ifr'lsl;lction, the r~sult$ are "posted" tq your.·•                   ' (D .
                                                                                                                                       VI
     . _accoi:inCthere are :three key steps tOthH; process. The m:ost common types oftransattions:
       are-processed a·s described· below.. .       . .            ..         . ..         ....
        First, wedet~rmine theavailabie balance in. your account (~s described abo~e) that :
        can be used to pay yo_ur transa~tions,> . . ... . ... . . . .                    . . . .. . . .  .. . . ..
     .· NOTE; Cer.tain "pending'1 fr~·ns_actions can impact your avqifable balance: ...
   ' '' ..·. c~~h deppsits brtransfers from another Wells fargo account that are mad~ AFTER the'
         ·. displayed cutoff time (where the deposii'was made) wi_lf be added to yoi.fr available.
          : baldnc:e if they are made before we start our nJghW process. . . . . . .                    .
        • ·•You(aitaildblebQlan,ce will be reduced byupe~diiig"0ithdrawal!i, such as debit c,ard. ·.· . ·
                                                                                                                         g: '
                                                                                                                    .· ·§:rri
          . transactions, we hav.e authorized and must pay when they a·re s~rit t9 us fo{payment,                   ":::, ti)
          · Tl-ies·epehding withd~ciwals maybe senHo Os for pay.mer:,t at a later date; In some .               . .. .·-·n     ,..,.
                                                                                                                         V, ...,
                                                                                                                                     ~              .

                                                                                                                         (D 0
             circumstances, th~se transactl<m~ may be paid into overdraft if other pbsted tra'nsactiohs.                 ......::i.
                                                                                                                        ·<""''
                                                                                                                         .... n·
           . or feeii have reduced yo\.ir ba la nee before the pending trail!iaction s are presented for ' '           ·n
             payment;· ·          ·      · · · ·           · ·· · · ·              ··      ·      · ·· ·                 (I) . '
                                                                                                                         VI



                                                                                                                            18
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        ·.· Then,·   w~   sort your tran!iactions Into categorJ~s. b~fore                :we proc~ss:the.in~ .. : . . .    .. . .
          .•...Fi~st, We credity(;>U~ a.tcount for depqsits; includir,g casha~d chetk de'po~its aod in~otning •· ..
                     transfers, received before the cyt_offtime at the locatipn the depositqr transfer w,as made.:
                      we
      .. . • then, pr~cess withdrawals/payments we h!'iVe previou~ly authorized and cannot return.
             ·. · .unpaid, such as debit cardpufchases,AlM withdrawals; ac;:counttransfers; Wells Fargo:· ...... ·· •·
                 ·: Oriiin~ Biil f>ay t_rc,lnsactioris; aridteller-ca$heq cheC.:ks: If we re_c_eive more than one of these · ·· ..
                                                                             will
              .. .transactions for paYmerit from' your account, we generally sort al)d pa.Y themha's¢d.on •:...
            · ··.th~ date and tlmeyou:condudedthetransac~ions;.For a debit.card transaction, if a rnerch~nt ··
                 ·: does noi seek authorizatj911 from the Bank at the time of the transacti6ri; wewrn use tlie date .
            . . •the trarisactio~ ts .receive:dfor payment frQm you{ acq)Unt: For some transactions; such as .. ·:. ·: .
                .·. Wells Fargo O'nlirie sni:r>aY transactions or teller-cashed the~ks, the time may be assigi)ed by .
                .·. our systems a11q may vary from the. tirile jt was c:oridl)cted. Multiple tr~hsactiohs that have. the-·
            .· .· sanie:time:wi~I be sortedai)ct paid from lowest to high~stdoHar arilount. ·.· • . . . .
           • .Fi_nally,we .use.yourtemalnlrigJunds to pay your checks:and preauthorized autqhlati<; : .
                   •ACHp~yments (such as bfUsyou pay by authorizing a third pi\ll'W fowithdrawfunds. . ...
               ·. ·. directly'from your account). lfth~re is mbr:e than one ofthese types . of transactions; they.·
           ..• will be sort.ed' bythe:date and time tnatthey:are r¢teived by Us. Multiple.transactions ..
                   •that have the sanie'time will be SQrted and paicf from lowest to highest dollar amount ..
     .. FinaHv~ ifthe available balance In your:ac;count is n6t ertough to pay._all of your .
       . . transactions,we.;ivm ta_ke ttiefolie>,.vhig.steps: . . .                     . ..      . . ..     .     ..
       •·. :. · .First use Overdraft Protection (if applicable): WewiUtransfer/~dvance availabl~ funds··•:
              .from a S~:IVings arid/or credit account you have llnk~cho your checki.ng account for-·.· ..
                 Overdraft Pr<>tect)ori (described on pag~20).     . . ... ..      . .. ..           .
          ·~. .. Then, d~cid~,vifh~ther .~ pay your t~an$fdi(>n into ov~rdraft ~r retur~ it u~palc:l:
               .•At our discretion, W'= may pay a che_ck o_r automaticpaymehtinto 0\/~rdralt rath:er th~m . ....
             .returning it unpaid.th1s•is our standard overc::lraftcoveri;lge. if we pay the transaction .into •·
          .... overdraft, if may' help you avoid additional fees 'that may be asses'sed :by the •merchant.:.··. .
              .•:Debit card transactio~~ presented to u~ for payme_nt (whether p~eviou~ly approved by us .
             ··.or not) vvi II he pa i'c;i info overd,raft and will not be returne~ unpaid, even if you ·do not have .
       . · : : :s1;1ffkientfunds in you,\u:count : . . .                 .          .      ..    ..   ..     ..    ..     . ..
         .fMPORTA·N·T INFORMATION A,BOQT FEES~
      . . . Fe~s may be c!SSessed wi~ ea~h it~m paid i~t~"over:draffor relu~ne.d µnpclid subject to the following:.. . .
          . .. ... Asing I¢ Qverdraff ProtectiotlTransferorAdva'tlCe F~e wlllbe assessed ~hen we need .
                       ·:to fransfer/advante ftJnds from y~ur lin.ked account(s) Into yo.1ir checking account, but .
                   . . only if the trarlsfer/a_dvante oelp~d you avoid at l~ast one overdra,ft or returned Jt~m:
              . - .. N~O~erdtaftf~ wi!i be a~s~ssed on .A.TM and "eve;ydai(one~timefdebit (:aid t~risactioils,
                       •. unless_you have enrolled in the D~bit Card Overc::lraft Service {see infurmation below).An .·
                    .. dverdraftfee ca~ t>e as.sessed on ariy otheritein we pay Into ov~rdraft;. . . . . .
                     .• If both the ending daily ~ccount baJan~e.~i,d avail~ble. balance.are qverdrawn by •.
                      . $5 or less and.thetear€.tio items retumed.fornoh·~sufficierit funds .;.,,-..after•we nave:.
                        processed all. of y_ou r transactions·,;..:., we will not assess an overdraft-fee .on the      .
                         item(s).:ThisfeeWaiver is associated withyourtotaLoverdra\l\ih balanc~, not the: .·
                      · doHarsfae ofthe fransaction(s) contributing to the everdrawn. bala'nce. · . . . . ..
                     We       limit the num_ber of overdraft and/or retu:rned item (nOh~suffici~riUunds/NSF) .
                         fees to ho nwre than three (3) for consumer accounts per bus{ness·day;
                 .•.. Any overdraft or retumed(tem fees asseSsed ar~ dedt;Jctedfrotll your account d.urfng
                      . the rriornirig,of:tlie nex_t .busin~sday, following ourciightly process;_.·
     19 :Co1m1111er Acc.ritint Agreement-~ Effective A1:>ril 2~, 201 J
                              .
                                . .- . .
                                         .                  -
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      .- ·Whcjt is overdraft Prot«th:in?. _·
                                                                                                                                                    5">
      .-· Wl:len yt:>u email i11.overdraft Protection; we transfer/advance availab:le funds in your :unked ·· : . a                                 .r.t-


      .· -acfount(s) to your checking ciccoµntwhenneeded to cover your-_transaction(s).Yollcanlirik : · .. a.        .. -
                                                                             will charge yo\J only•otie fee, .·_ .. · ·.Q::
  · · . •-·: WP totwo·elig"i°Qle a·cco.unts·(<>ne savings, one credit.) but-we
                                                                                                                  C:

      --· even if we: need to move ·mpn·ey from more than one accou11t. Also; we will not chcttge ·a fee · - . :::::i   o· . -
     .: ·. "Unl~ss the transferfadvaiice h~lped You avoid)t least one ovefdraft Qr retor'l'.led item; If you :..
         ·• link two accounts, you rnayteUus wJ,kh acco1mt to use first to, transfer/~dvance funds, If you •
                              an
        . do n6t specify .order; we will first"transfer funds from the lin~ed savings:account. -·. ·_ - · : --
       ...:.· Ttansiers        from linked ~a~irlgs accou~t~ W¢ Wiil i~ansfer th¢ :amount ~:eede.~ (including .• •·-
               •funds to cover the transacti~ns .and the transfer:f~e) from· t_he ava_liable money In _your :. · . ·_
               : linked-savings account or a minimum of $25. The . Overt!taf:t Protection-Transfer Fee.(if an.y)
                 will . be
                        .
                           chargecfto
                           . . . .
                                       your
                                        .
                                             checking
                                            . . .
                                                      account
                                                           .    .
                                                                 .                - .    .          .      -
. ... . •Advances from Jinked credit card or'lirie of credit~ We win adyanc~the exad amount •..
 . :.-:•. :_·. •· .· needed fron,i \he av~ilabl~ credifiri aHriked·creditcard ora minimum .of Sis, The .•. · ... ·.:
      •. _· _· •Overdraft Protection :Advance Fee (if any) wni: Q~.chc1r9edto yo_ur credit card ac.count: .. ·
             .· :Advances from: aii eligible linked Wells Fargo· line ofrredit are made ih incre·rhents of - . •
                    $1 oo or $300 ·(specific details ·wit! be provided when you link atco~nts) ~na the Overdraft ·
                .. ·Protec"tiOn
                    '-·.· .....
                          '
                                Advance   Fee wlli be
                                 .· .. ·...
                                        . .        ..·
                                                       charged
                                                          -· . . . . .to
                                                                       ..
                                                                        '
                                                                          the checklrig"account.
                                                                               '.- . . . . . . . . :- .
                                                                                             •''
                                                                                                        ... . . - -. . . ..

         VIJh~t is Oe~it Card Ov~rdraft Servic;e? .
          ...Thi~ isan ~ptiori~I :servic~you ca:n add ~() your _eligible checking account. Tl)e s~rvtce -_ ·. . . .      ti) .
            · allows W~lls F~rgo to approve-(atoµr discretiqn) yo_vr ATNI an·d everyday(one~time) debi.t                 ..... 1:1)·
                                                                                                                         -., ,r+,
          .. ·carc;l transaction if you do not have :enoLi°gh money _to c6.veryour transa~tion in:y:our         =
                                                                                                                     ..  g.~
                                                                                                                        • . -.       -   .
                                                                                                                     :. :;:it'O
 .... -. checking. a.ccourit or in accollntf liriked for Ov¢rdrc;1ft Pr:otectipn; lfyou add thi:s service, we : .        o3
  ... •. m.ai~pprove the~e ~ran·sadions rnto- overdraft arid anow you to coritiriu:e .Witb your ATM : . :.               o: ro
                                                                                                                       . :::h.:J

 -.__·.· :··• withdraw~l.or- everyday d~bitcc1rd transacti<;in.1-ioweiier, ifyou do:notrriake a covering:• ·.
        ••- ~epqsit or transf~r b~forethe posted cutoff time (wherethe deposito·r transfer is made);.:•             . O.. C.
                                                                                                                                             .·. :•=·~~ .... ·
                                                                                                                         ::I.      .
              overdraft fees .will.be ~ssessed;    .      . . . . . . . . .. -. - .. . . . . . . .                     ·I.fl...


      . · If thisservi~e is· n9t add~d and you do not have enough money in y6vr .checking:a(;CQlJrit (or
      .. in-accounts linked fur OverdraftProtectioh),_your ATM or-·eveiyday d~bit' card transac;tion win
         :not be approved~ ln addition; .no overdraff fees will be assessed :on ATM or everyoay debif -
      -_- card trarisatti9ns.thatare··paid from your account, even \f you no looger have suffidentt~nds.
     · · to cover previously a•pproveq transactions. . - -. . .       . . .. . - .. .. -             .. ..


   _ ··. O~r standard overtjraft ~overage is when; at our c:Hscreti~n,we pay checks."ar automatic._·
      .. payin_ents (sudi as ACH. paym'ent) irito"ove;draft ratherthan returning them" l!hpaid; Yoi.i. -.· ...·..
     -··. !::an request to ·remove our:st~ti<;l:i;1rd ove·rdraft coverage from:yoµr account by. sp~aking .to a •.· .
      . ··banker.•-       ..   ..    . ..           ..       -          -              .     .        ..      .
     . lmportan\: If you remove oulsta ndard ov~rdraft coveraHe from yoti racc:6.u11t/the foHowfng •..
     - -· \tifill apply !f you.· do not have enough money in Your :accou ~t or accoimts linked for Overdraft: •.
        .Pr~tectioo to cover atran~i!Ctlon: . .            ..       .       - .-   .        - .. .    -. .          .            .
        -~ • We will return your checks and automatic'. payments (such as ACH payments)                   a~d
                                                                                                 assess a .
           .~~onssuffidenrfunds
               ~~-··
                                  (NSF)
                                  ......
                                        returned item
                                                   ...
                                                      fee
                                                       ·
                                                          and -
                                                               you could
                                                                       ·-
                                                                          be asse~sed
                                                                             .. ·
                                                                             .•   ...
                                                                                      addit_i:onal fees
                                                                                                     .
                                                                                                        by

         • _ We will not ~uth~rize tr~nsci_ttions such as ATM withdrawals Qt everyday del1it carci
           . purcihases .into overdraft. . . . . . . -        . . -. .        . - . .         . -.
        ·~ .W~ will not authqrizecertaln transi:1<:tions (sucha_s cashed checks, recurring debit c;ard ·
                                                                                       ff
            · transactioris, or"i3ill Pa.ytra:nsattiohs)lnto overdraft. H_owever, these transactions a.re -
                                                                                                                                             . 20
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                  ..: .authorizedwhen your ~·~cou~t has enough. m61iey 'but are fat¢r presented for payment.·
                      'when ·your accour:it does hot have enough moriey, we Will pay.'fhe :transaction int~ ' '
                    'o,verdrdftandc,h~rgean:overdra~fee.                 '',       '   ' '' '',                     ''
                  WhaUs y~ur resp<insibility. if your accounthi)S an overdra~? ·. '
                . If y~u have an overdr~fton: youtaccount (induding trahsactfo.ns we have paid ~n you,rbehalf.
                 · into.overdiaft, plus:anyfeesj,you must make a deposit or transfer pr~mp(ly to return your
                · a~countto a, positive ~a lance: . . .· . · ·. . , : ·.. ·. . . . ::. > . : .· ... ::.•.·...·.·.. ··... ·
               ·. ·. If you fa.ii t<> ~ring your.ch~ck.lng acco~~tt6 ~ positi:ve balanc:e;        .v;,~ yviJI close ·your a.ccount.. •· ·..
                  Alsowe·may.reportyou to consi.Jmerreportlng agend~s,arid initiate coiledion efforts.Yo\i' '
                . :agree to rel.m~urse us.tot the. costs and expenses· (Including ~ttorney's fees                 and
                                                                                                  expense~) we .· ·.
                  incur;




....   ,   .




           . zl . Consuiner: A~count Agreet~ent 7: Effective Aprll 24; 2017
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      ·.. A~e we
       '        .· "
                    allowed
                       .. ,.
                             to..·use  th(? funds. in yo~r..accounts
                                    .. ·'    ...   '     . . . . ..
                                                                        coverdebb
                                                                           . '
                                                                                 to
                                                                               . ·.
                                                                                       yott.owe
                                                                                          ...... ·.
                                                                                                ,
                                                                                                    us7 ·. ••
                                                                                                    '
                                                                                                                 ·.~:•
        ·ves;we have the right to apply funds in youratcountst• any.debt you owe us.This.is known.                 ....
                                                                                                                . O·
                                                                                                                                     .,:+


     ·. ;:is "setoff: When We setoff a(iebt you owe us,we reduce the funds ih yQiJr accounts bytl:le::
                  1
                                                                                                                  ·o.
                                                                                                                   C: .
   .•·: a.mount ()f.the. debf We are riot recjuireo to give youany:prior notice to exercise our right of.·:· .. . n··
     ·~~·•··                                                                                            ..                       .
                                                                                                                                     ·rt'.
                                                                                                                                      cs:..... . .
                                                                                                                                     .:::,
   • . .A "debt''. inc1Ude.s   any am~untyou·owe incHviduaily or together·with s9meonielse bii>th r,ow •.·..
       . or in thEHi.itLire: It includes ariy overdrqffra.nd o.ur fees~ Wernay :setofffor any debt you owe •· .·
      · us•that is due or past due as afl9wed by the:laws governi'ngyour acc91,1ntlf your accgunt is a
   . .joirit account we n1ays~t9ff f\jnds i.n Jt to pay the.debt ofanyJoint owner: . . .                      . .
                                        to
       .· O.ur right to setoff ~xteri~s ar,y federai or state benefit paymen~s (inclu~ing Social Seturity ·. ·
   •·.·'benefits) oepQsited.to your ac;~ount.lf Wf! are obligated to ret4'm ariy federal :or state: benefits .
    :.·: deposit1:d to your ~ccounts after yc,u ar~ no longer eligible toreteividh~m; we have the . ·
      .· ~lghtfo setoff against anY:of yoor 1;1cfounts tq recoverthe payments you:Were ineligible to :.
     .. receive. Our right of setoff Will riot apply .if it would :invaU:cfate the tax:.d~ferred .status· of any ....
    :. tax.:deferred retirement account (e.g., aSEP Oran iRA} you maintain With US; ,If yo1.fr ~tcountls:. · : ..:.: 3
    .· qn u~r_natured tfme iu:count (or CD); ~e may deduct anYearly:withdravvaffee o{ pe·nalty :that· · . ·. ·:?.~ .
    . . may b:e du.e as ~· result of q1,1r hav1ng exercjsed    our ri9:ht:of se.toff. . . .. . .           .                     §
                                                                                                                    ·... ·.· ifr:: : •..
   .·· .. Do YQU grant ~Sij iecu.rity inte:r~st in yoµr accounts .with u,s? •. •                                .·:. , ; •. ·.....
   •..• Yes; to ensure you P~Y us aHan,ount's you owe U$ u·nder. the Agr~eriienl (e;g:, ove,rdrafts and .·            .'e!;.
     . fees), you grant us:~ lien9n anq:securltyinterestin:each account yci_umaintainWithus. By
      · operiihg and maintaining each account with tis; Y<>ll consent tp ourass·erting <;>Ot: s~curity •·
      ·: inter~st sh·ould th~ laws governing the J\greerrieht require your conseni;Our rights und.er .·
    .. this security int~restarein aqdltio[i toal'.ld apartf~c,m·ahycit~errights underanyother·
      . secu·ray interest you•r:nay have granted to us.<       : ...... · · . :.. : . • > · .. ·...· .... : . :
      -.(an iougrant any o~~ else a st~curity iOteresHn yoviac(01.mts with ~sl ..
   :. :No;·you niay hot grant~ s~~Urity int~rest in, transf~r, or assign yollr accounts t'o anyone other: ..
   ·.·. than uswithoutourwrit~en agreement •·:                            ..      .        ..     .          :1.·..·:.
                                                                                                                          .·-o ::0
                                                                                                                            ·010·
                                                                                                                                 ::,· :,- .

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     ... •WltatJdeotificatfon dQv~,e reque.st tQ casb checks pres~nted ov~r~the-counter .•....
          bfa 1\on.;~&J:stomerf · · . .            . .          . .         . .
         . :For·these transactions, we: req_uire acceptabl~ !dentifkat,~n;which cah inch.id~ a fingerprint· .
           .from the person presentihg your check; We may ncit lionorthe check if the person refus~s. to :..
           .
             provide
               .  ..
                     1.is ·with
                           ..  .
                                 request~d °fdentificatiori:
                                                 ..     ... .
                                                             · .. . .. ..'   '
                                                                              .         .· . ·
                                                                                          .
                                                                                                         ..
    ... Ar~ there special rules:.if you wantto rnake alarge cash .lMithdrawal
                   .       . .        ..              .             .    .    or :deposit?···· :
                                                                                 ,        .   .       . .     .       ..       . ..   .. .        .        -         .                                .       .
    . ..· VV.e. may place r~a:sonat:de restrittions on:~• la~ge c~sh withdrawal, Jhese r~strfc;tlo11sTncl~de. · .
       .·.· requiring y_ou to prov_ide reason ab.le ~dvan_ce notice to ens_ure· we ·~ave .sufficfent c~sh cm· ::
          .hand.: We d(i not have any obligation to prqvide se:clirity if you m~ke a large cas~ withdrawaL .
        . lfyo~ wantto.depositc:ashfor a:very large amOont, we have the r.ightto require you tp.: .
         ..provide adequate security :or exerdse bth~'r' options to mitigate. possible dsks...
          :Amie r~sr,01,~ib.lefor r<=vi~\Ni~g ch~cksfonriultiple s·i~rigtu:re$·? ·.: .·.
         ·. No, we are not i:-esponsible for r¢viewing the number of signatures required on your account. .· · ·
    .. : :lfyoU have indicated that niore than one signature-is :requJr'ed, we _will not be liable ifa check:
       .·,-does 11dt.111eetthi:s reqUl(ernen(·: . . .. . . . . '  ' '' . '          '' . . . .         .'

           :Are -w~ . . .
           '                 .
                                 :~~quh'ed to
                                  .  .
                                       honor
                                          ..
                                                dates
                                                 .. .  and. spedal
                                                      ..    .
                                                            .  ...
                                                                    in~tructions
                                                                       .    .' '-..
                                                                                    writ.ten
                                                                                      .      .
                                                                                                on .checks?
                                                                                                      .    .. . .                      .         . .                     .            '       .


         ' .No: we roay,withoutinquiry_Qr li_ab.ility, pay a.~he~k eve~·ifit
           .• ··.Has special Written instructions indicating •we -should refuse payrnel"lt (e'.g;; "VoicJ after 30 •:
            . ·: days" p.r•;!Voi~ over $1 QO;'}; . .  ..        ..   .      .    ..  ..      ..      ..    .      .
           • . •is stale~dated (i.e., the check's dat.e is more than 6: months in th~ past}, even if.we are
               · aware of the check\ date;        ..      . . . ..        . . . ..   . . . . .. .
          .. •. ·. Is post~dated (1,e.; the check's date is in the fut1.1re}; 0.r: ·.·• ·.
             •·.. fs not dated ...
          .·We may also pay t~e an1ount e.hcpded on }'Olff ch~ck in\J.s. :dqllars; even if you wrote the .: .
            'check (ri a foreign .curre.ncy or made aQOtation on the c:herik's:face io 'p~y .it in :a foreig'n .
           •currency. ihe encoded·aniountisJn the!ine aloiig thebottorn edg¢.ofthe front qffhe check .. ··
          . wherethriaccountnumber is printedi . . . . . . . . . . .                       . . .. .          . . ..

          Can youuse a facsi1,,ife or rtletha,.kal ~ign~tme1                    ' . . .. '          . • ..
     ..'. Yes; if you ·~s~ a f~csirnile or mechanical signature (including a starnp)i any ~heck appe.arlng .
     •.. to use your fat~imile or mec;hanical sighatlJre wijl be treatecj as if you had actuatiy"signed 'it ...
         . ·• Vllhatis the a<:cepta ble                                          form for your ~hecks? ..
        . Your checks .~ust meet our standards, irid~dir\g pap~r stock, dimensions, and other.industry .
     . .· standards, Yo.ur checks must include our name ancfaddress; as provided by us. <,:eitain ·check
          fecJtUres,·such as security features, may impair the qu:ality ofa check image that we <lr a third •
       . party create, ·.· ·:· '·.· .·•· •. ·.·. . . ' .. ·.· ·:· ... ·.·.·.: •.. ·. ·.· .... ·.· ·•· . . . . . . .
     .. We re~erve ihe right to refu~e checks that do not rileetthese standards or cannot be..                                                                                                                            ...
         .· pr,o~es~ed or imaged u.sJng our equipn:ient. We are :not respoilsible for kisses that result from.·
            YOllr fa_illJreto follow OlJr check standards. . . .         .    .      .      . .              .




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   23 Ct;>nsw"1er Ac<:ount Agreement:-' EJfectN~ April.24. 20 i 7
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     .· ·How do you stop pay~ent on a che~kt ·•.·
                                                                                                                                  . 3":
      ·You ma/r~q4est •a ;top payment on you~ ~neck in ~ time a~d manner allowing us a ·..·. . .                                         .....
                                                                                                                                         i-+
                                                                                                                                         .0.
        reasonable opportunity to act on it before we pay, cash, or otherWlse become obUgated to •                                       0..
                                                                                                                                      . ·c::·
     .. pay'your cheCK;•            .                . ..             . .          .                                                   .n ..
                                                                                                                                         .r+
                                                                                                                    ·. a~
    ... Each stop payment order iS subject t6 our:verifkation that\;,.te hav.e not ~I ready J:>aid or · •. .• . . . . . .:;r
    ·... otherwise become o~ligated to pay. the chec~ from: your account. Th is verlfica:t;ion ·may oc.i:ur •·. ·
  ..... after w.e a<:cept:Ymfr stop paym(;!nt oider.. . . . . . . ..
                                                                  .       . . ..              . ..
          . In orde; fo issue:a stop paymerit order           oti acheck; we reqliesuh:e followinQ info~riiatlon:    :• .
    . .. • .Ydur bank accountnumbeJ, ..·. . .•. ·. ·. ·.
           •~h~
            .
                ch:~ck
                    .
                    .
                       numb~tol'
                       . . .    ' .range
                                       .
                                         pf hll.ffibers,
                                         ,   .                  .   '

         •. The check amoOnt:orarriounts; ..
         • •The payee(s) narne(s), and ....

     .· We.are not respon$ible for stopping payment ·on a check if yqu provide .incorrect or ...                            ·... :•s:-5 ..·.
                                                                                                                              .        "°"'0.
      ,
        incomplete information
              ..     ,··'
                                aboufthe
                                 .  ''
                                          check•.. : . •...· ·. · ·.· .·:. · ·. . · •: •· ...· ·: . . . . •. · : .
                                             '       ,,   .                 .      .        .                                      ~;:;.
                                                                                                                               ... 3 .lll•
     ·.·. What is the e1fo(tive period f9r a stop P.ayment order?•. •·                                                      .·.·.··:•g:;-.·.·•·
                                                                                                                             . . . ::,1.0 ..
     •:. Ast~p payment ~rder ori a che~k .is valid for 6riionth.s: We may :pay ~· ~heel< oric.e a stop :.. .                      .       .oi:
     . .payrnerit order exp.ires; YQLi must ¢!ace a new St()p: payme:nt .o'rder if you do r:iot-want_'it to:. .
    ·. ·.expire.We treat.each rene\lllal .as a hew stop payment order~ We will c.h!'lrge you fore~ch stop ••·                          ro ·
         paym.erit order you place (as well as each renewalk       . . .. . . . . . . . . . . . . . .                                  a: 6T.
                                                                                                                            ·. ·•~J:,:
                                                                                                                                      3i~
                                                                                                                                      n· ·r+.
                                                                                                                                              .
     .. T<Hanceta stop payment ord~f, we· rrillst re~eive your tequest .in :a thne and mannerallo\Ning •
        Lls a reasonablebpportun1ty to act on it.:. . . . .      . . .. . . . . . . . . .
        •Art¢ yoo stm r.espollsible. ifwe accept a stop Payment Ori th eek? •...          a
                                                                                                                               ··:•li•
     .•·.Yes, even if w~ ·r~t~rn acheck U~paJd.due to a·stop payment order; yo~ rri~y still be liabieto
                            a
         the tiold~r.(1a;g., check cashing busine~s} ofthe check.•.·     .      .           ..     .
     .··.How c:m, you pt:eVent a post~dated chet;k ftom b~ing pa,id.b~f~re its date? ·.· .• .
     . . A;'.~ost-dated"check is a checkyou issuew,th~.date in the future.               wfi ai~
                                                                                   not respo.ns1bie for •. ·..
                   to
         waiting honor the cned~ until that, d~te; unless you insfructus' to do ?o (hroUgh the use of· •.· :.
     . ~ stop payment order for. the cbtrck You are respohsible for notifying µsfo ·cari~e·I the stop .. .
     ··. payment otder.when you ate ready to havethat~hec.:k pald, . •· · . . . . .                   .     . . .




                                                                                                                             24
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     '' ·._.·Howdoyou.stop pa_ymentf(H' preautho~ized :efectronic:fundtrc,lnsf~rs? '
           If. yo.ti have told: usln advance to make ij regular payment from your acco~llt, you can ..
     . · stop the payme!nt by:             .       ..      . ..      , . . ..           . .
                                                                                         us
            . •Callitig Wells Fargo Phone Barik'at i.:soo~s69~3SS7,or writing ~d at.Wells Fargo, ..
               Custom¢!' torresp:ond~nce, P.O.B.ox 69Q5, Portia rid, OR, 97228~ 6995,. in time:fdr.us to .
            ·. receive :Your request 3 .business days br more befor¢ th~ payment is ·sctiedt.iled·tc> l:le
               made. If you call; we rnay ~IS<J. requfre you to pt.it your request.iii writing arid get it to ·us ,
             . Wittlin 14 dayi after you calLVi/e wiii charge you· a fee for: eveiy' s~op payment.6rqer you .. · •.
             'request. ' .            .. '         '             .'     ., '   ' '   '        ' ' ' ., '    '
         ' :Notit~ of vary(ng amounts: If th~se regular payments maYvary inarnount; the pe,rsbn you •: . '
        .. are going to pay sh.ould tell you; ·10 days before each payrner:it,when 'it will be made.arid .
            how much it wHi be, · ·· ·              · · ··    ·· · · · · ··   ··     · ·         ··     ·
      ·. •liabiiityforf~il~r, tosttip p_aymeni:Jf you order lis to stop one ofthese payment~ 3·•.:. •· •
         .· bu_siness days pr m9re befcfre. your :5chedulecl transfer, and we do not do· so; VJe wlil be liable .
           .for yqur lossl:!S o.r damages: · .                        .    .      . . . ..        . . .. .
     ' ' .. Purc~ase tra~s~ctior1$: A:stop p~yrrient rriaynot be requested ~n a .purchase transaction,.·. ·.. ' '




    .25 •.Consuri1er ActountAgreerhent :· Effect;ive April 24, 2.01-7
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     .· .How .d() we treat ilCCQUnts own~d by more·than QOe peys()n?. -.
          . You can:thoose to ·open an account Witft one. or more other individuals. ln these: instances, ....
      .we        will treat all account.holdersa.sjoint.tenants Yiith rig.ht of surviyorship unless . . . ..
  · · • ••• State Laws governing.you·r acco.untre.ql.iire bth~r fre~tment; of.: --_--.-- -. ·. · •• ·• •. · _· . : .•··· .-. :
 • •-•: • We other~i~~ agree with y~J in wr.iting tliat the acco·unt 1s:0V\lned ih some o.ther capacity. :
 .· ··.• • ~egardless:of the form 6f.~wher~hip, we will hot .maintairi•a        s~~araterecord cifeach · ···...•·. :•.· _• •
         .·_. co~owner's interest fr1. the actouht. We may a·ct on instructions frorh any·co-9wner Iora co~ -· .· ·•3,--:o ·
          . ·owner's representatjVe) withoi.Jtariother ~cco~·nt c9~owner's consent. The·se a~tions, include .. •···.·•.·.··••.!.•..
         . instrin:ti.onsto withdraw prtra.risfer fuhtjs; make payments, ·or c:Jose the ~C(;()Unt .                            : .::
                                                                                                                                               !. . :.·_• .- .-
        Are We. allowed :to pay         mcmey reqLtest~~ by a co~owoer? -.                                                     ..·.    ii ..
       Yes, we may pay.any mqney inthe account requested by any ~o,owner (or aco.:owner's legal • •g~ij .
       . rep'r'esentatlve), regardless of . . .             . ..             . .-   . .               ::J VI      .


        •.. ·"fheir•cOhtrlbutions, .                                                                .~;3 .
                                                                                                  . . ::i·-o. . . .                                           .
       -· . Wh·eth.er any oth~r co-:owner is incapa~itated or tieceased,:or.                          .,,.,0.
                                                                                                      Q;:i.·
        •. Whether the a~counUncludes ~rightofsurvlvorship.                                         . 3·.lll
                                                                                                                                  .. ~·~
    •.·.What are the fo~tns ·~faccouijt ow:net·ship? .                                                            criii" .
                                                                                                           . . ·. :::JI.C .

         Joint tenan~s with right of Sllr-vivor~hfp:When you hold an ~ccounta~jtiintten~btswith . ... - .Qi • . . .
      .. rightofsurvivor.shlp and orie:ofyou cli~s, tbe account i~ p~yable to the s(Ji:vlving co~owner, . . ..                         ti)          .. ·. . . .
    · · s,ubject to c:>Ur rJghts under the Agreement;. . . .             . - -.    .. . .         - ..       . .      -                ::: ~ .
    · .. Tenants-in~commomWhenyou holq aii ac~otint ~stenants~jn~corr,m~ri, it·iS payable Upon.·· ·.·.·_•·.i:::..•·.•.·•.,_ -... ··.· ·.·
   . . the death ofan accountholdei', In whole or in• pardo any surviving co~owner o,, the·accounl . ....:;
    .•. or the oeceaseq owne6personc1I representativ.e; heirs, or successors.This· is_ subjecf to .our ·. ...• fil
                                                                                                               __:~. :.
         rights under the Agreement       · -·-       ·· ·      ··   ·· · · ·            · ·· ·
                                                                                                                          .. · gg_ •
        ~ommunity pr(j~erty; An account i~ hek.i ~s:ccmimunity prope.rty wh~n:spouse$hav~. . . . •U'I..
     -. ~q1,1al and undivided .interests in the account during thei.r lifetimes.VVhen :One•spous~ dies, .. . m·
                                                                                                              ..,                 .             .

      : ownership:do~s not a·utornatkally pass'tothe survivor; rather,the decea~ed sp9use cari pass .··.. ·49•=2··
        his or.her interest•b}'will; Community proper_ty.does not.e.xist in evertstate. Askyour legaJ .. -- . ou:l -
        adviser tounder:stand if this applies to your a~coimt . .                   . -.           ..                     . ·~~---_-
                                                                                                                            ~;a:•
     •. Wf\at is   a Pay. On Oeath(P.00) accou11t? •· .•. -
                                                                                                                           -   .. ·
                                                                                                                                      ·,-,.o.·
                                                                                                                                       ii>'
                                                                                                                                      . V, .
    .- .- A POD·accc>lmt is p~yable on your ~~ath (or the death. of the !ast •svrviving co-owner)to         ..
             or
 : · .· .one m:o~e payees named in thetitie of th·e accou'nt, When the·title..of ah ~ccount include~ -• ..
      •· :language like "in trust for (iTF1;'1fransferon death (TOD):'. or ~im)lar language, the at,oimt is -
          trea~¢~ as a: pay on de~th accou~t. • .. . . -· . . .. . . . . . - .. - .-. . . . .. . .. . -
     . •- You may change; add; o( rern6v~ the natne of any payee or: benefidary anytime by providing ·• •.
       · us with proper written tio~ice. Generally,:the payee or beneficiary .must survive all owners in
          ordertorete{vetheir share oHundsfroma POD aG:COUrit             . . . .. . .. ..          ..

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       .··.· How ~t·~ i.Jnifor~ Transfers/Gifts t6 Minors Aciac~ouni)i ,handled?                                                         •. ·.
       . • Ah ac;cbuntestablished un,der a state's lJnifotm Transfers/GI~~ to Minors Act is controlled by, •• ,.·. ,
        ·. ·.· the custodian (o(a· successor ci.istocfo:in). Only tt:,e named custodian (or- successor custodia~) . · ·: ·.
      . ·• is authoriz~ to iristrt;Jdus regarding the accountWe ril~y, how~ver, disclose information::             ..·-·
      .. · •·. about the a·ccount.tothe rri1no.rorttie ·minor;s:r~presentative. Whenthe mhior reaches the.·.· .
            · applicable age of majority; we may pay t~efunds on deposit i_n the account tqJhe minor in ·. ·
               a~cord,ahce With. .the custodian's. duty
               ..       .                          .
                                                   '
                                                        without Waiting..for instrudions.··from the custodian:.·,.
                                                                                   '                  .   ..  ,,   .           ..


       ....+low are mtnor by: accounts)1andled? •.
            One or more: adults niay bp_en an c1ccbur'lt in 1:.he na·i:ni=!ofa minor.f~y the adu[t(sfc3s allc,wed'.:
       · .. by the laws governin9 your i;lccount.An ('a~ult" is a person who hasreached the ag¢ of: ··..·
         . majority. ~eneficial owne·rship ofthe:funds deposited ir1 tlie accqunt vests:exdu~ively..in the •. · ·
               minor. The adulthas ,exclusive control of the account unttlthe•minot reaches the applicable_ .
       , ·. ·.· age ofmajority. :                                           ,               , ..                       .
  .       ·,f.t_her~ IS rnqre than oneadult, e~ch may ad ind~pendendy.:we cue .nqtbbUgatecJ to ln,quir~ ,.· ....
  · •. · •abol,it the use of the.funds.When the minot.rea¢hes the age of majority, we may act on : . ·. :· .:. ·. ·
   .. ·. · ·tf-ie:instrudions of _eith~-r the.minordrthe adult.If the adult (or the last of the adults to •..... ··. -· · ·
      , ,, survive) die_s-•befor~ th~ l)"lino.r reaches the age ofmajprity;                                   we may
                                                                                    tra~sf~r:(he,funds: to the ·: ..
     · . . custodian accorditig to.the applic9bleUniforrn Tra.1"1sfers/Gifts to fy1inors:Att .. · ·.... · . . . .
               Cao :)'QU ttansier ow,iership of yQur· ~cco~nt? .·,
        . ·.· •No assignment vvlll ,bevalid of binding <>n us, ari~ ~e. Wilt r:iotbe considered to nav~ .·. ·.· . :.•.·,.·.· ••
             . "kriovvledgft of it, until we <:onsentand the assigrimetit•is noted in our recoi-c;ls. However, by·: : ·
       . ··. noting the assi.gnment; we do ri6thav¢ any resppnsibillty to assu_rethat theass/gnment is.··
               val_id; Any permitted ~ssignmentof y()ur ac;count is s'ubject:to Ollfsetofftights.. ·. ,
              The Agreelllent is. biridi rig on your personal r~pr.e?en\atives; executors, administrators; and .. ·
               successors,. as well as our sutce,ssors ~nd asSi!;Jn,s.                          .,        ,                ,                     .       .
        .: Wl1.;tt ifait
          '        '.
                         awrier
                           .
                                does not sign:
                                       .    . .
                                                a .signatur.e
                                                    .  '. .  ..
                                                               ca~d? :
                                                                . '


          . ·The faiiure ofa perso.n ideritified in ow records·asan ~wner or a~cH:>wner of an accountto ·
      ... · •sign a signature card:(or oth~r atcbuntrelated c;lpc:urrientatlon):does nofprevent us, our ..                                       In
         ..· sole discretion, from. fre~tirig the person as an owner or a co-owner of that ptcount; we are•.· •.
             not liabJ~ to anyone as_ a result.        ..    ..    . .       . . .. . . . .. . . . . . .

       ..·. Arealljoitdow~ers re:sponsif?le.for li~f:dliti~s <>rt yol!raccom~t?
        ... Yes, an Joint owners.are each individually, and jointly responiibi'e for any ()Verdrafton your.· .
            ~cto~nt, regardl_ess. of who caused or• benefited from fhe overdraft. Ifthere is a S:etoff, an •..
             enforcf!ment.of pllr se~Urii:y Interest in your account, or legal-actfon (slid'! as a.third party
       ... :garnishment, seiiure,)orfejture, or tax levy) affecting ~ny co~owner, we have the right·.· .
                                                                                       to
        ... :t6fr_eat all(uhd~ Jri theaccount as belonging the person ~gainstwh.orri the SEltOff,. · ·
          . enforcemeht-of the security interest, or other legal a·ction is directed. If youniccourit is . . .
            :dosed fo( uriSatisfactory handilng; we may report ~lljoirit o.1A111ets to the corisurner reporting ..
              .ag~ncies. , , . ,. , . .                     , ., , ,. , , . , . .. , .               . . . . , . ,. . . ., , ' . ..          .        . ,. .,




              .··             .   -    . -_    . . . ·.- . .    ·-:    ·.· .· ·.       .
               .    .   . .       ·.       .         .   ·. .           .                   .

  . 27 •Consmim Account Agreemer1t ~ Erfect,ive AptiL24, _2917 ..
    Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 106 of 143 PageID: 435
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     •.. ·. Whaflf Oi, .accoutitownef.tir authorite<.I signe; is decl~red i~cortip~tent ot •..
       dies? : . .        .             ..       . .. ..            . ..               . .. .        .        ·   .             5
                                                                                                                                -~
                                                                                                                                .O·
     •. Pie~se notify us promptly ify~u l~arn or suspect an account owner ·or signer has been. ·.: ·•·.: • •·                   C.
    .· · declared incompetent by a court or a leg·a1 authority; orha~·.died. When we receive proper ..        . A-•·
         notice, we may : . . . . . .       . ' . . .. . . .. . . . .. . . .·            . . . .· . . .. 0~
                                                                                                                             .. :;r
    .. •     Freeze the account u~tii' we rece.i:ve do~u~ents ~erifying the inc:apadty• oi death ar:id ·.·.••
           : instri.l~tioris r~garqing the funds.remainhig fri the account; .••. : .. '.· :.. : .·...· . • . . .. ••. .. .
       •   .Pay (wtth~titi11~~ir'in9) anyitem authodzed by the:aq:~~nt pwner before l;>eing ciedar~d .
                  . incompetent or'dylng;. .                      . ..               . ..                 . .   .
             • Retu(ri or rever~~ deposits rhadeto the acc6(.mt, and . . · · . . . .                   . . .   . .
             i · .· Apply f~nds in the atcoimt,!o ahy debnhe .acc6~•nt owneiowes lJS b¢fore ~ecognizlng ••.
                  :.th·e rights to qny r~majnhig funds ofa surviving Jolntov•mer9r other p~rsori. : •· ·•. ·.. ··..
     .•· · If we are· iiable for taxes because we released funds in an .i:i'ccount after the account ownels
  · .·: ... .death;
                 .. .
                        the a,count
                              .   . . .owner's
                                          .  '
                                               estate
                                                 .    .
                                                       is responsible
                                                     . '     ...   . .
                                                                      for. .reimbu(sing
                                                                                . ..  ..
                                                                                         us for the
                                                                                             ,    ..
                                                                                                     t~xes.
                                                                                                      ' . . .·




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                   \t\lhat' hit~re~trate ~ppi,es t<> an iriterest·~arning account?•·.· ·
                                                                   -~n
                 •when you open rriterestearn.lng a~count1 wewm provide a· r~te sheetlisti1:1:g the ci.!rreht ·
               . :inter¢st rate ari~ Ann_ual Percentage Yield (APY) for your account. Interest earning accounts
                  e·arn interest at i:i variable· rate; exceptTirrie Accot1hts (CDs); We tnay change the lnt-erest rate ..
            .. for varlable~rate .ac_counts at any.time: The Jnterestrate rnayvary.·depehding on your daily . •. •.· ·..
              ·.. balances (tier~d~rate account). We may pay the same interestr~teon mo.re than one tier.The .·. ·..
                  tiers andcorresponc;lirig
                         '    ..    . .· ," .··
                                                i~'terest
                                                    .
                                                           rates. .ar.e· disclosed in 'the
                                                          .·                           .
                                                                                           rate
                                                                                            ..
                                                                                                sheet
                                                                                                 .
                                                                                                      ...·. . . .. . . ..                  .,            '•'    .                   ,•
                   .. ·                ·_.'      ·-       · ... :- .· ·'.'..         ..                        '   '   .· .......     '_        .   ·-
                 H9.w dowe.cai'c;ulate earnedir,tere~t?. ·.
              .. We c~lc~late ioterest:u$irtg the daiJy co:Ueded balaQCe m:ethc>.<;J.Th_ls m~thod applies a d,aily ··: :
              . . periodic rate io the ·coUected balance in your_'accouhfeachday. interestjs cakulated using a .
               · J6S-d.ay year.. ·.      ·        ·     ·         ·    ·            ·      ·        ·     ·
        ... ·•. Whe~:do~~a <,leposit Q~gin accruh,g int~resH. : ..
                   .Cash deposits begin accruing interest the S~trie bµsiness day a depdsit.is credited _to your .
                   :atcourit.lf yoi..i depositan item $UCh as a :check, interest be_giris a·c(:r'uing on the i,usiness day
        ·           w~ receive Credit for the item;                                                                    . .. . .                                . ..                      . •.             . ..
              ..' Is h1tena~tcornp01fru:led and when is it er.edited_? ..•..
              . 'Interest wirr tom pound C>O a daHy ha$1S._fo((,h~ckirig a·nd savings accounts, intere·st will be ·-...
               .
                  credited
                   ,"   .. . .
                              on .a•m(jnthly
                                    .
                                             basis.
                                             ..
                                                      .        ..  •·
                                                                       .        ..
                                                                                "'                '.•
                                                                                                         .
                   · What is tf1e difference bet~een Annu~I Percelitc1ge     (APY): and Ann:ual .                                                                             Yield
                    :Pertieotag~ Yi~td Earned (APYE)?: · · · · · ·· ·· · · · · ·· ·· · · · ··
                 .The Ann uai Perc~n.tag·e Yi eid (APY) is a. percen:tag~ rate. retle(ii ng the tota I ar.n aunt of int~re~t •. . .
              . paid on an account based on.the interest rc!te anclthe freqqency9fcompo1m_dingfora .... •·
              ... 365~(,iay period, The f\nhual Pe~centage Yield Earned.(APYE) is an annualized ratethatreflects ...
                  .the relatiorishfp. betwe·en the· arnot.intof ir:iteresr actually earned.on your ~ccoul)t during. the .· · ·· .
                   statement period.and the average daily balance ih the account for the statement period. . .
                   ·we calculate both yolir,APY andAPY~ according to fq(~~las establish~d'byfederal                   ..
                   :re~ulations. The APYE appears on· your'i1ccourit statement. .. ..                                                                                                         . . .. ..
              ··. ·a<:count?
                   Do we have the   . ..to .rec1uire
                               .·' .right            . •· of
                                             . . notice              . . .from.. yciur
                                                          . virith.draWal          .. savings:
                                                                                       . . . ·.
             .·• Ves: we have
                 s~vings      the right
                         accouril.  : . to
                                        . r~quire
                                           ...    7 days written not[ce before you ~ithdraw money fro~ your •.· _·
                                                  . . . .. .. .. ... .. . . ..                 ..    . ..

                   Are you.r~quired                                             to obtain~ tax _ideritificatio11 llltrnber c~rtification1 ....
                   Yes, ih most inst~nces,Treasury reglilatiohs r~quire usto obta_in a Taxpayer l_d~nhfica~iori.
               · Number ("TIW)for each account To avo.id backup. withholding ti:lx on-ac:;tounts that earr:i
             ..··.iriterestordivid.ends,: you are required to_'~ubmit.lnternal_Revenl.le ServiceJ'IRS")Form Wr~ ..
                   orForm w~sBEN.andsuppori:ing informati_ori and/or.documentation to-us, u:s. citizens or . ·.· ·
                 .other U.S: pers_o'f.is; indud_iOg resid_entaiien ii,clivid_uals; mlist provid_e .a Fo_rtriVl/~9: Jf you af~ a ·. ·.
                   non~ Jesident alien as defin.ed by the JRS,you _must prC>vlde a Form W~~BEN... .. _. _ . ..
                   Until w~ have recelv~d the Form:(sj V,f9or W-8BEN compieted and signed per IRS . .                         .
                _· Regulatfons, or any other required forrns 1 we ·will pay interest and ~omprywiththe backup:•
                  withholding recjuirerhents of ~he IRS. •. .                . .. .            . . .                 . .
                             . -         .                '                                   .   :.   '           .
                         .         .         ,        '                 .            .    '                                                .         .
            29 (QnsuMer A~(ciui1l J\greement- Efl'ectiye Apr!! 24, 2017
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          ·. Regtclation
              . .  . .
                          o savings
                              ..  - .
                                      ~CCQtmt
                                        -
                                        .
                                                trans~ction
                                                 - .    .
                                                        '
                                                              limit and .9th~rlimited
                                                             . .. . .
                                                                 .            .   . .
                                                                                        activity··
                                                                                            . . .     .   ,
                                                                                                             ':::,·:
                                                                                                              a
                                                                                                              :q
         ' Regulation band Wells Fargo lirnitcertain types:of withdrawals and transfers from .savings ' •.·' .o·
          . ac~ount to a combined ~otal of. 6 per monthlyfee perfod~ · .     . ..                 .    . 'a. '
                                                                                                               C.

         :· p111ited by Regulation p: .                                                                                     ,.• . . i,••·
         ' ' • ' •Tra~sfers by phone using our automated bankl~g s~r'vice Or speaking with a b~liker pn::
                  . the phone         .. . ·. : .·· . .. ·. . . :· . ... .. . : . . ... .. . . .. .    . .. . . .
          . • . Transfers otpayments through online,:mob,il~, and t~~t banking (ind~dirig ,BUI P.1wand
            ' ' .· persori~to.:person p~yments)' ' ' ' . ' ' '          ' '' ' '           ' ''            ' ''
             • .o~erdr.aft P~otecti~ri transfers to~ checking a.cc.o.unt . . ·. •: :.• . . •. · ·. · .
             • ,. Pre•autliorized transfers and withdrawals•(includingJecurrihg ~hd o)ie time) '' .·'       '''' ::
             •.. Payments ~.o third pariie~ si.Ich as ~h~~ks, drafts, 6r similar transactrons (counted whe.n .
                  ' they are pqstedto your account.arid not w,he!'n they are written)'' '       ' '' . . .
          '                                                          to
            Debit or ATM card purcha~~ ~hat post the savings :account .· . '
          U~it~d       by VV~lis
                           FargQ: .     .. . . . ..    . . . . ..

        ···: ~ ,· Jr!i~sfers and payments t6 Wells· Fargo qedit <ards; Hn~s of ~redit: arid loans ·.
            ' • •Outgoing wires whether ;,;ade: in person; ori:the teleph'one; or onlin~' •. '
        ',· Not ihnited:          ''
         ..·Ex~~pt a~ li~it~d al)ove,there is no H~it on the foll<>wirig in person transactions ata. '                                   (I) . ''
                                                                                                                                         .....Vl , .
            WellsFarg6 ATM orbarikiilg locatiort ·.        .     . · .      ..   .
                                                                                                                                '
                                                                                                                                       as:
                                                                                                                                     '"':'·1"1-      '
              , . Transfers between y6utWetis:Fargo ac~Qunts .                                                              .        . :::, ro .
                                                                                                                                ... .,...,..
                                                                                                                                     o3·
              . :withtfrawals .·: •. . ·.:' .· ' . ' ' '
                          '                 '
                                                                              ''                                                    ' =ii:5'
              • Any types :Qf deposits                                                                                                Qlit' .. '
                                                                                                                                         r.r. a, .

              What.ha~pem~ If you exceed your iimit?. •.                                                                            ··.~
                                                                                                                                         ,o·a··.
                                                                                                                                             ''




         : :· 1t you exceed the iimit st~ted above,.youwil( be ~hargedi3n excess activity fee (see the •:·... · • ,·:: nl' ·.' '' '''
         .· ton.sumer Account Fee and Information Scheduie); If the iimit is exceeded on more than an                       'V\ :,j '

            · occasional :~asiiWells Fargo m:ay be' reqi.iired t9 cori"vertthe s:a11ings•actolJ·ntto. a the.eking:. ·.,''.'·"O
                                                                                                                             OlO· -··'
                                                                                                                             ::i:T·
         · . account,: whichw.ould disc:::ontim1e any Overdraft P.rotectic,n it might 1:>e pr.oviding to another • ' V\           lit '
                                                                                                                             ij! '·.'
        •· account; or:dose. the. account. · . . . . . . . . . . .               . . .. . . . . .                           ·-·°'
                                                                                                                             :::-:::I'
                                                            is
             ·• ,f the withdr~;al andtra~sfer limit reached; We                    may
                                                                        decline ~ithdrayvals and transfers for ,·: '., ' V\
                                                                                                                            ''""0.
                                                                                                                             ;;;:    '       "



           .· the reinc!ihder pf the mohthly·fee period :to help you avoid a fee:anc:i accqunt conversion
           &~~                     '        ''    '           .,   '           ,.    '           '       '            or
        .:·.·•What.is a fee       pedodl •· :·
        •T~e fee pedod i,s useq to couritthe number of po~ted, transactions b~fore ch~rging feesfo( •''
         .· s.omi; tra11.sadions during that period. The dates of your fe.e pe(ipd ar¢ locat~d in the section :
        .. ,Ori ypLir statem,~nt Ci:llled ~l\llonthly service fee sumi'r)ary;'for each ac~otint; .For the P9rtfolio
          . by Wells FargQ; Portfolio byWeilsFargo PIL!s and Portfolio by Wells Fargo Prerriie.t programs,
         ·.·the fee period beg·in.s on the first business day, and ends
         · calendarmonth.                       .   .            .        .              .
                                                                                             on
                                                                                the last ·busfness day, :of the · .
                                                                                                  .               .




                                                                                                                           . 30,
                                                                   .
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           .                                            .                                               '



           .. Whati.lre Tiitle Accolmts l · .
               Time Acco.unts (CDs}are payable at the exp.iration .of aspecified term, nc> less th~n 7 calendar.: .
         . . days after the date of deposit.We may afso refer to aTime Atcount as a·~cD" or a"Certlfkate ·..
              .of Deposit;" everfthoug ha certificate does not represent-a Time Account.The CD's maturity '
        ' . date is the. last c;tay of the terin for the CD. The IT)atwity date_ IS priht~d on your _receipt. ·: ' . .
           ··W11~n can you wit~draw fu~ds from •your C:Dl · · .
         ..· Yo.um~iwlthdr~w. fuilcl~ fr~rii yollr~[) on the njat~ity ~at~ ~ithout ·a fee :6rpen~ity. Vo~ .:·.· .·
         · ·. may aiso geQEfraily withdraw funds without~ fee or penalty IN_ithin the 1.cale_ndar days .·.
               afte(the matllrity date:(grace period}. You may be ~h~rged ,a fee or penafty if you rnake .. ' '
            ·. a wfthdrawaLat any' oth~r time. Seethe 'Time Ac,counts (CDs)" sectiorrof the Consumer .·
        .. _Account F~~.and Information Schedule for details;.· .              .                 .
      •.· ·.• ·.· Canyou deposifaddiUoncd fllndsinto. youi'co1 .·
                 ':Yoo ~an-onl)'deposit:additiohal f~nds during the gra<:e period .
      .. . · ·wm yoi.:u; Annual Ped:entag~Vi~ld(I\PV) :change ifyou:witlldraw interest •·
               befor~·1natµr:ily? •:..                                                                  . ..                                                      . ..           . ..       . ..
          ·.. fhe APY we distlo~e to YO\J assumes the interest you·e·arn Will remai~ 'on deposifontil your. ·. ·. ·.· .• ..
      . . ' 'c_o matures. )fyou witlidraw:your earned ihterest'before·maturity; your account will earr:dess : .
        . · Jnterest
             .     .
                     over time
                           .. ..
                                 and. .the
                                        . .
                                        .
                                            a'ctual
                                              .  . .     . . be. less
                                                     APY will      - . than the
                                                                             . .
                                                                                 disclosed
                                                                                   .  . ..
                                                                                           APY.
                                                                                            .. . .
                                                                                                   ·.           .                        .                             '   ' .
                                                                                                                                                                                            .      ..
          .· i• ow doai y9utCD renew:? ...
           Your'Cli wl(autoai~ticalJy reneVJ at matmity •. . · ··                ·· ·          · ··
        . . • ' 'Typically f~r alike• term unless we jnfQ.rhi yoU prlo(t~ maturity of a: dtffere~t te;m; and •:.. '
               . ·Atourinterestrat~iheffect <:mthe.maturity date fora n~wCOof the sa111e ter.ril'and .•
                • anio~nt, ~nless w.e have ~otified ·yc::,u •otherwise. · ·                            · ·




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                                                                                . . .. .
                                                    '
                       .   .       .        .               "   .                               .                   .   .   .   .            .   .            .    .
               ·. :-   '.·     .. ·. .          .                   .           ....       "'                           .       -            .·          ..
                                                                            '               '       .
           . . ' . ·_ .. .             . .                              .       -     .... ·                .       ,·'     .       ..       . .. :-




       31 ~''""''" Ac<o,a; Ag;o,~GU - iffea,v, Ap,:, "· 2~·! .
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         ••. .fieneral iu !es for. ele.ctrordc: ·fu'1d transfer se.rvices :. :.•
                 We offer avariety ohlectr6nic fund transf~i ·Ser\tiC~~ you can use• to access funcls your ·· in
                 accountfs) and·peiform .othertra1\sactions detailed in this.sec:tipn. We .describe some of ·.
              . the·se:servic~s In this section ahdalsoprovld~:cert~iri:disdosutes.that:apply tothelJseof ·.
           .. eledr~::itikfund transfer servic·es with your consuiner: account. Some ofthese .services a·re · .
         • . goverr:ied by separate agreements we give t~ you atthe tlme yoµr card is n:ia(lec:J.or you sign •
         .:. up forthe servke (e:g.;AfM.ar\cl debit cards, Wells Fargo Onfine:and Mot>ile Banking). :. •.... ·
                                                      se~
                 When you read t~is ~.e~tion, you wil·I   •refere~~es to Rl':igulation E. This· re·gulation a·pp.li~s.: .
         .• Jo.transactions :you can perfo~rn using your cartJ to a:C~ess your aq:ount, such as pi.irchases ..
           . ·and ATM traris.actio.ns.Regulation E~lso applies to:other:types of elec;tronicfund:transfers ·•·
                 you can make·from or to your acc:ount;sucn as payments made using· am Pay ar1d th~ µirect .
       . ·. deposit of yqi.Jrpaycheck into: y6uratto!.:lnt R.egulatio:n Esetsfodhthe basic rights~ lic:1bilities;: •·
           ·.· .and responsibnitles of consur:ners who use electronic fund transfers and of the ban~s or ··...·. · .
              . other person~ w.ho offer these servites;.lt indudefthe a!'.=tions you need to take ifyou·be1ieve ...
          . your car.d, your card nurnber,.oryotfr Petsonalldentifkation NUmbef(PIN). ha.s beerdostor ..
      . . . stolen; or if yciu O\:d:lce an ~rror or unauthorized electronic fundtra:nsfer on your ac:cour,t ..
·.· :·. •.. and the nHes: regarding your ·potenti!:ll liabilltY for these.transfers; Your respor'lsibilities arid:: ..
    · · ··:. :prot.ectfonlunder Regul.atiofrE:aredescribeiin mciredetail in the "ElectronidtJnd transfer· .. :
               . disclosures" sE:!ction below. ..   . . ... .. . .. .             .. . .. .. . .
      .. for unal!th oriz~d card transactions( in addition to the rights yo~ have ,.mder R~gulatlo~: E; . •:
    .. ·Zero Lia.bility protecUon provides yo_u wfth add~d prote~ioh from:liability.With Zer<? ~iabinty
    ·.··.protection; :rfyour card 9r card m.irnber is lest or stolen and: us~d without yqur authpriiation, .
      . you are notresponsible·for u~authorizedtrarisadions:you promptly teportto us:Your .. . ..
         .re~ponsibiiities and pro.tectloiis :unde.riero Liability prqtectioh are des·cr.ibed. iri :more d~tail .. ·
       ·. ·in.the section on;'Zero Uabili.ty prufoc.:liurl (cq,-d tiai'isactions only)'~ which is detail~d in ~he:
        . '.'Pebit cardsand:ATM ca.r~s''s~ctiorrbelow....... : .. ·. ·. . .. . . ::.·.: :·.. ·...•......· ..·•. · .. ·. :. .. .
       • .The fo.llowing table 5.urttrrJi;lriz:es the types 9f transactions to whkh Regulation E applies and ·
     : tells  ..
              '
                 you .if Zero
                   '      . .
                              Liability:
                                 .    '
                                         protectloh covers
                                          '   '     .. ·
                                                            the transac;tion..
                                                         . ,·. .  .. ..   ,·  .·.
                                                                                            .. .            . . .. .          .




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               Electroraicftind.tr.ansfer ·                     . . :Description .·           ... •·.: Transaction ·. ·. Zf.lro· · · .
                                                                                                       ·: covered · ·. Lh:11:)ility ··
                  .             .     ''
                                                                                                     .by Reg E               1 ·   prot•ction · ·
               .\N~lls Farg~ ATIVis                 Make deposits~() Or withdraw                               ;.J                       ·:J
                                                    from your ac:cou.nt; fransfer ...
                                                    funds.between yciur·accounts, >. .
                                                  . mc,l:ke. paymeritsto: a linked credit :
                                                     accpun:( obtc,iin a statenien(of : .
                                                    the la·st 1Otransactions (fees niay ·
                                                    ·app.ly); pu~,r-i~se U.S.. postagE:! ·... :.. :
                              .. : .stamps(fees may apply) . . ..
                                                                                                              . :(
     · .·. ~011.-WellfFargoATMs.    .Withdraw cash (fees may apply~ ..                                         ·v ..
                                                            a
                                    .For card is;Oed by. aW~lls Fargo •.
                                                                        in
                                    .branch located lov.ia 3:.. . . . .· . . . . .
                                     II/lake deposits atcertain non~.. · · · .
                                  · :Wells FargoAT!vls .· . . ..
                                                                                                               :/
           . .Putchasesati,a:rticipt1ting · Purchase goods and ~ervicesfrom • · .                        ...
                                                                                                               ·v .
                                                                                                                         .                {      .. ·
            : roerchants :                             merchants acceptfng p~iyments.
                                                       through a hetwork(e:g'.;Visa ..·
                                                     .and MasterCard) fr:i. which we
                                                   ... pi;itticipate (fees in~y apply) .
           . : Ov~r~the (ounter .· .           . :. . Withd~;3w c~shth.rough·a·te11er .. •: ..           . . ·v ...
                                                                                                               ··   '
               (teiler as~ist~d)casfi      .         . ..            . ..         .           . .
           .disbursements at a·•.
            Wells Fargo locali9n .·
            . Over~the counter:· ·. .             ·.. Withdraw ~ash thro~gh           anon~ ... ·        . . i/ :                      . '.'/'
                                                                                                                                        ·V
                                                                                                                                                 ..
                                                                                                                                                 .
           .(teller asst~ted) cash . ..• Wefls Farg.o teller(ft?es may apply) .
           .disbursernents ata .· .....· ·. . . ·
           . non'.'Wetl~.Fargo location · •:
               BHlpaym~rits_                        Authori?.e one.:tirne:orr~.curri!'lg · · ·               . :../ .
                                                    el.ectro.nk· paymer,ts from-your ..
                                                   .account using fnform'ation fro~
                                                    your card . . . . . .




     . ·
           1
              For details; see th~ '1Elecfronidund ti-ari~fer disclosures" settiori below.
           2 . Uriauthodz~d card use n,ust be rePorted within 60 days of when the first accQ't1rit statement .

            . showing the. unauthorized transaction was delivl:!red. For details, see section on "Zero Liability .·
                protedi~ri (cardtransactioiis on.ly)/below:            ..        ..      .·    .. .. .   .          _·       ..          .       .
     . · j. Also      appli¢s to a card is:suec1 by the Wells Fargo Phorie Bank or welis Fargq 'Onlir1e thi;ltis li~ked to .
               •;: primary
                        .
                           accountopened
                                    . .
                                               :in low<!:
                                                     .  . .
                                                                             ··             · ··                 · ·
    33 • Consuri1er Account Agreement-~ rnec~ii(e Ai>rill4; 201_7
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                                                                                                                                                                             . ' .....,
                                                                                                                                                                                  5"· '.-
                                                                                                                                                                              :-.o-
    :: Electronic f~ind transfer                                       .• Description ·..
                                                                        . Transa~tion ·Zer<> .· •·. · g-.
         . ..services (EFT) .. '.                                       · covered by. Liability . . ~ :-
                                                                          . ·: -~eg .E'( protectiQn 2 .·. • ·. g'.
       Transfer~-··               . · · Sendor:receive:fransfers•between · · . V ·
                                        your acc~u~ts: or to other : . .. .                           . .9-:if
                                               redpi~nts a~WeUs Fargo or other                                                                                            .· ·. g~ ..·
      -t-:---------------..---~--· ·_fi....n__a_nc.,...i.,_al_in_.s,. . t_it__ut__,lo_·n.,...·s--'-,-.,..--....,·_·_...,·-+-'-:'--:---'-:-----:--t.,.,...-'.,;--.,_;.,-.-i.
          P~yments
                                                       +.



                                               One~tirrie ·o.rtec~rring payrne.nt~: . .                                                ,J
                                                                                                                                                                                ?f
                                                                                                                                                                               . §:e: .·. ·
                                               from yciur atcciµnt thatyou initiate '.                                                                                            If~::
                                             . or pr~authorizefor withdrawai.... . .                                                                                      ...·:. g:& ·. ' .
                                               from your accoi;trit, ·.· .·''                                      ..
     · ~red I.ts.:··· ·                 ·. ·.. Aut~matic el_ectrQni~ deposi~s: t·o. ·: . . ' :.. ,J...                                                                        . :.S'..['
                                    .          YOL!r accoiint, such _as payroll .or .                                                                                             -,,..
                                                                                                                                                                                 ·0.0.
                                      · .. beiiefits. pay_r:nents· .· .·                                         .                                                        .·. ·.JS': :
     .1---=-.--.-.-'--.-. . -.--'-----+-._..,......___;--,,_;_;-...;,,_,._--,._--'--'--,_-'-'----:-.+.-..;....;-,.....;...._--'-~--'----'--,,.,.:....;.--,-i_. . ll.l ::, '
       .· Ele~tronlc check.                  .Electrpnicfund transfer usl~g: ... . .. . .·,J ·: · · .                                                                         · ··5' ;' .. · ·
    ..· .conversion's·:· .. .                 •toforrnation.from a check (e,g.; the ·..·. .                                                                               · ··. :::11.0 .
                                              _.Bank's routjng numbef anc{youi-                                                                                        . .              ~- ..
                                             . actoµnt n_um_ ber).                                                    .                                                    · · · · ··
      ~-""-----'--~-......,..-------,---------------------____..-.,----'---...... -~ow.·
                                                                                     i4
                                                                                                                                                                                  -,   .,.....   '
                                                                                                                                                                             .. '::i   '1)
                                                                                                                                                                              · .o3
                                                                                                                                                                                ,.... i'D
    •. Electronic fund b·am,fer ···                                    ·. •. Pe~cripti«>n.:.                   . .... Transaction ' . ' Zero·..                                  ~;:I.
                                                                                                                                                                                 n vl' '
          .. ·. services. (EFT)·
               .       '''. .            ,.
                                                                                                                 .. _-_·_c;overed_· ·_by·· ••_L.iab.ility•·. ·.                 ~w
                                                                                                                                                                                o'::,            ·.
                                                                                                                         ·.•~eg E . : . protection .· .·. -~• o.: ·
     . ·: Phone BarikTransaciions ·. 'YolJ can reqyeshhe Phone: Qank ' .
    .- . (not Linder a wr.itteh ..    -to ma_ke transacitkms tQ and frorn .
          agreement) .·: . .       . your·~c<.:ount ..
    . . Phorie Bankrrahsadions :The Phone Bahki i.fr,d~r an· •..• :...• ' . ' . :/: : .
     · ··(under a Written ·. ·  agrcenient; can make transactions ·.
        ~9reemerit) : ·         to ~ndfrorn your acc•unt :
                                                                                                                                                                                •Vi'      .           , .
                                                                                                                                                                                 QI"             ' .
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                                                                                                                                                                             . , v,--




    .l    For details, see the."Eiectronic fund transfer disclosure:s'' sedi~n below.. ··: ..
    ·. 2·: Unautho;1zed card use n,ust be ieported wit~in (io days of when          fjrst: account siatement     the
       . · $hewing the µn~uthorized transaction was delivered. For detalls, see sectiorfon "Zero liability
      .·: protection (card transactions 9nly);' below.. .             ..      .          .      .         .
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                                                                                      a
     ' , .· Thl~ part• des<::dbes ways to us~ Services linked 'to an account ushig debit or ATM card;,: ,, ·., ,, ,
           · some ser.vices may not be avai!abie at all locations.•we may require· you to sign additlonal .· •. · .
          . clocu111entation: to obtain a deiJlt or AT!y\ card.Youwill rece·ive terms and ccmditJ~ns .••..
             applicable to·yo1Jr card wh~n yourec:eive the.card, l_h the event ofa confli.d between.the. ·
           'terms and qj riditjohs ~nd.'tne Agreement, the terms and conditions, YtiU coiitrol. Additional.,,
             disclosures applicable to th:ese services are provided in.the Con~umer _Account ~ee and · .
             lriforroaticm Sched_ule:       . . . .           . . . . ·. . . . . . . . . . . .

         '1ssua;1ce• of a tcird and Pei·sonai Identification Nu111ber. (PIN): , , ,,
       . We rn~Y. issue a caid to ea.ch account owne(to ac:c~ss your acc6unt~. ffyou do not select aPI_N .
       : wherf you reque;st your card, we wm send a randomlyselected PIN;. . . . . .             . .

        ·. ~rut~ct,on ~f ~ard and PiN:          ...
      ..•. · Y<:>u sho~ld:secur~ly pro.tettyour ~atd and• PIN -from loss_ or th~ftfach card hold(:!; musfhave •.
          ·.· his or her ow,n unigue P,iN for the .card and ·is responsible. for 111i;iintain!ng confrdenUality of:.•-·
        . •the PI_N, Memorize the .PIN. N1:ver write the· PIN on the ~ardor share it 'Alltb anyone, including .:
       .. · our employ~es. Neverailow anyone else to us~ the card or PIN; IHhe car.d o'r PIN 1$ given: . . .·. ·
            t,o another person, the account owner      will ~e re~p•nsibJe f9r all tr.ansa~tjo'ns made by that•·
             ·p·er.spnoranyone else to whom thafperson gives thecaid or.PIN. NOtify us in:,nie9iately if·.
     . · th_e card ls lost or sto!eri;•or isrio longer secure: . . .          .     . ..          .        .      .
    .. , : .•1ustr1ht i~rsue   debitcar~ .•
        .· The instant issue debit tard. is ·a.temporary debit card.We will deactiv~te the instant issue •,,
      .. :debit ca rd e(ther whe·nyou activate your permanent debit card:or 30 days afterW~ ls$ue your :
      . temporary debit c:ard> : . .. . . . .              . .. .           . ..      .     . .. . .         .

        . Ur1!dl)g a((ounts fqr (:{tr(i ac~ess and cfesigm1tfog p~imaty a~ount ·...
        · .· Linking lets you a~d accounts you own (e.g., checking; savings,.credit i::ard)to-~ ·debit 'or. .
             ATM card, giyi,ng'yoµ ilCcessJo make:transactioris on multiple accountswitfrqne card at, ,
     .•·.• Wells fargo ATJv1s; At rnost AT Ms; you 9nly have access to acco1,.1nts Uriked toyou_rcard. At . -· ·
           · certail'l ATMs inside W~lls Fargo µranches, h,oweyer; you m~y be abl.e to access.and perform ·
           :tiansactrons ori ai:c:o~nts that are not'finke~;fto your ci:ird. · ·          .. .              . .. ...
       ....•1ty6u link oniy one account ~fa single type (e.g~, checking or. savirigs accounts) to the ~ard, ·...
          ·. that linked.account is automatically designated (35 the "p.r'irnary"attount fQr pu'rp<)ses of ..
    .· • electr'Onk,fund transfer services. Thi:i prim~ry accoui')t for adebit card must be a checking .. · · .
         . accourlt.The mtihey for purchases and payments-made with yoor.card is dedLJcted-from:
             the primary checking ac~ount. Cash Withdrawals usiog ~ ciird ata non~Wells Fargo ATM are··
           ,cledu~~d from the pdmary th¢cking or savings accou'nt ,                     ,         ,,      ,
         . ifyo·u Jink more t6im one ac~oonf pfa slngiEftyp~ ~o the ca~d; 'you may designate a prim:ary .
           .accotin_t _and other acc9unts~ .If you do 11ot d~signafe orie ;:1ccouht as the ·primary accou·nt of~ .
       , , •partfcul~r type of ~c:count; the ffrs,t accot;nit qf tfi~t typeJiriked to your card is cons.i~ered: the
        .. pdmary aq::ourit fQr that type of account lfa primary account linked to the card is dose_d or·.·.· .
                                                                                                     as
             delinkedfor c;1hy reason; we wili designate ~nether llnked.account(ifc:1pplicable) the new
           ,primary account: If this linked account is a savings account; your debit card will l;>e clo,sed , ,
         · and you can-request an ATM card:Wewill determine the number and type:of accountsyou ..
             canUrik toyourcard.             ·      · · ·· ·            ·· · · ·            ··              · ··




    ·35 Consumer
        .  .. ..
                 Account Agreem~nt:-
                      .   .·.
                          .'   ·-.
                                     Eff~ctive
                                       .-      A1,iil 24, 20) 7 ·
                                                ,·.     .     .
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          Using a card to access iink~d Cr<!dit cai•d and Hfle of c:reclit acco~nts ~t ATMs . . . .
           . lf you lihkyour We Us F~rgocreditt:a~d account o.r:eligible line of~redit accoimf tothe card•··:                 ~
 .. : ···(linked c;redit account), ypu may usetheca;dto access the Hoked. credit account at any ... : ·.· ·. ~-- .
  · ·.. : Wells Fargo ATM. You can use .the cqrd to obtain cash or:transfer: funds frorn the linkeq cred.it.. •: . g._ : .
        .. ac(:our1t; as long as the Unked .credit.a.ccounfis iri good standi.ng and .has ~vailab.le credit. .·: · .. . . . ..~-... ·
       .... Cashwithdrawals arid transfers offi.indsfrom your linked credit ,m;:oUntare treated as cash .·.:
        . advances. Eachpf these trimsac~i<;ms ls subject fo the provisions of the appllcable credit: . . . . ·· ·                 ·
        . ·card. ace;o~nt agreinient or line of creditac~ourit agreement, including dally 1.im/ts arid ,~sh · •·g:.if ·
       •· . advance fees:        .          .     ..    .. . .. ...       . . .. .         ..           ..     .. ·.                                                     1f .
                                                                         or
      . · You must riotify us in.case 6fen~~rs qu~s,ions.abo~:, yo~Jr Wei ls fa~go credit c;ard biif.. If. .         ...• ;~·. · ·•.
        . yo~ think your pil I l.s .wrong or if you .need more ,i nforrnation about atr:ansac;:tioll on yo_Lir .. ·       o-CL ..·
    .··. bill;write to us at: Wells Farg·o.· Card S~rvices, P.ci Bois22; pes Moines, IA, 5.0302~9907: Yo.u
                                                                               .
    .·.· also may tail .us at thetelephohe number liste(i on you{accou.nt statement:However, yo.u ... •: g.'.·& . ·.
                                                  .         .                             '
                                                                                                                          ct~'.                                          ·•~
    ·.··.most writefo Lis tq preserve your l;>illing rights.Please .consult y.olir appiicable creditaccotint: .· ·
          agreem~ht for C:ompiete inforinaticih on the ter-ms .and condijions ~pp! icable to yom linked ...
     .. · credit account including th.e .rules relating to cash advances from, and payments to; your ...                  .;..~ . .
                                                                                                                       : :,-o
          linke(i Credi' accounts; .         . ..       ..        .         ..    .         .         .                   ".:ho·
    .· ....     ·.  -· . . . . . .                                                                                  ' .Q;:;.:
               ·•.
                                                                                                                      . . 3 tll .
                                                                                                                                                                   . . ni :,
     ...·U~ing yo~r.iard •..
                                                                                                                                                           .·.·.·•·a::·.. ·
    .:·. The tables bel~W show· how yoµ tan useyour cr1rdfo mak~ pu r¢has~s and payments; make.
                                                                                                                                                               . ... :ltQ
                                                                                                                                                                     ..           !!!.
          tra~.~fers, and ~se ATMs: · · .· ·. •. . · : ·. •.·. ·.. :..•.. · ·: •·. · . > .· ··· · ··· ·· · · ·
                                                                                                                                                                           .(I): .
        · Note: Some    service.s described below may   n.ot. be available
                                                                    .          at. .allATMs'.                                                                       .. :;::. V) . .
           .       ..    .           .    .         . .
                                                    .                '   ' . .       .'  .    '
                                                                                                                                                                           oS'
                                                                                                                                                                         - ~. ,-ti: '
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     ·. Action$·                                                                                                             :oebit : · ATIVi · ··.. ~~.
                                                                                                                            .·. card          carc1 1 ·.
                                                                                                                                                                     ..g'aw_··.··· ...•·
                                                                                                                                                                   · ·,.,..

           Use. your dir:dat merch~l'.'ltS wfro accept payments.through a petwork in                                                                               · .. vr ·· ·
 ... •.·. which we participate (e,g.~Visa® and MasterCar~C!\i: ..· .. .•. ··.. . ...                                                                                 • til . . ...
    ·.· . .Pay·bms ·directly to:mer~hants orqthers Using your card .· ·                                                        :.·v. .·· ..                    .
                                                                                                                                                                          V>. ::ci
                                                                                                                                                                         -o. -··.
                                                                                                                                                                         ·ota
     ..·: R~tjuest cash ~~ck \Nheri.. you make a ·purchase using Yo~r PIN with ..... .
          mer~liants who.offer this service . . . .          . . . ...
    ..... Use your card thr~ugh a mobile device af m~rchants who.accept ·mobile ..                                                                             .
                                                                                                                                                                   ..!r.•··
                                                                                                                                                                         · ct.a.
          payments ..                       . .. ..                      . . .. ... . . .                         ' . . .                                          ' . (I)
                                                                                                                                                                       Ill


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      f-'---'-'--,..........   .......,-~~.....,....~-~------------"-'--i----.....+----------,----'-1· . O·a.i
        Wells F~i:go J\TMs and Wells .Pai:go BankJocations •                                                                    'V . . . .. V .                     .·     ag_ ...
                                                                                                                                                                           Ill .. ·
                                                                                                                                                                                         ..


       .Non~\IVells F~rg:o ATMs·(fe~s .may appiy) .. ·.                                                                        ·:.J : .   . •.. •:✓. ·. ·· .
        Non-Wells Fargctb~nks that i:jcceptVisa'."branded cards ~ne·n atell~r ..·.                                               v.·
      . helps YOU w·ith you"rtraosaction (fees may apply) . . .                                               .       .



    . I   Purchases using ATM cards·are available at merchan~ accepting payments through network5 in.·.· ...
          wliich
               " . '
                         we·pa~tkipateand reqljire a· PIN to authorize the purchase:. . . . .
                           <    •   •   •   •   '       <   ••   '           ""   '               ' ' .       •
                                                                                                                                       . .
                                                                                                                                                               36
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              Acti_ons ·                                                                                                   ·oebit. :ATM ·
                                                                                                                           •: card : ··c;ard. ·
              View your accot:ititl;>alances .:
           . .·Withdraw cash. :. ·: ..                                                                                                           ···=v:: .
                                                                                                                                                          ;J_ ·.·
            . ·transfer
               '   .
                         funds
                     . .·.   ...
                                between
                                   . .. ·.
                                          youraccou.nts
                                            ...  ,•       ...·
                                                          '       -   .           .


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                                                                                                                                                         "     .    .


          . . iylake payments :fo yo:ur Wei_ls ·Fargo. cre~itcard •.                                                                                      V.
                                                                                                                                ..J ...                  .;.J •....
          ·... Get a     staternent~f the l~st: 10 :trans~cti~ns :<fees may apply). :. . · .
                Get a staterneht qfthe balances :ofyour accounts ·cfe~smayapply)                                                                     .    ✓··


           . ·. Purchase U.S. postage stamps (fees apply) :·: ·                                 ·"
                                                                                         ..... .;J
              •choos.e hovv yo~ ·want to re~eive ·your ATM receipt: prillted;·emaifed to:. .... ✓
              the address on file br to yoµrW~lls Fargo Online secure in box, or texted: ... .
              (0 your mobile phone number or:i file:·(mobile carrier i:ness~ge anµ dat.a ·
              rates may apply)           . ..           .      .                .. .



          · · · Actic,ns .·                                                                                               .. .Debit :·. ATM ··
                                                                                                                           ·:.card=· card.·::·
              View your•accoui1t balance (fe_es may apply) •·...                                                              .y:·
              :Withdraw· ,~-~h (fees m~y apply) •.· : ·                                                                                         ·.· :..J .
            .•Make de.posit~· at certain non_-Wells· Fargo ATMs (using a card issued by'a                                      ·__
                                                                                                                               -v"
                                                                                                                                     ,·.   .    . .. ..J
              WellsJ=arg6 branch located:in lowa3) .              ..




              •.Receive
                     .
                        transfers
                           . '    e.g.; throllgh
                                       ''    .. · card
                                                     ..
                                                      '
                                                        networks
                                                              .
                                                              '
                                                                 ~r fu~ds
                                                                      . .
                                                                          transfer
                                                                          ".  ,. . systems·.·..
                                                                                    . . .
                                                                                      "''  ..
                                                                                            '                         ,
                                                                                                                              . :.r.       :.


   . ·.                -~··••····.·.··       .


   . • .· 2                                                                                                  by
            Non~weils. Fargo ATMsare partC>f ATM.i:i~tworksowneq Oroper~ted other financial institutions.· .· •.
     .. . . You can use .youn::ard to withdraw ,ash c;lnd ,heck bi;ilanc;esfor the ac:~oL!nts lii:iked to y:ourcard_ as ·
     .·:: · prim,;iry ch!;!tking and primary savings.Note:l) Some non~Wells Fargo ATMs may:n6t givey91,i.the. ·
         · option o.f c_hC>osing whicl') account to access or may only le.t you acce~s one~ th~se tw,o ~cc;ounts'. .
          . 2) Market rate or rnoriey market sayings account~ generally cannot be designated as primary . · .
            savings on yourcard .• 3) Some trcJnsactions m~y not be ~vallable atali ATMs; may differ-ent from ..             be
           those ava il~ble ~t Wells Fargo ATMs; or may be limited to ariy withdrilwal Hmlt(s) set by.the lion-· . ··
            Wellsfal'g<) ATM; .. . .                . . .      .     . .. .       .     . .. ..        .

            ~ Also applies to a card issued by the Wells Fargo Phone Bar)korWells Fa:rgo :Online that is linked to. ..
              ·a primary account opened Jn Iowa.                          ·                 · ··   ·   · ·        ·          · ··                ·             ·

     37 •Consumer. Account Agreement~ Effective A1:iti124, 2017
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     .·.. AT~ and mercha~t te.rmlnal ~a;functio~s
                                                                                                             . s:··.
          We a:e r\~t res~onsible fordamageuesulting ftomanATM br m~~chant terminal ...· ........ . .,....a
     . malfunc;ti6n. You wJII promptly.notify us ifa Wells Far.go ATM fails to disp~t1se th.e correct .·. . . 0. s:: . ..
      .. amount cif cash or provide a .rece.ipt by calling or wtiting us.at the telephone number or ..       .   ('\                             .

          address provided or; ypur account statement.
                                                                                                               . r+.
                                                               . . . .. . . .         . . . . .                  s·
                                                                                                           . :;1 ...
        t=ees foru~e of card •..
        ..·We will charge a fee for f;?ach nmHo/e11s Fa·rgo ATtvf trandaction you perform (ex~~ptfor .• •. .      .·•                    iif ...
 . .. ·. deposits ot as waived by the terms of yo1.1r ac:eount). ln ·aqditlo.n; th~ m,n~WeUs Fargo ATM •·. ••· ··i§ -~ •·
  .. · owner/operatc>r wm·also .charge af~~ (unless waived by:the terms of your acc9unt).:Tliis fee is ·• • z-5· ...
            Included (n the total trans.a.ctiori amountthat is Withdrawn from ·y~ur accoun.t. .Tran. sactioris . •· ~\0 · ·· ·
      ·· . .wm be limited any withdrawal Um_:its set..by :t~e no:n~Weils fargo Af.M. .. . . . . . . . ........ g
                          to:                                                                                         ...•$111'._·.·
                                                                                                                      ~
                                                                                                                      QJ-g
       .. We will charge afe~ jfydi.i make an ov~r~the~couriter (teller assistedi cast} disbursement at a             c:!; r+ .
                                                                                                                      gm ..·.
            non-\JVells Fargo bank that'a'cceptsVisa-brandl:d cards: Some rnercha'nts rnay assess a fee When ..
         ·• yotiuse yourcarq'for a purchase. Thi's fee-will be.included in the.total purchase amount            .
         . Addit(onaifees applic~b:le to ~Se of the c~rdare ·pr~vid¢cfin the Cohsu~er,Actountfee ~rid.
            lnfor111ation Schedule; . . . .. . . . . . .. . .. . . .       . ..        .   . . .. .    . . . ..

     :_··. D~iiy nini~s and fµnds ~vaU~bl~for:1.1sewith card$ .
          .You may use your card SlJbject to 1) yourdaily ATMwithdralAial Hmit and daily purchase limit, :
       . an·~ 2). y9ur availa~ie balqnce iri 'your account:-i"he following rules apply:::·• · ..                    .    ..
        • Limits ~11 dollar:amoJnts         . • . . . . . . . > .· .... ·. . . : .         .       .    .  :
         · - . ·Daily ATM Withdraw/ii limit is the ma.xlmum amount of cash yo!.! can. withdraw from .·.
               ·. ai1y combination of atcessibie accounts using your card. At ccirt.:iib ATMs inside·.· · .
                •W!;!U~ 'Fargobranch~s, your daily ATM withdrawaUirnit may.riot apply during branch .
                  : hours. .. . · .. · · ·.· • . · • . : · ·.. : · : · · . . : ·.· ·. · ·. : .· · . : ·.·. · .                   .·
                   • Daily purchasel,imit isthe nia~im~hi            u;s.
                                                                doUar amo~nt ~f ~urdiases (in•d~ding.~ash ..
                 . .back; ifany) that can be d.~bited from your account.: · . . . . . . . . . . . .
                                                      we
                     l:Jn:certafn.drculT)stances; may ailov,(de.bit card tri;!nsac:iforisthat e~ceed . . ..
           ··.·•. . .. your daily purc:hase limit (except for certain accounts such as Teen C:heckingSM; . · •·
                 . ••·. Opportunity Checking, and savhigs ac:cou~ts); ....· •. . . . .·... · ·: ·....· · ·•: ..· .. · ·: ·. . ..
                     2. it your daUy purchase Hml.t is more than $99;999; you rriay ask that therriercharif
                   .: . process multiple. transactions to complete a purcha,se above this amount•.
        • •·t.hnits for your card .
          .•we p.r9~ideyo~ .;our: daHy ·ATMW!th~rawal andpurchase limits ~~en                         you :receiv~ your..             . . ~- · ·
          •tarci.You canconfirruyourcard'sdaily.llmits.by calliri:g. us_atthenuniberli~t~d ln.the 'How .•· J~ .•. ·      1

          . ·: to-reach Wells i=argollsection, orby vieWing them on the "Profile".page in the "Account.·: . ·t11                            ~        .
              .Activity"tabin online banking.                .      .    . ..                       .                                    ~l
        •. . C:hanges to yoqr.card liinijt~.                                                                  ·· O                          Cl

           .·. We in~y, without telli~g y6u; Increase your.daily p_urchase:or ATM withdrawal lin~itbased • .                          ·.··.~a ..
              •on acc;.ourithistory; activity, and other
            jmits fqr your tara. :
                                                              factors.
                                            . . . . . We. .\,vill. notify
                                                                      . . . you
                                                                              . ifwe
                                                                                 . de~re~se
                                                                                      . . . the..daily.·
                                                                                                       ... ..
        • · Definitioli ..
          :Fo~ purposes ofthe dally limits :only, a'.'day'' is d~fine~ ·a$ the 24-hour p~riod fmm . . .·: .
           . midqight to midnight Pacific Time. If atransactiprt is r:nad~ in cHJOther time zone; it wiWbe.
            processed when we receive it.                 .      .             ..     .                    .             .      .



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                         ''          .           '       .
         ·• ·: ~ttier U!liits
                 .. ·There is ge~erafly no li'rnit on the n~·mber ofti~:es the car~ may be ~sea ~ac.li day a~ long .•
             ··· . as the app!kab.1¢dailyATfv1 withdrawal lin,ltan.d.daily purchaseUmit areriote~ceeded ..
                    . and there i.s. a sufficient available ba(a;nieJn any combina~ipn ofybur di:!pO?if accounts .:
                  . acc~ssed for withdrawa!: .. · . . . . . . . . . . . . .           . . .. .         . . .      .
                                                                                                     or
                            ·if the ATM transa~tion ·purdias¢would create an ov:erdraft on the accou11t, ·we
                             may, in our soie disc;r~ti6n, take any:ofthe actions descrtbed in the section•~tthe .
                     .· : Agreement titled ,;Available balance', posting or<;ler; and overdraftsj;The availabHity .· .·
                       ... of depo~its foi withdrawal :is described inthe.fund~ avaiiability pollcy.. ·.'        '. ' .'
                             When we aPprov,t:ia fransaction <;Ir purchase;:we call that an ''authorlzatiori.'!\fllemai . '
                       :·•·. iimitthe-nurnber ofa~tho,rizations we allow duri.ng a perlC?d pf time (e'.g.; ifwe nptke ..·
                      ..··..·out~•f.:pattern use of your r;ard,s.us•~~tedfraud~lentor' unlawful activity; or:internet
                             gambling). For security :reasons.We. cann_ot expiain ttie det~lls ofthe authorizatio.n . ·. .
                       ··... systemdfwe (:IQ not authorizet~:e.paynient, we may notify the person who attelT)pted..
                           . the payment .that.has been refused:We I.Viii not be res·ponsibl~ for failing to 9iv.e an ·
                      ..... a1,1tliorization:'              . .             . '               . .               . '
             .           ,                   . .                              .

         · . Illegal transactions
       •:.• You must ~~tu~~. your :,ard o·r account for any illegal pur'pose 'or ihte~het garnbiirig. You' : ...
        · ·must not use your .card ~r account to fundaiiy ;Jc~9uiit that is :~et l!P to facili~ate infernet. ··
       .. gql)1blfng; We may· deny transadions orauthoriiationsJ~om.merchants. who a.re appa·rently .
       ... engaged
         .  .
                    in . who
                     '    . .
                              are
                                ..
                                   identified
                                    .  . .   ,
                                                 or
                                               as engi;lged
                                                   .
                                                            in. the
                                                                .
                                                                    internet
                                                                          '
                                                                             garnblirig
                                                                     . ...· . . .     .
                                                                                        business.:
                                                                                         .          ' .. . .
                                                                                                     . '           .       . .                              .   .



         ·•µsing                 y.-jur (:Ordthr~ugha mpbil~device-·.
         '. A.,"mobile cieviGe"means a smartphone, tablet, or any other han~wheld or wearable.· ' '
            commu·nication device tha.t allows yq1,1 toe!ectroriicaliystore or eledronicaUy pr~serityour. ·: .
            card orcard number {"dighctl card number'') an~ use that digital ~ard num!Jer to make .card:.· .
            transactions.       . ''                .             . ..             . .'          . ..
           .Whe,n you use your card with. your mobile device for tfansactlbn~;. '' ''
          · • · Mobile ~arriers may charge. you me~;i,tge and di,tta r~tes, or o~her fees .
        . .• ' Yriur card .information is sentacrois wireless and con,p.uter netWor~s
            • '.lnfor:tnatron about younnobile de~ice may ~e transmitt1;d to us . ·
                'You shbuld ·securethenioblle devke ir,e~ame as You wouid 'your cash;chetks credit
             . · cards, and ·other valµpble informatior:i: we· encourage you to password .proted or lock
              . your m<>blle' device to help prevent an unauthorized person' froni using it·..·.' ' '.
                 lost•or stoleri. . . .      .    . .. .
                                                                 us
           '•.. Pl~as~ notify pr()mptiyff your rnobHe:devite cohtaining your di~ltal tard n~mberfa' •.
                                                               . ..     .     . . . .        . ..       .
     .' '. When you use your catd with your inobile,devke for transactionsithird pa'rties;'such as.· ... :' .            .·
    · · •• .merchants, carq .ass.ociatioii networks; mobile carriers, mobile walletoperatcirs, :mobile . ·. ·.· · •· · ·
          · .· device ma:nufijdurers, and 'software application .providers:m~y 1} use and rec~ive your digital .
               carq riumber,1:n,·d 2)receive informcttion·aboutyour mobile device.- . ·              .. . .        .
               i'fyo_u ha~e e~roll~d in QverdraflProt~ctlcm ahd/or Debit (~rd Overdfaft Servi'ce, thq~e terms' •
    . .·. ·..·wili apply to(:ard t~a nsac;tioris made :through a mobile device. For additional inforn,atio,n, .....
               please s·ee the s·ectloh pn ;'Available balance, posting or.d.er, and ovt;rdr;:iftsf . . . .· . •. . .
               We may; ata~y time; partiaHy oduUy restrict yourability to make              tra11sactions thro0gh .                                  ,~rd
            . atnpbile d~Vi(:e. ifyo1.1want,to rehiove your djgital <;:ard nwnber from your mobiie qevice, • "
        ' ... pleas!: contad\i\iells
                                .     Fargo. Phon.e Bank at 1~800".TOWELLS (1.;80()-869-:3557)..
                                         '.                                   •.       .          .. ,
                                                                                                             .         '             .     . .   .

             .   .       .   .           .           .       .        .            :       .   . .         .   .       ..        .



    . 39 .Co11sut11er Acccivnt Agree,:nent~ Effecti\i!e April.24, 20! (
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              '              '




    •:. One;·Hme access.6.ides:
                                                                                                                                    .S·
         Up~nYour request, we may provide you with a s~cvre, one~time.              access
                                                                                 ~ode. This ~cc~ss :                       .a.·.
    '' '~ode (when used tbgether with the P.iN associated:with your eligible.card) i:illow.s You 'to '' .·.'             '' a..
    . : ·access your ~ccounts for.certain transactions at certain Wells Fargo ATMs; Ari access code· ...                             C:'
                                                                                                                                     Q. •·
      ' 'is.temporary and can be(used only once. Use ofan access code with the, associated .PIN. i~' ,, '                           o'.
                                                                                                                          '. ·::;:'!'
          equival·entto: ~se.of the card at a Wells Fargo ATM.. .. · · . .  .       .        .
     ' Visa A~countUp~aterservic~
                                                                                          to
    ': 'Jf you give your debit ~a'rd num:ber to a merchant with ~~thorization bU rit fofrecurrin~' •''
    .·. payments, or to ~eep it on file for future: purch_ases or payu,¢nts, and yourciebii <:ard n:umper
      · . or,expfratioh :date c;hanges,:yoa shouldnotify the merchant with YOl!r' ,hew.,ard inf~imatio11 ..
           We subsctib~ to theVisa(;) Account Updater S~rvice (VAU,!:iervic;e)and:provide:updated ccm:J ·
        .. infoi:mation· to theVAU Servic;e/lf a .mer~harit participates in the VAU. Service, that merchant .
       . wiil receive :the.t,1pdated caid information; Chang~~ t-0.ypur card ri~mberdue to.reported .
       • fraud willnot be provided to.theVAU Servic:e;:se~ai.ise not aH merchants subscribe to the·.' '
      · ·VAU Servic;e, we recommen~ you notify e·ach.merchao~ .ofyouinew card number and/or ...
       . expiratiori date to ens1..fre
                  '              "' . .
                                       your.. payments
                                                 ..
                                                       contii:1ue
                                                        '  .··    uninterrupted,.
                                                                  .. .       ..
                                                                              .
                                                                                  •.    .. .      .


 ' ''' ''' , Foratl carcl purchasetransactions, we. ,-riayplac¢ atemporary h91dor1so~e. ~r a.11: ofthe funds
    ·. ·..·in the account lin k~q to your c,ard when' 1/11.E! obtain an autborliatioh reqi.l~St, We. refer to this '
       .··.temporary hold as: ;:m "al.(thori.zation holcJ:'The fun~s subject tp the hold :yvill be subtracted
                                                                                                                              '             '         '
                                                                                                                          '       (1)'          '''

    . from youravi;Jilablebalante. •:· ....·       .. . .    .    .. . ..         . ...        . .    . .· . . . ..               a S:·
                                                                                                                         ''.., I.fl.
                                                                                                                              . -:"•rt·

     ' .· We can :place ~n: authorlzatior, holclon YQUt account for· µp t03 business           4ay~
                                                                                                (or forup t9     :so     .. ::,.ro
                                                                                                                         o3 · ·
                                                                                                                                                 :

    ·.. busines~ days:for certain types of debit or ATM cardtransad:ioris; inc;:,luding :car rentc;ll, cash,• .' .·i:t.ro:::tl:J'
                                                                                                                                 .. .

     . ·: and iri'terriational ·trartsattlons)'from the time :of the authorization or untiJ·the transaction· .·.  ',,    @Gt       '
      .. is paid fr~m your    account. HowJver, ifthe me(chant do~s not subni.it the transaction·. .. .                 ' g.~ :
                                                                                                                        ·::, 0. ' '
     . }or:payment within the time allowed~ we will:rele~se:the ·authoriz~tion hoid.This means . •                       VI'' ' '

        . your ~vaiiqole bCllance. will. i!'lcrea,seuntil the transaction :i(s:ubrnitted for payment by\he . . .                  """'\··

   ·. .merch·ant and p.osted to your ac;:c;:ouot: If this happeris, we must honqnhe prior authorization .. ~2?.          Cl) ' '

   . .and Wili p_ay t{'1e·1:ransac·tion from your accouht, In some sit.uatiohs, th~ amqulitofthe tiold · :. :. ::,. ;::r
                                                                                                                       ·01.0·
     ··· may.differ from the actual transaction amounts.inc~ _the :mtirchant ITlilY not know the tota·I . . . V, Iii
     . . amount you will sperict.For example, arestaurant s.ubmits the authorizatio.n requestforyoµr .. ··=:~.
                                                                                                                      •·a:.··.
        · meal before you add aUp. ..                .       .. . .             . ..                .            . 'ct.a.Cl).

  ' : .·' Note: Yo~ might er:,d up b\/erqra:wing the accpurit even·thbugh the pvailable palanct:? rlpp¢ars .· '                   VI'

    ':'' to· show there are sufficient fl.irids tcJ:coveryourtransactiPri'. ~ol'exampieJfamercha'nt does ': ' · !{l. ·.
      , not submit a o6e-thne debit, ca)'d transaction :tor p:ayhient within ~ busi(iessdays (or Within ·. .. • • S: 9
        30 business days for certain types of debit'or ATM card transac:tl6ns; such as: car rental; cash, . . •. 15· ~- .
      . and it1tem,ati6oa1 .ti-an~actionsfofauthor.ization; we must releasethe authorization hold on ·                        . ~ §' ..
     ·.·.·the transaction even though     we  wiil haveJ~ honor the transa,tiori.'rhe tr~nsactioh wfll be·•· · · ·                8~ ·
    ..· .patd.from thef~rid~ in the ac<;ountwhen W.e rec;:eiveJtfor J)9yment.          .    . . .. .              .. §                  a
                             and
       ·: You should ret:ord frack au of your transactions closely to cpnfirm your ·avaNi;,ble tiaiance '.· ,lit '
       . acc;urately. reflects your·sperid_ihg. offun~s from the.account linked to yo.ur card.· . ... .




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               .transaction~ o,utside the Uijit~d States· .
              .. !fa tardis used ~Q ma:ke an ATM withc;lrawa_l qr a purchas:e outside the United. States; the:·.· ..•.
            · networ-k handHng the transaction. will.convert the loc1;11· <urren(:y amount of the traris_action .
         . . _to U.S; 'dol_iars (qr; iri the case of a purchase only, the merchanthcJridling the transaction ....
               may _convert the curr-ehcy}; If the m~twork ~bnverts tbe currency, it wm use either a ri:1te
           .· seleded by th~ network from the range of ratE?s available i_n wh.olesale c1.irrenc·y markets for ·..
       . .· the applicable central processing date; whk:h :rate· mQy.vary from the rat~ the networ.k it.self·: · ·
     . · •·. receive~ pr the. governm~nt-:maridated:rate in-effect for t_he appllcc!ble cenfral p:roces·sing ..
              ·date. if the merchant handling the pu.rthaseconverts the currency, the· rnerchantvvill · .
               deterrnine .the Cll_i'renc:y.conversi6n r~te. For ea di purc:has~ transactJon completed: outside.
         :·. the United States; We may also charge an in(ern~_tional purchas~·trans~ttiori fee; whichwe ·.
          . base on the amount proviciedto.us by the. network(e;g.,Visa; MasterC'.ard) fn U'.S:•. dollars.. :·
     .   ..     .   .. ·   .. ·_·_         .       ·:   ..   '   ·· .. ·   .·    ..   - .


         · •·. :Ehdi119y~urcard1.~s~ .
           . ..Your ~ard (s Our property. We niay cancel your card at any thne without noti~e to yo Lt You
               .mciy .cancel.your.card at any.time.by writing to u~ at t_he address provided in your account .·
               ·statement; -If the account i~ dosed o_rthe card i.s. cancelled; you wm irnniedlately ~estroythe :
              ·.,ard(s) ·and; upon" request, tell us in writing.that the catd(s) has been destroyed. If requested, .
             . Y.OU must lrnmedfateli return the card(s) (0 us. If your i:ar_d is cancefled,· yqu must pay for any. · .
               ·,prdtransac:tions made befqre the c.drd.is•cancelled. · ·         ·    ·                ·          ··
     ..···. Zero· t.iabiUty :Proter.Uon (c:ilrd transactions                                                cully}. · ·
                Y~u; card to:n-ies ~ith Zeroli~bHity protectiQnfcirunauthorized ·traf'saction~·thatyou report
                promptly. With Z~ro Liability prqtection,if your card or card number is ever lost qr stoieri .· ·
                and used withoi;ityourperrnission,.yo_u must tel! us immediately; lf yoµ do,you will.not be .·
          .. ·. r.esponsibie· for· unauthorized transactions made using your card o(card riumbe_r,The Zero ..
            . Liability protection we provide goes beyond whatis required by. Reg Li lation E(see page 42 .
         . for Regulation E provisions)> .                ..             ..     .        ..     .         ..
                 . An ~lJh~uttiorized transactibn'' is transaction that do~s not benefit you
              ·.. person who.does not nave your acfoal~r implied authority;
                                                                                                a                            that is made by a .•. :
                                                                                                                      > .. . . .. .. ....
                 If you nottfy us a"boutthe unauthoriz~d transaction ~ithin 60 days of when the first account ..
                 statement showing .the ·unauth<>rized transadion w.as deliveredryqu will"be protected for .. ·
               . your losses on the account. .          ..                .     .      ..                ..
     ....·. ffyo~ notify usaboutthe ~nauthoriz.~d transaction after 60 days;.we may riot retmburs·e you .·
        .. · for u"riautti6rized !ransa(:tions. You may be requfred to pro,iide documentation to support: : .
               your claim, in<;luding a11· afficla\iitof uriauttiQrized use arid apolice report In addition, we •. ·•.
           . w_ill. consider 1Nhether ~nY, negligence" Qn the part of the <:a rd holders h~s tontribut~dto the .·
         .. ·. •transaction i_n question-. •.· ·. ·...·: ...·.·..·. ••. • . •. . . . .. . . . .• •..•.• · ·. .. . • . ·. . . .
                 The following.are not considered to. be unauthorized transaction·s under Zero Liability·.
                 .protection, which mec!iiS you are liable for any transaction: . . .. .          .      . .:· ....·.. .• .    .
                        By a cardholder or p~rson. ~uthq~ize~ by~ card holder, or otfler p~rson ~ith .an interest In ... _.·
                   . or &uthorjty to trans,actbusiness on the account; :              ·. . . . . .           _· . .         ·.
              · .· •. · Bya person you have authorizedtOuseyourtard, even if that person hase_i<c:eeded the
                        auth<>rityyou gave; : . . .            . ·.. : . · _ :.. ... ·. . . · - : .. ._. : ... _.·. · · · ·
                   • . A merchant has processed in error, bt you are Linh~ppy W,ith goods or serviceiyou
                      : purchased. In th es¢ casesi first con:tact the· merchant to :resolve _the situation. . .


                                   .                                        .         '             .   .

         4 l .ConslirYl~r Accou)l~ Agr¢emeiit ·-:· FJfective April 24. 2017
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     .··. •· ·The follow·ing provisions apply to ~lectronic fund ttansfers to odrom your consumer .: .·.. •: •.· ·.
          .•• depcisit account that are goverl'1ed by Pai't AofRegulation E. 1hese pro.vis.ions do not apply·.·. : ·
            ..·to '~remittance transfers'; (e:.g;, ExpressSend® and :Consumer-initiated' internatiorial .wire .. ' .
          •·. transfors). Ren-iJttan¢e :fr:a.nsfersyou .send throu.gh are governed b.Y a. separate agreement.              u~
         · :. you ehter irit.o w,henyou sign up for theserv_i~ecfr sefrid the re111ltta11cetr£lnsfor: : ... •·. :•.. ··
        ... Uabiiftyfor
             . ..
                        tra11sactions
                           .
                                      covered
                                           . .
                                               by Regulation E .                                '.                     '        ..

        . · TeltusATONCEif y~u believe your ca~d,card ~umber,or PINhi.!sbe.enlostorstolen,orif ·.                        ,: ~If
                                                                   an
         ·.··.you believe that electronidundtransfer has been made withoutyour.permissi6n.using.: ·.· ·. g ~-. · ·
         ':. informatic:m ftorri' your che<:k.Teiephoning is the b~st w~y of keeping your possible losses .' .. •: ... ~~! .
            .··d9wn.Ybu. could ·1.ose all the money in youraccou11t(p!Us fu_ndsin any iirieof credit, savings · . · QIC.O ·
              . account,· 6r er.edit card linked to your account or. as ·part of an Overdraft P.rotediorf plan)..If•     •---~~.· ·
                                              us
           .. you tell wit~in 2 business .days after yo·u learn ofthe !oss or theft of:your credentials; you . ·~:g :
              .· c·anJose no more dii:!n $50 if someo.ne used your credential:;'withoutyo•u'rpermis~ion.. .. ... • fOC ..
         ..·· If you d.o NOTteH us.withirJ 2 bysjnessdays after. you ie~r~·9ft~~ lo~~ orth~ft cifyo~r card,                    ..
         . .· (ard.nurnber; orPIN, and weqm prove we colJldhave stopped someonEi from using your
          . ·. credentials. w_ithollt your permissionifyoli had .told us, you co_uld lose upto $500; •·· .              .. Q
      · · •. For ur1aythorized cardtr~nsactioris, your card c;or:ries:wlt~ Zero Liabinty protection; With tero .. 3a, :, · .
                                                                                                                            _;3" ·· ·
                                                                                                                                                                    ~J .
            ·. Liability protecHon; you will no.the resµonsibl~ for unautnorized card tr~lisactions•tnat you: . ··                                                  g.; ·.· ·
        .· rep:orf promptly;SeeZero Liability protection:section above.                 . . . .· •·. .         .. ·         :,ig
          .· Als~; ifyour de•;osit staterrient shows transfers that-you did notmake:1ndudln~J:those made •.·
        . b),:tard, PIN or oth~rmei!1ns; tell us at once; lfyou ·~o riottell us.within 60days after the·.··· . ... · as-    ~:.V) ..
             · deposit :sta.teriient was mailed· or.otherwise made ava ilahle t9 you, you may l)Ot get back any · ..,_~-    ::, fl)    . . .
                                                                                                                                             .
             ..·money you lose aner the 60 days ifw~·can prove that we couldhave stopped someone 'troin                     o3· ·. ·
                                                                                                us
             . taking tlie money If you had told in time. lfa good r~ason (sud1 ~s c1 lolly trip ur d hospital•.··.· . ::R:, ..
                                                                                                                           .,.,.,(!).


        . stay) kep't you from telH~g us>INe win extend th(;time perioct                 . . . . .. .. . .           . . '"      ,.,..
                                                                                                                            Ql,V't·

                                                                                                                                                              ·.· g:~C...·.· ..
                                                                                                                                                                    ::::s
        .. .Contact in the event ofunautliorized. transfer
                                  ,   ,            .
                                                   .
                                                           ..           .   '               '            - -                    ,    .
                                                                                                                                                                    VI· ...

                                                                                                                                                          0
         . .·If yol)· believe y~or card, catd n~rribeir, or Pl~ .has. peen )ost~r stolen; ~~II Wells Faigo Phori1;                                            . -
                                                                                                                                                               '
                                                                                                                                                                    ~--
                                                                                                                                                                    (l). . .            . ..
            ·. Bank at 1--&00~869~3557 or the number listed:op yourstaterne.n.t or' v,,,rite:Wells .Fargo, .. · .                                                   •VI.
                                                                                                                                                                    "O -•·
                                                                                                                                                                            ·::0
                                                                                                                                                                     01,0.
         · Customer Corresponcfence, P.O. Box ~99!5; Poitla.rid;OR, ~7228-6'99~.·.: ·                    ·                                                           ::::i.~.
                                                                                                                                                                    VI V'I          .
         .·. Yot/sho~)d :also caHthe number or write to the address listed above ifyou beli~ve a transfer                                                      .. =::,
                                                                                                                                                                  2:Di
        :•... has.been ma~eusing the iiiformatioh from YQUtthetk withoutyourpermissfr;in.· .·                   ..                                                  c:!',C.
                                                                                                                                                                    f'I)     ··,
                                                                                                                                                                    v,·        ·.
            ..•• Pr~authorb:ed
                      .
                      . ..
                               t;reditr~o
                                -
                                          your. account.·.•
                                                   . ..   -.
                                                            •
            if you have arranged to havedire·ct de·posits made to your account atle~~t once every
        ··· 60 days from .the same person oi comp~niyou can check Wells Fargo.Online or Mobile.:·
           banking,.enro.ll.in account alerts,otcail Wells Fargp Phone Bank at l•SOQ:.:869~3557 to find
            oufwh~ther ornot the ~eposithas.beeh m~de.            ..    .. .. .          .. ..
             .   ..           .               .
                                                   . .         '



             St~'tcmei,t~ .
       . : • 1n ge~er~I, you .g~t a ~onthly c1ccount statement. lfthe;e are ~o eiecfroriic fun~ transferi or
       .. ··.payments
               .         . a. pa
                      . in    .
                              .
                                 rticuiar
                                  ..    . month,
                                          '
                                                 you will. get
                                             . . -          .
                                                               the
                                                                .
                                                                   stat~rnent
                                                                     ..    .
                                                                              at least
                                                                                  . .
                                                                                       quarterly.:
                                                                                        .      .   .
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       .     . .    .     .             .     .       ,   .       '                ,



           ··:tiandttng pre~uth~rized payments•• ·_ ·
             · · • Right io ~top payme~t:_ If you ~ave fold u~.in advance to ~ake r~guia:r·payrn!:!rit~ _qutofyour. _.
                     acq)_Ont, you can stpp any ofthese payments. Here's-how: __ .· •• _ .. - . •• •_- ·_ · -_· -- .· •
                   . Call Wei ls Fargd Phone Bankcit 1-890~869,"3557, or \Vrite:t? ~sat Wells Fargw Customer
            ---_ ··_ CQrtespqnd~iJce,-P.O.•Bo~ 69~?; Portlalid,OR; W22~~6995; in time for us to receive y()gr _
                _• reqi.iest"3 business dc:iysormQ(e before the payment is schedu!ed: If you call, we may ~lso .-_ ..
                   •·requfre:you.t(> put your retjue:stin.writing..arid:get it.taus.within 14daysafteryou call.There•
                              .to
                     is he> fee stop a recurring preauthori~e<fpayment.using the :debit card. •.                            - ..
                   •Yqq lnay riot _st(:)p payr11eliton ~n- _item you p"urc:hased. _ · •. -_· •. •• . : .•.. . . -_-. .. . . .. . . .
             . .. Notice of v~ryiog a~ounts: If the amount pf. these regular payments vary, the person ..• :
                     you are goirigto pay ~hould t~II you10-days before eath payment; wh¢n Jt wUl bemaqe ·
             .--•an·d how much ifwill be. - .               - .. .- . . ..                              . .. . -
           ... .Ual>ility for failure to stop payment: If you orde"r. ~s to stop one :of these paymehts3 :_-
             . _- _business days or more before the transfer is sch~d:uled, and w~ do hot do so; we will pay.·-_. _
             -- for your iosses or da-mages.            . : . · • : : : - • - : • • : :- -- < .. · : .:            : ·. :
            _· ~ •-. Ehictronl~ c_heckconver'$iO~:Youmay authorize a.m~tchantor oth~r•~~yee 'to make a ••
                 -.. • one~tfr:ne electronic payment fro in your account using information from your cti"eck to l) pay. -
                       for purchase~; or2)pay bllls.                          -       .           .     .            .-
               •- . Account inquiry: Yo~ h~ve the right tb contact us to fitid buf~hettier ah electrbriic tr~nsfer ..
                     ..has been c;:redited oi'debitedto your ai::count.:CallWelis Fargo Barik at i ~800~869:.3557, or
                  . ·.write•to
                    .       -- .
                               ''   '   ..     . . .Cusfom~r
                                 us at Wemd=argo,   ·.   .. . Corr'.esponden~.
                                                                     .   .. .
                                                                           '
                                                                                P.b; Box
                                                                                      . . 6lJ95,Portland;
                                                                                       .   ' .. .   .    . OR 97228-6995.
                                                                                                            . .. .

           . om. li~b.Hity f~dailure• to make:tiiln~f~rs :
            ·1fwe do not complete a• t_rahsfer to orfroni youfaccount ori tim"e° or ln.the:ccmed amount_ -.
    . . . according to our agreement with you;·we "Vi/ill be._liabletor:yout iosses ordarn~ge_s; l:fowever, ...
      . .·. ihere are sorli"e exceptions. Fdr instance, we wili ~ot beliable if:     .          ..   -
        --_· • ••. Through no fault of qUrs; y6u do n~(ha"v~ e"nough ITlOl1ey hi your accourit to make the :-•.
                   ~n*~ .- . -- .                             - .. . . . ..                    . - -- . -. -- .
            _- ~ -. The transfer would go over the credit limit-_on a credit acc~u11t linked for Ov~rdraft -
              . Prote~tion, -_ • :-· - __ -     . - .. • - .•: -·_ · : , · - -• :i . ·_ -_- · •. -- - - - . .
            .• The ATM where you are making th~ tra~sfer does not h~ye enough cash, .. :
           .•.. The t~trn{naf or syst1:m w,a_s riot working proper_ly anQ you knew about tb~ breakdown •...
                when .you started the transfer,. . •- . . . ·.. : . ·_ . . .    . . . . . . . .. . . . :. . . . .
      . . . • •-. Ciic1:imst<1r:ices beyond tiur control (such.as fir~ or tlood)"preventthe transfe(, despite :_- ..
                • reasor1able precautions we have take_n,:o_r _ .-_· - ·- : ·-·_ ·--• __ .. •: _. .   .-     -
                -Th~re i~ ·some     other exception stated i~ ·our Agreement with yoi.t :




    · 43 i()nsutner. Acmunt Agrciement..: Effective April 24, 20l7
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               In ·~ase of efrots :<1r questi9ns !1b6t1j yo~r el~ctrorah:: :fundj:ransfers ·
          lf you see an er~or o·r ha~e questions ab~ut your electronictransfe~. if you think yoµr depo~it •.
         . staten,ent or receipt is wrong, or ifYou need mor:e information aboµf atransfer listed on ah
    . . account statement or:receipt; ta.Ii Wells FargQ Phone Bank at l.;800-869-3557 od:h~ number . . .
      .. listed qn your accqunt s.tatement, or write us at: Wells Fargo, Customer <;:orre~pondehce; P.Ct
    . ··.Box 699s; Portland, 0R, 97228~6995 as so·on as ·yqu can; We must hear from •you no later.than•.·· .
      . . :~O day$ a·tter we ?end t.he FIRST account statement ·on which .the problem or .error appeareo;. • .
      ·. and yoU ·shouid take.the following ·actions: .· .           .     .. . . . .. · .. . . ·. . . . . . . • :                                             [f.· :
    · .· . .~ell~~ yo~r-.na~~:ana·a:cce>unt riumb~r (ifaiiy) anc,i the doll~r am9µnt of the sus~~cted • ._
                      .
                  .error.
                          .   ·   .,••     .···       . . . . ··    .···    .. ·    . . . ···   .. ·   ...   ···   .. ·   .. ··   .···   .. ·   .. ·   .···    ~~;•.•·.
                                                                                                                                                                  1.0
                                                                                                                                                                         .



        • · •Desctibe the error or the tr~nsferyo0 .are un~ure about, and explairi as ciea~ly as youc~n .· •·..·•[a; .
             ·why you believe it is an ertor or why you r:ieed more informati_ort .· ··    . ..                 ... g~ ·
     ..·if y.ou-tell.u,s in per~cfr, or by phone, we ~ay reqtilre that you send us your cornplai~t·or • . ·.· . ·::
        questiotdri'writirig     within 10businessdays:      .. . .           .. . .     . .. . .
                                                                                                                                                                ~l ·.
          ..   .· .   . ..    -  .    ,·     ...
                                            ·-        ...
                                                        ,"   ',''   '           '



   .. •.• Jnve_stigations                                                                                          oQ .·
                                                                                                                                                                ~i
     . We wlil, determine .whether ari error occi.Jired within 10 i;,usiness days.aft.er we he~r from you ...••.
     . ·and will correct any· error p~omptly. If we ~eed more time, however; we mc1Y, take up to45 ·•              ~
                                                                                                                                                               •.l~.:: ·
    •· days to investigate your complaint or question. If we n.eed more.time, we willcredifyour ••. •· ·. ·• g~ · .· •
     .. account• within lo business.days for the amouriyou .thiri~·is ifrerror, so that you will-have the.·•.· .QI :
        .use: oftti:e·mqney din'ihg the time it takes us to corp pl et~ olir ir1ves~igatiori. lfwe ask you to: . ro .
          'put your :co"'plaint or qµesti9h ln writing and we dcfriotxeceive itwithir1 }o. b.usiness days, . •. · · g ·
               Wemay:nOfcr:e·dit·yOlira·ccount. .:·:- ··, ·. -~ - ··::.·:- .·.··.· ·:.·:: ::.·:-·,· ··                            : ":·:~··               ·
                                                                                                                                                               a:;;:nr.
     . r·o.r errors lri~olving h~w:a~counts, point:tjf~sale tran~c~ions, orfo_relgn· initiated •..·. .. .                                                     . :g ~ .
       transactions; We may take up to 90 days to investigate your cpmpl~ihfor question. For. new.                                                               g'~ . .
       accounts; we may tak!:! up to· 20 bu~fn~~s days. to credit your account for the amount you .                                                       · :·.g:·~·..·.·:. ·
       think is in error. .         .. . .           ..       .      ..      .         ..       .                                                          · ao. .
     . W~ .wiil tell yqi.J the results within 3 bJsinefrday~                                after
                                                                completi~g o:ur investigatfon;.if we... . . . . ......
       deciige that there was no error, we wjll send you. a wr1tten explanation.You may ask for (:op!es . . m,, ·.· ..
       ofthe docl,irneot:;.tha~ we µsedJn.our investig~tioil:           .    .    . . .. .          . .        ]i
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                    t-tow c;towe verifyytiur identity Whe~ you q1U? .
                    If you have:an assigned PIN (for AT.M ca~d,· debit card, or PIN o~ly accoun.t use); we useyb.ur .••.
                   · PIN to ton firm your identity to allow you to use the aqtqmated .Phohe banksystem: .· · · · .
                    . If aPiN has:f\~f b~en assigned or if you d~not i.Ise theautomated phone bank syst~rn, we ...•...
                  •·. :wmasKfor i:lrid ~Se av.ariety of infcmnation:to verify _yo~t identity~..                                ..
                  ·. :Are we ~Uowed to<:ah<;~I y<>ur PIN?···:•.··:·
     · ·. : ·· .. ·Yes, we may cancel.your: PiN at any hme witho(!t notke; If you. use.a PIN that is not assodated .·.•: ·. ·.· .· ·
          .· · .··.with a ,a;d, you mtistuse it at leastonce ~very(> months t<> ensl..ite we do .not canc:el your PIN .· ·. ·.· ··
                  ··. dueto inactivity.          ·       ·   ··       ·        ·       ··   ··   ··        ··   ··   ··             ··    ··   ··
                    .              '    .                         .


                  . How can l chan~e my PIN? · · ..
                  • . lfyou:~q not know your PIN, yo~ may ~hangtf your PIN.at a banking lo~~tion or by caUlng .....
                  · ·. Wells Fargo Phone Bank at 1~800-TO-WE~LS {1:~soo~s6~F3S51) :to•requesfthe mail(ng of a new:·.· : .
                       ranqorn ly. sele,cteci' PIN, .. . . . . ..      . . . . ..    . . . . . ..    . . . . ..
                   . :if. you 'know
                               .   ..
                                      yoLirPIN, you
                                            ''   . may
                                                    ,,
                                                       Ose
                                                        ·-
                                                           the .autornat~d
                                                                    ..   ..
                                                                            phone
                                                                              '.·
                                                                                  ~ystem
                                                                                   ..
                                                                                         'or AiMto..change your
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                                                                                                                P{N;
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            . 45 Copsllrner .Accou11M9.re;>em~11i: ~ Eff<:!ctive April        ;1~; 2017.
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        .. The fotlowing terms and-~ondltio~s ar~ in add\.tlori to, :arid hot in pI~c~ of, any other :.. . .. .
                                                                                       us
        : agreements you have with Jegardingfunds trahs{ers. As used in thes~ terms and: . • . •. ·.. .                                                            ·.:J' ..
                                                                                                                                                                       ......
                                                                                                                                                                       ,-+

          .<:'onditions, afµndsttansfer does not include atransaction made using aWells Fa'rgo issued: ..                                                              .o
                                                                                                                                                                       C. .
            iard:Examples of covered funds transfers are a preauth9rized autoniatktransadion (ACH) .. ·                                                                C:
                                                                                                                                                                       n ·.
  . . . :' ·l.i:ke y~ur car or :rriortgage 'payment, andwfretrarisfers. . . .. . . . •. . . .. . . '      ..                                                           ·r+.

                    ·.    . .   .               '   '       .    ·,.    .       .. .    . .     ·,.   .   .                                                       ..a:::,
    •··. Rple~~ offunds transfer systems ·.
     :·.•Fund; trarisf~rs to dr frofo-youraccoum                                                          wrn
                                                     be 9overned by the rules of a~y fu~ds:transfer . ' . ' .....
                                                                                                          ' . ,-+

                                                                                                        . 0
                                                                                                               ::r ::0
                                                                                                                   11) .
                                                                                                                                                                          V,    .
     .· · system thtot,Jghwhich the transfers are made; inchiding Fed Wire, the Nationcil Aµtoinated. . . ·.c: 2..
     .. :Clearing HouseAssocfation; the ElectrqnicCheck Clearing House. Organization,any regional . . cg.~; .
       . assqciatfon (each an"ACW); arid cl~aring House lni:_erbank Payrnerits Sys~em (CHIPS) ..... .         ......
                                                                                                       . . . Q)~ . .

    .'                          ..                          ..                              .                                                                  . . . !;r.9: .
                                                                                                                                                               .'. fil~ ..
                '                               '       '           '       '



   . . Notke (Jfref:et17,t df fµnds                                                                                                                             . c;~               •.
    •.··. WErwill m:,tify you qffundselecfronically,debited credited to. y,our:atcouotthrough .the ..                  or                                        • 0 I'll..
                                                                                                                                                                  ·::, V,


          account statement for your account covering the period In which the transaction o~curre(f•. · .
      · We.are     onder. no obligation  to provide   you with any  additional noti.ce' .or receipt. : .                                                         ·.:..3
            .  . .           . .  .    .'     '.  . .     .     . .        .                   .              '             '   '            '        '           .a.'.g- .
                                                                                                                                                                   o....
                                                                                                                                                                   ... ,-+
    .·· Reliahce ot1fdentification numbers                                                                                  3 Ill:
                                                                                                                     ·· ..                                       •~·~
                                                                                                                                                                        ·~·
                                                                                                                                                                                    .
     ·... ifan instr~ction ·or:ordetfo tr~nsfer. funds de~c;ribesthe person to reCeive pay;,,ent: ..                        o·ri>"
     .. inconsisteritly bynarne and acci:,urit :n·umher, payment may be made th:e basis ofthe ..                         . _:,IQ .
                                                                                                                                                 on
          account number even if th·e '3ccount number id~ntifies a person different fro_m. the na'ri,ed ·                                                          .

                                    an
          person. If iristruifiori or order to transfer funds describes: a participating financial :. •· ... :: .• .
    ··· institution inconsistently by name and identific~tion number, tbe identification mimber' may•
     .. be relied uj:)011 as the proper identlfi<:ation of th~ financiaUnstitution,· . . .      .          .. .

    ..· :. Duty to.report .unauthQrlzed                                                         '.or: erroOeoQs.fu~ds·.tran:$fers: •
         .·. Yoi.i wrn ·ex-erds~';ordihary care"fo d~termine whethe.r a fundstransfer to orfrom,Your account .·.·
             Was either not authotize.d or .erroneous, and Yo.~ Wiil notify us c;,t the f?ii:ts:1A1ithin ,Heasonable •.
            •time ~orexceeding 14·days after you. haye received notice from us that the ihstn.ictfon or order •
          .Was accepted or youi"account w~s debl~ed or ~redited for the funds trarisfef1 whichever is ·.. .. . .. .·~·····
                                                                                                                     ·~•·::2 .. .
                                                                                                                                 .. .

           earlier. You ·musfootify us vvlthin. i 4•~ays to be entitled to a refund frorn usJf you do hot notify • . .·010      ·
           us within
           .· .. ·.· ...
                         i 4 days;   we  will
                            . . . . · .· ..
                                    "
                                              be entitled
                                              ...... ·
                                                          to
                                                           ..
                                                              retain payment
                                                                 .....
                                                                             for the
                                                                               ....
                                                                                '
                                                                                     f~nds  trnnsfer.
                                                                                           '.·.    ..
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        .. Eriooe6ti~ payme•1torder!i                                                                                                                              c;.c.
                                                                                                                                                                   (I) . . .
                                                                                                                                                                   I.I\ .
         . We have no oblig~tion to ~~tect errors you _make in payrnent orders. (e.g;, an erroneous. .
           instruction tp pay a beneficiary not interide1;l'b,y you orto pay ananiount greaterthan '.·                                                            · Ill .
                                                                                                                                                                    QI.
           the a1'nountintende9 by you, or an erroneous transmisskm ofa duplitat~ payment order.··                                                                 <     (i·        .

        . previously sent by youf If We detec:t an error oti 6n~ or riJore o~casions, we will notbe .                                                         ··.·.•s:~
                                                                                                                                                                  IQ. f"I
    .. · ·obligat~d fo (!etect error:s in any future payment order. We \iv iii rely oh th~ be11eficiary . ..
         . ac(:plint nuin ber and beneficiary b~nk identification. ~umber (e::g.; :laAN; RTN; orSW.li=T BIC).                                                      -·
                                                                                                                                                                ' . II\.~·
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        . you provide with an instruction or:order. You could lose the funds ifyou provide incomplete                                                             ·C:.::,·
           or in~ccurate inforrm1.tion .. · .. .. . .,  . . . .,         . . . .. .             .. .         .                                                     ;i:1:0.. '
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         ·. }KH tr~ns.acd(:ms                                                      ·.· .·
          In   ~dqition t6 the other term:!? in the Agreeme~t,-t,be totiowing terms and CO~:ditions apply to: ..
      . .. payments to. or from your ac.count thatybu trahsmlt through ari ACH: .:: .              .     .
            ... •Yo.ur.rig:htS.
                   .ycrt,Ji" acc9i.Jn~.        .. .
                                                                  asto
                                 pay~e:nts to bi' fro"m.yoi;ir:accol!ntwiil be based ontheh:1ws governing .
                                                               .. .            .. . ..            .        ..     .
           •.••. When we cr:ed:it yo~ r acciJunt for an _ACH P~Ymerit; tfie payme11t is p~c>Vision.al :until we:: .
            .. . receive final settlemenlthrough a F~deral Re_serve: a.a:nk ornth_erwise:rec~ive payme.nt_; :
          -~ ·1f we do not.l'eceiye finaf.seltlement or payment-we .are entitled to a refund from you for · .
              .., •the amount .credited to),our: accouht._ • , , ,                                                                                                                        . . .· ,.         ,,     .        . , . ·. , , ,   ., -
      . , :. ·, ·. vo:v:her~by atJth~rize                                                         any
                                           Origin~ting Deposito.ry Financial Jnstitution '(ODFI) ~o initiate,,
              .• pursuant to ACH ·operating Rules~ ACH debit ¢htrie~ to your ~t:co·unl forpresf:ll'ltment or                                                                                                                                   ,,
            ..· :re~presentment of items. writ1;en or authorized by you; · · -· . - . •. . . - - . -. -
                   .       .               ·•   '           '·.                        .. .                   •,               '                   .                   , ',       .            ..   '




        .·Reversal.:.··
        ,:Yoµ have the rightto reverse any unauthorized ACli paymeht that_w~s debited from your ,,, ,,,
         a'ccount If you' give us written notice that yo~ Want to reverse a payment, we. w.ill credit:. , .,.
         your account for the am.ouiit ofthe payment. You m_ust notify us ·no laterthan 1s· days afte"i. -
     -·- V>le serid you, or ~ther½'ise riia~e_ avail~bl¢ fo you, your accoLlnt statement that reflects ·: : ·-- •-
          the paymeiityou. want to. re:verse::This rig lit of reversal_ls-ln--addition to)iour right tQ stop _•- .
          payment                                                              ··                 ·                                ·                       ·                              ··                       ··

      ' l.ia:bility fonransactioOs rtQt ~overecl by Re9lJjati9n E :·•··.
            Fo~ jJurcha~eS:and o~hertnmsactioris not governed by Regulqtion .E; you areliabie for all: , .. ,.
         . :losses.relating t6unauthorized furidstrahsfersthat dq not result so.lc_lyf:rornour:ncglig~nce
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                                   WeUs'Farg():Qnline® . _-:· ..... .                                                                                          · ·_ Visit .wellsfat~o;com·                     _. : .·_· ..
                                                                                                                                                                                    .or call f-soo.:.955~444i .•--.
                               -WellsFargoPh_on~Ban.k5M:··_·.·
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                        - .Portfolio by W~l1s Fargo~ cus(orners •- - l-:f300-7 42-:4932 : ·_•_>. •_-_ .. - ·. ·: : · •· ·· •. · .· ·- ·
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                             :Customers o~tside the u.s;.                                                                                                ._- -· .. :· .. Visit weHsfargo.com(helpl .. _: •... :· ...•. _.-.: .•.. ·.. :...
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             ... _· _ -This Agreement governs cohsurnerdeposlta~counts m~intai~ed atWells Far~o Bank'.NA ..
                       © 2017 Wells FargoBank, NA All.rights reserved; .    .       . .     -    . -. -
                        Member FDIC                                                                                         -                          - -.
                        CNS66l6 {4il 7) -
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             .· - CONNBLL POLEY LLP
                  .Jennifer Critchley~:Bscj. ·
                   56Livingston Avenue __
                ··Roseland; N~w J~rseY .07068_ ·
                - (973) S,35~0500 ... . . _ . . •
                     · A~orl'!eysfor Plabitiff-. ..
                    • -Simmon~ Bank .: .. . .

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                                                                                                           :·_·.: FC>R THE Dls.T~CT OF NtW ;JE~SEY: ·

         . · .. WELLS FARGO BANK,:N.A, __ ...                                                                                                                                        . -CIVILACTIQN N0.18-6685 (PdSIDEA)
                               . . .            . "                              '
               ..       . .          :-    . . . . .,                   ..
                · · : · Plaintiff; ··

             .'" 'v.::                                                               '                                     '


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         . '' ' WO HOLDINGS,_· .. tic. ' WiLLIAivf' ' M. '.
          · : :GREEN
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               .>
                   ... ,
                         Jr.,.· KP. ·101-1- BOURBON LH· . LLC' .
                                ''
                   CRANFORD • ·BUCKLBY . - SCHULTZE
                                                                                     '.                '"                  .'                        ''   '".           "            .



                  .'J'OMIQHIN: ALLEN & •.BUIE; '~.A;'' and
               ·: :DOYLE·
                    '    .
                           & WALLACE, PLLc··' .
                              . '                               '   '        '           '             '                            .


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                               .. Defendant;                                                  _
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                       SIMMONS            BANK · ·
         .    '.         -:.· . . . .. . : : . .. -_- :
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                                                                                                                                                                            -· · BIM~<lNS             BANK1s
                                                                                                                                                                                                        COMPLAINT IN
                    . . . .·. _Plaintiff Iil interv~ntion;. ·_                                                                                                              .,    INTERVENTiON : . _·. AGAiNST:. ' ' WG ' . '
                                                                                                                                                                                - HOLDiNGS,: LLc·:·AND.WILLIAM ·M. -
                                                                                                                                                                            · . . GIUCEN, Jr.- -· · ·
             ..• wo:_HOLDINGS, LLC and- WILLIAM··M; •• -.·_
                         GREEN,Jr.,                                      -                                     ..                                .          ..
                                     '.     .           '   .                                . .                       .       ..

                          .· - ·• '. Defel)da~ts In Interv~ntion. •·

                                          ' ~laintj~-
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                                                      8ih,:rrions .Bank,
                                                                     .
                                                                         by way ofCoinpla(rit In intervention
                                                                                                   . .                                      ',                      ,            '            ,            ".
                                                                                                                                                                                                               against defendant WO. '
                         Holdings/LLC. ("W()'') and Willi.am M; :Green,_Jr, C'Oreen~'), says asfollows: '




                         .,.012e-01
                         4593742-2
.   .   .                                  .            .                         .                  .                     .                                                                        ..               .               . .         .   ..        .

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                                       .. 8.. . .·Wells
                                                   .
                                                        Fargo has
                                                              .                       .
                                                                                                                                                   aU~ged
                                                                                                                                                   .      in its interplea~eraotion that venue ·i.s appropriate. inthe:
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                                                                §139. .l(b)(2) bcc:ause
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                        a. substantial portion ofthe. facts giving rise to the: causes ofacti~ri set forth iri its Complaint in ....
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                  . .         .        .            -         ..   .   . .                                '


                      . l~tervention occurred.· :.
                                  ..:· :.9; .· :•. ••·. Wells .Fargo                                                               has alleged in•Jts interp·leadetactlon that. it has j~risdiction .over the •. ·.
                  . parties .pursuant to 28                                                                   u.s;c,                           § 1335 and                         2361, which grants di~t,·ict coui:ts authority to lssue •.· :• .
             · .. nationwide service                                                             of ~11lcess in: statutory interpleader ~ctions, and because at least one• of the •:·
              .•. •c•lai~antdefendants is a c1tizeri of and resides in the stat~ of.N~w Jersey·. •·. ·. ·..
                                                    10. · This Court has personal jurisdicti~ri• over Simmo~s Bank;s: cl~ims •against                                                                                                                         Wo •··.
            . . •Holdings, LLC and Wiliiam M. Green~ Jr. because~ 0~ infornuttion Etnd belief••these .Defendants8re •...

              . citizens ofNe~Jei,ey, ···•·· ... •. •. •·· •·••· •··...... · • .
                                            . FACTS CC)MMON TO ALL COUNTS ..·.
                                                                                                                                                                                                    <                <
                                               · 11:                   On or about Decerriber.6,2017,:KPJQH B()URi30NLi~ LLC•c•iBOOllBON")and ..
                      • Sjm,mons Bank entered lnto a constrnction Jending:agreeme~t("theLoan°): •..•

                                                                    ~ .dtle compa11y, Har1sen Frarikliri Count; Lan•d Title ~· •. ·
                                                    12 .. · ·• SimmonsJ3ank was usi11g

                      . Ab~tract Co; (''Hansen TiUe'i), to administer 9raw ;~~uests made by BOURBON •.•..· •
                                                    13.            .· Hansen Title. was obligated; after. reoeiviri~ fund~ from Silnffions                                                                                                 Bimk, fo pay the.·: ..
                  .          ..    .            .       .     '·__                .   ·.·        .       . .··..               ·...                . ·.       -    .



                      · coritra6tor on behalf
                                       . . . . of BOURBON.
                                                  . . .    ·                                                  .                                .          .                :.·:. · .. ·. :· .· ·•··.••.·>.:•··.··· ·. ·•.·······•······ .•..... •·•.···········
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                                                    14,                On F~bruarY l 4, 2018; Simmons. Bank •received instructions•· via. email .from·• •..•
             ... :cindy@hansentitle.com from Hansen Titi~ to                                                                                                                        :wke $154,8~8.23 to Harisen Title's• account ~iththe ••.
             . •. . Bank of SuUivan .• The Wire was scheduledto be senron Tuesday, February 20; 20 Ii

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                        least on~ emaU account of ·Hanseti title \\/aS hacked;. .


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                                     . 16.           · :On . . Februtlf)' . JS; · 2018, .· •$immons                                                            a~             ~ved .·_. an .. ·email . .from .
        . '... : dndy@hans~l)t_itle'.~m
                  ..        . :. . .
                                 '     .
                                         advising that there were ne~ wiring. lnstl'Uctipns~ •· ...• ·.· .• .. .
                                               .             .   . .    .     .   ..'                                   '




                             ·. )7.. • · -Simmons 'Bank .then receive~                                            an: email ·rrorn··eiridy@hansenfide.corp 'wi~h ·a~ .
        : .· ..·.. attachment
                     . .. . ':,
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                                :con~inirig.  •new Wire·
                                       . . . . . :- . . .
                                                         instructions
                                                                '
                                                                       on Hansen
                                                            . . . ':- . .
                                                                                 Title.·'letterli~ad
                                                                           ..... :
                                                                                                       _to send $i 54,888.23
                                                                                            . . . . . . · .. ·. .  .'
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          ·: •Wells. F~rgo                           .~ccount nu,mt,ei .xx~XXX5335:.                               The                  account parn~. listed for this                                                                      Wells f'argo ..
        . .. accountwasWGHolding~
                         .
                                  LLC;
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                                      I~; :_. SiiJuttons Bank wired :$154,888;23 to the :Wells :F.rgo acco·unt. number:
        .:··•:: XXXXXXS.33$ o~ Febniary J 1 2018: ·. ·.                     5
                             . ·19.. · ·•:Simmons J3arik wired tbis-~ount from a a1rn1110~ Ban~ account used to pay out . ·
   · · · .. .lollns. ·
                                                                                                                                                                          .     .
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                                     •20; . On Februa~)' · 20, 2018,: Siinmon.i; Barik re~~i.ved an email from ·
    .. : cindy@hanserttitle:com:
          '.         . .
                                 requesting
                                       ..
                                            that the wire in the
                                             '               ..
                                                                 :amount. .of $154,888~23 b~: senr so that a:·.
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        .:·. · :Cdns_truction crimp~ny could be paid'. · . ·
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                                                                                            that. . a.. wire. -~ad already been: serit
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                                                         Title. . advised Simmons.Bank:
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                                                         JS; 2018 arid that Hansen Title's
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                             . 23. ·                  Sim~<>rts Bank: ·notifled W~lls Fargo                                             or     the traudulent ~i~ing instrut:tions. :anq                                                                                      ·..
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                                                   . 25.                       ·.·.. •~••• Simm•~••wu•obll~d··ro·fuffi\t ~• obll~•Uomu~~ ffie fo~·d~mm •••·· ·• .. ·..
             ..•. .· and
                      . .
                          pay the C)riginal d~w
                                             .
                                                request
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                                                         rrtade)y
                                                        ..    .
                                                                  BOURBON,
                                                                  . . .
                                                                           .th~ugh H~nsenTitI~; Simmons
                                                                                                ''  ..
                                                                                                        Bank
                                                                                                         ..
                                                                                                             sent
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                                                                                                                  •..                            ''                                                  .                   .                   '           '.                       ,    . .                             '.           . ·




                                        . Title on Febn1ary
           . . .·.. $}54,888.43: to ~ansei1         .
                                                   '. .. .
                                                            i1 •2018.. > . '                                    . .                     .



                                                           26. · ·.· Simmons Ban~ has suffered a l~~s of$I54,888.23. ••· ·.· ...

                                                   · 27;                               .
                                                                                           Upon>hiformation
                                                                                             . .      ..     :and b~lief,. WellsPargo
                                                                                                            . .     .         .  ..
                                                                                                                                      has fto~en               . '                   .                   .                                       '
                                                                                                                                                                                                                                                                          :the .Weils Fargo .account : .·.   .              .


                     ·. number XXX.XXX5335 held by WQ Hol(ljngs~: ~LC and                                                                                                                                                                                         W~lls       _Fa,;go a~CQtmi number . ·
                 ·.: XXXXj{Xl970 held byWillillm M. G1~~n; k(the "Welts Fargo Accoun~,.- •: _· ·• ••··· ·
                                                  · 28 •.·:••·:Upon.
                                                                .
                                                                     information
                                                                         .     . .  . . b~Uef, :the
                                                                                   and:          .
                                                                                                    \Veils•·
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                                                                                                             Fargo: .Accounts
                                                                                                                          . .
                                                                                                                              have :.approxlmarely
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                     .. $114,468! 10 in. restrained funds (the URestrairied Funds"); .·


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                                             B~nk. i'ep~cits arid i-e;al(f)ges ~ch all~ga~ian QO~tairted i~. the pr,eceding : .
                                                   •29; .· .•· Sillln,Ons

                   ·pa~agraph:a~if,suehall~gtitlon.viere set forth at length herein.••··•- •· •·
                           3(). . Simmons Bailkclain.,s an inte~est i" the· Res~alned Funds that {lre th~ subject of:• ·...·.· •
                                                                               •   •                •                   •       •            •       •     '         •       '               '   '           •   <           •   •       •           '   '    •       •                          •               •     5        •




             ·:·•·.Wells· Fargo's Complaint_i·n lnteI"pleader;. ·· ·.
                                                  · ·,3.1 .. ' •The interes~ of SimJnons:Bank can only b~ ade~uately protected ifthey                                                                                                                                                                                are made .·.
              ... · party to this litigation•....

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                                                                                       . (Convel'.Sion
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                                                                                                       by WG
                                                                                                          . . . Holdings,
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                                                                                                                            .
                                                                                                                            '
                                                                                                                                 William
                                                                                                                                    .    M.. - ¢reen
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                                                                                                                                                      Jr;)
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                                                                                                                                                           •. '                          .                           .               .                                    .   .                  .




                                                       3.2. ·-•.·Sirnn,ons                                                      Hankre~etlts ·arid *alleges each allegation contained.                                                                                                           in the Preceding ::•..• ·...
                          pa~graphs as .if such :allegation VJere set fo,rth at lengthherein; •.· ·




                                                                                                                                                                                                             5
                          45~742•2.
     Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 133 of 143 PageID: 462
. Case 3:18~C\/~06685-~Gs~bEA • Document4T· FHed.11/i~/18 Page 5 bf6 Pagero: 265




                   . ·.            33.          Upon. information and belief, WO Hc,ldirigs, u.t :a:nd William M.: Greent Jr; have · · :.
       :.·· .•. Wn>ng~Uy .conve~    t~ thefr own benefitJhe funds •that were t(ansferred from ·sim~ons· Bank to .··.: .....
                    . .   .. . . . . ..    . .     . ..         .     ..  ,.. .  ..   '..   ..   - . ..    .   - .                                     .       .               .   .




         . ·wens Fargo account nurtlber XXXXX:X:5335 and ·~en to the personal acctiun(held: by wimarn:M~ •·:.:
   .: .· ·: Green; )r. at Wells _Farge,~ account numb~r DCXXXXa970.. : .·
              ..
               . .
                        .·: ·:34. · •• •. As
                            ..          .
                                                      adirect and. prQXhnttte res~lt of.t~eir conversion, Simi.rioris Bank has •suffered :•· . ·•:
             ·damages.•
                       ... · · . WHE~BPORE.:S[m.~ons BJnk demanctsjudgment against defend~nts WO H6ldings,LLC.: ....

       . ··.and• William. M. :clreen; Jr..•in the-amount                                                or Si54,888.23t piu·s in~rest~ punitive _da~ages. c~sts, ••
               attorneys•
                   .  .   .
                            fees, and $uch. othe~·
                                         .    .    and. t\irther~~lief~s
                                                              .  ..   '
                                                                         th~ Cou1t_ijeemsjOst
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                                                                                              a~d equitable; ••.....
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                                                                                                        COlJNTn·:
                                             . (O)ijust ~nrlchinent WG Hoidiµg&; l)LC:and William M. Gre~ii Jr.) . . .

                                 · 3_5~ . :. •_·.Simmons.. Bank repeats and re~alleges each all~gati<>n
                                                        .       .                 .       . .   ..
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                                                                                                        contai~ed.. in. the
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                                                                                                                             prece(lirig_
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            ·.·_.· •paragraphs a~ i"f such. allegation -w~1-e: set forth atiength h~rein..
                        .·•: · 36; .· ..•      wa ·lioldings, i.u:: and \ViHiani. M~ Green, Jr.                                                  have no authorization to l~tain any.::·_.·•: : .

       :.·:.·funds transferre.d. fro1n Simmons Bank to Weli~. F'argo account number
                                                                              . .
                                                                                    XXXXXX53~,
                                                                                    .
                                                                                                                                                                                   and then .to··• ...
   ,
       : •· the
                       ..
                            personal. .a~ount
                             '            ...
                                                                    held . by ·Willi_mn>                 M,                Green~ J1·, . at >Welts :Fargo, a9oounr number · · ·.
  . . :··. XXXXXX397()•. : •.· .

                             . 37, :•· Upoh fofonnation and b~lief.                                          WO. i-fold_lngs. LLC an'd ·William: M:, Greeri; _Jr;. have
        .·.· been unj~stly enriched Jn :the··amoun~ or$1s4,888;23, as a r~suit of the wrongful transfer .from.•·· .•·•·
        .          .    .         . .             -         "




            . .Bimmons B~nk. : •. ..




       . .. .. 4593742-2.
   Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 134 of 143 PageID: 463
Case.. .3:18-cv-06685-PGS,bEA
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                  .• •WHEREFORF_.Siminons .Bank demarids jUd~Onl .gamm• defendant,.·wo•Hoidia~, LLC •·.•• ••..
  ...•. .•a~d. William.~- .G.reen; .Jr. inthe amo~nt of $154,888.23; plus irit~rest; punitive. d~mates, costs, ·. ·: .
    . · · attorneys'
            ..    .
                     fees,
                       ..
                           and.. such. oth:er.. and..fu~her
                                                         .
                                                            relief
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                                                                   as the Cci~rt de·e~s jusra.nd
                                                                                     '        -· equitable;:
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                                                                                                                         .· CONNELL FOLEY LLP : : :· .. ·:. :. ·. ·.· · :..
                                                               ..· :...··: · · . .· .....
                                                                                     ... ··:. Attorneys  for Plaintiff in intervention,
                                                                                              Simrrioris Barik       . . . .. .        .
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      ·. Dated: •                                                   ·.· . . .·... • . : By:_·_·....,..;.i;H::::=,--~___.,_,,_~
   ...·.: .. ·..... : . . ·. ·.· .·.: :.· .....·.....·.·. ·.· .. . .             .               . .                     . Jennifer

        · ~~~l4J 201&" • .. ·




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                 Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 136 of 143 PageID: 465
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     . · Rrianciaf Lines Claims •. ·
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      · · 175 Water Street, i' Floor :-                                              .       .        .                  .
                                                                                                                                                  .                                                        .                     .
          New York; NY 10038 · .                                                                                                                            :,       :               ·_,.       :·..                :'           :
                                                                                     /()f3a1'14t3 es•··
                                                                                                                                                      .                  ..                                    .

       . VVWW.charlisin.surahce.com


                                                         · FIDELITY Boin~~.!t»EPARTMENT PROOF OF Loss··       -.-.-
                                                             .1.EAaJ ~TATEMENT 1\fl.JS'J' B~ MADE UNDEa• O~TH
                                                                                                                                           .


                                                                                                                                               r.
      ·~. Claim.is hereby made. upon the National Union Fire •Insurance Company of Pittsburgh; PA ·....• .. · ·
                pµrsu~nt to the teriils                         of Bond No./Poiicy No}l/~             n1~3, 1Jnora: ioss
·:: ..··. · of i& /64, ~rs::. 2-3 ·... •.••. consisting of property and/tir m~ney as des~ribed .tn the. sthedule ·... ·.
                                                                                                                                                su~iEdned 1n the am6Lint .. :•


   . •.. .• .· {IJem ti4 > sµbrilitted below; \oVhich loss was dh;covered by us onthe •.. ·. ·. 21 ·· · day of the.. ·
      .... ma~ui ot .•. r:i-iit14R.i                                  . :.201&.. •. :. .••· .. •. ••·. .·•·. · ·. ·: .. ..                                                                                 . ..
   . . .2 . .   The ;()ss is a di~ect: •resu;t .of                      (cHck
                                                           to. sel~cii. name. dishonest indiVidual~ for                                                                      l,2 •~ .3, identify ·..... .
           . ·. locatjon
                  ..
                         fo_r
                        ..
                              4  & 5, ano .attach the alt~l'.ed/forged instruments for 6):
                              .. .   - ·.  ..   .... - ·.     ..   .. . .       .  ..    '
                                                                                               . .. . .   '.         .              .      .
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                 ·1.:·             ..                    I .. . .
                                   ·Employee Dishonesty · · ··                                                               · . Loss away fro,tdfie Prernises · . ·
                                                                                                                                 . . . . . . ,·. '··•• 1 ·                   . :•               .. · . . .
                                                     .   ·'.



                         · · ·.. Employee Theft o_f Client Property:·.                                                           · Forgery or Alteration of a Negotiable ·
                  2 ..                                                                                         6.                  Instrument . • · · ·    ·      ·· · ·



                  3
                   ,         · · Theft of Employee Benefit Pieri Assets                          ••. ·
                                                                                                               7
                                                                                                                _   l Co"1puter/Fu~~                             Transfer                              F,>ud ·
                                   · Loss on the Premises • ·                                                                    ·Other .·
                                                                                                               8.




    · 3.         And occurre~ unde:r the following circumstances:                                         ·:
         Case 2:19-cr-00525-KM Document 52 Filed 05/10/21 Page 137 of 143 PageID: 466
                                                                                                .      . ...       ..    ·.·· >. :: .··.   _· .   .        > :: .·.



                                          ·... · . •·.• •.· •. ·• •• •••. W\IM #:
                                              :FIDELITY BOND Cl,AIM;QEPARTMENT ~ROOF OF LOSS ' '
                                                                                                          {(jq}ir:lf ih:3ds •. > .
 ·4 . · The i9ss cpnsisted of property valued as itemized and described in t,,.e table below. (Use extra. . • .· ·
        pages as nece~$ary), '      ' '' .      ' ., . '.     . . ' '' '''      . ' ' '' '      '. ' . '

                                              ·   . · · =       ·   · · ·   . ·      ·    Approximate ··                · ·
          ·Date . . ·                              Quantify.And . · :                    . ·... Date           . ...     . . Plai:e          . : . .· Acti.i!ll .                           : . ·Atnourit.
          of Loss . . Owner                       . · Descrl           on: .                 Purchased                  . Purchased .                     Cost ·                               · :Clalmed ·
    .      .   .                .   .   . .                                                                                                                           .               . .         .     . .                          .


        ·.· p/,tf2,t11t.··•. . 4/9/KW.ZZ .                                                                                                                        .           ·•··~·                '.              ,,           .

                           .('                         .    L               .
                                                                                                                                                                 ·•· .· . .·l-Si/lit.Z.
                                                                                                                                                                               ,. .    .        .           '                '




                       . dtf/llM
                   ·. 8,11~                                                                                                                                               '       ..   ·    .. · :..            ,        ·.....           ·,.    .     .,   ·.: :   ,'   ..   :


                                                                                                                                                                          ·.. ··•.•···•··· .•..• ·.=•                : ,, .··'. ·•       · ... ··• . . . . ·•.... ··.••·••···.



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                                                                                         Total                 .                                                                             sf~.ti >
                                                                                       '-:8$$ $81811', comm1s·s1~r/profi(etc. .. $ •. .     ·. :   .
                                                                                  · ·Netlos$                           . ·· . ·.·$ISJ!.Btf;2,3.:
                                                                                                                                  . .•·· ..      .



. . 5 · Th•i Insured has= no other suretyship/propeirty iri!Surance or other. instiran~e under wti1Qh the .·· ·· ·. .
   . abov~ claim, ·or }lflY partlhereof,: i~ ciaim~ble, .~Xcef)t the following: •.                                                                    #/f;: •··. '.' ••..·....• ' ......· . ..•: . . ..
      .  : ·. .. · ::
                   '  .· .· ·.· ·. "·.· ... :, . :     .... :        ·. ·..·.:
  . 6 : Cir~mstanceswere reported to the police departrT1ei1t a$follc>WS: ..
         · Poli<;e .De artment ··                           · · Officer·                        ··· . ·.. Phone.No;                        . CJ:ise No.                               Date···
                       .. · . · . · · ~ · ·




   8 . ··It .is u,:ide~tood a.nd ~greed that Jhe fumishhig of this .form to the in~ured, or its. preparation by..
      . . any re,presentative of the. Company; o,r ttie c1cceptanq~ or retentiQn ef"the proof tt-)erea~er by th~
         ·: ·Coinpan~ s.nall oot constitut~                                 awaiver of any ofthe ·_conditions of the .policy.. · .. .                                                                                        . ..



         Dated             .   l/1.i 24 20 IK ·                                                 By                                                · · .. ·                            · · .· · .                                          .
               . ··· ··. ' ·.····.                                                       ,                               N~m~.a~~~,~~-1~
         •SubS<:r;bedand swo·rn to before ~e. the undersigned, at
         on the        :       .<   2.'5"1l •: .·.. day·of the monttiof                                            :
                                                                                                                          p~
                                                                                                                        ~ f - . .::
                                                                                                                                                      a .• ~•-tJ~cm.             t.'o v~) :
                                                                                                                                                           tK .• ·. . .•'.• . .· ' : •.·. :.
                                                                                                                                                                      ~
                   .. .. .                                                               · ill~ KV:.~ . . .                                                                                                                                            . .
                                                                                                                                                                                      .. . Notary
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         , OFFICl~L SEA~ .                                                                                                                                                                                               .       '




     · , .DONNA K. SMITl-:f
  NQTARY PUBLIC, ARKANSAS
         JltFFERSON COUNT¥ '
    COM.MISSION #12378349,    ·
MY COMMtSSION EXP. 08-24-2020
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                        Case 2:19-cr-00525-KM  Document 52 .Filed 05/10/21 - Page
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                                                                                    138 of 143 PageID: 467
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                                                            · •.             ·• ... -· ... ·.                                     CLAIM#:.
                                                                                                                                                                 t6<?3••·•~J-·•ti,,8J~,
                                                                                                                                                                   ~>
                                                                                                                                                                                        • .·               U .-· ---~ ~. /
                                                            . · •FIDELITY BOND CLAIM DEPARTMEN • ROOF OF LOSS··
                                                                          ._ - -•.·. ·_ : ... :- :- ..... : ·. '.: ... ·.·. ·_
                                                                                                    .                                         ..    ·                                                                                                                     -


                                                                                                   .· . . . . . . . :-                                  ·   __   . .·- ..            '     ...              :-       -_           .       _-.                     .
                                                                                           ·WSTR.U(rri:()NS li'OR MAKING PROOF
            ....        - . ..            . .  .          -   ..·     . ..     .. . . .        . .··   .. . .               ..         .               .     -                   ...

        . • •Statement of loss ;hould be an Itemized account showing naines; dales: a~~unts,. and description of individu~l it~ms, of .
        . •.. money; securities of property, inis.appropriated; stolen 9r embeizied, as nearly as can be ascertained, and ifrepresenting • .
           · coUections made, the dates; narnes and addresses of the persons,. firms on:oiporations from Which the collections were· .
          . made."··_.·•·- · .·· :- •· ·_. ··_             . : •··· · •· · · ... ·_ .. •·              · · •· •---·. •·                  ·      . ·.-_ • · ·. • ·. · ·.·. _·. ··
          ·. Credits shOUIQ be $imilarly entered in detail; .as to commissions or salaiy dUe arid unpaid and any Securities., notes,. etc., . · .
          • s.hoi.lld b!;! iist~d individually with full des.ciiptjon; · · .. · .          .· • • . . · ·.. · .· _· · .· . . •. · . . • · .. _- · . • .· .· · · .. · .· .· _· . • ..
            . Attael:1 to proof all original vouchers, or otherwise verified copies• of same and any fu'rther evidence in .explanation or · ·
              si.ippe>rt ofthe amo~rit or airiol!nfs Jorwhich ~laim is made. . <. ·. . · •. ·• •.· · . >. . · -·_ · • •.· · . .. -.. . ·. · .·• •. · . 0 · . ·. . • .
              If other security, •indemnity or surety against loss iS ·heid, list the amounts, names _and .addresses· of the· ihdeirinitors or • .
              sureties with full description of same.            ··            ··       ··           · ··           ·           ·                ·       ·   ··            ·

                                                                                                        .                                 '                  .              ..                 .       .                     .

                                                                                                    .NOTiC~ TO ALASKA APPLICANTS

             ."A p~rsori who knO\lVingly and wit~ i~tenu~ injure; defraud: or de~ive an insurance comp~ny files a Claim containing false, ..
              incomplete, or inisleading.inform~ion may be prosecuted under state law."       .. .. . .           . .. . .           .. .
                                                                                                                 .                . .·                  .                   .. . . . . ·                         .   .                              .    .

                                                                                                    NOTICE to ARIZONA APPLiCANTS ..
                . · .. - .. · ·_       : . ·. . . . . · > . .:· . . . _- :. : . . . . . . : :·_ .·. ·.. · :. ·_ : .... · .. : ·.                                                         i ......... ;. . : .-....... ·: .... _- .· . _·_ ·.                                                .. ·: : .   . :-
            ..· ~For' your protection Arfzona law reqµires the following ~tater:nent to appear on this form. Any pers9n who knowingly ·. ·
              • presehts a false or fraudulent claini tor payment of a leis$· is subject te> crini_inal and. civil penalties." . - · · ·
            .      .               .       ..        ..               .. . .         . ..                                         .                . . .                                 I. .                    . .. .                                       . .. . . . . . .
)   .   .
                · ·· · · · ·                          ··        ·· · ·                     ·Noi-1:cE                                          ro ARKAN~i\s i..Pi=>uci\Nrs                                                                                     ·           ·            ··
            · ''.Ariy person Who ~nowingly pr~ents afalse or fraudulent claim for payment of a loss or ~Eiriefit _Or knowingiy presents false .
              inforrhatie>li in an.appllci:ltion for insurance is g!,lilfy of a crime a~d may be subject to fines an_d confinement i~ prison;" ·
                                                                                                                 .. .                         . · . . . . . . . . . . '.                                             .                .

                                                                                               NOTICE TO CALIFORNIA APPLICANTS

             . ~For your protectio.ri Cal~ornia law requires the foUowirig to ap.pearnn this fomi:. Any pe~ori who kno~ngly prese~ts fal$S .
               or fraudulent claim for the payment of a loss is guiltyof crime and may be subject to fines arid confinement iii ·state ·                    a
               pris9ri;": - ·     ·      ·    · ·     · · ·· ·. ·· · ·- · .· · - - · •· · · . · · · · · · . . . · · · ·. ·. •· · ·· · ·
                                                                                          ..                _.                        .             .        ·..        .                  _..                           .       .-        .        ,'

                                                                                                   NOTICE TO COLORADQAPPL.ICANTS

                '.'It fs uhl~wful to knowingi~ provide false, ihcci~plete; or m!s!eadirig facts or inforinatlon to an lnsqrahce c»mpany for the . •·
                purpose ofdefrauding otattempting to defraud the company. Penalties may incllide impnsonm·ent; fines, denial of                ...
            . insurance, arid civil_ damages. Any ini,urance.cornpariy or agent.of an_irisul'$nce cpmpany.i.'Jho knowingly provfde~false,
            · · incompli:ite, or misl~ding facts or information to a policyholder or claim_antfo_rthe purpose of defra·u·ding or attempting to ·.
              . defr:Eiud th¢ .policyholder or' cl~imant with regard to a settlement or award payable froin insurance proceeds shall be.
                 reported.to the Colorado divisi<>ri ofinsurance within tlie department Clfregul~tory agencies.~ · · ·          ·   ··
                                                                                               .    .            ..           .               '.·           ......                        ·.                :-                                  '        ..
                                                                                                   .        . -..                                       .··..       .       .    .                         ...       .                              ·.·
                                                                                               • NOTICE TO DELAWARE_APPLiCANTS .

            . ·. "Any person whe> knowingly, anci with inte~t lo injure: d~raud or deC:eive any insurer, flies st~tement ofetaim containing •· •                                                                                                                              a
               . any raise, iricompl¢te or r:nisleadirig ln.for'ma~ori is guilty Qf a felqny." · ·   •·  ·     ·    ·· ·         · ·· ·
                                                        . '.                      ..               . ..
                                                                             · .·NoT1cE T~ p1sTR1cToi: CaLu~eiAAPPLlcANTs ·
            . . ~ARNING: it is 8 criniet~ provide f~IS!;! tir misl~ding lnfomiatl~n to an ;~surer for the purpose of def~uding th~ in~mer 0~                                                                                                                                                                   · •..
                .any other person.· Penalties' include imprisonment and/ot fines; In addition, an insurer may deny irisutahce benefits .iffalse ·.
            . · infonnation materially rela~ed to a claim      provided tiythe appli~nt."• . . wai;  .    . .. .        .    . ..
                                                            .
                                                              .. . . . .       .    .
                                                                                    .
                                                                                        .
                                                                                             .                        .               .                                                            .


                                                              N.OTICE TO FLORIDA APPLICANTS

                 ,if..ny person who knowingly and ~th intent to injure; defraud, or deceive any Insurer fil~s a statement of ciaim or an
                 application containing any false; incomplete, or misleading_ 1nfOmiation is ~uitty•of a feloriy' of the third degree:• . ·•
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                                                                                                .CIAIM#:                               JoqMJ14KJ!l5, •. ·.
                                ':FIDELITY BdND CLAIM: DEPARTMENT PROOF OF LOSS
                                                        .   :•             .   ,·           ..   '   ..           ''.         :,           .. · ' . ' " .               ·   ..            ·.           '




                                                                    ' NOTICE TO HAW~li AP~UCANTS :

  "For. your protection, Hawaii law ~uires you to be Informed that presenting a frauduleni claim for payment of loss or •·
  tienefifis a crime pi.iriistiable by fines or lmpnsonnient or both:~: · • .. · . . : : · • .. · ·. · : ·: .: : ... · .. ·.· :
                                                                                                                                                                                                                                                                 a
                                                                           .· N()TIC:E TO IDA~O AP.PLICANTS
  ~Any person ~o kr10W1ngly, and With iritent to defra\Jd or geceive !illY in~urarice company, files a ~atem~rrt.of claim ..· .
..containing
  . ·,   . .
             any
               .. .
                   false.'·-incomplete,
                                 . .  ".
                                        or misleading
                                             . . . . information   is SJJllly
                                                         .. . . . . ·    .
                                                                              of.a., felciny."
                                                                                      ..    ·.
                                                                                               .· · · · ·   · ··       ·                           "

                                                                      .             .                                                  -                                                           .

                                                                      . NOTICE TO INDIANA APPLICANTS.·:.'
.· ;;A person W110 knowlngly ~d With intent to def~ud ~n 'insurer fil:es a statemellt of cialrri CQ~inlng any false; j~oomplete; . .: .
  or misleading /nfurmation cor:nmi~ ~Helony,n · · · ·.: :                                                                             •       · · · . · : : .... · ·. · · ..· · :                                                           •              ·     : :.         ·   .
                                                                    . . .                                 .   .   .   .   .                             . .         .   .   .   . .       ..       . .

                                                                    . NOTICE TO KE~TUCKY APPLICANTS

• • "Any person  who  ~noW1ngly an~ vv1th intent ~odefrau~ any insurance CCJ'1}pan; or oth~ p~~6n files a statern~nt of.claim . ·.
    1:xmtalnlngany_ matE3rially false lntorma~ion or. conceals, for. the p!Jrpcise o,f mis.leading,: lmormatioll· concerning !!l!1Y fact· .· ..


•m-: u,aemcommi~•f~du.rtJ"'"::4::~:::;,cANT• . \ \i · •· . . . •· • >·•I.
 · ~A,ny pE;irson Who kno_wingly pr~erits a false or fraµ9lilent cl.alm-~r payr'nentof a los!i. or b13hefltor knowingly presents false .
   infoo'n~tion In an epplicatl~n for .Insurance is guilty of a tiinie an~ may be subject to' fin~ !ird ·confinement in prison." ' .• ' I '.
                                                                                                                  .           .                                             .             .    -

                                                                               NOTICE TO MAINE AP~LICANTS . .

     Is
· - ."It a crime-to knOwlngly. provide faise, lncompl~te ·or misleading information to an insl,!raRce company for the purpose tif ...
· . .detra.udl!1g the company: Pl;lnalti~ may lncludl;l imprisonmen~. fines or a. den!al'of insuram:;e benefits:" · ·   · ··
                                                        . '. NOTICE TO MARYLAND APPLiCANTS '

' .'.'Any peison wtio knowingly and wlllfiJUy presents afal~e rir f~udulent ciahri for payment of aloss· ~r benefiror who ..
·. kriowlnglfand.willfully presents faise irifurmatioh in an applica~onfor lnstira.nce is guilty of El crini~ al')d. may be subject tQ
  fines and confinement in prison." • .                                                                           .                                     .                   .                                            .           .                      .         .
                                                                                                                                   '                                                      -


                                                                     NOTiCE TO MINNESOTA APPLIGANT~ ...
: .· "A
      - .
          person who files
                     . . a-~alm
                              .
                                ·With· irit~nfto .defraud
                                                .     .
                                                          or helps commit
                                                                .   . '..                   ,                     .                .
                                                                                                                                                       afraud against an insurer Is. guilty. ofa cnme:n
                                                                                                                                                                        .   .             .    .               . .           .   .       .            . .

                                                    .       .          . .·                     ..                    '                .. '                     .               ..    .             . .·             .
                                                        NOTICE TO NEW HAMPSHIRE' APP.LICANTS
 . "Any.person.wtici, with apurpose to. Injure, defraud qr deceive ·any irisur.:i.nce company,fil~ astatement of daim containing
   i:lny false, Incomplete or misleading h:lfQrmatiQn iS: subjeet \p prosecution and punishment for insurance fraud,.as provided . .
.. in. RSA ~38:20." However, the lack of supt, a jtatement shall not t:pnstitute a c;lefen$e ·against pro~cutipn .undll!' RSA · .
 :. 638:20. ·     .     . .     .       .           ..                     .                              .           ··                   ·                · ·                 · ·                        ·             ·· ·· · ·               ··             · ·       ··
                                            .                          .                .                             .                        .            .       .                                           .

                                                    · · •N9r1ce To NEW JE~SEY APPUCANts
 . ~Any person who knowiNgly files a statement of claim containing any fal~e tlr misleading infof'!Tlation is subject tcnjimlnl:11 .·
  . and civil pen!!liies;''. . ·                   · ··                ·   ·             ·· ··                   ·
                                                                   . .              .   .


                                          NOTICE       NEW MEXICO APPLICANTS.                        TO
  "ANYPE~ON ~o KNOWINGLYPRESENTSAFALSE o~FRAUDULENT CLAIM.FOR PAYMENT Of A LOSS OR .: .: ..
  B!=NEF(T OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN APPLICATION FOR INSURANCE IS GUILTY OF .·.
                           ee                   to
  A CRll\4E AND MAY $!,.IBJECT CIVIL FINES AND CRIMltllAL PENA~TU;S.11 . . . · .  . . .. .


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                                                                                                                                   .                      .


                                  .·.•·:·.·••·• .•· ··.: ..·.··•· ··CLAIM#,
                                                                  •· •· ·. •·..... •(·.!i.(;/o···ti,lg3
                                                                                    . V-:l,.)
                                                                                                         (B .
                                                                                               ]'1· . · . · • ..
                                  FIDELITY BOND CLAIM DEPARTMENT ROOF OF~

                                                       ' '' ' NOTIC~ TO Nl=W YORI< APPLICANTS

   . "Any person who lmowi,-igly and with intent to defraud ar,y iilsurance company or other personJil~ an application: for .
. •.insul'l!liice· or.statement of ciatm containing any •mateiially_false .information, ~r conceals for the l)Urp0!iEfof misleading,.
 · . infcmnatioo con~ing any faj::t ~terial thereto, commits a fraudulent Insurance act,• which. Ii; .a crime; and shall. also be • .
                a.
     subject to civil perial~ not to exceed five thousand dollars and'lhe stated valu·e ofthe claim f!)r each such violation:~ •i.
                                                                        .       .   .       .       .           .   ...


   .        :    .                .·       '   '   '     .   .
                                                                 • NOTICE'
                                                                  , :•  . TO.......
                                                                            '
                                                                             OHIO APPLICANTS
                                                                                    :•     ....         '           ''                 :    .   _..       .       .   .   .       .               '        ,        '   .

  . ."Any person who, \IVith intent fo defraud or knowing 1hat hEi i~ facili~ing a fraud ~galnst an i~sur~r, submits applicaticiri ·                                                      an
                                                       .     . is guilty .of. h:1suranee
  . ·orfiJes a claim containing a false or deceptive. statement                      . f~d.~. •' · · ·         ·    ··    ·     ··
                                                        . ' 'NOTiCE TO OKLAHOMA APPLICANTS·,' ..

 •' 'WARNING: Any person Who knowingiy: andV(lth intent to injure; defraud or dete~ any in~ur.er; -~akes any claim for the
  . proceeds
      .,     .
               of an.insurance policy containing
                          .            .      .
                                                 any ~lse,
                                                     . ..'
                                                         .
                                                           jncomplete
                                                                .
                                                                      or misleading
                                                                         ..       . .
                                                                                     infonnatioo·
                                                                                        .   .   '
                                                                                                  i~ guilty
                                                                                                      .    .'
                                                                                                             of.a felqny;n . .                                .   "                   .
                                                                                                                                                                                                               ..

                                                             . NOT19f: TO TENNESSEE APP,LICAl'ITS · .
  •."It is a. crim~ to ~owihgiy provide fal~e; inC()mplet~ ·or. mjJleading infonnatlo~ to an insui.!~ce company for tt,e p~rpose .of. ·
     demiildjng the company: Penalties inch.Ide imprisonment, fines and denial of insurance benefits."•· · ·                      ··
    . ' ..           '' ' . '        . ·.i ' .· .·· .... ··.··• ' .. · .·· .. ··.· ' .·' .· ,,    ... '

.' ' ..•..·' .':.' . .·. .•. ' ..·. l·.'. '. ·.                   NOTICE    TO lJTAH APPLICANTS.
    . "Any person who ~nowirigly present$ false or fraudulent underwriting information,:files or causei; to be filed a false or
                                                                                                                                   : ''' ' •. ,..·. •. . .. • .·..· . ••. •. ' .· . .· .•

. . . fraudulent claim for dlsal:>ility compensation 9r t'ned(cal ~riefits,or sub,mlts a fals~ pr frau~ulenJ repo(J or bllll~g for health •
  .· care fees or otner professlonal·servlces Is guilty    of .a crlint:t and .may be
                                                      .. . . . '                    .
                                                                                        subj~ct to fines. imd. confhiemelif In :State prison;". .
                                                                                            .
                                                  .                             . .   '

                                                    . NOTICE TO VIRGINIA APPLICANTS ..
  :••~1t Is El eiiml:! to knowingly provide fal$e, i~n,plete or misl~ing information to anJhsurance company for the putpose of .
  · defrauding the corripanr,. Penalties include impriso_n:rnent, fines and denial of Insurance benefits:"•·                                                                  ·            ·· ·       ··                ·

                                                       · ·. NOTr9E    •ro WASHINGTON APPLICANT!:>
                                                                                                                              to
   ."ii Is a crime to lqi9wing!y provide fal~e. ineot'nplete, or misieadirig inforrriatiQn ~n insurance comp;anyfor the purpose of ·
  · defrauding the company. PenaltiesinclUde iriipnsorime111:, fines,. arid denial of lnsu~ani::e benefi~.''. . .. . . ..   . . ..

                                                       •. NOTl~f: TO WEST VIRGlNIA'APPLlcANTS.:' •

    inforrnatlon in an. application for ihsu~Qnce
                                                        a
   . ,;Any person who knowingly presenh; false 9r fraudulent ciaim for payment of a l~f? ~r benefit or l«lowjngly
                                                  is gtiilty of a. crime  an~ inay be si;itiject to fine$ arid confinement :in pnsein:"
                                                                                                                                         {als~ • ...
                                                                                                                                        • · • ·.
                                                                                                                                                                                           presents
                         . .               . . .-                     - -                    .                   ..     . .          ..               .                       ,




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          '.                                  '



     : · Insured: Simm~ns First National Corporation
       _.Matter: Wire Fraud .. . ... . . . .. . . . .. .                     . . .
 •   <Clain,#: 1093077483US ·.. • · . ·. · . • .· ·. - ·                      . . ·..·.. .-· ·_ .. · ·. .
           Policy it: 01~111~36-07 >              . .· ·. ..· ·       .·.        .         .·.· •       >
          •1nsure.r: National_ Union Fire. insurance Company of Plttsl>urgh~ Pa,· :•..

          August 24, 20i8 . •
     .. .          '    > :. ·..••..•.•·' .
           ~esponse to ltern #3 .· •·_                                       .   .                  .   ..      .      .     ...         .       .     .
     .: On 2i21/18, Scott Cl~rk (Simmons Bank loan officer/'Clark")was·made awar~ of a fraudule~t wire in the · .
. . amourit e>f $154,~88.23 s~nt from Simmons Bank's Joan suspense account for paytnen_t of construction .
 ' . • •costs due on a construction: loan to KP JGH Bourbon LH UC, the Simmons Bank botrower; 'The wJre w~s
     ': seilton 2/15/18. On 2h4/1& Cla,rk received an ernail fr.om Cynthia,Oavis {';Davis") at HansenTitle •' '
      ' Company ("Hans~n,;) I the_ title insurer for Simmons Bank,: about sending a w.i(e transfer from Simmons '
        Bank to Hansen. Hansen was going to pay Tutterow Construction foramourits
        construction project>           ' .'            . '.       .    . .        .           ''    ' .
                                                                                                               owed
                                                                                                on a related . . .


     . On 2/15/18 a fraudu:lentemail qisguised as an email from Davis provided wiring instn1<;t;ons that· . · . •
     .' differed.from historical instructions. The email stated.that due to new ALTA Poiicies payrnentmust be_ •
        certified ahead of closing.: .The instructions were on the letterhead of Hansen •. When Clark asked Why ''
     .. t,he money-was going to WG Holdings LLC at Wells Fargo, the ernailresponse notedthat WG Holdinl:!s; :
        t~CW~sthe parent company of Hansen.· .               . . .. . . . . . . . .. .       .    . . . ...

         On .2/11/18 Davis asked about the status of th_e win~ stating that.they had not received it. There was a •·
      . spoofed em~ll th.at she recei;ed that listed Clark's email i:iddress' With Simmons.Bank as the se~der' .
     • letting her khowthe status <>fthe ~ire~ :,t Was Clark's 1Jnderstancling from bavis at Hansen thatthe tide .
        company's email had been hack~d.            . .        ..          .. .        . .. ..             . . .. . .

      ' Through Well; Fargo Bank we learn,ed that theJunds had been transferred tci an .account for G~iliini .· '
       ·. T_rustCo. at Silvergate Bank,· Simmons Bank askedWeU~ Fargo Bank to see ifthey coi.lldreq1Jestthe . .
      :. funds sent to Ge.minjTrust Co. !)e returnee!. •Wells Fargo froze the account of WG Ho:1drngs and William ...
     .· Green;' Wells Fargo has subseque'nt:ly iriterplead the remaining funds held in WG Hol_dings' account .·_ ' ' '..
        · ($103,076:93) ind held _irdhe account ofWiiliarn Green ($11,391.17) with a district court in New Jersey'. .
      "
          Multiple
              ..
                   p~rtles
                   . .·  ,··
                             have.. made
                                      . .
                                          daim
                                             ..
                                                to the funds. .. ·
                                                         .        '
                                                                        .             ..      .        ..


           Res pons~ to Item #6 and 111           . .·. · . ..· · . . ·. ·· .• . .       · · . ·. .•• .. ·. . • • . ·_ · :         .· . · •.·. . .•.
          -incident Was reported to the St. Louis office of the Federal B.ureau of Investigation ("FBI)'). As cif the .
           date ofthis submission, the FBI has notprovide_d a response.        . . . ..             . . .. .        .
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. '   '   .     . .    :.   ,   .   '   ,   .   '   '   '   . .. . . :        '   .. . . .    : . : : . : . :~                     ..   . .   .: ' :. .   :.        '   . ..   . ..   : :· .   :''   .   . ~ . . . .,   . :' ·:   :.    :.




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                                   ':•     . .
                                                         ASSIGNMENT
                                                           :,
                                                   ... ' . , .   .
                                                                    ANI> RELEASE ...
                                                                                 ,   . . . . . :•          . . . , ..   ·.',         :·

       . INSURBo: SIMMON:S FiiisTNATIONAL CORPORATION             . . . . . .. . ..
     · · · CIAII\{N:C);:fo930774saus ·. ·· · · · ... < I>OLICY.NO~= 01;771~3601 ··
                       .                                 .                                                                  .                                                 .

   . . ..Whereas, Snn,IONS:FiJlST NATIONAL C()RPC>RA,Ti:oi (hereinaft~t "the-Instiredh, .
 .        purchase(! a Finai:tda:l institution Bottd from Nation~ Union Fire Insurance Coriri;>~),: of . .. . . ..
 .·: .. · Pittsburgh, PA("~ Coinpany"); Policynumb<:!t referencoo:abµve, ("the Policy") to provide . . •.· •.. ·
    ... ·itidemiritytci the Insured :against Impersonation Fraud; among other tluDgs, all as per the: terms ·.
         "2mff conditions of the: Policy; .. ·: .: .· . . .. .·.·· · · .. ·• . .. •. >. •: · · · •. : · · . ._ < · · : ·• .: : ·.· •·. •· · · ·
         •Whe~eas~ tbelnsured;has submitted aProof of Loss fo th~ Company,:alleging:loss in filll()urit of
        · $154,888.23; arising from aii Impersonation Fraud ofr February:21; ;ioiS ("the ~m''); •·
      · •Whereas; N.atio.nal Union has. verified a I~ in the amount.of $is4,88R23 and the hlsured has ·. · . .
      · · agreed. to ~ settleme11t of the verified Joss> without se1!i.ng precedent, less. the deductible under:.·
     · : :1:he. P.c;>licy; Now, therefore, after application of the $;1..00,000~00. ded.uctiole under tile Policy; the• ...
         . Company\Vill, wit!$. 30 dl;lys o,f the Compaiiys receipt of the Assigrunent imd Rel~e executed ·. ·
           byth~ Insµred, make jlipayttient 1n the amount of $54,88$~23 :.. · · · ·                  ·· ··

··• •·.. :In col,lSideratioµof ~e payinen,t of $54:188~;23jl>ythe Cxnnpariy; !11~ Josuroo .dp~s h~~by •. ; •:.· •. ·. •· .·· .• ·• .•.
 · · · · :release anclforever disc~arge TJ:ie Co111pany fro1many and, ~e'fery right and: caus.e ()faction; claim, .. : ·. ·
    ·. · : de~aµd of \Vhatsoeverkind, nature C>r desenptiton, a,nd ar~mg out o.for r1$ultiD.g from the : .. ··
       · Claim.;:uv to the payn:ient amo~nt; and · · · ! .               ·.                  .

       .. Itisured d<>es hereby sell, ~sign1 transfer, convey an.cl delive~ unto '11ie Company all tights;: . .
         . claims~ title and interest which :t}le i11Sured now: has or may hereafter bave.·against wllorilever •:· .
         .:caused this loss to the Insured, their asSQciates,beneficiaries, @d any ·other person or pe1:sons, . ·
         · corporation or cotporatiollS or other entities, as ·proyided in :the aboye. policy ·and to.the elrtexit
           of th~ payment :made hereunder; Assignee, The Company is erititledto, not obligate<l to pursue ·
           recovery \lllder :thlS llgteement; . · ·     ·· ·            ·· ·            ·· ·               ·· ·
           Insured agrees to prC>yide The Company with reasonable assistance in the pursuitrif ~Y :·. · .•. _·. ·. ··.• •• :·
       . recoveiy,:including·the c1vailabilicy of documents in the control Qf:the Insured and/or its counsel : .. . •
        · or otlier. representa.tive;in ~Q far as the lnslll'.ed is ~bleto· C!QIJipel such representa:tiveto m,ake. ·.·. •· . .
        . • such documents available and to execute any .and all additional do.cuments in the furtherance cif
       · ,WassignmeriftonieO\                        pan.y:Ji .· . . ..· #i ... •20/a                                                                             .       .
        . '.By:                                        · · 14        ··                                  bate•:     · : 73                 !_{:,, •:·. ··. · J;
.... : .. • • 8JP{c'/.llf!S/J~L.f,:. If f .
      . . ..STATE OF: ~~          Ar  lltUtsrJS ·.) ..
           ·· ;: . · · · ·· . · · .. ·.. · ·. · : · ·) ss;:
            COUNTY OF:            -~..J~~) .· ·...
        .·. Oil this U,day ofPeb,: , 2019, before me personally appeared· ~ , . ~ ~ ' . :,•to .•.•.
         · me kno~;.who beirig duly ~om~ did depose and say:. that (11.e/she) resided iri )6'.G,;;A:a(. ; tha.t :
         . (he/sh~)is the E.VP• c.J,'d Acwiln. Sf.Hi..« of th~ co);'l)oratioh descnoed in this instrument as •· · ·
           nie Insured and ori beba1fofwhic;lj.
                              .         .  '
                                                (he/she) has executed.this
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                                                 ·. ·OFFICIAL SEAL . .· .
                                         . . · •. OOlilNA K. SMITH · . . ·
                                                                                                                            .~11.s~.·•
                                                                                                                              NOTARY PUBLIC.·.
                                      NQT~ltY PUBLIC, AR~ANSAS:
                                          JEF.FERSON COUNTY : . ·
                                         COMMISSION #1237834'9.
                                     MY COMMISSION EXP. 0._24-2020
